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                                                   ORDERED.


     Dated: September 05, 2024




                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
                                      www.flmb.uscourts.gov

 IN RE:                                                                 Chapter 11 Cases

 RED LOBSTER MANAGEMENT LLC,1                                           Case No. 6:24-bk-02486-GER
                                                                        Lead Case

                                                                        Jointly Administered with

 RED LOBSTER RESTAURANTS LLC,                                           Case No. 6:24-bk-02487-GER
 RLSV, INC.,                                                            Case No. 6:24-bk-02488-GER
 RED LOBSTER CANADA, INC.,                                              Case No. 6:24-bk-02489-GER
 RED LOBSTER HOSPITALITY LLC,                                           Case No. 6:24-bk-02490-GER
 RL KANSAS LLC,                                                         Case No. 6:24-bk-02491-GER
 RED LOBSTER SOURCING LLC,                                              Case No. 6:24-bk-02492-GER
 RED LOBSTER SUPPLY LLC,                                                Case No. 6:24-bk-02493-GER
 RL COLUMBIA LLC,                                                       Case No. 6:24-bk-02494-GER
 RL OF FREDERICK, INC.,                                                 Case No. 6:24-bk-02495-GER
 RED LOBSTER OF TEXAS, INC.,                                            Case No. 6:24-bk-02496-GER

 1
   The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
 number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster Supply
 LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants LLC (4308); RL
 Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland, Inc. (7185); Red
 Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster Canada,
 Inc. (4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located at 450 S.
 Orange Avenue, Suite 800, Orlando, FL 32801.
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 RL MARYLAND, INC.,                                                         Case No. 6:24-bk-02497-GER
 RED LOBSTER OF BEL AIR, INC.,                                              Case No. 6:24-bk-02498-GER
 RL SALISBURY, LLC,                                                         Case No. 6:24-bk-02499-GER
 RED LOBSTER INTERNATIONAL HOLDINGS LLC,                                    Case No. 6:24-bk-02500-GER

       Debtors.
 _______________________________________/

                  FINDINGS OF FACT, CONCLUSIONS OF LAW,
                 AND ORDER (I) APPROVING THE ADEQUACY OF
              THE DISCLOSURE STATEMENT ON A FINAL BASIS, (II)
          CONFIRMING THE JOINT CHAPTER 11 PLAN FOR RED LOBSTER
         MANAGEMENT LLC AND ITS DEBTOR AFFILIATES, (III) SETTING
     DEADLINES, AND (IV) SETTING POST-CONFIRMATION STATUS CONFERENCE

            THIS CASE came before the Court (the "Bankruptcy Court” or “Court”) on the 5th day of

 September, 2024, at 10:00 a.m. prevailing Eastern Time (the “Confirmation Hearing”) in Orlando,

 Florida to consider (x) on a final basis, the adequacy of the Disclosure Statement,2 and

 (y) confirmation of the Joint Chapter 11 Plan for Red Lobster Management LLC and Its Debtor

 Affiliates, dated July 29, 2024 [ECF No. 733] (as amended pursuant to that certain Amended Joint

 Chapter 11 Plan for Red Lobster Management LLC and Its Debtor Affiliates, dated as of August

 22, 2024 [ECF No. 941, Exhibit H], and as further amended by that Second Amended Joint Chapter

 11 Plan for Red Lobster Management LLC and Its Debtor Affiliates, dated as of September 4, 2024

 [ECF No. 1124], and as further amended, supplemented or otherwise modified from time to time,

 the “Plan”) filed by the debtors and debtors in possession (the “Debtors”) in the above-captioned

 chapter 11 cases (the “Chapter 11 Cases”). The Court has further considered the following in

 further support of confirmation of the Plan and entry of this order (the “Confirmation Order”):

            (i)      Final Order (I) Authorizing the Debtors to Obtain Postpetition Financing,
                     (II) Authorizing the Debtors to Use Cash Collateral On a Limited Basis,
                     (III) Granting Liens and Providing Superpriority Administrative Expense Status,
                     (IV) Granting Adequate Protection, (V) Modifying the Automatic Stay, and



 2
     Capitalized terms not defined herein shall have the meanings set forth in the Plan.

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                (VI) Granting Related Relief, entered June 14, 2024 [ECF No. 393] (the “Final DIP
                Order”);

       (ii)     Order (I) Approving Bidding Procedures for the Sale of Substantially All of the
                Debtors’ Assets; (II) Authorizing the Debtors to Enter Into Stalking Horse
                Agreement and to Provide Bidding Protections Thereunder, (III) Scheduling an
                Auction and Approving the Form and Manner of Notice Thereof, (IV) Approving
                Assumption and Assignment Procedures, (V) Scheduling a Sale Hearing and
                Approving the Form and Manner of Notice Thereof, and (VI) Granting Related
                Relief, entered June 14, 2024 [ECF No. 386] (the “Bidding Procedures Order”);

       (iii)    Notice to Contract Parties of Potentially Assumed and Assigned Executory
                Contracts and Unexpired Leases and Any Cure Costs Associated Therewith in
                Connection with Sale of Debtors’ Assets, filed June 28, 2024 [ECF No. 476], as
                further supplemented by the First Supplemental Notice to Contract Parties of
                Potentially Assumed and Assigned Executory Contracts and Unexpired Leases and
                Any Cure Costs Associated Therewith in Connection with Sale of Debtors’ Assets
                [ECF No. 484] (collectively, the “Cure Notice”);

       (iv)     Order Granting Debtors’ Expedited Motion for Entry of an Order (I) Conditionally
                Approving Disclosure Statement For the Proposed Joint Chapter 11 Plan of Red
                Lobster Management LLC and Its Debtor Affiliates, (II) Approving the Solicitation
                and Voting Procedures with Respect to Confirmation of the Proposed Joint Chapter
                11 Plan of Red Lobster Management LLC and Its Debtor Affiliates, and
                (III) Granting Related Relief, entered July 29, 2024 [ECF No. 736] (the
                “Solicitation Procedures Order”);

       (v)      Disclosure Statement for the Joint Chapter 11 Plan of Red Lobster Management
                LLC and Its Debtor Affiliates, filed July 29, 2024 [ECF No. 734] (the “Disclosure
                Statement”);

       (vi)     Certificate of Service re Affidavit of Publication in the Wall Street Journal With
                Respect to Notice of Joint Hearing to Consider (I) Final Approval Concerning
                Adequacy of the Disclosure Statement for Debtors’ Joint Chapter 11 Plan of Red
                Lobster Management LLC and Its Debtor Affiliates and (II) Confirmation of
                Debtors’ Joint Chapter 11 Plan of Red Lobster Management LLC and Its Debtor
                Affiliates (Including the Approval of Certain Release, Exculpation, and Injunction
                Provisions Contained Therein), filed August 2, 2024 [ECF No. 777] (the “Proof of
                Publication”);

       (vii)    Notice of (I) Cancellation of Auction and (II) Designation of Successful Bidder,
                filed July 22, 2024 [ECF No. 645];

       (viii)   Plan Supplement to Joint Chapter 11 Plan of Red Lobster Management LLC and
                Its Debtor Affiliates, filed August 22, 2024 [ECF No. 941] (collectively with the
                Plan Supplement Amendment (defined below), the “Plan Supplement”) which,
                among other things, appends a schedule of Retained Causes of Action as Exhibit C,


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                Amended Assumed Executory Contracts and Unexpired Leases Lists as Exhibit D,
                a Plan Administrator Agreement as Exhibit E and a GUC Trust Agreement as
                Exhibit F;

       (ix)     Notice of (I) Filing Exhibit I to Plan Supplement; and (II) Selection of Plan
                Administrator, filed August 26, 2024 [ECF No. 972] (the “Plan Supplement
                Amendment”);

       (x)      Amended and Restated Purchase Agreement, dated as of August 22, 2024, by and
                among Red Lobster Management LLC and certain of its subsidiaries named herein
                and RL Investor Holdings LLC as Purchaser [Plan Supplement, Exhibit A] (the
                “Purchase Agreement”);

       (xi)     Debtors’ Notice of Intent to Proceed with Reorganized Equity Sale, filed on August
                30, 2024 [ECF No. 1055] (the “Reorganized Equity Sale Notice”);

       (xii)    Declaration of Emily Young, On Behalf of Epiq Corporate Restructuring, LLC,
                Regarding Solicitation and Tabulation of Ballots Cast on Joint Chapter 11 Plan of
                Red Lobster Management LLC and Its Debtor Affiliates, filed September 3, 2024
                [ECF No. 1101] (the “Tabulation Declaration”);

       (xiii)   Declaration of Nicholas Haughey in Support of the Joint Chapter 11 Plan of Red
                Lobster Management LLC and Its Debtor Affiliates, filed August 29, 2024 [ECF
                No. 1039] (the “Haughey Declaration”);

       (xiv)    Declaration of Teri Stratton in Support of the Joint Chapter 11 Plan of Red Lobster
                Management LLC and Its Debtor Affiliates, filed August 29, 2024 [ECF No. 1040]
                (the “Stratton Declaration”);

       (xv)     Memorandum of Law in Support of Confirmation of Debtors’ Amended Joint
                Chapter 11 Plan, filed by the Debtors on August 29, 2024 [ECF No. 1041] (the
                “Confirmation Memorandum”);

       (xvi)    Memorandum of Law in Reply to Objections to Confirmation of Debtors’ Amended
                Joint Chapter 11 Plan, filed September 3, 2024 [ECF No. 1102] (the “Debtors’
                Reply Brief”);

       (xvii) The Official Committee of Unsecured Creditors’ Response to the United States
              Trustee’s Objection to Confirmation of Joint Chapter 11 Plan for Red Lobster
              Management LLC and Its Debtor Affiliates, filed September 3, 2024 [ECF No.
              1098] (the “Committee Response”);

       (xviii) The affidavits or other proofs of service of notices with respect to the Confirmation
               Hearing, cure amounts (the “Cure Amounts”) of Executory Contracts and
               Unexpired Leases to be assumed, and solicitation of voting on the Plan (the
               “Solicitation Service Filings”).

       The Bankruptcy Court having (i) conducted the Confirmation Hearing to consider on a

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 final basis, the adequacy of the Disclosure Statement, and confirmation of the Plan, pursuant to

 Bankruptcy Rule 3018 and sections 1126, 1128, and 1129 of the Bankruptcy Code, as set forth in

 the Solicitation Procedures Order; (ii) reviewed the Plan, Disclosure Statement, all of the other

 documents listed above, and all other filed pleadings, exhibits, affidavits, hearing transcripts,

 documents, filings and other evidence regarding confirmation of the Plan, including all objections,

 statements and reservations of rights; (iii) heard the statements, oral representations and arguments

 made by counsel in respect of confirmation of the Plan and the objections thereto; and (iv) taken

 judicial notice of all pleadings and other documents filed, all orders entered, and all evidence and

 arguments presented in these Chapter 11 Cases and other relevant proceedings, all of which are

 incorporated herein,

        NOW, THEREFORE, it appearing to the Bankruptcy Court that notice of the Confirmation

 Hearing and the opportunity for any party in interest to object to confirmation of the Plan have

 been adequate and appropriate as to all parties affected or to be affected by the Plan and the

 transactions contemplated thereby, and the legal and factual bases set forth in the documents filed

 in support of final approval of the Disclosure Statement and confirmation of the Plan and other

 evidence presented at the Confirmation Hearing establish just cause for the relief granted herein;

 and after due deliberation thereon and good cause appearing therefor, it is DETERMINED,

 FOUND, ADJUDGED, DECREED, AND ORDERED THAT:

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW

        A.      Findings and Conclusions. The findings of fact and conclusions of law set forth

 herein and on the record of the Confirmation Hearing constitute the Bankruptcy Court’s findings

 of fact and conclusions of law pursuant to Rule 52 of the Federal Rules of Civil Procedure, as

 made applicable herein by Bankruptcy Rules 7052 and 9014. This Court incorporates by reference

 all findings of fact and conclusions of law set forth on the record at the Confirmation Hearing as

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 if set forth fully herein. To the extent any of the following findings of fact constitute conclusions

 of law, they are adopted as such. To the extent any of the following conclusions of law constitute

 findings of fact, they are adopted as such.

        B.      Jurisdiction; Venue; Core Proceeding (28 U.S.C. §§ 157(b)(2) and 1334(a)). The

 Bankruptcy Court has jurisdiction over the Chapter 11 Cases pursuant to 28 U.S.C. §§ 157 and

 1334. Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409. Final approval of the Disclosure

 Statement, confirmation of the Plan, and approval of any and all resolutions, settlements, and/or

 agreements provided for therein, are each core proceedings within the meaning of 28 U.S.C.

 § 157(b) and the Bankruptcy Court may enter a final order consistent with Article III of the United

 States Constitution. The Bankruptcy Court has jurisdiction to determine whether the Plan complies

 with the applicable provisions of the Bankruptcy Code and should be confirmed. The Debtors are

 proper plan proponents under sections 1121(a) and (c) of the Bankruptcy Code.

        C.      Commencement and Joint Administration of the Debtors’ Chapter 11 Cases. On

 May 19, 2024 (the “Petition Date”), each of the above-captioned Debtors commenced a case under

 chapter 11 of the Bankruptcy Code (collectively, the “Chapter 11 Cases”). By prior order of this

 Court, the Chapter 11 Cases have been consolidated for procedural purposes only and are being

 jointly administered pursuant to Bankruptcy Rule 1015. The Debtors have operated their

 businesses and managed their properties as debtors in possession pursuant to sections 1107(a) and

 1108 of the Bankruptcy Code.

        D.      Appointment of Creditors’ Committee. On May 31, 2024, the U.S. Trustee

 appointed an official committee of unsecured creditors in these Chapter 11 Cases [ECF No. 250]

 (the “Committee”).




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        E.      Judicial Notice. The Bankruptcy Court takes judicial notice of (and deems admitted

 into evidence for purposes of confirmation of the Plan) the docket of these Chapter 11 Cases

 maintained by the Clerk of the Bankruptcy Court or its duly appointed agent, including, without

 limitation, all pleadings and other documents filed, all orders entered, all adversary proceedings

 and all evidence and arguments made, proffered or adduced at the hearings held before the

 Bankruptcy Court during the pendency of the Chapter 11 Cases.

                             Filing of Disclosure Statement and Plan

        F.      Adequacy of Disclosure Statement. The Disclosure Statement contains “adequate

 information,” as such term is defined in section 1125(a) of the Bankruptcy Code and is used in

 Bankruptcy Code section 1126(b)(2), with respect to the Debtors’ Plan and the transactions

 contemplated therein, and is approved on a final basis.

        G.      Modifications to Plan. The modifications made to the Plan since the entry of the

 Solicitation Procedures Order, as reflected at Exhibit H of ECF No 941 and as further set forth

 herein, are consistent with all of the provisions of the Bankruptcy Code, including sections 1122,

 1123, 1125, and 1127 of the Bankruptcy Code. The modifications do not adversely affect the

 proposed treatment of any holder of a Claim or Interest. Accordingly, pursuant to section 1127(a)

 of the Bankruptcy Code, none of the modifications require additional disclosure under section

 1125 of the Bankruptcy Code or re-solicitation of votes under section 1126 of the Bankruptcy

 Code in accordance with Bankruptcy Rule 3019. The filing of the modifications to the Plan, as

 reflected in Exhibit H of the Plan Supplement, and the discussion of the modifications on the record

 at or prior to the Confirmation Hearing, constitute due and sufficient notice of any and all such

 modifications. No additional solicitation or disclosure is required on account of such

 modifications, and such modifications are deemed accepted by all holders of Claims and Interests



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 who voted to accept the Plan or who are deemed to have accepted the Plan. Therefore, the Plan as

 modified shall constitute the Plan submitted for confirmation.

                                          Plan Supplement

        H.      The filing and notice of the Plan Supplement and any amended or revised versions

 in connection therewith were appropriate and satisfactory based upon the circumstances of the

 Chapter 11 Cases and in compliance with the provisions of the Plan, the Solicitation Procedures

 Order, the Bankruptcy Code, the Bankruptcy Rules and applicable non-bankruptcy law, rules and

 regulations, and no other or further notice is or shall be required.

        I.      Subject to the terms of the Plan and the terms of the documents included in the Plan

 Supplement, the Debtors’ rights to alter, amend, update or modify any of the documents contained

 in the Plan Supplement before the Plan Effective Date are reserved.

                            Solicitation of the Plan and Voting Results

        J.      Publication of Confirmation Hearing Notice. On August 1, 2024, the Debtors, as

 evidenced by the Proof of Publication, caused the Confirmation Hearing Notice (in a form suitable

 for publishing in a newspaper) to be published in the Wall Street Journal.

        K.      Solicitation and Notice. On July 29, 2024, the Bankruptcy Court entered the

 Solicitation Procedures Order, which, among other things, conditionally approved the Disclosure

 Statement, finding that it contained “adequate information” within the meaning of section

 1125(a)(1) of the Bankruptcy Code, and established procedures for the Debtors’ solicitation and

 tabulation of votes on the Plan.

        L.      Service of Solicitation Package, including Confirmation Hearing Notice. The

 Debtors, through the Solicitation Agent, caused the solicitation packages, including the

 Solicitation Procedures Order (without exhibits), the Confirmation Hearing Notice, and applicable

 ballot(s) (the “Ballots”) or Notice of Non-Voting Status (as such term is used in the Solicitation

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 Procedures Order), to be served and distributed as required by the Solicitation Procedures Order,

 Bankruptcy Code section 1125, Bankruptcy Rules 3017 and 3018, the Local Rules of Bankruptcy

 Practice and Procedure of the United States Bankruptcy Court for the Middle District of Florida

 (the “Local Rules”), all other applicable provisions of the Bankruptcy Code and the Bankruptcy

 Rules, and all other applicable rules, laws and regulations applicable to such solicitation. The

 solicitation packages were transmitted to all creditors entitled to vote on the Plan and sufficient

 time was prescribed for creditors to accept or reject the Plan. The transmittal of the solicitation

 packages and Ballots was adequate and sufficient under the circumstances and no other or further

 notice is or shall be required.

         M.      Notice of Cure Objection Deadline. On (i) June 28, 2024, as evidenced by the

 Certificate of Service, dated July 3, 2024 [ECF No. 492], and (ii) July 2, 2024, as evidenced by the

 Certificate of Service, dated July 5, 2024 [ECF No. 498], certain counterparties to Executory

 Contracts and Unexpired Leases were served by the Solicitation Agent with the Cure Notice, which

 constituted notice of the Debtors’ potential assumption or assumption and assignment of the

 identified Executory Contracts and Unexpired Leases, proposed prepetition Cure Amounts relating

 thereto, and the applicable deadline to object to assumption/assignment or the proposed Cure

 Amounts.

         N.      Resolution of Cure Objections. Following filing of the Cure Notice, the Debtors

 received formal and informal objections to the Cure Amounts listed on the Cure Notice

 (collectively, the “Cure Objections”). The Debtors have resolved all filed Cure Objections except

 those Cure Objections filed by (i) EEC Acquisition, LLC d/b/a Smart Care Equipment Solutions

 and Restaurant Equipment Maintenance Company LLC d/b/a/ REMCO at ECF No. 521, as

 amended at ECF No. 597, and (ii) Johnson Controls Security Solutions, LLC, et al. at ECF 546



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  (collectively, the “Unresolved Cure Objections”).3 Due to the voluminous nature of the invoices

  involved in the Unresolved Cure Objections, the Debtors need additional time to resolve the

  Unresolved Cure Objections. The final evidentiary hearing on the Unresolved Cure Objections, if

  necessary, is scheduled for October 16, 2024 at 1:30 p.m. prevailing Eastern Time at the

  United States Bankruptcy Court, 400 W. Washington Street, 6th Floor, Courtroom 6D,

  Orlando, Florida 32801 (the “Continued Cure Evidentiary Hearing”). The Debtors will file a

  status report at least two (2) days prior to the Continued Cure Evidentiary Hearing apprising the

  Court of the status of the Unresolved Cure Objections.

           O.       Confirmation Hearing Notice. Adequate and sufficient notice of the Confirmation

  Hearing was provided in compliance with the Bankruptcy Code, the Bankruptcy Rules, and the

  Solicitation Procedures Order. All parties required to be given notice of the Confirmation Hearing

  (including the deadline for filing and serving objections to confirmation of the Plan) have been

  provided due, proper, timely, and adequate notice and have had an opportunity to appear and be

  heard with respect thereto. No other or further notice is required.

           P.       Solicitation. Solicitation for votes on the Plan occurred after disclosure of

  “adequate information” as defined in section 1125(a)(1) of the Bankruptcy Code, in good faith,

  and in compliance with Bankruptcy Code sections 1125 and 1126, Bankruptcy Rules 3017 and

  3018, the Disclosure Statement, the Solicitation Procedures Order, the Local Rules, all other

  applicable provisions of the Bankruptcy Code and Bankruptcy Rules, and all other applicable rules,

  laws, and regulations applicable to such solicitation. Pursuant to the Solicitation Procedures Order,

  the Debtors transmitted Solicitation Packages to those holders of Claims and Interests entitled to


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    Certain of the Cure Objections relate to Unexpired Leases or Executory Contracts that the Debtors are rejecting,
  including those Cure Objections (i) filed by Thai Union Public Company Limited and Tri-Union Frozen Products,
  Inc. at ECF No. 533; (ii) filed by Rubin Postaer and Associates, Inc. at ECF No. 559; and (iii) filed by R&H Properties
  at ECF No. 584. As a result, such Cure Objections are moot.

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  vote on the Plan as of the Voting Record Date (as defined in the Solicitation Procedures Order).

  As evidenced by the Tabulation Declaration, votes to accept or reject the Plan have been solicited

  and tabulated fairly, in good faith and in a manner consistent with the Solicitation Procedures

  Order, the Bankruptcy Code, the Bankruptcy Rules and the Local Rules.

         Q.      Voting. Votes on the Plan were solicited after disclosure of “adequate information”

  as defined in section 1125 of the Bankruptcy Code. On September 3, 2024, the Solicitation Agent

  filed the Tabulation Declaration. The Tabulation Declaration provides complete transparency as

  to the voting and tabulation procedures and reflects compliance by the Debtors, in reaching the

  determinations reflected therein, with the requirements of Bankruptcy Code sections 1126(c) and

  (d) and Bankruptcy Rule 3018(a) and (c). As reflected by the Tabulation Declaration, votes to

  accept or reject the Plan have been solicited and tabulated fairly, in good faith and in a manner

  consistent with the Solicitation Procedures Order, the Bankruptcy Code, the Bankruptcy Rules,

  and the Local Rules.

                                            Confirmation

         R.      Bankruptcy Rule 3016. The Plan is dated and identifies the entities submitting it,

  thereby satisfying Bankruptcy Rule 3016(a).

         S.      Plan Compliance with the Bankruptcy Code (11 U.S.C. § 1129(a)(1)). The Plan

  complies with all applicable provisions of the Bankruptcy Code as required by Bankruptcy Code

  section 1129(a)(l), including compliance with Bankruptcy Code sections 1122 and 1123.

                 (i)     Bankruptcy Code Section 1122 – Proper Classification. The Plan properly

  classifies claims and equity interests in satisfaction of Bankruptcy Code section 1122. Article III

  of the Plan sets forth five classes of claims and one class of interests, as follows: Miscellaneous

  Secured Claims (Class 1), Other Priority Claims (Class 2), Prepetition Term Loan Claims

  (Class 3), General Unsecured Claims (Class 4), Intercompany Claims (Class 5), and Interests in

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  the Debtors (Class 6). Valid reasons exist for separately classifying the various Classes of Claims

  and Interests created under the Plan, and, accordingly, the Plan properly classifies claims and

  equity interests, satisfying the requirements of Bankruptcy Code section 1122.

                 (ii)    Bankruptcy Code Section 1123(a)(1) - Designation of Classes of Non-

  Priority Claims and Interests. Article III of the Plan satisfies Bankruptcy Code section 1123(a)(1)

  by designating classes of Claims and Interests, and by not classifying Administrative Expense

  Claims (entitled to priority under Bankruptcy Code section 507(a)(2)) or Priority Tax Claims

  (entitled to priority under Bankruptcy Code section 507(a)(8)). Article II of the Plan separately

  specifies the statutorily required treatment for Administrative Expense Claims and Priority Tax

  Claims.

                 (iii)   Bankruptcy Code Section 1123(a)(2) – Specified Classes of Unimpaired

  Claims. Article III of the Plan satisfies Bankruptcy Code section 1123(a)(2) by specifying that

  Class 1 (Miscellaneous Secured Claims) and Class 2 (Other Priority Claims) are Unimpaired.

                 (iv)    Bankruptcy Code Section 1123(a)(3) – Treatment of Impaired Claims and

  Interests. Article III of the Plan satisfies Bankruptcy Code section 1123(a)(3) by specifying the

  treatment of the Impaired Claims and Interests in Class 3 (Prepetition Term Loan Claims), Class 4

  (General Unsecured Claims), Class 5 (Intercompany Claims), and Class 6 (Interests).

                 (v)     Bankruptcy Code section 1123(a)(4) – No Discrimination. Article III of the

  Plan satisfies Bankruptcy Code section 1123(a)(4) by providing identical treatment for all holders

  of Claims or Interests within each Class unless a holder of a Claim or Interest in that Class agrees

  or agreed to less favorable treatment for such Claim or Interest.

                 (vi)    Bankruptcy Code section 1123(a)(5) – Adequate Means for Plan

  Implementation. Pursuant to the Reorganized Equity Sale Notice, the Debtors have advised this



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  Court that the Purchaser intends to proceed with a Sale Transaction in the form of a Reorganized

  Equity Sale. If consummated, the Reorganized Equity Sale will result in the preservation of as

  many as 545 restaurant locations in the United States, Canada, and franchised locations in Asia

  and Latin America. The Reorganized Debtors will continue to employ as many as 32,000 people.

  The Plan provides adequate and proper means for the implementation of the Sale Transaction (in

  particular, the Reorganized Equity Sale) as required by section 1123(a)(5) of the Bankruptcy Code.

  The Plan satisfies Bankruptcy Code section 1123(a)(5) by setting forth the means of its

  implementation in, among other provisions, Article IV of the Plan, as well as in the various

  documents and agreements set forth in the Plan Supplement.

                 (vii)   Bankruptcy Code section 1123(a)(6) – Non-Voting Equity Securities.

  Article IV.B.2(c) of the Plan expressly provides for compliance with such section, thereby

  satisfying Bankruptcy Code section 1123(a)(6).

                 (viii) Bankruptcy Code section 1123(a)(7) – Directors and Officers. The Debtors

  have properly and adequately disclosed the identity and affiliations of the individuals proposed to

  serve on or after the Plan Effective Date as officers or directors of the Reorganized Debtors, as set

  forth in article IV.C.6 of the Plan, in the Plan Supplement and/or the Plan Supplement Amendment,

  thereby satisfying Bankruptcy Code section 1123(a)(7). The identification, appointment,

  employment, or manner of selection of such individuals or entities and the proposed compensation

  and indemnification arrangements for officers and directors are consistent with the interests of

  holders of Claims and Interests and with public policy.

                 (ix)    Additional Plan Provisions (11 U.S.C. §1123(b)). The other provisions of

  the Plan are appropriate and consistent with the applicable provisions of the Bankruptcy Code,

  thereby satisfying section 1123(b) of the Bankruptcy Code. The failure to specifically address a



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  provision of the Bankruptcy Code in this Confirmation Order shall not diminish or impair the

  effectiveness of this Confirmation Order.

                 (x)     Bankruptcy Code section 1123(b)(1) – Claims. The Plan is consistent with

  Bankruptcy Code section 1123(b)(1) because under Article III of the Plan, Class 1 (Miscellaneous

  Secured Claims) and Class 2 (Other Priority Claims) are Unimpaired and treated as the Bankruptcy

  Code requires, while Class 3 (Prepetition Term Loan Claims), Class 4 (General Unsecured

  Claims), Class 5 (Intercompany Claims), and Class 6 (Interests) are Impaired based on the Plan’s

  modification of the rights of the holders of Claims and Interests within such Classes.

                 (xi)    Bankruptcy Code section 1123(b)(2) – Executory Contracts and Unexpired

  Leases. The Plan is consistent with Bankruptcy Code section 1123(b)(2) because article V.A of

  the Plan addresses the assumption and rejection of Executory Contracts and Unexpired Leases.

                 (xii)   Bankruptcy Code section 1123(b)(3) – Settlement, Releases, Exculpation,

  Injunction and Preservation of Claims and Causes of Action. This Court has jurisdiction under

  sections 1334(a) and (b) of title 28 of the United States Code to approve the compromise and

  settlement, release, exculpation, and injunction provisions set forth in articles VIII.A through and

  including VIII.E of the Plan. The Plan is consistent with Bankruptcy Code section 1123(b)(3)

  because the Plan’s discretionary provisions, including certain release and exculpation provisions,

  are appropriate and consistent with the applicable provisions of the Bankruptcy Code.

                         a.     Debtors’ Release. In accordance with section 1123(b)(3)(A) of the

  Bankruptcy Code, the releases of Claims and Causes of Action by the Debtors described in article

  VIII.A.2 of the Plan (the “Debtors’ Release”) represent a valid exercise of the Debtors’ business

  judgment. The Debtors’ pursuit of any such claims against the Released Parties is not in the best

  interests of the Estates’ various constituencies and is fair and equitable. The Plan, including the



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  Debtors’ Release, was negotiated by sophisticated parties represented by able counsel and financial

  advisors. The Debtors’ Release is, therefore, the result of an arm’s length negotiation and

  appropriately offers protection to parties that participated in the Debtors’ restructuring process.

  Specifically, the Released Parties under the Plan made significant concessions and contributions

  to the Chapter 11 Cases, including, as applicable, entering into the RSA and related term sheet and

  agreements, the Restructuring Transactions and related agreements, actively supporting the Plan

  and the Chapter 11 Cases, settling and compromising substantial rights and Claims against the

  Debtors under the Plan and providing postpetition financing, as the case may be. The Debtors’

  Release for the Debtors’ current directors, managers, and officers is appropriate because the

  Debtors’ directors, managers, and officers share an identity of interest with the Debtors, supported

  the Plan and the Chapter 11 Cases, actively participated in meetings, negotiations, and

  implementation of the restructuring and sale processes during the Chapter 11 Cases, and have

  provided other valuable consideration to the Debtors in the period leading up to and throughout

  the Chapter 11 Cases. The scope of the Debtors’ Release is appropriately tailored under the facts

  and circumstances of the Chapter 11 Cases. In light of, among other things, the value provided by

  the Released Parties to the Debtors’ Estates and the critical nature of the Debtors’ Release to the

  Plan, the Debtors’ Release is appropriate.

                         b.     Third Party Release. The release by the Releasing Parties (the

  “Third Party Release”), set forth in article VIII.A.3 of the Plan, is an essential provision of the

  Plan. The Third Party Release is: (1) consensual; (2) in exchange for the good and valuable

  consideration provided by the Released Parties; (3) a good-faith settlement and compromise of the

  claims and Causes of Action released by the Third Party Release (see article VIII.A.3 of the Plan);

  (4) mutually beneficial to, and in the best interests of, the Debtors, their Estates, and their



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  stakeholders, and is important to the overall objectives of the Plan to finally resolve certain Claims

  among or against certain parties in interest in the Chapter 11 Cases; (5) fair, equitable and

  reasonable; (6) given and made after due notice and opportunity for hearing; (7) a bar to any of the

  Releasing Parties asserting any claim or Cause of Action released by the Third Party Release

  against any of the Released Parties; and (8) consistent with sections 105, 524, 1123, 1129 and 1141

  and other applicable provisions of the Bankruptcy Code. Like the Debtors’ Release, the Third Party

  Release facilitated participation of the Released Parties in both the Plan and the Chapter 11 Cases

  generally. The Third Party Release is instrumental to and an integral part of the Plan, the

  Restructuring Transactions it implements, and was critical in incentivizing the Released Parties to

  support the Plan and preventing potentially significant and time-consuming litigation regarding

  the parties’ respective rights and interests. The Third Party Release was instrumental in developing

  a plan that maximized value for all of the Debtors’ stakeholders and preserved the Debtors’

  business as a going concern. The Third Party Release appropriately offers certain protections to

  parties who constructively participated in the Chapter 11 Cases. The projected recovery under the

  Plan for holders of Class 3 and 4 Claims derives from the global resolution outlined in the Final

  DIP Order and embodied in the Plan, and the releases contemplated therein, which are also the

  result of the agreement of parties to such settlement that bargained, in exchange, to be Released

  Parties under the Plan. Further, the Third Party Release is consensual as the definition of Releasing

  Parties does not include any holder of Claims who did not affirmatively vote in support of the Plan,

  and the release provisions of the Plan were conspicuous in the Confirmation Hearing Notice, the

  Plan, the Disclosure Statement, the Ballots and the Notice of Non-Voting Status. There is an

  identity of interests between the Debtors and the entities that will benefit from the Third Party

  Release. Each of the Released Parties, as stakeholders and critical participants in the Chapter 11



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  Cases, share a common goal with the Debtors in seeing the Plan succeed and the Restructuring

  Transactions consummated. The scope of the Third Party Release is appropriately tailored to the

  facts and circumstances of the Chapter 11 Cases, and parties received due and adequate notice of

  the Third Party Release. Among other things, the Plan provides appropriate and specific disclosure

  with respect to the claims and Causes of Action that are subject to the Third Party Release, and no

  other disclosure is necessary. In light of the foregoing, the Third Party Release is appropriate.

                         c.      Exculpation, Injunction and Preservation of Claims and Causes of

  Action. The exculpation, injunction, and preservation of Claims and Causes of Action provisions

  are integral to the Plan and the Restructuring Transactions it implements and were critical in

  incentivizing parties in interest to support the Plan and preventing potentially significant and time-

  consuming litigation regarding the parties’ respective rights and interests. The exculpation,

  injunction, and preservation of Claims and Causes of Action provisions are key components of

  developing a plan that maximized value for all of the Debtors’ stakeholders and preserved the

  Debtors’ business as a going concern, and are appropriately tailored to the facts and circumstances

  of the Chapter 11 Cases.

         T.      Debtors’ Compliance with the Bankruptcy Code (11 U.S.C. § 1129(a)(2)). The

  Debtors have complied with the applicable provisions of the Bankruptcy Code (including sections

  1125 and 1126), the Bankruptcy Rules (including Bankruptcy Rules 3017 and 3018), the

  Solicitation Procedures Order, and other Orders of this Court, thereby satisfying Bankruptcy Code

  section 1129(a)(2). Additionally, the Debtors are proper debtors under Bankruptcy Code section

  109.

         U.      Plan Proposed in Good Faith (11 U.S.C. § 1129(a)(3)). The Plan has been proposed

  in good faith and not by any means forbidden by law, and thereby complies with Bankruptcy Code



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  section 1129(a)(3). The Plan (i) is the result of extensive, good faith, arm’s length negotiations

  among the Debtors, the Prepetition Term Loan Parties, and the Committee, (ii) bears the support

  of a Class of impaired creditors (Class 3 Prepetition Term Loan Claims), and (iii) implements a

  result that is in keeping with (and, indeed, central to) the goals of the Bankruptcy Code. Indeed,

  the Plan is designed to rehabilitate the Red Lobster restaurant chain, de-lever its balance sheet, and

  optimize its financial performance going forward, thereby maximizing the going concern value of

  the enterprise for the benefit of all stakeholders. The Plan contains only provisions that are

  consistent with the Bankruptcy Code.

         V.      Payment for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)). Pursuant to

  the interim compensation procedures previously approved by this Court and established in these

  Chapter 11 Cases pursuant to section 331 of the Bankruptcy Code, all payments made or to be

  made by the Debtors for services or for costs and expenses in connection with these Chapter 11

  Cases, or in connection with the Plan and incident to the Chapter 11 Cases, have been approved

  by, or are subject to the approval of, this Court as reasonable, thereby satisfying section 1129(a)(4)

  of the Bankruptcy Code.

         W.      Directors, Officers, and Insiders (11 U.S.C. § 1129(a)(5)). The Debtors have

  complied with section 1129(a)(5) of the Bankruptcy Code. The identity and affiliation of any

  individuals proposed to serve after confirmation of the Plan have been disclosed, as the name of

  the (i) GUC Trustee has been disclosed in the Form of GUC Trust Agreement which was attached

  to the Plan Supplement as Exhibit F; and (ii) Plan Administrator has been disclosed in the Plan

  Supplement Amendment, both filed prior to the Confirmation Hearing. As such, the Plan satisfies

  section 1129(a)(5) of the Bankruptcy Code.




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          X.         No Rate Changes (11 U.S.C. § 1129(a)(6)). No governmental regulatory

  commission has jurisdiction, after confirmation of the Plan, over the rates of the Debtors. Thus,

  section 1129(a)(6) of the Bankruptcy Code is not applicable in these Chapter 11 Cases.

          Y.         Best Interests of Creditors (11 U.S.C. § 1129(a)(7)). As demonstrated by the

  Haughey Declaration, the Stratton Declaration, the Tabulation Declaration and the Liquidation

  Analysis attached as Exhibit B to the Disclosure Statement, the “best interests of creditors” test of

  Bankruptcy Code 1129(a)(7) is satisfied as to all holders of Claims and Interests in Impaired

  Classes under the Plan because each such holder of a Claim or Interest is projected and estimated

  to receive or retain under the Plan a distribution of not less than the distribution that such holder

  is projected and estimated to receive if the Chapter 11 Cases were converted to cases under chapter

  7 of the Bankruptcy Code. Because the non-accepting holders would not receive any greater

  recovery in a chapter 7 liquidation than under the Plan, the Plan satisfies the “best interests of

  creditors” test.

          Z.         Acceptance by Certain Classes (11 U.S.C. § 1129(a)(8)). Bankruptcy Code section

  1129(a)(8) is satisfied because Class 1 (Miscellaneous Secured Claims) and Class 2 (Other Priority

  Claims) are Unimpaired, were not entitled to vote and are deemed to have accepted the Plan

  pursuant to the conclusive presumption mandated by Bankruptcy Code section 1126(f) and, as

  reflected in the Tabulation Declaration and based on votes tabulated in accordance with

  Bankruptcy Code section 1126(c) and (d) and Bankruptcy Rule 3018(a) and (c), the Plan has been

  accepted by Class 3 (Prepetition Term Loan Claims).

          AA.        Treatment of Priority Claims (11 U.S.C. § 1129(a)(9)). The treatment of

  Administrative Expense Claims and Priority Tax Claims pursuant to Article II of the Plan satisfies

  the requirements of sections 1129(a)(9) of the Bankruptcy Code.



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          BB.     Acceptance By At Least One Impaired Class of Claims (11 U.S.C. § 1129(a)(10)).

  100% of the voting members of Class 3 (Prepetition Term Loan Claims), exclusive of any claims

  of Insiders (as defined in the Bankruptcy Code), all of which are Impaired under the Plan and

  entitled to vote, have unanimously voted in favor of the Plan, therefore satisfying the requirements

  of Bankruptcy Code section 1129(a)(10).

          CC.     Feasibility of the Plan (11 U.S.C. § 1129(a)(11)). The information in the Disclosure

  Statement and the evidence proffered or adduced at the Confirmation Hearing and set forth in the

  Haughey Declaration and the Stratton Declaration: (i) is persuasive and credible; (ii) has not been

  controverted by other evidence; and (iii) establishes that the Plan is feasible. As a result, there is a

  reasonable likelihood that the Debtors, Reorganized Debtors, the Wind-Down Debtors, and/or

  GUC Trust, as the case may be, will meet their respective financial obligations under the Plan.

  Confirmation of the Plan is not likely to be followed by any additional liquidation or need for

  further financial reorganization of the Debtors, thereby satisfying the requirements of section

  1129(a)(11) of the Bankruptcy Code.

          DD.     Payment of Bankruptcy Fees (11 U.S.C. § 1129(a)(12)). All fees payable under

  section 1930 of title 28 of the United States Code (the “UST Fees”) have been or will be paid on

  or after the Plan Effective Date, thereby satisfying the requirements of section 1129(a)(12) of the

  Bankruptcy Code. After the Plan Effective Date, such fees shall only be payable until such time as

  a final decree is entered closing the Chapter 11 Cases, a Final Order converting such cases to cases

  under chapter 7 of the Bankruptcy Code is entered, or a Final Order dismissing the Chapter 11

  Cases is entered. As set forth herein, after the Plan Effective Date, the Debtors, the Wind-Down

  Debtors, and the Reorganized Debtors, as applicable, shall pay the appropriate sums required

  pursuant to 28 U.S.C. § 1930(a)(6), when due and payable, and shall file with the Bankruptcy



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  Court quarterly reports in a form reasonably acceptable to the U.S. Trustee, until the earliest of the

  date on which the final Chapter 11 Cases are converted, dismissed, or closed. Notwithstanding any

  term or provision in the Plan, the Plan Supplement, or this Confirmation Order, the Court retains

  jurisdiction over, and the U.S. Trustee and the GUC Trust each reserves all of their respective

  rights concerning, any and all disputes and issues that may arise relating to UST Fees on (and

  reporting obligations relating to) disbursements of any GUC Trust Assets and GUC Litigation

  Proceeds. Either the U.S. Trustee or the GUC Trust may seek appropriate relief from the Court in

  the event disputes or issues arise relating to UST Fees on (or reporting obligations relating to)

  disbursements of GUC Trust Assets and GUC Litigation Proceeds

           EE.   Retiree Benefits (11 U.S.C. § 1129(a)(13)). The Debtors have no obligations with

  respect to retiree benefits. Accordingly, section 1129(a)(13) of the Bankruptcy Code is

  inapplicable in these Chapter 11 Cases.

           FF.   No Domestic Support Obligations (11 U.S.C. § 1129(a)(14)). The Debtors are not

  required by a judicial or administrative order, or by statute, to pay a domestic support obligation.

  Accordingly, section 1129(a)(14) of the Bankruptcy Code is inapplicable in these Chapter 11

  Cases.

           GG.   Debtors Are Not Individuals (11 U.S.C. § 1129(a)(15)). The Debtors are not

  individuals. Accordingly, section 1129(a)(15) of the Bankruptcy Code is inapplicable in these

  Chapter 11 Cases.

           HH.   No    Applicable    Nonbankruptcy      Law     Regarding     Transfers   (11   U.S.C.

  § 1129(a)(16)). The Debtors are moneyed, business, or commercial corporations, and/or

  partnerships, as the case may be. Accordingly, section 1129(a)(16) of the Bankruptcy Code is

  inapplicable in these Chapter 11 Cases.



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          II.     No Unfair Discrimination; Fair and Equitable (11 U.S.C. § 1129(b)). The Debtors

  have satisfied the requirements of sections 1129(b)(1) and (b)(2) of the Bankruptcy Code with

  respect to Class 4 (General Unsecured Claims) (the “Rejecting Class”) and Class 5 (Intercompany

  Claims) and Class 6 (Interests) (the “Presumed Rejecting Classes,” and collectively with the

  Rejecting Class, the “Rejecting Classes”). Based on the evidence proffered or adduced at the

  Confirmation Hearing and in the Haughey Declaration, the Plan does not discriminate unfairly

  with respect to the Rejecting Classes, as required by section 1129(b)(1) of the Bankruptcy Code,

  because the legal rights of such Claims and Interests held in the Rejecting Classes are substantially

  dissimilar from the Classes of Claims receiving distributions under the Plan as well as substantially

  similar to each other within, respectively, Classes 4, 5 and 6. Further, the Plan is fair and equitable

  with respect to the Rejecting Classes, as required by sections 1129(b)(1) and (b)(2) of the

  Bankruptcy Code because, notwithstanding the fact that the Rejecting Classes have not accepted

  the Plan, (i) the treatment provided under the Plan to Class 4 contemplates the possibility of a

  Distribution depending on the outcome of the liquidation of the Equityholder Litigation Claims,

  and (ii) no holder of a Claim or Interest that is junior to the Claims in Classes 4 or 5 or junior to

  the Interests in Class 6 will receive or retain any property on account of such Claim or Interest.

  Accordingly, the Plan may be confirmed even though section 1129(a) of the Bankruptcy Code is

  not fully satisfied.

          JJ.     Only One Plan (11 U.S.C. § 1129(c)). The Plan is the only plan filed in these

  Chapter 11 Cases for each of the Debtors. Accordingly, section 1129(c) of the Bankruptcy Code

  is inapplicable in these Chapter 11 Cases.

          KK.     Principal Purpose of the Plan (11 U.S.C. § 1129(d)). The Plan satisfies the

  requirements of Bankruptcy Code section 1129(d) because it reflects a consensual restructuring



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  and Sale Transaction negotiated among the Debtors, the Prepetition Term Loan Parties, and the

  Committee to sell the Debtors’ business operations as a going-concern with an improved capital

  structure and distribute the Sale Proceeds in accordance with the Plan. The principal purpose of

  the Plan is not, therefore, the avoidance of taxes or avoidance of the requirements of section 5 of

  the Securities Act of 1933, and there has been no filing by any governmental agency asserting such

  avoidance.

         LL.      Small Business Case (11 U.S.C. §1129(e)). None of the Chapter 11 Cases is a

  “small business case,” as that term is defined in the Bankruptcy Code, and, accordingly, section

  1129(e) of the Bankruptcy Code is inapplicable.

         MM. Good Cause Exists to Waive the Stay of the Order. Good cause exists for waiving

  and eliminating any stay of the Confirmation Order pursuant to Bankruptcy Rules 3020, 6004, and

  6006 so that the Confirmation Order will be effective immediately upon its entry. Moreover, cause

  also exists to waive the fourteen-day stay under Bankruptcy Rule 3020(e) based on the absence of

  unresolved objections of any holder of a Claim or Interest. As a result, no party will likely be

  seeking to obtain a stay on implementation of the Confirmation Order pending appeal, and an

  automatic temporary stay is not needed to protect any appellate rights.

         NN.      Burden of Proof and Satisfaction of Confirmation Requirements. Based upon the

  foregoing, the Debtors, as proponents of the Plan, have met their burden of proving compliance

  with each element of Bankruptcy Code sections 1125 and 1129(a) and (b) by a preponderance of

  the evidence.

         OO.      Good Faith. The Debtors, the Purchaser, the Committee, the DIP Lenders, and the

  Prepetition Term Loan Parties, and each of their respective members, employees, officers,

  directors, agents, advisors, attorneys, and financial advisors, have acted in good faith and in



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  compliance with the applicable provisions of the Bankruptcy Code pursuant to sections 363(m),

  1125(e), and 1129(a)(3) of the Bankruptcy Code, with respect to the administration of the Plan,

  the solicitation of acceptances with respect thereto, and the property to be distributed thereunder

  and are entitled to the protections afforded by section 1125(e) of the Bankruptcy Code and the

  exculpation, injunction, and release provisions set forth in the Plan.

         PP.     Conduct of the Marketing and Sale Process. As demonstrated by the Stratton

  Declaration, the prepetition and postpetition marketing and sale process described in the First Day

  Declaration and authorized in the Bidding Procedures Order was implemented, conducted, and

  executed in a good faith manner in accordance with the Bidding Procedures Order. On or about

  August 22, 2024, the Debtors and the Purchaser entered into an amended and restated Purchase

  Agreement, which replaced and superseded the Stalking Horse Purchase Agreement. The

  Amended and Restated Purchase Agreement is the Purchase Agreement. The Purchase Agreement

  allows for the possibility of a Sale Transaction either by way of asset sale pursuant to section 363

  of the Bankruptcy Code or through the Plan by way of Reorganized Equity Sale. The Purchase

  Agreement and the transactions contemplated thereby were negotiated at arm’s length and entered

  into by the Debtors and the Purchaser in good faith. Neither the Debtors nor the Purchaser have

  engaged in any conduct that would cause or permit the Purchase Agreement or the Sale Transaction

  to be avoided under section 363(n) of the Bankruptcy Code. The Purchaser is entitled to the

  protections afforded a good faith purchaser under section 363(m) of the Bankruptcy Code.

         QQ.     Consideration for Purchased Assets. The Debtors have adequately marketed the

  Purchased Assets for sale, and the consideration to be received by the Debtors under the Purchase

  Agreement (i) is fair and reasonable, (ii) is the highest and best offered for the Purchased Assets,

  and (iii) constitutes reasonably equivalent value and fair and reasonable consideration under the



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  Bankruptcy Code and under the laws of the United States, any state, territory, or possession

  thereof, and the District of Columbia.

          RR.     Liquor Licenses. Alcohol purchases and sales currently are conducted by the

  Debtors at locations that will continue to be operated by the Reorganized Debtors, the Purchaser

  or their respective affiliates, as applicable, after the Plan Effective Date (such locations,

  collectively, the “Retained Locations”). Such purchases and sales of alcohol are made pursuant to

  the respective alcoholic beverage licenses governing such purchases and sales at each such

  Retained Location (collectively, the “Liquor Licenses”). The purchase and sale of alcohol is an

  important component of the operation of the Retained Locations. This Court finds that it is in the

  best interests of the Debtors’ Estates and all other parties in interest for alcohol purchases and sales

  to continue uninterrupted during the transition of operation of the Retained Locations pursuant to

  the Plan, subject to reasonable, timely and good faith efforts to either transfer existing Liquor

  Licenses (as well as Liquor Licenses associated with closed stores) or apply for new liquor licenses

  equivalent to the Liquor Licenses that are not subject to transfer.

          SS.     GUC Trust is Not a Successor to the Debtors. Except with respect to the rights

  provided to the GUC Trust (including, but not limited to the Equityholder Litigation Claims), the

  GUC Trust shall not be the successor to the Debtors and their Estates. Except with respect to the

  rights of the GUC Trust expressly provided for in the Plan (including, but not limited to, the

  investigation and pursuit of the Equityholder Litigation Claims), the GUC Trust Agreement and

  this Confirmation Order, (i) the GUC Trust shall not assume, incur or be responsible for any claims

  or liabilities of the Debtors or any of their affiliates, and (ii) the GUC Trust shall not be, nor deemed

  to be, a successor or successor in interest of the Debtors, nor incur any successor or transferee

  liability of any kind, nature or character, including, without limitation, in relation to (a) any and



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  all liabilities arising or resulting from or relating to the transactions contemplated by the Plan,

  (b) any and all Claims, Liens, liabilities, encumbrances, charges and other interests arising from

  or relating to any conduct, liabilities, or obligations of the Debtors, and (c) any and all Claims,

  Liens, liabilities, encumbrances, charges and other interests and any and all right, title, and interests

  related thereto, of governmental entities relating to any tax or similar liabilities.

          TT.     No Successor Liability for Purchaser or Reorganized Debtors. By consummating

  the Sale Transaction (via a Reorganized Equity Sale), neither the Purchaser nor the Reorganized

  Debtors are a mere continuation of any or all of the Debtors or the Estates, and there is no

  continuity or identity of ownership, and, with respect to the Wind-Down Debtors and RL

  Management, no continuity of enterprise. Neither the Purchaser nor the Reorganized Debtors or

  their respective affiliates are successors to the Debtors or the Estates by reason of any theory of

  law or equity, and the Sale Transaction (via a Reorganized Equity Sale) does not amount to a

  consolidation, merger, or de facto merger. Neither the Purchaser nor the Reorganized Debtors or

  their respective affiliates are or should be deemed to be an alter ego, a mere continuation, or

  substantial continuation of the Debtors or the Estates. Except for the Assumed Liabilities set forth

  in the Purchase Agreement, neither the Purchaser nor the Reorganized Debtors have agreed to

  assume or in any way be responsible for any obligation or liability of the Debtors and/or the

  Estates.

          UU.     Plan Modifications.

             i.   Article V.B of the Plan is stricken and replaced with the following:

                  Entry of the Confirmation Order shall, subject to and upon the
                  occurrence of the Plan Effective Date, constitute the Bankruptcy
                  Court’s approval of the assumptions, assignments or rejections, as
                  applicable, of the Executory Contracts and Unexpired Leases under
                  the Plan. Any motion of the Debtors to assume an Executory
                  Contract or Unexpired Lease pending on the Plan Effective Date


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               shall be subject to approval by the Bankruptcy Court by a Final
               Order.

               Notwithstanding anything to the contrary in the Plan, the Debtors
               and the Reorganized Debtors, as applicable, reserve the right to
               amend, modify, or supplement the Assumed Executory Contracts
               and Unexpired Leases List to add or remove any Executory Contract
               or Unexpired Lease to such list at any time prior to the Plan Effective
               Date (with respect to Executory Contracts) or the date of entry of
               the Confirmation Order (with respect to Unexpired Leases), as
               applicable, unless it is a Post-Confirmation Date Negotiated Lease,
               as defined in the Confirmation Order, subject to the consent of the
               Purchaser. The Debtors or the Reorganized Debtors shall provide
               notice of any amendments to the Assumed Executory Contracts and
               Unexpired Leases List to their counterparties affected thereby.

         ii.   Article V.C of the Plan is stricken and replaced with the following:

               Unless otherwise provided by a Final Order, Proofs of Claim with
               respect to Claims arising from the rejection of Executory Contracts
               or Unexpired Leases pursuant to the Plan, if any, must be Filed with
               the Bankruptcy Court within thirty (30) days after the later of (1) the
               date of entry of an order of the Bankruptcy Court (including the
               Confirmation Order) approving such rejection, (2) the effective date
               of such rejection, or (3) the Plan Effective Date.

               Any Claims arising from the rejection of an Executory Contract
               or Unexpired Lease not Filed with the Bankruptcy Court shall
               be released, discharged, and forever barred from assertion, and
               such Claim shall not be enforceable against the Purchaser, the
               Debtors, the Reorganized Debtors, the Debtors’ Estates, the
               Wind-Down Debtor(s), or the GUC Trustee, as applicable, or
               their respective properties (including the Purchased Assets).

        iii.   Article V.D of the Plan is stricken and replaced with the following:

               Pursuant to section 365(b)(1) of the Bankruptcy Code, all monetary
               and non-monetary defaults under each Executory Contract and
               Unexpired Lease to be assumed pursuant to the Plan shall be fully
               and completely satisfied by the Purchaser or applicable Debtor(s)
               party to such Executory Contract or Unexpired Lease by payment of
               the Cure Amount in Cash on the earlier of (i) the Plan Effective
               Date, (ii) the consummation of a 363 Asset Sale, if applicable, or
               (iii) at such time and on such other terms as the parties to such
               Executory Contracts or Unexpired Leases may agree, with the
               consent of the Purchaser. In the event of an unresolved dispute


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                 regarding (1) the amount of any payments to cure such a default, (2)
                 the ability of the Reorganized Debtors or Purchaser(s) (as
                 applicable) or any assignee to provide “adequate assurance of future
                 performance” (within the meaning of section 365 of the Bankruptcy
                 Code), or (3) any other matter pertaining to assumption or
                 assignment, the payment of the Cure Amount shall not be made until
                 such time as the dispute is resolved by a Final Order.

                 The Debtors served on the applicable counterparties notices of
                 proposed assumption and proposed Cure Amounts pursuant to the
                 terms of the Bidding Procedures. Any objection by a counterparty
                 to an Executory Contract or Unexpired Lease to the proposed
                 assumption or Cure Amount must be Filed and served to be
                 actually received by no later than the applicable objection
                 deadline set forth in the Bidding Procedures Order or the
                 Solicitation Procedures Order, as applicable. Any counterparty
                 to an Executory Contract or Unexpired Lease designated for
                 assumption that fails to object timely to the proposed assumption,
                 Cure Amount or adequate assurance of future performance shall be
                 deemed to have consented to all of the foregoing.

                                               ORDER

  BASED ON THE FOREGOING FINDINGS OF FACT AND CONCLUSIONS OF LAW, IT IS
  ORDERED, ADJUDGED, AND DECREED THAT:

         1.      Adequate Information. The Disclosure Statement (i) contains “adequate

  information” (as such term is defined in section 1125(a)(1)) with respect to the Debtors, the Plan,

  and the transactions contemplated therein, and (ii) is approved on a final basis.

         2.      Confirmation. The Plan, as further amended at ECF No. 1124, including all

  exhibits, and each of the documents comprising the Plan Supplement, each as may be amended,

  modified or supplemented from time to time prior to or after the date hereof in accordance with,

  and subject to the approvals and consents set forth in the Plan, and each of which are incorporated

  by reference into and are an integral part of this Confirmation Order (except for the documents

  contained in the Plan Supplement), are approved in their entirety and confirmed under section

  1129 of the Bankruptcy Code, subject to the modifications set forth herein. The Debtors are

  authorized to take all actions necessary or appropriate to enter into, implement, and consummate

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  the contracts, instruments, releases, and other agreements or documents created in connection with

  the Plan, including (but not limited to) entry into the agreements contained in the Plan Supplement.

         3.      Objections. All parties in interest have had a full and fair opportunity to litigate

  objections to the adequacy of the Disclosure Statement and to contest confirmation of the Plan.

  All formal and informal objections, responses, statements, and comments in opposition to the

  Disclosure Statement or Plan, other than those withdrawn in their entirety prior to the Confirmation

  Hearing or otherwise resolved on the record of the Confirmation Hearing and/or herein, are

  overruled on the merits for the reasons stated on the record at the Confirmation Hearing.

         4.      Omission of Reference to Particular Plan Provisions. The failure to specifically

  describe or include any particular provision of the Plan in this Confirmation Order shall not

  diminish or impair the effectiveness of such provision, it being the intent of this Bankruptcy Court

  that the Plan, including, without limitation, each of the documents comprising the Plan

  Supplement, each as may be amended, modified or supplemented from time to time after the date

  hereof in accordance with, and subject to the approvals and consents set forth in the Plan, be

  approved and confirmed in its entirety.

         5.      Plan Documents. The Plan, the Purchase Agreement and any amendments,

  modifications, and supplements thereto, the other Definitive Documents, and any other documents

  and agreements provided by the Debtors in support of confirmation of the Plan (including all

  exhibits and attachments thereto and documents referred to therein) (collectively, the “Plan

  Documents”), and the execution, delivery, and performance thereof by the Debtors, the

  Reorganized Debtors, the Wind-Down Debtors, the Plan Administrator, the Purchaser, the GUC

  Trust or the GUC Trustee, as the case may be, are authorized and approved when they are finalized,

  executed and delivered. Without further order or authorization of this Court, the Debtors, the GUC



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  Trustee, and the Plan Administrator and their respective successors and agents are authorized and

  empowered to make all modifications to all Plan Documents that are consistent with the Plan.

  Execution versions of the documents comprising the Plan Documents shall constitute legal, valid,

  binding, and authorized obligations of the respective parties thereto, enforceable in accordance

  with their terms.

             6.       Immediate Binding Effect. Except as otherwise provided in the Plan or this

  Confirmation Order, notwithstanding Bankruptcy Rules 3020(e), 6004(h), 7062, or otherwise,

  upon the occurrence of the Plan Effective Date, the terms of the Plan and the final, executed

  versions of the Definitive Documents shall be immediately effective and enforceable and deemed

  binding upon and inure to the benefit of the Debtors, the Reorganized Debtors, the Wind-Down

  Debtors, the GUC Trustee, the Plan Administrator, the Purchaser, the holders of Claims and

  Interests, the Released Parties, the Exculpated Parties, and each of their respective affiliates,

  successors and assigns.

             7.       Vesting of Assets in the Reorganized Debtors, the Purchaser, the GUC Trust, and

  the Wind-Down Debtors. Except as otherwise provided in the Plan or this Confirmation Order, on

  the Plan Effective Date, all property of each Debtor’s Estate, including Purchased Assets, shall

  vest in the Purchaser (or its designee),4 a Reorganized Debtor, or the GUC Trust as applicable, free

  and clear of all Liens, Claims, Causes of Action, charges and/or other encumbrances, purchase

  rights, options or rights of first refusal, and specifically: (a) all Purchased Assets shall vest in the

  Purchaser and the Reorganized Debtors, as applicable, free and clear of all Liens, Claims, Causes

  of Action, charges or other encumbrances, purchase rights, options or rights of first refusal; (b) all

  Wind-Down Assets shall vest in the Wind-Down Debtors, free and clear of all Liens, Claims,



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      For the avoidance of doubt, any reference to the Purchaser shall be deemed to include any of its designees.

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  Causes of Action, charges or other encumbrances, purchase rights, options or rights of first refusal;

  and (c) all GUC Trust Assets shall vest in the GUC Trust free and clear of all Liens, Claims, Causes

  of Action, Interests, charges or other encumbrances, purchase rights, options or rights of first

  refusal. Notwithstanding anything in the Plan or this Confirmation Order to the contrary, to the

  extent it is impractical to effect the transfer of property to the Purchaser, the Reorganized Debtor,

  the GUC Trust, or the Wind-Down Debtors, as the case may be, on the Plan Effective Date, the

  transfer of such property (including the Liquor Licenses currently held by the Debtors) and the

  pre-transfer operation of the Debtors’ shall be governed by the Definitive Documents, including,

  without limitation, the Purchase Agreement, the transition services agreement entered in

  connection therewith (the “Transition Services Agreement”), and this Confirmation Order. Except

  as may be otherwise provided in the Plan, on and after the Plan Effective Date, the Purchaser (and

  its designees) and the Reorganized Debtors, as applicable, may own and operate the Purchased

  Assets and business and may use, acquire or dispose of property without supervision, oversight or

  approval by the Bankruptcy Court. Likewise, on and after the Plan Effective Date, RL

  Management may continue to operate its business, including with respect to the performance of

  services under the Transition Services Agreement, to facilitate Plan administration and as may be

  necessary to assist the Wind-Down Debtors in connection with the winding up of their remaining

  affairs. Additionally, the GUC Trustee may institute, litigate, compromise, settle, liquidate, or

  otherwise monetize or dispose of the Equityholder Litigation Claims without supervision or

  approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or

  Bankruptcy Rules, other than those restrictions expressly imposed by the GUC Trust Agreement,

  the Plan, and this Confirmation Order. Without limiting the foregoing, from and after the Plan

  Effective Date, RL Management, the Wind-Down Debtors, the Purchaser, the Reorganized



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  Debtors, the GUC Trustee on behalf of the GUC Trust, and the Plan Administrator on behalf of

  RL Management and the Wind-Down Debtors, if any, shall each pay its own reasonable and

  documented Professionals’ fees, disbursements, expenses or related support services (including

  reasonable and documented fees relating to the preparation of professional fee applications) in the

  ordinary course of business and without application or notice to, or order of, the Bankruptcy Court.

          8.      Maintenance of Bank Accounts. The Plan Administrator, on behalf of RL

  Management and the Wind-Down Debtors, shall, pursuant to the Transition Services Agreement,

  cooperate with the Purchaser and Reorganized Debtors to (i) facilitate the transfer of certain of the

  Debtors’ bank accounts, and (ii) transition the Debtors’ cash management system and to account

  for and turn over all cash receipts generated by the Red Lobster business on and after the Plan

  Effective Date (in accordance with the Purchase Agreement). The GUC Trustee, on behalf of the

  GUC Trust, and the Plan Administrator, on behalf of RL Management and the Wind-Down

  Debtors, shall be authorized to open such bank or other depository accounts as may be necessary

  or appropriate in the discretion of the GUC Trustee or the Plan Administrator to enable either to

  carry out the provisions of the Plan.

          9.      Free and Clear Transfers. Subject to the terms of the Plan (and Purchase

  Agreement), to the fullest extent permitted by the Bankruptcy Code, including, without limitation,

  sections 363, 1123(a)(5), and 1123(b)(4), all right, title and interest of the Debtors’ and their

  respective Estates in and to any and all assets, property, Unexpired Leases and Executory Contracts

  of every kind and nature to be sold, assigned, transferred or otherwise disposed of under the Plan,

  including the Purchased Assets, shall be sold, assigned, transferred and disposed of free and clear

  of any and all Liens, Claims, Causes of Action, Interests, charges or other encumbrances, purchase

  rights, options, rights of first refusal and other interests of any Person or entity.



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         10.     No Successor Liability for Purchaser or Reorganized Debtors. Neither the

  Purchaser (or its designees) nor the Reorganized Debtors shall be deemed or considered to (a) be

  a successor (or other such similarly situated party), or otherwise be deemed a successor to the

  Debtors or the Estates, including a “successor employer” for purposes of the Internal Revenue

  Code of 1986, ERISA, or other applicable laws; (b) have any responsibility or liability for any

  obligations of the Debtors or the Estates, or any affiliate of the Debtors, based on any theory of

  successor or similar theories of liability; (c) have, de facto or otherwise, merged with or into any

  of the Debtors; (d) be an alter ego or a mere continuation or substantial continuation of any of the

  Debtors or the Estates (and there is no continuity of enterprise with respect to the Wind-Down

  Debtors and RL Management), including within the meaning of any foreign, federal, state, or local

  revenue, pension, ERISA, tax, labor, employment, environmental, or other law, rule, or regulation

  (including filing requirements under any such laws, rules, or regulations), or under any products

  liability law or doctrine with respect to the Debtors’ liability under such law, rule, or regulation or

  doctrine. Except for the Assumed Liabilities set forth in the Purchase Agreement, neither the

  Purchaser (including its designees) nor the Reorganized Debtors will assume or in any way be

  responsible for any obligation or liability of the Debtors and/or the Estates.

         11.     Corporate Existence. Except as otherwise provided in the Purchase Agreement, the

  Plan, the Plan Supplement or this Confirmation Order, the Reorganized Debtors and the Wind-

  Down Debtors all shall continue to exist after the Plan Effective Date as separate legal entities,

  with all of the powers of corporations, limited liability companies, memberships and partnerships

  pursuant to the applicable laws in their states of incorporation or organization, as the case may be,

  subject to the terms of, and except as otherwise provided in or by, the Plan. The respective limited

  liability company agreements, articles or certificates of incorporation and by-laws (or other



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  applicable formation documents) in effect prior to the Plan Effective Date for each Debtor shall

  continue to be in effect after the Plan Effective Date except to the extent amended or modified in

  connection with the Plan. On or after the Plan Effective Date, the respective certificate of

  incorporation and bylaws (or other formation documents) of one or more of the Reorganized

  Debtors may be amended or modified in accordance with their terms without supervision or

  approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or

  Bankruptcy Rules. On or after the Plan Effective Date, one or more of the Wind-Down Debtors or

  the Reorganized Debtors may be disposed of, dissolved, wound down, or liquidated without

  supervision or approval by the Bankruptcy Court and free of any restrictions of the Bankruptcy

  Code or Bankruptcy Rules. On or immediately prior to the Plan Effective Date, the New

  Organizational Documents shall be adopted automatically by the Reorganized Debtors. To the

  extent required under the Plan or applicable non-bankruptcy law, the Reorganized Debtors shall

  file their respective New Organizational Documents with the applicable Secretaries of State and/or

  other applicable authorities in their respective states, provinces, or countries of incorporation. The

  New Organizational Documents shall, among other things: (1) authorize the issuance of the New

  Reorganized Debtor Equity and (2) pursuant to and only to the extent required by section

  1123(a)(6) of the Bankruptcy Code, include a provision prohibiting the issuance of non-voting

  equity securities of the Debtors. After the Plan Effective Date, each Reorganized Debtor may

  amend and restate its limited liability company agreement, certificate of incorporation and other

  formation and constituent documents as permitted by the laws of its respective jurisdiction of

  formation and the terms of the New Organizational Documents.

         12.     Corporate Action. Except as otherwise provided in the Plan or this Confirmation

  Order, each of the Debtors, the Purchaser, the Reorganized Debtors, the Wind-Down Debtors, the



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  Plan Administrator, or the GUC Trustee, as applicable, may take any and all actions to execute,

  deliver, File or record such contracts, instruments, releases and other agreements or documents

  and take such actions as may be necessary or appropriate to effectuate and implement the

  provisions of the Plan and the Restructuring Transactions contemplated therein. Other actions

  necessary to effect the Restructuring Transactions may include: (a) the execution and delivery of

  appropriate agreements or other documents of merger, amalgamation, consolidation, restructuring,

  conversion, disposition, transfer, arrangement, continuance, dissolution, sale, purchase or

  liquidation containing terms that are consistent with the terms of the Plan and that satisfy the

  applicable requirements of applicable law and any other terms to which the applicable Debtors or

  Reorganized Debtors may agree; (b) the execution and delivery of appropriate instruments of

  transfer, assignment, assumption or delegation of any asset, property, right, liability, debt or

  obligation on terms consistent with the terms of the Plan (and Purchase Agreement) and having

  other terms to which the applicable parties agree; (c) the filing of appropriate certificates or articles

  of incorporation, reincorporation, merger, consolidation, conversion, amalgamation, arrangement,

  continuance or dissolution pursuant to applicable state or provincial law; and (d) all other actions

  that the applicable Debtors or Reorganized Debtors determine to be necessary or appropriate,

  including making filings or recordings that may be required by applicable law in connection with

  the Restructuring Transactions. If and to the extent necessary, any controlling organization or

  formation documents or agreements for the Reorganized Debtors shall be deemed amended to

  authorize the foregoing. Prior to, on, or after the Plan Effective Date (as appropriate), all matters

  provided for pursuant to the Plan (and Purchase Agreement) that would otherwise require approval

  of the stockholders, directors, managers or members of any Debtor (as of or prior to the Plan

  Effective Date) shall be deemed to have been so approved and shall be in effect prior to, on or after



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  the Plan Effective Date (as appropriate) pursuant to applicable law and without any requirement

  of further action by the stockholders, directors, managers or members of such Debtors, or the need

  for any approvals, authorizations, actions, or consents of any Person. All matters provided for in

  the Plan involving the legal or corporate structure of any Debtor or any Reorganized Debtor, as

  applicable, and any legal or corporate action required by any Debtor or any Reorganized Debtor,

  as applicable in connection with the Plan, shall be deemed to have occurred and shall be in full

  force and effect in all respects, in each case without further notice to or order of the Bankruptcy

  Court, act or action under applicable law, regulation, order, or rule or any requirement of further

  action, vote, or other approval or authorization by the security holders, officers or directors of any

  Debtor or any Reorganized Debtor, as applicable, or by any other Person. On the Plan Effective

  Date, the appropriate officers of each Debtor and each Reorganized Debtor, as applicable, are

  authorized to issue, execute, deliver, and consummate the transactions contemplated by, the

  contracts, agreements, documents, guarantees, pledges, consents, securities, certificates,

  resolutions and instruments contemplated by or described in the Plan (and the Purchase

  Agreement) in the name of and on behalf of the Debtor, and each Reorganized Debtor, as

  applicable, in each case without further notice to or order of the Bankruptcy Court, act or action

  under applicable law, regulation, order, or rule or any requirement of further action, vote or other

  approval or authorization by any Person. The secretary, any assistant secretary, director, manager,

  or managing member of each Debtor and each Reorganized Debtor, as applicable, shall be

  authorized to certify or attest to any of the foregoing actions.

         13.     Further Assurances. The Debtors, RL Management, the Wind-Down Debtors, the

  Reorganized Debtors, as applicable, all holders of Claims and Interests receiving distributions

  hereunder and all other entities shall, from time to time, prepare, execute and deliver any



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  agreements or documents and take any other actions as may be necessary or advisable to effectuate

  the provisions and intent of the Plan or this Confirmation Order. On and after the Plan Effective

  Date, RL Management, the Debtors, the Reorganized Debtors, the Wind-Down Debtors, the Plan

  Administrator, and the GUC Trustee shall each use commercially reasonable efforts to effectuate

  the allocation of assets and liabilities contemplated by the Plan.

         14.     DIP Facility. As set forth in article II.C of the Plan and except as otherwise provided

  in the Plan or this Confirmation Order, on the Plan Effective Date, in full satisfaction, settlement,

  discharge and release of, and in exchange for, such DIP Claims (in an amount outstanding

  determined as of the Plan Effective Date), all DIP Claims shall be indefeasibly paid and satisfied

  in full (a) in the event that the Sale Transaction is consummated pursuant to the Purchase

  Agreement, through a credit bid by the Purchaser of all DIP Claims for the Purchased Assets in

  accordance with section 363(k) of the Bankruptcy Code, or (b) in the event that the Sale

  Transaction is consummated through a Reorganized Equity Sale conducted pursuant to the Plan,

  through the transfer of Purchased Assets, other specified assets, assumption and assignment of

  specified contracts and leases, assumption of specified liabilities, issuance of equity in the

  Reorganized Debtors (except in RL Management) and issuance of Takeback Loans, all in

  accordance with the Purchase Agreement.

         15.     Takeback Loans. As contemplated in article IV.A.2 and II.C of the Plan, and as

  provided in Exhibit J of the Plan Supplement, this Confirmation Order shall be deemed approval

  of the form of Takeback Loans and all transactions contemplated thereby, and authorization of all

  actions to be taken, undertakings to be made, and obligations to be incurred by the Reorganized

  Debtors (except RL Management) in connection therewith, including, without limitation, the

  payment of all reasonable and documented fees, indemnities, and expenses provided for therein,



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  and authorization of the Reorganized Debtors to enter into and execute definitive documents in

  connection with the Takeback Loans and such other documents as may be required to effectuate

  the treatment afforded by the Takeback Loans (collectively, the “Takeback Loan Documents”).

  On the Plan Effective Date, the Reorganized Debtors (excluding RL Management) shall be and

  are authorized to execute and deliver the Takeback Loan Documents and any related documents,

  and shall be and are authorized to execute, deliver, file, record, and issue any other notes,

  guarantees, deeds of trust, security agreements, documents (including UCC financing statements),

  amendments to the foregoing, or agreements in connection therewith, in each case without further

  notice to or order of the Bankruptcy Court, act or action under applicable law, regulation, order,

  or rule or the vote, consent, authorization or approval of any entity, subject to any limitations set

  forth herein or in the Plan. The obligations of the Reorganized Debtors (and any subsidiaries or

  affiliates that are parties to the Takeback Loans, excluding RL Management) under the Takeback

  Loans shall be secured by substantially all of their assets, whether now existing or hereafter

  acquired. Notwithstanding the foregoing, the Takeback Loans shall not be secured by the

  Reorganized Debtors’ real property leases (but shall be secured by all proceeds of such leases)

  solely to the extent that the grant of a lien securing the Takeback Loans is prohibited or restricted

  by the terms of such real property lease and applicable nonbankruptcy law to attach to such real

  property lease. On the Plan Effective Date, all of the Liens and security interests to be granted in

  accordance with the Takeback Loan Documents (a) shall be deemed to be granted in good faith,

  for legitimate business purposes, and for reasonably equivalent value, (b) shall be legal, binding,

  and enforceable Liens on, and security interests in, the collateral granted thereunder in accordance

  with the terms of the Takeback Loan Documents, (c) shall be deemed automatically perfected on

  the Plan Effective Date and have a first priority, subject only to such Liens and security interests



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  as may be permitted under the Takeback Loan Documents, and (d) shall not be subject to

  avoidance, recharacterization, or equitable subordination for any purposes whatsoever and shall

  not constitute preferential transfers, fraudulent transfers, or fraudulent conveyances under the

  Bankruptcy Code or any applicable non-bankruptcy law. Notwithstanding anything to the contrary

  herein, nothing in this Confirmation Order shall authorize the Takeback Loan Documents to

  (i) grant a lien or other security interest in leasehold interests if it would be a default or otherwise

  prohibited by the underlying lease agreement, (ii) afford the lenders under the Takeback Loans

  any greater access rights with respect to the Reorganized Debtors’ leasehold interests than those

  access rights permitted under (x) applicable nonbankruptcy law including, without limitation,

  applicable leases, (y) any prepetition or postpetition landlord waivers or consents, or (z) further

  order of this Court on motion and notice appropriate under the circumstances, or (iii) afford the

  lenders under the Takeback Loans access rights with respect the Reorganized Debtors’ leasehold

  interests to the extent such access would violate the terms of the applicable real property lease or

  applicable state law.

          16.     Section 1145 Exemption. To the extent that any such instruments constitute

  “securities” under applicable securities laws, the offer and sale of the Takeback Loans and/or the

  New Reorganized Debtor Equity, and any stock, warrants, options or other equity securities, shall

  be effected without registration under Section 5 of the Securities Act, and without registration

  under any applicable state securities or “blue sky” law, in reliance upon the exemption from such

  registration requirements afforded by section 1145 of the Bankruptcy Code.

          17.     Cancellation of Notes, Certificates and Instruments. Except as otherwise set forth

  in the Purchase Agreement, the Plan or this Confirmation Order, and as set forth in article IV.A.5

  of the Plan, except for the purpose of evidencing a right to a distribution under the Plan and except



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  as otherwise set forth in the Plan, on the Plan Effective Date, all agreements, instruments,

  Securities and other documents evidencing any prepetition Claim against or Interest in the Debtors

  and any rights of any holder in respect thereof shall be deemed cancelled, discharged, and of no

  force or effect. Except for the purpose of evidencing a right to a distribution under the Plan and

  except as otherwise set forth in the Plan, the holders of or parties to such cancelled instruments,

  Securities, and other documentation shall have no rights arising from or related to such

  instruments, Securities, or other documentation or the cancellation thereof and the obligations of

  the Debtors thereunder or in any way related thereto shall be fully released, terminated,

  extinguished and discharged, in each case without further notice to or order of the Bankruptcy

  Court, act or action under applicable law, regulation, order, or rule or any requirement of further

  action, vote or other approval or authorization by any Person.

         18.     Release of Liens. Except as otherwise provided in the Purchase Agreement, the

  Plan, this Confirmation Order, or in any contract, instrument, release or other agreement or

  document entered into or delivered in connection with the Plan, on the Plan Effective Date and

  concurrently with the applicable distributions made pursuant to the Plan, all Liens, Claims,

  Interests, mortgages, deeds of trust, or other security interests against the property of the Estates

  shall be fully released, terminated, extinguished and discharged, in each case without further notice

  to or order of the Bankruptcy Court, act or action under applicable law, regulation, order, or rule

  or the vote, consent, authorization or approval of any entity. Any entity holding such Liens or

  Interests will, pursuant to section 1142 of the Bankruptcy Code, promptly execute and deliver to

  the Purchaser (or its designees), Reorganized Debtors or the Wind-Down Debtors, as the case may

  be, such instruments of termination, release, satisfaction and/or assignment (in recordable form)




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  as may be reasonably requested by the Reorganized Debtors, Wind-Down Debtors, the Purchaser,

  the Plan Administrator, or the GUC Trustee, as the case may be.

         19.     Directors, Managers, and Officers. Pursuant to and in accordance with articles

  IV.C.6 and IV.C.8 of the Plan, effective as of the Plan Effective Date, automatically and without

  further action, the term of each current officer, member of the boards of directors or managers or

  any managing member of each Debtor, as applicable, shall expire and/or shall be deemed to have

  resigned, and (a) the New Board and the officers or managers of each of the Reorganized Debtors

  shall be appointed in accordance with the respective New Organizational Documents, and (b) the

  Plan Administrator shall be appointed as the sole manager, sole director, sole member, and sole

  officer of RL Management and the Wind-Down Debtors, as applicable, and shall, in accordance

  therewith, succeed to the powers of the Debtors’ directors, managers, members, and officers. From

  and after the Plan Effective Date, the Plan Administrator shall be the sole representative of, and

  shall act for, RL Management and the Wind-Down Debtors. For the avoidance of doubt, the

  foregoing shall not limit the authority of the Wind-Down Debtors, the Plan Administrator, the

  Purchaser, or the Reorganized Debtors, as applicable, to continue the employment of any former

  member, manager, director, or officer, including pursuant to the Transition Services Agreement or

  any other agreement, in each case, to the extent permitted by applicable law.

         20.     Plan Administrator. The Plan Administrator shall be appointed, as of the Plan

  Effective Date, and have all the rights, duties and obligations as set forth in the Plan and the Plan

  Administrator Agreement, which is approved in all respects. Pursuant to section 1123(b)(3)(B) of

  the Bankruptcy Code, the Plan Administrator shall be the representative of the Debtors’ Estates

  with respect to RL Management, the Wind-Down Debtors, and the Wind-Down Assets, and

  without limiting the foregoing, the Plan Administrator shall (a) cause RL Management to conduct



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  its business consistent with the Plan, Purchase Agreement and Transition Services Agreement;

  (b) hold, liquidate, invest, supervise, and protect the Wind-Down Assets; (c) effectuate the

  distributions contemplated by the Plan Administrator under the Plan; (d) object to or settle

  Disputed Claims against the Debtors (except General Unsecured Claims); (e) prosecute any or all

  of the Causes of Action retained by the Wind-Down Debtors; (f) pay all reasonable fees, expenses,

  debts, charges, and liabilities of the Wind-Down Debtors; (g) file tax returns for, pay taxes of, and

  represent the interests of the Wind-Down Debtors or the Debtors’ Estates, as applicable, before

  any taxing authority in all matters, including any action, suit, proceeding, or audit; (h) File the

  operating report for the Debtors’ Estates for the month in which the Plan Effective Date occurs

  and all subsequent post-confirmation quarterly reports; (i) take any action necessary to wind down

  the business and affairs of the Wind-Down Debtors; and (j) file appropriate certificates of

  dissolution of the Wind-Down Debtors pursuant to applicable state or provincial law. The Plan

  Administrator shall act for RL Management and the Wind-Down Debtors in the same fiduciary

  capacity and shall have all of the rights, powers, and obligations as applicable to a board of

  directors, board of managers, member/manager and officers, subject to the provisions hereof (and

  all certificates of formation, membership agreements, and related documents are deemed amended

  by the Plan to permit and authorize the same). Notwithstanding any provision in the Plan

  Administrator Agreement to the contrary, the Plan Administrator shall have no affirmative

  obligation to bring any litigation claims against any third party and he may do so or forbear from

  doing so in his discretion. Nothing in this Confirmation Order shall limit the rights of the Plan

  Administrator to dissolve the Wind-Down Debtors or merge one or more of them into another, in

  each instance in accordance with applicable state law. The limitation of liability set forth in section

  4.6(b) of the Plan Administrator Agreement shall not apply to claims and liabilities resulting from



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  any act or omission that is determined in a Final Order by a court of competent jurisdiction to have

  constituted actual fraud, willful misconduct, or gross negligence by the parties referred to in such

  section.

         21.     GUC Trustee. The GUC Trustee shall be appointed, as of the Plan Effective Date,

  and have all the rights, duties and obligations as set forth in the Plan and the GUC Trust Agreement,

  which is approved in all respects. The GUC Trustee shall administer the GUC Trust and the GUC

  Trust Assets in accordance with this Plan, this Confirmation Order, the GUC Trust Agreement,

  and the other GUC Trust Documents and shall be responsible for, among other things, making

  certain Distributions required under this Plan. From and after the Plan Effective Date and

  continuing through the date of entry of a Final Decree, the GUC Trustee shall: (a) possess the

  rights of a party in interest pursuant to section 1109(b) of the Bankruptcy Code for all matters

  arising in, arising under, or related to the Chapter 11 Cases and, in connection therewith, shall

  (i) have the right to appear and be heard on matters brought before the Bankruptcy Court or other

  courts, (ii) be entitled to notice and opportunity for hearing on all such issues, (iii) participate in

  all matters brought before the Bankruptcy Court, and (iv) receive notice of all applications,

  motions, and other papers and pleadings filed in the Bankruptcy Court and (b) have the authority

  to retain such personnel or professionals (including, without limitation, legal counsel, financial

  advisors or other agents) as it deems appropriate and compensate such personnel and professionals

  as it deems appropriate in accordance with the Plan, all without prior notice to or approval of the

  Bankruptcy Court. Professionals and personnel retained or employed by the GUC Trust or the

  GUC Trustee need not be disinterested as that term is defined in the Bankruptcy Code, and may

  include Professionals who had been employed by the Committee or the Debtors. The powers of

  the GUC Trustee shall include any and all powers and authority necessary or helpful to implement



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  and carry out the provisions of the Plan and any applicable orders of the Bankruptcy Court relating

  to the GUC Trust Assets. The GUC Trustee shall be the representative of the Debtors’ Estates with

  respect to the GUC Trust Assets appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy

  Code. Without limiting the foregoing, the GUC Trustee shall (a) hold, liquidate, invest, supervise,

  and protect the GUC Trust Assets; (b) effectuate the distributions contemplated by the GUC

  Trustee under the Plan; (c) object to or settle Disputed General Unsecured Claims against the

  Debtors; (d) investigate, prosecute, resolve, liquidate, or otherwise monetize the Equityholder

  Litigation Claims, as appropriate; (e) pay all reasonable fees, expenses, debts, charges, and

  liabilities of the GUC Trust; (f) file tax returns for, pay taxes of (if any), and represent the interests

  of the GUC Trust before any taxing authority in all matters, including any action, suit, proceeding,

  or audit; (g) take any action necessary to administer the GUC Trust; and (h) file appropriate

  certificates of dissolution of the GUC Trust, if any, pursuant to applicable state or provincial law.

  The exculpation provisions set forth in the GUC Trust Agreement will be the same as the ones in

  the Plan.

          22.     Distributions Under the Plan. All Distributions under the Plan shall be made in

  accordance with Article VI of the Plan and such methods of Distribution are approved in all

  respects.

          23.     Disputed Claims. The provisions of Article VII of the Plan, including, without

  limitation, the provisions governing procedures for resolving Disputed Claims, are found to be fair

  and reasonable and are approved. Distributions on account of Disputed Claims shall be made, if at

  all, in accordance with Article VI of the Plan to the extent any such Disputed Claim becomes

  Allowed.




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         24.     Treatment is in Full Satisfaction. All Distributions under the Plan shall be made in

  accordance with the Plan. Except as set forth in the Plan, the treatment afforded to the holder of

  each Claim and Interest is in full satisfaction of the legal, contractual, and equitable rights

  (including any liens) that each holder of a Claim or Interest may have in or against the Debtors,

  the Estates, or their respective property. This treatment supersedes and replaces any agreements or

  rights those holders may have in or against the Debtors, the Estates, or their respective property.

                      Settlement, Release, Injunctions and Related Provisions

         25.     In accordance with section 1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy

  Rule 9019, and in consideration for the classification, distributions, releases, and other benefits

  provided under the Plan, upon the Plan Effective Date, the provisions of the Plan shall constitute

  a good-faith compromise and settlement of all Claims, Interests, Causes of Action, and

  controversies released, settled, compromised, discharged, satisfied, or otherwise resolved pursuant

  to the Plan. Such compromise and settlement is the product of extensive arm’s length, good faith

  negotiations that represent a fair and reasonable compromise of all Claims, Interests, and

  controversies and entry into which represented a sound exercise of the Debtors’ business judgment

  and the Debtors’ assumption of such agreements are approved. Such compromise and settlement

  is fair, equitable, reasonable, and in the best interests of the Debtors and their Estates.

         26.     This Confirmation Order shall constitute the Bankruptcy Court’s finding and

  determination that the settlements reflected in the Plan are (a) the good and valuable consideration

  and substantial contributions provided by the Released Parties; (b) a good faith settlement and

  compromise of the Claims released by the Third Party Release; (c) in the best interests of the

  Debtors and all holders of Claims and Interests; (d) fair, equitable, and reasonable; (e) given and

  made after due notice and opportunity for a hearing; (f) a bar to any of the Releasing Parties

  asserting any Claim released pursuant to the Third Party Release; (g) supported by the Debtors’

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  sound exercise of business judgment; (h) supported by the Prepetition Term Loan Parties and the

  Committee; and (i) approved by the Bankruptcy Court pursuant to sections 105(a) and 363 of the

  Bankruptcy Code and Bankruptcy Rule 9019. This Confirmation Order shall approve the releases

  in the Plan of all contractual, legal and equitable subordination rights or Causes of Action that are

  satisfied, compromised and settled pursuant hereto.

         27.     Discharge of Claims and Termination of Interests. Except as otherwise provided in

  the Plan or this Confirmation Order, upon the Plan Effective Date, the Reorganized Debtors, shall

  (i) be deemed to have received a discharge under section 1141(d) of the Bankruptcy Code and

  release from any and all Claims and any other obligations, suits, judgments, damages, debts, rights,

  remedies, Causes of Action or liabilities, and any Interests or other rights of a holder of any

  Security or other ownership interest, of any nature whatsoever, including, without limitation,

  liabilities that arose before the Plan Effective Date (including prior to the Petition Date), and all

  debts of the kind specified in sections 502(g), 502(h) or 502(i) of the Bankruptcy Code, whether

  or not (a) a Proof of Claim based upon such debt is filed or deemed filed under section 501 of the

  Bankruptcy Code, (b) a Claim based upon such debt is Allowed under section 502 of the

  Bankruptcy Code (or is otherwise resolved), or (c) the holder of a Claim based upon such debt

  voted to accept the Plan; and (ii) terminate and cancel all rights of any Security holder in any of

  the Debtors and all Interests (including Interests in RL Management, which shall be cancelled and

  New Reorganized Debtor Equity shall be shall be issued to the Plan Administrator or its designee).

  Except as expressly provided in the Plan or this Confirmation Order, this Confirmation Order

  constitutes a judicial determination, as of the Plan Effective Date, of such discharge, pursuant to

  sections 524 and 1141 of the Bankruptcy Code, and such discharge shall void and extinguish any

  judgment obtained against any Debtor, or any of their respective assets, property and Estates at



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  any time, to the extent such judgment is related to a discharged Claim, Cause of Action, debt,

  liability or Interest of any kind in any of the Debtors (including any terminated Interest).

         28.        Setoffs and Recoupment. Except as expressly provided in the Plan or this

  Confirmation Order, each Reorganized Debtor, the Purchaser (or its designees), Wind-Down

  Debtors, and the GUC Trust, as applicable, may, pursuant to section 553 of the Bankruptcy Code,

  set off and/or recoup against any Plan Distributions or other payments to be made on account of

  an Allowed Claim any and all Claims, rights, and Causes of Action that such Reorganized Debtor,

  Purchaser (or its designees), Wind-Down Debtor, or the GUC Trust may hold against the holder

  of such Allowed Claim; provided, however, that neither the failure to effectuate a setoff or

  recoupment nor the allowance of any Claim shall constitute a waiver or release by a Reorganized

  Debtor, the Purchaser (or its designees), a Wind-Down Debtor, the GUC Trust, or its successor of

  any and all Claims, rights, and Causes of Action that such Reorganized Debtor, Wind-Down

  Debtor, or the GUC Trust may have against the applicable claimholder. With respect to any

  Executory Contract or Unexpired Lease that has been rejected under the Plan, nothing shall modify

  the rights, if any, of any counterparty to such Executory Contract or Unexpired Lease to assert any

  right of setoff or recoupment that such party may have, including but not limited to, the (a) ability,

  if any, of such parties to setoff or recoup a security deposit held pursuant to the terms of their

  Unexpired Lease(s) with the Debtors under the Plan, (b) assertion of rights of setoff or recoupment,

  if any, in connection with Claims reconciliation, or (c) assertion of setoff or recoupment as a

  defense, if any, to any Claim or action by the Debtors, the Reorganized Debtors, or any successors

  of the Debtors.




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         29.     Settlement, Release, Injunction and Related Provisions. The following releases,

  injunction, exculpation and related provisions, as set forth in Article VIII of the Plan, are approved

  and authorized in their entirety, except as otherwise provided in this Confirmation Order:

         (i)     Exculpation. As set forth in article VIII.A.4 of the Plan and except as otherwise

  provided in this Confirmation Order, no Exculpated Party shall have or incur liability for, and each

  Exculpated Party is exculpated from, any Claims and Causes of Action related to any act or

  omission occurring between and including the Petition Date and the Plan Effective Date in

  connection with, relating to, or arising out of: the Debtors’ Chapter 11 Cases (including the Filing

  thereof); the Canadian Proceeding (including the Filing thereof); the formulation, preparation,

  dissemination, negotiation, Filing, or termination of the Plan, the Disclosure Statement, the

  Bidding Procedures Order, the DIP Facility, or any contract, instrument, release or other agreement

  or document created or entered into in connection with the Debtors’ Chapter 11 Cases or Canadian

  Proceeding, whether or not included in the Plan Supplement or constituting a Definitive

  Document; the Restructuring Transactions contemplated by the Plan and any prepetition

  transactions relating to any of the foregoing; the pursuit of Confirmation of the Plan, the pursuit

  of Consummation of the Plan, the administration and implementation of the Plan, including the

  issuance and distribution of Securities pursuant to the Plan, or the distribution of property under

  the Plan; the Purchase Agreement; or any other related act or omission, transaction, event, or other

  occurrence taking place on or before or in connection with the Plan Effective Date, except for

  Claims and liabilities resulting therefrom related to any act or omission that is determined in a

  Final Order by a court of competent jurisdiction to have constituted actual fraud, willful

  misconduct, or gross negligence by an Exculpated Party. The Exculpated Parties shall be entitled




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  to reasonably rely upon the advice of counsel with respect to their duties and responsibilities

  pursuant to the Plan in all respects.

         (ii)    Releases by the Debtors. Subject to paragraph 31 of this Confirmation Order and

  as set forth in article VIII.A.2 of the Plan, and except as otherwise provided in this Confirmation

  Order, pursuant to section 1123(b) of the Bankruptcy Code, in exchange for good and valuable

  consideration, the adequacy of which is confirmed, on and after the Plan Effective Date, each

  Released Party is, and is deemed to be, conclusively, absolutely, unconditionally, irrevocably, and

  forever released by each of the Debtors, their respective Estates, and any Person seeking to exercise

  the rights of any of the Debtors or their Estates (including any successors to any of the Debtors or

  their Estates or any Estate representatives appointed or selected pursuant to section 1123(b)(3) of

  the Bankruptcy Code), in each case, on behalf of themselves and their respective successors,

  assigns, and representatives, and any and all other Persons who may purport to assert any Cause

  of Action, derivatively, by, through, for, or because of any of the foregoing Persons, from any and

  all Claims and Causes of Action, whether known or unknown, foreseen or unforeseen, matured or

  unmatured, existing or hereafter arising, contingent or non-contingent, in law, equity, contract, tort

  or otherwise, that any of the Debtors, their Estates, the Reorganized Debtors or Wind-Down

  Debtors, as applicable, or any successors to or representatives of the foregoing appointed or

  selected pursuant to section 1123(b)(3) of the Bankruptcy Code, would have been legally entitled

  to assert in their own right (whether individually or collectively) or that any holder of any Claim

  against or any Interests in, any of the Debtors could have asserted on behalf of any of the Debtors

  or their Estates, based on, relating to, or in any manner arising from, in whole or in part: any of the

  Debtors (including the capital structure, management, ownership, or operations thereof); any

  Security of any of the Debtors; the subject matter of, or the transactions or events giving rise to,



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  any Claim, Cause of Action or Interest; the business or contractual arrangements between any

  Debtor and a Released Party; any of the Debtors’ restructuring efforts; any Avoidance Actions

  held by any of the Debtors or their Estates; any intercompany transactions performed by any of

  the Debtors; the Debtors’ Chapter 11 Cases (including the Filing thereof and any relief obtained

  by the Debtors therein); the formulation, preparation, dissemination, negotiation, or Filing of the

  Plan, the Plan Supplement, the DIP Facility, the Disclosure Statement, or the Bidding Procedures

  Order (and the procedures approved thereby); any Restructuring Transaction, contract, instrument,

  release, or other agreement or document (including any legal opinion requested by any Person

  regarding any transaction, contract, instrument, document or other agreement contemplated by the

  Plan or the reliance by any Released Party on the Plan or the Confirmation Order with respect to

  the Plan in lieu of such legal opinion) created or entered into in connection with the Plan or the

  Bidding Procedures Order; the solicitation of votes on the Plan, the pursuit of Confirmation of the

  Plan, the pursuit of Consummation of the Plan, the implementation of the Plan, including the

  issuance or distribution of Securities or any other property pursuant to the Plan; or any other act

  or omission, transaction, agreement, event, or other occurrence related or relating to any of the

  foregoing taking place on or before the Plan Effective Date other than Claims and liabilities

  resulting therefrom arising out of or relating to any act or omission of a Released Party that

  constitutes actual fraud, willful misconduct, or gross negligence, in each case, solely to the extent

  determined by a Final Order of a court of competent jurisdiction. Notwithstanding anything to the

  contrary in the foregoing, the releases set forth above do not release (i) any post-Plan Effective

  Date Claims or obligations of any Person under the Plan, the Confirmation Order with respect to

  the Plan, any Restructuring Transaction, any Definitive Document, or any document, instrument,




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  or agreement (including those set forth in the Plan Supplement) executed to implement the Plan or

  (ii) the Equityholder Litigation Claims.

         (iii)   Releases by Holders of Claims Against the Debtors. Subject to paragraph 31 of this

  Confirmation Order and as set forth in article VIII.A.3 of the Plan, and except as otherwise

  expressly set forth in this Confirmation Order, on and after the Plan Effective Date, in exchange

  for good and valuable consideration, the adequacy of which is confirmed, each Released Party is,

  and is deemed to be, conclusively, absolutely, unconditionally, irrevocably and forever, released

  by each Releasing Party from any and all Causes of Action, whether known or unknown, foreseen

  or unforeseen, matured or unmatured, existing or hereafter arising, contingent or non- contingent,

  in law, equity, contract, tort, or otherwise, including any derivative claims asserted on behalf of

  the Debtors, that such Person would have been legally entitled to assert (whether individually or

  collectively), based on or relating to, or in any manner arising from, in whole or in part: any of the

  Debtors (including the capital structure, management, ownership, or operation thereof); any

  security of any of the Debtors or any of the Reorganized Debtors; the subject matter of, or the

  transactions or events giving rise to, any Claim that is treated in the Plan; the business or

  contractual arrangements between any Debtor and any Released Party; the assertion or

  enforcement of rights and remedies against any of the Debtors; the Debtors’ in- or out-of- court

  restructuring efforts; any Avoidance Actions held by any of the Debtor(s) or their Estates;

  intercompany transactions between or among a Debtor and another Debtor; the Chapter 11 Cases;

  the Canadian Proceeding; the formulation, preparation, dissemination, negotiation, or Filing of the

  Disclosure Statement, the Bidding Procedures Order, the Plan, or the Plan Supplement; any

  Restructuring Transaction, contract, instrument, release, or other agreement or document created

  or entered into in connection with the DIP Facility, the Disclosure Statement, the Bidding



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  Procedures Order, the Plan, or the Plan Supplement; the Filing of the Debtors’ Chapter 11 Cases;

  the Filing of the Canadian Proceeding; the Disclosure Statement, the Plan, the solicitation of votes

  with respect to the Plan, the pursuit of Confirmation of the Plan, the pursuit of Consummation of

  the Plan, the administration and implementation of the Plan, including the issuance or distribution

  of securities pursuant to the Plan, the distribution of property under the Plan or any other related

  agreement, or any cancellation of debt income realized in connection with the Plan; or upon any

  other act or omission, transaction, agreement, event, or other occurrence related or relating to any

  of the foregoing taking place on or before the Plan Effective Date, other than Claims and liabilities

  resulting therefrom arising out of or relating to any act or omission of a Released Party that

  constitutes actual fraud, willful misconduct, or gross negligence, each solely to the extent as

  determined by a Final Order of a court of competent jurisdiction. Notwithstanding anything to the

  contrary in the foregoing, the releases set forth above do not release (i) any party of any obligations

  related to customary banking products, banking services or other financial accommodations

  (except as may be expressly amended or modified by the Plan or any other financing document

  under and as defined therein), (ii) the Equityholder Litigation Claims, or (iii) any post-Plan

  Effective Date obligations of any Person under the Plan, the Confirmation Order, any Stand-Alone

  Restructuring Transaction, any Definitive Document or any document, instrument, or agreement

  (including those set forth in the Plan Supplement) executed to implement the Plan, including the

  Purchase Agreement or any Claim or obligation arising under the Plan. Entry of the Confirmation

  Order shall constitute the Bankruptcy Court’s approval, pursuant to Bankruptcy Rule 9019, of the

  Third Party Release, which includes by reference each of the related provisions and definitions

  contained in the Plan, and, further shall constitute the Bankruptcy Court’s finding that the third

  party release by those creditors or interest holders who vote to accept the Plan is: (I) the good and



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  valuable consideration and substantial contributions provided by the Released Parties; (II) a good

  faith settlement and compromise of the Claims released by the third party release; (III) in the best

  interests of the Debtors and all holders of Claims and Interests; (IV) fair, equitable and reasonable;

  (V) given and made after due notice and opportunity for a hearing; and (IV) a bar to any of the

  Releasing Parties asserting any Claim released pursuant to the third party release.

         (iv)    Confirmation Date Injunction. AS SET FORTH IN ARTICLE VIII.D OF THE

  PLAN AND EXCEPT AS OTHERWISE PROVIDED IN THIS CONFIRMATION ORDER,

  ALL INJUNCTIONS OR STAYS IN EFFECT IN THE CHAPTER 11 CASES PURSUANT

  TO SECTIONS 105 OR 362 OF THE BANKRUPTCY CODE OR ANY ORDER OF THE

  BANKRUPTCY COURT IN EFFECT ON THE APPLICABLE CONFIRMATION DATE

  (EXCLUDING ANY INJUNCTIONS OR STAYS CONTAINED IN THE PLAN OR THE

  CONFIRMATION ORDER), SHALL REMAIN IN FULL FORCE AND EFFECT UNTIL

  THE PLAN EFFECTIVE DATE.

         (v)     Injunction. AS SET FORTH IN ARTICLE VIII.A.5 OF THE PLAN AND

  EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THIS CONFIRMATION

  ORDER WITH RESPECT TO THE PLAN, ALL PERSONS WHO HAVE HELD, HOLD,

  OR MAY HOLD ANY CLAIMS OR CAUSES OF ACTION AGAINST, OR INTERESTS

  IN, ANY OF THE DEBTORS THAT HAVE BEEN RELEASED, DISCHARGED, OR ARE

  SUBJECT TO RELEASE OR EXCULPATION HEREUNDER ARE PERMANENTLY

  ENJOINED, FROM AND AFTER THE PLAN EFFECTIVE DATE, FROM TAKING ANY

  OF THE FOLLOWING ACTIONS AGAINST ANY OF THE DEBTORS, THE

  PURCHASER (INCLUDING ANY ASSIGNEES CONTEMPLATED PURSUANT TO

  THE PURCHASE AGREEMENT), THE REORGANIZED DEBTORS, THE WIND-



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  DOWN DEBTORS, THE GUC TRUST, THE GUC TRUSTEE, AS APPLICABLE, OR

  ANY OF THE OTHER EXCULPATED PARTIES OR ANY OF THE RELEASED

  PARTIES: (1) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR

  OTHER PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH

  ANY SUCH CLAIM, CAUSE OF ACTION OR INTEREST; (2) ENFORCING,

  ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS ANY

  JUDGMENT, AWARD, DECREE, OR ORDER AGAINST THE PURCHASED ASSETS

  OR ANY OF THE EXCULPATED PARTIES OR RELEASED PARTIES ON ACCOUNT

  OF OR IN CONNECTION WITH ANY SUCH CLAIM, CAUSE OF ACTION OR

  INTEREST; (3) CREATING, PERFECTING, OR ENFORCING ANY LIEN OR

  ENCUMBRANCE OF ANY KIND AGAINST THE PURCHASED ASSETS OR ANY OF

  THE EXCULPATED PARTIES, RELEASED PARTIES OR THEIR PROPERTY ON

  ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH

  CLAIM, CAUSE OF ACTION OR INTEREST; AND (4) ASSERTING ANY RIGHT OF

  SETOFF OR SUBROGATION AGAINST ANY OBLIGATION DUE FROM ANY OF THE

  EXCULPATED PARTIES, RELEASED PARTIES OR AGAINST THEIR PROPERTY ON

  ACCOUNT OF OR IN CONNECTION WITH ANY SUCH CLAIM, CAUSE OF ACTION

  OR INTEREST UNLESS, WITH RESPECT TO SETOFF, SUCH HOLDER HAS (I)

  FILED A MOTION REQUESTING THE RIGHT TO PERFORM SUCH SETOFF ON OR

  BEFORE THE PLAN EFFECTIVE DATE OR FILED A PROOF OF CLAIM THAT

  ASSERTS OR PRESERVES ANY SUCH RIGHT, AND UNTIL SUCH MOTION HAS

  BEEN GRANTED OR THE FILED PROOF OF CLAIM IS ALLOWED, OR (II) ASSERTS

  SUCH RIGHT IN CONNECTION WITH AN UNEXPIRED LEASE OF NON-



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  RESIDENTIAL REAL PROPERTY THAT IS REJECTED UNDER THE PLAN. UPON

  ENTRY OF THE CONFIRMATION ORDER WITH RESPECT TO THE PLAN, ALL

  HOLDERS OF CLAIMS AND CAUSES OF ACTION AGAINST, AND INTERESTS IN,

  ANY OF THE DEBTORS AND THEIR RESPECTIVE RELATED PARTIES SHALL BE

  ENJOINED FROM TAKING ANY ACTIONS TO INTERFERE WITH THE

  IMPLEMENTATION OF THE PLAN OR THE SALE TRANSACTION. FOR THE

  AVOIDANCE OF DOUBT, NOTHING IN THE PLAN OR THIS ORDER SHALL

  ENJOIN, WAIVE, LIMIT OR IMPAIR THE RIGHT OF SETOFF AND RECOUPMENT

  IN THE ORDINARY COURSE UNDER THE TERMS OF ASSUMED LEASES OR

  REQUIRE A LANDLORD TO FILE A MOTION OR OTHER PLEADING TO

  PRESERVE ANY SUCH RIGHTS.

         30.     Subordinated Claims. Except as expressly provided in the Plan or this Confirmation

  Order, the allowance, classification, and treatment of all Allowed Claims and Allowed Interests

  and the respective treatment thereof under the Plan take into account the relative priority of the

  Claims in each Class, whether arising under a contract, principles of equitable subordination,

  section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy

  Code, the Debtors reserve the right to reclassify any Allowed Claim or Allowed Interest in

  accordance with any contractual, legal, or equitable subordination relating thereto.

         31.     Preservation of Causes of Action. As set forth in article IV.A.7 of the Plan and

  except as otherwise provided in this Confirmation Order, in accordance with section 1123(b) of

  the Bankruptcy Code, unless expressly waived, relinquished, exculpated, released, compromised,

  or settled in the Plan or assigned to the Purchaser in the Sale Transaction, the Reorganized Debtors,

  the Wind-Down Debtors, or the GUC Trust, as applicable, shall retain and may enforce all rights



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  to commence or pursue any and all Causes of Action of the applicable Debtors’ Estates, not

  otherwise so waived, relinquished, exculpated, released, compromised, settled or assigned (as the

  case may be), whether arising before or after the Petition Date, including, but not limited to, any

  actions specifically enumerated in the Schedule of Retained Causes of Action, and the Reorganized

  Debtors’, the Wind-Down Debtors’, or the GUC Trustee’s rights to commence, prosecute,

  compromise, settle or release such Causes of Action shall be preserved notwithstanding the

  occurrence of the Plan Effective Date, other than the Claims and Causes of Action released

  pursuant to the releases and exculpations contained in Article VIII of the Plan. Unless any Cause

  of Action is expressly waived, relinquished, exculpated, released, compromised, or settled under

  the Plan or a Final Order, pursuant to section 1123(b) of the Bankruptcy Code, such Cause of

  Action is preserved for later adjudication, and no preclusion doctrine, including the doctrines of

  res judicata, collateral estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or

  otherwise), or laches, shall apply to any such Cause of Action upon, after, or as a consequence of

  the Confirmation of the Plan or the occurrence of the Plan Effective Date. For the avoidance of

  doubt, any Equityholder Litigation Claims shall be contributed to the GUC Trust by the Debtors

  in accordance with the Plan. No Person may rely on the absence of a specific reference in the Plan,

  the Plan Supplement, or the Disclosure Statement to any Cause of Action against it as any

  indication that the Debtors, the Reorganized Debtors or the Wind-Down Debtors, as applicable,

  will not pursue any and all available Causes of Action against it. The Debtors, the Reorganized

  Debtors, the Wind-Down Debtors, and the GUC Trustee, as applicable, expressly reserve all rights

  to prosecute any and all Causes of Action against any Person, except as otherwise expressly

  provided in the Plan, including Article VIII of the Plan. The Reorganized Debtors, the Wind-Down

  Debtors, and the GUC Trustee, as applicable, (i) reserve and shall retain all Causes of Action



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  notwithstanding the rejection of any Executory Contract or Unexpired Lease during the Chapter

  11 Cases or pursuant to the Plan and (ii) shall have the exclusive right, authority, and discretion to

  determine and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw,

  or litigate to judgment any such Causes of Action and to decline to do any of the foregoing without

  the consent or approval of any third party or further notice to or action, order, or approval of the

  Bankruptcy Court.

                                  Executory Contracts and Leases

         32.     Assumption and Rejection of Executory Contracts and Unexpired Leases. The

  Executory Contract and Unexpired Lease provisions of Article V of the Plan are approved as

  modified herein.

         33.     Assumption of Contracts and Leases. As set forth in article V.A. of the Plan and

  except as otherwise provided in the Purchase Agreement, the Plan or this Confirmation Order, as

  of the Plan Effective Date, each of the Executory Contracts and Unexpired Leases of the Debtors

  identified on Exhibit A to this Confirmation Order (the “List of Purchased Contracts”) (as such

  Executory Contracts and Unexpired Leases may have been modified through and including the

  Plan Effective Date (with respect to Executory Contracts) or the date of entry of this Order (with

  respect to Unexpired Leases), collectively, the “Purchased Contracts”) shall be deemed assumed

  by the applicable Reorganized Debtor or assumed and assigned to the Purchaser in accordance

  with the provisions and requirements of sections 365 and 1123 of the Bankruptcy, unless such

  executory contract or unexpired lease: (i) is not identified on the List of Purchased Contracts; (ii)

  has been rejected pursuant to an Order of the Bankruptcy Court entered prior to the Plan Effective

  Date, or (iii) is identified on the Schedule of Post-Confirmation Date Negotiated Leases, attached

  hereto as Exhibit B, as an Unexpired Lease as to which the counterparty has consented in writing

  to the Debtors’ deferral of their decision to assume or reject for the pendency of the Post-

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  Confirmation Date Lease Negotiation Period (as agreed to between the Debtors and the non-Debtor

  counterparties to such Post-Confirmation Date Negotiated Leases). For the purposes of this

  paragraph, (x) “Post-Confirmation Date Negotiated Leases” means the schedule of all Unexpired

  Leases, including any amendments or modifications thereto, as to which the applicable

  counterparty has consented in writing to the Debtors’ deferral of their decision on assumption or

  rejection during the Post-Confirmation Date Lease Negotiation Period, as filed with this Court on

  September 4, 2024, and as such schedule may be amended from time to time up to and including

  the Confirmation Date, and (y) “Post-Confirmation Date Lease Negotiation Period” means (a) the

  consented to forty-five (45) day period immediately following the Confirmation Date or (b) any

  period of less than forty-five (45) days immediately following the Confirmation Date consented to

  by a counterparty to an Unexpired lease, as such period is set forth in Exhibit B, during which time

  the Debtors shall be entitled to file one or more Lease Rejection Notices with respect to the

  Unexpired Leases listed on the Schedule of Post-Confirmation Date Negotiated Leases. For the

  avoidance of doubt, the Debtors will continue to timely comply with all obligations arising under

  the Post-Confirmation Date Negotiated Leases during the Post-Confirmation Date Lease

  Negotiation Period.

         34.     Subject only to payment of the corresponding Cure Amounts set forth on Exhibit

  A to this Confirmation Order, on the Plan Effective Date, each Purchased Contract shall be deemed

  to be in good standing and free from all defaults. Without amending or altering any prior order of

  the Bankruptcy Court approving the assumption or rejection of any Executory Contract or

  Unexpired Lease, entry of this Confirmation Order by the Bankruptcy Court shall constitute

  approval of the Cure Amounts set forth on Exhibit A to this Confirmation Order, the assumptions,

  assumptions and assignments, and rejections pursuant to sections 365(a) and 1123 of the



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  Bankruptcy Code. For the avoidance of doubt, to the extent of a conflict between Exhibit A of this

  Confirmation Order and an Order of this Court resolving a Cure Objection (such order, a “Cure

  Order”), the Cure Amount (including any terms and conditions set forth therein) provided in the

  Cure Order shall control.

         35.     To the extent any provision in any Purchased Contract assumed or assumed and

  assigned hereunder restricts or prevents, or purports to restrict or prevent, or is breached or deemed

  breached by, the Debtors’ assumption or assumption and assignment, then application of such

  provision shall be deemed waived such that the transactions contemplated by the Plan shall not

  entitle the non-debtor counter-party thereto to assert a default or terminate such Purchased Contract

  or to exercise any other default-related rights with respect thereto. Each Purchased Contract shall

  revest in and be fully enforceable by the Reorganized Debtors or Purchaser, as applicable.

         36.     Cure of Defaults for Assumed Executory Contracts and Unexpired Leases. Except

  as otherwise provided in the Plan or this Confirmation Order, any monetary and non-monetary

  defaults arising under or in connection with any Purchased Contract shall be fully and completely

  satisfied, under section 365(b)(1) of the Bankruptcy Code, by the Debtors by payment of the Cure

  Amount in Cash on the earlier of (i) the Plan Effective Date or (ii) the consummation of a 363

  Asset Sale, if applicable, or (iii) on such other terms as the parties to such Executory Contracts or

  Unexpired Leases agree, with the consent of the Purchaser. In the event of an unresolved dispute

  regarding (1) the amount of any Cure Amount, (2) the ability of the Reorganized Debtors or

  Purchaser(s) (as applicable) or any assignee to provide “adequate assurance of future performance”

  (within the meaning of section 365 of the Bankruptcy Code), or (3) any other matter pertaining to

  assumption, the payment of the Cure Amount shall not be required until such time as the dispute

  is resolved by a Final Order.



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         37.     Subject to the terms of Paragraph 38 below with respect to Purchased Contracts

  that are Unexpired Leases of non-residential real property, upon payment of the Cure Amount in

  Cash, if applicable, any Claims or defaults, whether monetary or nonmonetary, including defaults

  of provisions restricting the assignment, change in control, bankruptcy, or other defaults under

  such Purchased Contract shall be fully and completely satisfied through and including the Plan

  Effective Date and the counterparty to the applicable Assumed Executory Contract or Unexpired

  Lease shall be forever barred, estopped, and enjoined from asserting any Claim on account of such

  default by, and such Claim shall not be enforceable against, the Debtors, their Estates, the

  Reorganized Debtors, the Purchaser, the Wind-Down Debtors, the Plan Administrator, the GUC

  Trust or the GUC Trustee, or any of their respective property, successors or assigns, and such

  Claims shall be forever discharged from any and all indebtedness and liability with respect to such

  Claim unless otherwise ordered by the Bankruptcy Court or as otherwise provided in the Plan. All

  such Claims will, as of the Plan Effective Date, be subject to the permanent injunction set forth in

  Article VIII of the Plan. Any Proofs of Claim Filed with respect to a Purchased Contract that has

  been assumed or assumed and assigned shall not be Allowed for Distribution purposes pursuant to

  the Plan, unless the Claims Objection Bar Date passes without an objection or other proceeding to

  disallow, or otherwise eliminate or reduce, such Claim having been initiated.

         38.     With respect to any Purchased Contract that is an Unexpired Lease of non-

  residential real property, the Debtors (or, if after the Plan Effective Date, the applicable

  Reorganized Debtor or Purchaser) shall remain liable for all obligations arising under the

  Unexpired Leases that were not otherwise required to be asserted as a cure cost, including: (a) for

  amounts owed or accruing under such Unexpired Lease that are unbilled and/or not yet due as of

  the applicable cure objection deadline (the “Cure Objection Deadline”) or the Plan Effective Date



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  regardless of when such amounts or obligations accrued, on account of common area maintenance,

  insurance, taxes, and similar charges; (b) any regular or periodic adjustment or reconciliation of

  charges under such Unexpired Lease that are not due and have not been determined as of the

  applicable Cure Objection Deadline; (c) any percentage of rent that is not yet due under such

  Unexpired Lease as of the Plan Effective Date; (d) obligations arising after the Plan Effective Date

  under such Unexpired Lease; and (e) any obligations to indemnify the non-Debtor counterparty

  under such Unexpired Lease for any claims of third parties pursuant to the terms of the Unexpired

  Lease, which were not known, asserted, or liquidated by the time of the applicable Cure Objection

  Deadline. Notwithstanding anything to the contrary in the Plan, this Confirmation Order, or the

  Amended Cure Notice, in the event that prior to the Plan Effective Date, a Debtor entered into any

  written settlement or lease amendment (a “Landlord Agreement”), then the affected Purchased

  Contract shall be governed and determined by the terms and conditions of the applicable Landlord

  Agreement.

            39.   Nothing in the Plan or the Confirmation Order shall modify the rights, if any, of

  landlords with Claims arising under unexpired real property leases, including for damage to the

  leased premises or personal injuries lawsuits, to seek payment from non-debtor third party

  guarantors, insurance companies or the proceeds of insurance policies, if any.

            40.   Rejection of Executory Contracts or Unexpired Leases. This Confirmation Order

  shall constitute an order of the Bankruptcy Court approving the rejection of those Executory

  Contracts and Unexpired Leases that: (i) are not identified on the List of Purchased Contracts;

  (ii) have been rejected pursuant to an Order of the Bankruptcy Court entered prior to the Plan

  Effective Date; or (iii) are not identified on the Schedule of Post-Confirmation Date Negotiated

  Leases.



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         41.     With respect to Post-Confirmation Date Negotiated Leases, the parties are currently

  working to memorialize lease modifications, the terms of which have been agreed upon in

  principle. Upon execution of mutually acceptable lease modifications, each such Post-

  Confirmation Date Negotiated Lease shall be deemed a Purchase Contract. A failure to timely

  execute a lease modification on or before the end of the Post-Confirmation Date Lease Negotiation

  Period will result in deemed rejection of such Post-Confirmation Date Negotiated Lease unless the

  period is extended with the prior written consent of the applicable landlord and Purchaser.

         42.     Notwithstanding anything to the contrary provided in the Plan, this Confirmation

  Order, or any Definitive Document, if the Plan Effective Date does not occur on a Business Day,

  any payment that is required to be made by the Debtors, the Reorganized Debtors, the Wind-Down

  Debtors, the Purchaser, the Plan Administrator, or the GUC Trustee, as the case may be, on the

  Plan Effective Date shall be considered timely made if it is made on or before the next Business

  Day following the Plan Effective Date.

         43.     All Proofs of Claim with respect to Claims arising from the rejection of

  Executory Contracts or Unexpired Leases pursuant to the Plan, if any, must be Filed with

  the Bankruptcy Court within thirty (30) days after the later of (1) the date of entry of an

  order of the Bankruptcy Court (including the Confirmation Order) approving such

  rejection, (2) the effective date of such rejection, or (3) the Plan Effective Date. The Debtors

  shall provide notice of such rejection and specify the appropriate deadline for the filing of

  such Proof of Claim. The deadline for filing a Proof of Claim with respect to Claims arising

  from the rejection of Executory Contracts or Unexpired Leases pursuant to a prior order of

  the Bankruptcy Court shall be as set forth in such order. Each Claim arising from the

  rejection of any Executory Contract or Unexpired Lease shall be treated as a General



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  Unsecured Claim subject to any applicable limitation or defense under the Bankruptcy Code

  and applicable law. Any entity that is required to File a Proof of Claim arising from the

  rejection of an Executory Contract or an Unexpired Lease that fails to do so shall be forever

  barred, estopped, and enjoined from asserting such Claim, and such Claim shall not be

  enforceable, against the Debtors, their Estates, the Reorganized Debtors, the Purchaser, the

  Wind-Down Debtors, the Plan Administrator, the GUC Trust or the GUC Trustee, or any of

  their respective property, successors or assigns, and such Claims shall be forever discharged

  from any and all indebtedness and liability with respect to such Claim unless otherwise

  ordered by the Bankruptcy Court or as otherwise provided in the Plan. All such Claims will,

  as of the Plan Effective Date, be subject to the permanent injunction set forth in Article VIII

  of the Plan. If such Claim is untimely Filed, it shall not be Allowed for distribution purposes

  pursuant to the Plan, unless the Claims Objection Bar Date passes without an objection or

  other proceeding to disallow, or otherwise eliminate or reduce, such Claim having been

  initiated.

         44.     Abandoned Property. The Debtors are authorized but not directed, at any time on

  or before the effective date of such rejection (the “Rejection Date”), to remove or abandon any of

  the Debtors’ personal property that may be located on the Debtors’ leased premises that are subject

  to an Unexpired Lease that is rejected. For the avoidance of doubt, any and all property located on

  the Debtors’ leased premises on the Rejection Date shall be deemed abandoned pursuant to section

  554 of the Bankruptcy Code, as is, effective as of the Rejection Date. Notwithstanding anything

  herein to the contrary, landlords may, without further notice or order of this Bankruptcy Court,

  utilize and/or dispose of such property without notice or liability to the Debtors or third parties

  and, to the extent applicable, the automatic stay is modified to allow such disposition.



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         45.     Workers’ Compensation. As set forth in article IV.A.3(e) of the Plan and except as

  otherwise provided in the Plan or this Confirmation Order, as of the Plan Effective Date, the

  applicable Debtor, Reorganized Debtor, or Wind-Down Debtor, as the case may be, shall continue

  to honor its obligations under: (a) all applicable workers’ compensation laws in states in which the

  applicable Debtor, Reorganized Debtor, or Wind-Down Debtor, operates; and (b) the Debtors’

  written contracts, agreements, agreements of indemnity, self-insurer workers’ compensation

  bonds, and any other policies, programs, and plans regarding or relating to workers’ compensation

  and workers’ compensation insurance. All such contracts and agreements are treated as Executory

  Contracts under the Plan and, unless rejected pursuant to Article V of the Plan, on the Plan

  Effective Date shall be assumed and assigned to the applicable Reorganized Debtor, Purchaser or

  Purchaser designee(s), pursuant to the provisions of sections 365 and 1123 of the Bankruptcy

  Code. Notwithstanding anything to the contrary contained in the Plan, confirmation of the Plan

  shall not impair or otherwise modify any rights of the Debtor, Reorganized Debtor, Purchaser,

  Wind-Down Debtor, or Plan Administrator (as applicable) under any such contracts, agreements,

  policies, programs or plans regarding or relating to workers’ compensation or workers’

  compensation insurance.

         46.     Return of Deposits. Notwithstanding any state or local law to the contrary, all

  utilities and other Persons or entities who received a Cash deposit or other form of “adequate

  assurance” of performance pursuant to section 366 of the Bankruptcy Code prior to or during the

  Chapter 11 Cases (collectively, the “Deposits”), whether pursuant to the Order Conditionally

  Granting Debtors’ Emergency Motion for Entry of an Order Pursuant to 11 U.S.C. §§ 105(a) and

  366(b) and Local Rule 2081-1(g)(7): (I) Prohibiting Utilities from Altering, Refusing, or

  Discontinuing Services, (II) Deeming Utilities Adequately Assured of Future Performance, (III)



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  Establishing Procedures for Determining Adequate Assurance of Payment, and (IV) Granting

  Related Relief [ECF No. 139] (the “Utilities Order”) or otherwise, including, gas, electric,

  telephone, data, cable, trash, water and sewer services, are directed to return such Deposits, to the

  extent not already applied to prepetition or postpetition invoices, as applicable, to the Reorganized

  Debtors or, on behalf of RL Management, the Purchaser, as applicable, within thirty (30) days

  following the Plan Effective Date or as otherwise agreed in writing. Additionally, upon expiration

  of the 30-day period in the immediately preceding sentence for return of unapplied Deposits (by

  setoff or Cash payment), the Debtors, Reorganized Debtors, Wind-Down Debtors, Purchaser, or

  Plan Administrator, as applicable, are authorized to close the Adequate Assurance Account (as

  defined in the Utilities Order) and utilize such funds in the operation of their businesses thirty (30)

  days following the Plan Effective Date.

         47.      Insurance Policies. Notwithstanding anything to the contrary in this Confirmation

  Order, the Plan (including, without limitation, Article IV.A.3 of the Plan), the Disclosure

  Statement, the Plan Supplement, the Bidding Procedures Motion, the Purchase Agreement, any

  other Definitive Document, any other order of the Court, and/or any document related to any of

  the foregoing (other than the Zurich Agreement (as defined below)) or any other order of the

  Bankruptcy Court, and subject to (x) the execution of the Zurich Agreement, and (y) the occurrence

  of the Agreement Effective Date (as defined in the Zurich Agreement):

               a. that certain form of Assumption and Assignment Agreement, by and among RL

                  Management, on behalf of itself and its affiliated insureds, the Purchaser, and

                  Zurich (the “Zurich Agreement”), a copy of which is attached to this Confirmation

                  Order as Exhibit C, is hereby approved and, effective as of the Closing Date (as

                  defined in the Purchase Agreement), the Debtors and the Reorganized Debtors, as



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              applicable, are authorized to and shall assign the Zurich Insurance Program to the

              Purchaser and to enter into the Zurich Agreement with respect to such assignment;

           b. effective upon the assignment of the Zurich Insurance Program and as more fully

              set forth in the Zurich Agreement:

                  i. the Purchaser assumes and shall be liable for any and all now existing or

                     hereafter arising duties, terms, provisions, covenants, responsibilities,

                     monetary and non-monetary obligations of any of the Debtors and the

                     Reorganized Debtors, as applicable, under the Zurich Insurance Program,

                     including, without limitation, any and all liabilities and obligations to pay

                     or reimburse losses, defenses costs, expenses, and/or other amounts within

                     any applicable deductibles and/or self-insured retentions, provide collateral

                     and/or security as required by Zurich, pay premiums to Zurich, and pay

                     service fees and/or other amounts to any applicable third party

                     administrator;

                 ii. the rights and interests of the Debtors and the Reorganized Debtors, as

                     applicable, in the Zurich Insurance Program shall be transferred and

                     assigned to the Purchaser, and all right, title and interest of the Debtors and

                     the Reorganized Debtors, as applicable, in the Zurich Insurance Program

                     shall at the same time terminate; provided, however, that the Purchaser shall

                     not be entitled to coverage under the Zurich Insurance Program for claims

                     against or by the Purchaser where the date of loss preceded the Closing Date

                     (as defined in the Zurich Agreement) (or as to claims-made policies, for

                     claims made on or before the Closing Date); provided, further, that the



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                    Debtors (or the Reorganized Debtors, as applicable) shall remain entitled to

                    the coverage, if any, to which they were entitled under the Zurich Insurance

                    Program for claims against or by the Debtors (or the Reorganized Debtors,

                    as applicable) where the date of loss preceded the Closing Date (or as to

                    claims-made policies, for claims made prior to the Closing Date);

                iii. the right, if any, to any return premiums, loss payments, expense

                    adjustments, return of loss funds, and other benefits previously available to

                    the Debtors (or the Reorganized Debtors, as applicable) under the Zurich

                    Insurance Program Contracts shall belong exclusively to the Purchaser and

                    not to the Debtors (or the Reorganized Debtors, as applicable);

                iv. the Debtors and the Reorganized Debtors, as applicable, convey, transfer,

                    and assign to the Purchaser and the Purchaser accepts and assumes, subject

                    to the continuing security interests and liens of Zurich, all of the rights,

                    claims, title, and interest, including, without limitation, any residual or

                    contingent interest, of the Debtors and the Reorganized Debtors, as

                    applicable, in, to, under, in connection with or relating to the Transferred

                    Collateral (as defined in the Zurich Agreement), the Debtors and the

                    Reorganized Debtors, as applicable, hereby waive and release, and shall not

                    have, any right, claim, title, or interest, including, without limitation, any

                    residual or contingent interest, in, to, under, in connection with or relating

                    to the Transferred Collateral, and the Transferred Collateral shall be deemed

                    to have been provided by and/or on behalf of the Purchaser to Zurich,

                    provided, that the Draw Funds (as defined in the Zurich Agreement) are not



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                    and shall not be deemed to be property of any and all of respective

                    bankruptcy estates of any of the Debtors, the Reorganized Debtors, and/or

                    the Purchaser that exist, or that may exist, now, hereafter, or at any time;

                    provided, further, that any and all of the Purchaser’s reversionary interest,

                    in, to, under, in connection with or relating to the Transferred Collateral is

                    preserved;

                 v. the Debtors and the Reorganized Debtors, as applicable, jointly and

                    severally, on behalf of themselves, their bankruptcy estates and all parties

                    claiming by, through or under each of them and each of their respective

                    agents, employees, representatives, officers, attorneys, shareholders,

                    members, partners, directors, successors, assigns, trustees, estates and

                    predecessors in interest of each of the foregoing (collectively, and including

                    any chapter 7 trustee appointed pursuant to the Bankruptcy Code, the

                    “Debtors Entities”) and the Purchaser, jointly and severally, on behalf of

                    itself and all parties claiming by, through or under it and its respective

                    agents, employees, representatives, officers, attorneys, shareholders,

                    members, partners, directors, successors, assigns, trustees, estates and

                    predecessors in interest of each of the foregoing (collectively and together

                    with the Debtor Entities, the “Zurich Releasors”) hereby waive, release,

                    acquit and forever discharge Zurich and each of its respective agents,

                    employees, representatives, officers, attorneys, shareholders, directors,

                    parents, subsidiary corporations, affiliates, successors, assigns, trustees and

                    predecessors in interest (collectively, the “Zurich Releasees”) from any and



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                     all claims, counterclaims, rights, demands, obligations, causes of action,

                     actions, costs, damages, losses, liabilities, and attorneys’ fees, arising under

                     any statute, federal, state, or local regulation, ordinance or common law,

                     whether asserted or unasserted, known or unknown, suspected or

                     unsuspected, fixed or contingent, liquidated or unliquidated, matured or

                     unmatured, foreseen or unforeseen, which exist or may exist that the Zurich

                     Releasors may have against any or all of the Zurich Releasees from the

                     beginning of time through the Effective Date (as defined in the Zurich

                     Agreement), arising out of or in any way related to the Zurich Insurance

                     Program (including, but not limited to, any and all of such pursuant to §§

                     362, 363, 364, 365, 542, 544, 547, 548, 549, and 550 of the Bankruptcy

                     Code); provided, however, that the foregoing release shall not apply to (i)

                     Zurich’s obligations under, in connection with or relating to the Zurich

                     Insurance Program; and (ii) the obligations expressly contained in the

                     Zurich Agreement; and

           c. except to the extent specifically addressed in this paragraph or in the Zurich

              Agreement (once effective in accordance with its terms), nothing shall amend,

              modify or otherwise alter the terms and conditions of the Zurich Insurance

              Program; provided, however, for the avoidance of doubt, any discharge and/or

              release granted to the Debtors or any of their successors pursuant to the Plan, this

              Confirmation Order, any order granting the Bidding Procedures Motion, and/or the

              Bankruptcy Code shall not prohibit any third-party claimants with claims against

              any of the Debtors or the Reorganized Debtors from seeking relief from the



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                injunctions set forth in Article VIII.A of the Plan from the Bankruptcy Court to

                proceed with their claims nominally against any of the Debtors or the Reorganized

                Debtors in the appropriate judicial or administrative forum to recover under the

                Zurich Insurance Program including, without limitation, with respect to any

                deductibles or self-insured retentions in accordance with the terms and conditions

                of the Zurich Insurance Program and applicable non-bankruptcy law. The Debtors,

                Reorganized Debtors, the Purchaser, and Zurich reserve any and all rights to

                oppose, respond, and/or reply to such requests for relief and any oppositions

                thereto.

                                  Bar Dates, Fees and Expenses

         48.    Administrative Expense Claims Bar Date. Other than holders of (a) DIP Claims,

  (b) Professional Fee Claims, (c) Administrative Expense Claims Allowed by an order of the

  Bankruptcy Court on or before the Plan Effective Date, or (d) Administrative Expense Claims that

  arose in the ordinary course of business under assumed Unexpired Leases or Executory Contracts,

  holders of any Administrative Expense Claim must File and serve a request for allowance and

  payment of such Administrative Expense Claim by no later than the Administrative Expense

  Claims Bar Date, which shall be thirty (30) days after the Plan Effective Date. Holders of

  Administrative Expense Claims that are required to File and serve a request for payment of such

  Claims that fail to do so shall be forever barred, estopped, and enjoined from asserting such

  Administrative Expense Claims against the Debtors, the Reorganized Debtors, Wind-Down

  Debtors, or the GUC Trustee, as applicable, or their respective property, and such Administrative

  Expense Claims shall be deemed discharged as of the Plan Effective Date without the need for any

  objection or any notice to any Person or an order of the Bankruptcy Court.



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         49.     Professional Fee Claims. As set forth in article II.B. of the Plan and except as

  otherwise provided in the Plan or this Confirmation Order, the Professional Fee Escrow Account

  shall be maintained in trust solely for the Professionals in respect of Allowed Professional Fee

  Claims until all Allowed Professional Fee Claims have been paid in full, and the funds held in the

  Professional Fee Escrow Account shall not be considered property of the Debtors’ Estates;

  provided, that when all Allowed Professional Fee Claims have been paid in full, any funds

  remaining in the Professional Fee Reserve shall be disbursed to the Purchaser. No Liens, Claims,

  or Interests shall encumber the Professional Fee Escrow Account or Cash held therein. From and

  after the Confirmation Date until the Plan Effective Date, the Debtors, without the necessity for

  any approval by the Bankruptcy Court, shall pay the reasonable fees and necessary and

  documented expenses of the Professionals during such period, up to the amount in the Professional

  Fee Escrow Amount. Upon the Plan Effective Date, the Reorganized Debtors, RL Management,

  the Plan Administrator, and the GUC Trustee, as applicable, may each employ and compensate

  any Professional in the ordinary course of business without any further notice to or action, order,

  or approval of the Bankruptcy Court.

         50.     Statutory Fees. Each Reorganized Debtor and Wind-Down Debtor shall remain

  obligated to pay its respective UST Fees to the U.S. Trustee until the earliest of such Reorganized

  Debtor’s or Wind-Down Debtor’s particular chapter 11 bankruptcy case is closed, dismissed or

  converted to a case under chapter 7 of the Bankruptcy Code. After the Plan Effective Date, the

  Plan Administrator for and on behalf of each Reorganized Debtor and Wind-Down Debtor, shall

  File with the Bankruptcy Court separate UST Form 11-PCR reports when they become due. On

  the Plan Effective Date, the Purchaser shall remit to the Plan Administrator sufficient funding to

  pay all statutory fees that are anticipated to be payable under 28 U.S.C. § 1930(a)(6) for the period



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  from July 1, 2024 through September 30, 2024, which the Plan Administrator shall use to satisfy

  such fees. On or before the date that such fees become due, the Purchaser shall further remit to the

  Plan Administrator sufficient funding to pay all UST Fees on account of the Wind-Down Debtors

  and the Reorganized Debtors for the period from October 1, 2024 through December 31, 2024,

  which the Plan Administrator shall use to satisfy such fees. All UST Fees on account of any

  Reorganized Debtor (excluding RL Management) for periods after December 31, 2024, shall be

  payable first from the remaining amount (if any) of the Plan Funding Amount held by the Plan

  Administrator, and then by the applicable Reorganized Debtor. All UST Fees on account of any

  Wind-Down Debtor or RL Management for periods after December 31, 2024, shall be payable

  from the Wind-Down Amount. Notwithstanding anything in the GUC Trust Agreement or Plan

  Administrator Agreement to the contrary, each Debtor, Reorganized Debtor, and Wind-Down

  Debtor, as applicable, shall have full discretion as to when to seek to close, dismiss, or convert its

  chapter 11 bankruptcy case; provided, however, that the last remaining Wind-Down Debtor with

  an open chapter 11 bankruptcy case shall not close such case without prior written consent of the

  GUC Trustee. The GUC Trust shall indemnify and reimburse the Reorganized Debtors and the

  Wind-Down Debtors, as applicable, for any statutory fees paid by such Reorganized Debtor or

  Wind-Down Debtor pursuant to 28 U.S.C. § 1930(a) that accrued for a period for which such

  Reorganized Debtor’s or Wind-Down Debtor’s chapter 11 bankruptcy case remained open due to

  the failure by the GUC Trustee to, upon written request, provide written consent to the closure of

  such chapter 11 bankruptcy case of such Reorganized Debtor or Wind-Down Debtor, as applicable.

  The U.S. Trustee shall not be required to File any Administrative Expense Claim in these Chapter

  11 Cases and shall not be treated as providing any release under the Plan. Notwithstanding any

  term or provision in the Plan, the Plan Supplement, or this Confirmation Order, the Court retains



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  jurisdiction over, and the U.S. Trustee and the GUC Trust each reserves all of their respective

  rights concerning, any and all disputes and issues that may arise relating to UST Fees on (and

  reporting obligations relating to) disbursements of any GUC Trust Assets and GUC Litigation

  Proceeds. Either the U.S. Trustee or the GUC Trust may seek appropriate relief from the Court in

  the event disputes or issues arise relating to UST Fees on (or reporting obligations relating to)

  disbursements of GUC Trust Assets and GUC Litigation Proceeds.

         51.     Exemption from Certain Transfer Taxes and Recording Fees. As set forth in

  article IV.A.4 of the Plan and except as otherwise provided in the Plan or this Confirmation Order,

  to the maximum extent permitted pursuant to section 1146(a) of the Bankruptcy Code, any transfer

  of property (whether from a Debtor to a Reorganized Debtor, the Purchaser, the GUC Trust, or to

  any other Person) under, in furtherance of, or in connection with the Plan, including pursuant to

  any Sale Transaction or (1) the issuance, distribution, transfer, or exchange of any debt, equity

  Security, or other interest in the Debtors, the Reorganized Debtors, or the GUC Trust, including

  the New Reorganized Debtor Equity and Takeback Loans, if applicable, (2) the Restructuring

  Transactions; (3) the creation, modification, consolidation, termination, refinancing, and/or

  recording of any mortgage, deed of trust, or other security interest, or the securing of additional

  indebtedness by such or other means; (4) the making, assignment, or recording of any lease or

  sublease; or (5) the making, delivery, or recording of any deed or other instrument of transfer

  under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale,

  assignments, or other instrument of transfer executed in connection with any transaction arising

  out of, contemplated by, or in any way related to the Plan, shall not be subject to any tax or

  governmental assessment under any law imposing a document recording tax, stamp tax,

  conveyance tax, intangibles or similar tax, mortgage tax, real estate transfer tax, mortgage



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  recording tax, Uniform Commercial Code filing or recording fee regulatory filing or recording fee,

  sales and use tax, or other similar tax or governmental assessment, and upon entry of the

  Confirmation Order, the appropriate state or local governmental officials or agents shall forgo the

  collection of any such tax or governmental assessment against the Debtors and accept for filing

  and recordation any of the foregoing instruments or other documents pursuant to such transfers of

  property without the payment of any such tax, recordation fee, or governmental assessment. All

  filing or recording officers (or any other Person with authority over any of the foregoing), wherever

  located and by whomever appointed, shall comply with the requirements of section 1146(c) of the

  Bankruptcy Code, shall forgo the collection of any such tax, recordation fee, or governmental

  assessment, and shall accept for filing and recordation any of the foregoing instruments or other

  documents without the payment of any such tax, recordation fee, or governmental assessment. The

  Bankruptcy Court shall retain specific jurisdiction with respect to these matters.

                                Miscellaneous and Other Provisions

         52.     Transfer of Liquor Licenses. To the extent any license or permit necessary for the

  operation of any of the Retained Locations (including, without limitation, any Liquor Licenses

  necessary for the purchase or sale of alcohol at any of the Retained Locations) is not immediately

  assumable or assignable, the Reorganized Debtors or the Purchaser, as applicable, shall be

  permitted to operate the Retained Locations under the Liquor Licenses and other related permits,

  and shall be permitted to purchase and sell alcohol under such Liquor Licenses and related permits

  until such time that (i) said Liquor Licenses and permits are transferred to the Reorganized Debtors,

  the Purchaser, or any of their respective affiliates, as applicable, or (ii) the Reorganized Debtors,

  the Purchaser, or any of their respective affiliates, as applicable, obtain replacement licenses and

  permits.



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         53.     Pursuant to this Confirmation Order, the Reorganized Debtors, the Purchaser, or

  their respective affiliates, directors and officers, as applicable, shall make reasonable efforts to

  apply for and obtain any such Liquor License or permit promptly after the Plan Effective Date and,

  prior to and after the Plan Effective Date, the Debtors, the Wind-Down Debtors, the Plan

  Administrator, and the applicable directors and officers shall cooperate reasonably in those efforts.

  All existing Liquor Licenses or permits shall remain in place for the benefit of the Reorganized

  Debtors, the Purchaser, and their respective affiliates, as applicable, until either new licenses and

  permits are obtained or existing licenses and permits are transferred in accordance with applicable

  Law. Similarly, Liquor Licenses held by any of the Debtors prior to the Plan Effective Date

  associated with any closed store locations shall remain in place for the benefit of the Purchaser

  (and its designees), the Reorganized Debtors and the Wind-Down Debtors, and their respective

  affiliates, as applicable, until sold, and the Reorganized Debtors, the Purchaser (and its designees),

  the Plan Administrator, and the Wind-Down Debtors and their respective affiliates, as applicable,

  shall use reasonable efforts to sell such Liquor Licenses in an expeditious but commercially

  reasonable manner.

         54.     With regard to the purchase and sale of alcohol at the Retained Locations, pursuant

  to the Plan, the Debtors and all other parties in interest (including without limitation, each

  governmental and regulatory agency with jurisdiction over the Retained Locations) shall cooperate

  fully with and support the Reorganized Debtors, the Purchaser, the Plan Administrator, and their

  respective agents and affiliates, as applicable, in executing such applications and furnishing such

  documents as are necessary for the Reorganized Debtors, the Purchaser, the Plan Administrator,

  or their respective agents and affiliates, as applicable, to obtain, in the applicable name, a

  temporary new alcohol beverage license or transferred Liquor License. Moreover, each of the



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  governmental and regulatory agencies with jurisdiction over the Retained Locations (including

  without limitation, law enforcement and regulatory agencies), shall not (except to the extent that

  those governmental and regulatory agencies are exercising their police powers under applicable

  law) interrupt the operations conducted at the Retained Locations, including the purchase and sale

  of alcohol by the Reorganized Debtors, the Purchaser, or their respective affiliates, as applicable,

  without first obtaining relief from this Court. The Reorganized Debtors, the Purchaser, or their

  respective affiliates, as applicable, may continue to operate at the Retained Locations under

  existing ABC Licenses, state food service licenses, local occupational licenses, and any other

  licenses or permits needed to operate at the Retained Locations, with no interruption of the business

  conducted at the premises, until the ABC Licenses and other licenses and permits have been

  transferred to the Reorganized Debtors, the Purchaser, or their respective affiliates, as applicable,

  or new alcohol beverage licenses and other licenses and permits have been issued to the

  Reorganized Debtors, the Purchaser, or their respective affiliates, as applicable.

         55.     This Confirmation Order stays, and orders the maintenance of, all licenses and

  permits, including Liquor Licenses and other related permits, of the Debtors, and does not in any

  way void or cancel same.

         56.     To the maximum extent permitted by the Bankruptcy Code, no Governmental Unit

  may revoke or suspend any permit or license, including, but not limited to, Liquor Licenses and

  other related permits, relating to the operation of the Retained Locations on account of the filing

  or pendency of the Debtors’ cases or the consummation of the Plan. This Court shall retain

  exclusive jurisdiction over any action to revoke or suspend any permit or license, including, but

  not limited to, Liquor Licenses and other related permits, relating to the operation of the Retained

  Locations on account of the filing or pendency of the Debtors’ cases or the consummation of the



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  Plan to the extent such revocation or suspension would otherwise constitute a violation of the

  discharge or injunction provisions provided for in the Plan and Confirmation Order or any other

  Order of this Court.

         57.     The transfer of alcohol inventory, as contemplated under the Plan, shall be

  governed by the Purchase Agreement and the Transition Services Agreement and shall occur upon

  the earliest of (a) where allowed by applicable Law, the Plan Effective Date; (b) where required

  by applicable Law, receipt by the Reorganized Debtors, the Purchaser, or their respective affiliates,

  as applicable, of authorization from the applicable Governmental Unit or (c) receipt by the

  Reorganized Debtors, the Purchaser, or their respective affiliates, as applicable, of the applicable

  Liquor License.

         58.     Governmental Approvals Not Required. This Confirmation Order shall constitute

  all approvals and consents required, if any, by the laws, rules, or regulations of any state or other

  governmental authority with respect to the implementation or consummation of the Plan, the other

  Plan Documents, any documents, instruments, or agreements, and any amendments or

  modifications thereto, and any other acts referred to in, or contemplated by, the Plan Documents

  and any amendments or modifications thereto.

         59.     Notice of Effective Date. As soon as practicable, but not later than three (3)

  Business Days following the Plan Effective Date, the Debtors shall file a notice of the occurrence

  of the Effective Date with the Bankruptcy Court.

         60.     Retention of Jurisdiction. The Bankruptcy Court may properly, and upon the Plan

  Effective Date shall, to the fullest extent set forth in the Plan, retain jurisdiction over all matters

  arising out of, and related to, the Chapter 11 Cases, including the matters set forth in Article XI of

  the Plan and section 1142 of the Bankruptcy Code; provided, however, nothing in this Order or the



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  Definitive Documents shall prevent the GUC Trustee, in its discretion, from instituting, initiating,

  litigating, prosecuting, or pursuing the Equityholder Litigation Claims in any court that has

  jurisdiction over such Equityholder Litigation Claims.

         61.     Modification of Plan. As set forth in article X.A of the Plan and except as otherwise

  provided in the Plan or this Confirmation Order, effective as of the date hereof and subject to the

  limitations and rights contained in the Plan, the Debtors reserve the right, with the prior written

  consent of the Prepetition Term Loan Agent and the Committee, to (1) modify the Plan, whether

  such modification is material or immaterial, and seek Confirmation consistent with the Bankruptcy

  Code and (2) subject to certain restrictions and requirements set forth in section 1127 of the

  Bankruptcy Code and Bankruptcy Rule 3019 (as well as those restrictions on modifications set

  forth in the Plan), to alter, amend or modify the Plan with respect to any Debtor, one or more times,

  before or after Confirmation, and, to the extent necessary, may initiate proceedings in the

  Bankruptcy Court to so alter, amend or modify the Plan, or remedy any defect or omission or

  reconcile any inconsistencies in the Plan, the Disclosure Statement or the Confirmation Order, in

  such matters as may be necessary to carry out the purposes and intent of the Plan. In accordance

  with, and to the extent provided by, section 1127 of the Bankruptcy Code, a holder of a Claim that

  has accepted this Plan shall be deemed to have accepted this Plan, as altered, amended or modified,

  if the proposed alteration, amendment or modification does not materially and adversely change

  the treatment of the Claim of such holder.

         62.     Reversal. If any of the provisions of this Confirmation Order are hereafter reversed,

  modified or vacated by a subsequent order of the Bankruptcy Court or any other court of competent

  jurisdiction, such reversal, modification, or vacatur shall not affect the validity of the acts or

  obligations incurred or undertaken under, or in connection with, the Plan prior to receipt of written



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  notice of such order by the Debtors. Notwithstanding any such reversal, modification or vacatur

  of this Confirmation Order, any such act or obligation incurred or undertaken pursuant to, and in

  reliance on, this Confirmation Order prior to the effective date of such reversal, modification or

  vacatur shall be governed in all respects by the provisions of this Confirmation Order, the Plan, all

  documents relating to the Plan and any amendments or modifications to any of the foregoing.

         63.       Conflicts Between Confirmation Order and Plan. The provisions of the Plan and

  this Confirmation Order shall be construed in a manner consistent with each other so as to effect

  the purpose of each; provided, however, that if there is determined to be any inconsistency between

  any Plan provision and any provision of this Confirmation Order that cannot be so reconciled, then

  solely to the extent of such inconsistency, the provisions of this Confirmation Order shall govern

  and any provision of this Confirmation Order shall be deemed a modification of the Plan and shall

  control and take precedence. The provisions of this Confirmation Order are integrated with each

  other and are non-severable and mutually dependent.

         64.       Final Order; Waiver of Stay. This Confirmation Order is a Final Order and the

  period in which an appeal must be filed shall commence upon the entry hereof. Any stay of this

  Confirmation Order provided by any Bankruptcy Rule (including Bankruptcy Rule 3020(e)) is

  waived, and this Confirmation Order shall be effective and enforceable immediately upon its entry

  by this Court.

         65.       Failure to Consummate Plan and Substantial Consummation. If the Consummation

  of the Plan does not occur, the Plan shall be null and void in all respects and nothing contained in

  the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by the

  applicable Debtor or any other Person, or any Claims or Interests by any holders thereof;

  (2) prejudice in any manner the rights of each applicable Debtor, any holder of Claims or Interests,



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  or any other Person; or (3) constitute an admission, acknowledgment, offer or undertaking by the

  applicable Debtors, any holder of Claims or Interests, or any other Person in any respect.

          66.     Dissolution of the Committee. On the Plan Effective Date, the Committee shall be

  automatically dissolved and all of its members, Professionals, and agents shall be deemed released

  of their duties, responsibilities, and obligations, and shall be without further duties, responsibilities,

  and authority in connection with the Debtors, the Chapter 11 Cases, the Plan, or its implementation.

          67.     Applicable Non-Bankruptcy Law. Pursuant to sections 1123(a) and 1142 of the

  Bankruptcy Code, the provisions of this Confirmation Order, the Plan, the Plan Documents, the

  Definitive Documents, and any amendments or modifications thereto shall apply and be

  enforceable notwithstanding any otherwise applicable nonbankruptcy law.

          68.     Headings. Headings utilized herein are for convenience and reference only, and

  shall not constitute a part of the Plan or this Confirmation Order for any other purpose.

          69.     Optium Fund 4, LLC (“Optium”) reserves its right to assert that the Debtors and

  Reorganized Debtors no longer own certain claims and causes of action purportedly sold and

  assigned by Darden Corporation and affiliated entities, including their predecessors (collectively,

  “Darden”), to Optium pursuant to that certain Claim Purchase Agreement dated as of December

  15, 2020, which relate to multidistrict litigation styled as In re Payment Card Interchange Fee and

  Merchant Discount Antitrust Litig., Case No. 1:05-md-01720-MKB-VMS (E.D.N.Y.). Likewise,

  all rights of the Debtors, the Reorganized Debtors, the Purchaser, the Wind-Down Debtors, the

  Plan Administrator, the GUC Trust, and the GUC Trustee in connection with those claims and

  causes of action are reserved.

          70.     Nothing in the Plan, this Confirmation Order, or any sale orders entered with

  respect to the disposition of any tangible personal property located in Texas (the “Texas Property”)



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  shall relieve any obligation to pay the 2024 ad valorem taxes owed to the Texas Taxing

  Authorities5 in the ordinary course of business prior to the state law delinquency date. The Plan

  Administrator shall reimburse the Purchaser and the Reorganized Debtors, as applicable, from the

  Plan Funding Amount for any 2024 ad valorem taxes paid by the Purchaser or the Reorganized

  Debtors that accrued prior to the Petition Date.

          71.      Neither the automatic stay nor the injunctions set forth in Article VIII.A of the Plan

  shall prohibit Melissa Randazzo or David Ontiveros from pursuing a direct action claim against

  any insurer.

          72.      For the avoidance of doubt, the following entities shall not be Releasing Parties

  under the Plan or this Order: (i) Peter Moon and Seungha Hong, as Trustees of the 2015 Hong

  Family Trust U/D/T Dated March 25, 2015 or (ii) Taylor & Monroe LLC (collectively, the

  “Guaranty Claimants”). Nothing herein shall prohibit the Guaranty Claimants from pursuing

  claims and causes of action against Red Lobster Intermediate Holdings, LLC (“Holdings”),

  including any claims and causes of action against Holdings in its capacity as guarantor, in

  connection with certain real property leases.



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    The Texas Taxing Authorities include all taxing authorities represented by Linebarger Goggan Blair & Sampson,
  Perdue Brandon Fielder Collins & Mott, and McCreary Veselka Bragg & Allen including but not limited to: Angelina
  County, Bexar County, Cameron County, Cypress-Fairbanks Independent School District, Dallas County, Ector CAD,
  City of El Paso, Fort Bend County, City of Frisco, Grayson County, Greenville Independent School District, Gregg
  County, Harris County Emergency Service District #11, Harris County Emergency Service District #28, Hidalgo
  County, City of Houston (where represented by Linebarger Goggan Blair & Sampson), Houston Community College
  System, City of Humble, Irving Independent School District, Lewisville Independent School District, Lone Star
  College System, City of McAllen, McLennan County, Montgomery County, Nueces County, City of Pasadena, San
  Marcos CISD, Smith County, Tarrant County, Victoria County, City of Webster, Potter County Tax Office, Lubbock
  Central Appraisal District, Brazoria County, et al, City of Katy - Fort Bend and Waller Counties, Katy Management
  District # 1, Humble Independent School District, Alief Independent School District, City of Houston (where
  represented by Perdue Brandon), Spring Independent School District, Clear Creek Independent School District,
  Pasadena Independent School District, Brownsville Independent School District, Plano Independent School District,
  Frisco Independent School District, City of Burleson, Burleson Independent School District, Richardson Independent
  School District, Crowley Independent School District, Tyler Independent School District, Hunt County, et al., Wichita
  County Tax Office, Bell County Tax Appraisal District, Bowie Central Appraisal District, Denton County, Hays
  County, Taylor County Central Appraisal District, City of Waco and Waco Independent School District and
  Williamson County

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         73.     Upon entry by the Bankruptcy Court of this Confirmation Order, the Motion of the

  Official Committee of Unsecured Creditors For Entry of an Order Granting Standing and

  Authorizing the Prosecution of Certain Challenge Claims on Behalf of the Bankruptcy Estates

  [ECF No. 358] shall be deemed to be withdrawn.

         74.     Notwithstanding anything in the Bankruptcy Rules or the Local Rules to the

  contrary, including, but not limited to, Local Rule 3020-1(c)(2), the Debtors’ obligations to serve

  this Confirmation Order, the Plan, or any other document in connection therewith, shall be satisfied

  by service of a notice of entry of the Confirmation Order, substantially in the form attached hereto

  as Exhibit D, upon all creditors, the U.S. Trustee and the Master Service List.

         75.     A status conference in these Chapter 11 Cases is scheduled for October 16, 2024

  at 1:30 p.m. prevailing Eastern Time at the United States Bankruptcy Court, 400 W.

  Washington Street, 6th Floor, Courtroom 6D, Orlando, Florida 32801.

                                                # # #

  (Attorney Paul Steven Singerman is directed to serve a copy of this order on interested parties who
  do not receive service by CM/ECF and file a proof of service within three days of entry of the
  order.)




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                                     Exhibit A
                             List of Purchased Contracts
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                                                  Assumed Leases1




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    For the avoidance of doubt, (i) the Unexpired Leases of non-residential real property listed herein shall include any
  amendments, supplements or modifications thereto and any related agreements and (ii) the Debtors reserve the right
  to designate any Unexpired Lease of non-residential real property that is listed on Exhibit B of the Confirmation
  Order for rejection prior to the Extension Date corresponding to such lease.
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RED LOBSTER
Assumed Unexpired Leases




          Debtor                                           Counterparty                                      Description of Agreement   Final Cure Amount
Red Lobster Restaurants LLC Andyharris LLC                                                    Lease for Store Number RL1_0396                     $0.00
Red Lobster Hospitality LLC 100 IH 35 North Owner LLC                                         Lease for Store Number RL1_0844                      0.00
Red Lobster Hospitality LLC 109 West Anderson LP                                              Lease for Store Number RL1_0095                      0.00
Red Lobster Restaurants LLC 1120 South Walton Partners, LLC                                   Lease for Store Number RL1_6225                      0.00
Red Lobster Restaurants LLC 1229 Richmond LLC                                                 Lease for Store Number RL1_0251                      0.00
Red Lobster Restaurants LLC 1359 SN Owners LLC                                                Lease for Store Number RL1_0874                      0.00
Red Lobster Restaurants LLC 1601 Dahill Properties, Inc.                                      Lease for Store Number RL1_0474                      0.00
Red Lobster Hospitality LLC 170 Wolf Road LLC                                                 Lease for Store Number RL1_6228                      0.00
Red Lobster Restaurants LLC 1846 Jonesboro Road Owner LLC                                     Lease for Store Number RL1_6302                  5,000.00
Red Lobster Hospitality LLC 2325 East Flamingo LLC                                            Lease for Store Number RL1_6239                      0.00
Red Lobster Hospitality LLC 2328 Commercial Way Properties LLC                                Lease for Store Number RL1_0696                      0.00
Red Lobster Restaurants LLC 2525 Bowling Green LLC                                            Lease for Store Number RL1_0349                      0.00
Red Lobster Hospitality LLC 300 LLC                                                           Lease for Store Number RL1_0672                29,198.28
Red Lobster Hospitality LLC 32 Blanding Boulevard Owner, LLC                                  Lease for Store Number RL1_0257                      0.00
Red Lobster Restaurants LLC 3360 Camp Creek Parkway Owner LLC                                 Lease for Store Number RL1_6296                      0.00
Red Lobster Hospitality LLC 3815 South Lamar, LP                                              Lease for Store Number RL1_0314                      0.00
Red Lobster Hospitality LLC 411 Lenox Realty Inc.                                             Lease for Store Number RL1_0488                      0.00
Red Lobster Restaurants LLC 4230 Broadway Realty Co. Inc.                                     Lease for Store Number RL1_6235                      0.00
Red Lobster Restaurants LLC 6701 18th Avenue Associates LLC                                   Lease for Store Number RL1_0266                      0.00
Red Lobster Hospitality LLC 684 Myrtle Ave Realty LLC                                         Lease for Store Number RL1_6330                      0.00
Red Lobster Canada, Inc     698000 Alberta Ltd.                                               Lease for Store Number RLC_8177             CAD 1,578.00
Red Lobster Canada, Inc     714 Yonge Street Inc.                                             Lease for Store Number RLC_8119                      0.00
Red Lobster Restaurants LLC 8040 Kingston Pike Road Owner LLC                                 Lease for Store Number RL1_0047                      0.00
Red Lobster Restaurants LLC 828 Eastern Bypass Owner LLC                                      Lease for Store Number RL1_0669                      0.00
Red Lobster Hospitality LLC 95Metcalf Properties, Inc.                                        Lease for Store Number RL1_6278                      0.00
Red Lobster Hospitality LLC AARK USA, LLC                                                     Lease for Store Number RL1_0348                      0.00
Red Lobster Hospitality LLC Aasthi, LLC                                                       Lease for Store Number RL1_6257                      0.00
Red Lobster Canada, Inc     ADMNS Meadowlands Investment Corp                                 Lease for Store Number RLC_8184                      0.00
Red Lobster Hospitality LLC Advanced Housing Developers Inc.                                  Lease for Store Number RL1_6246                      0.00
Red Lobster Hospitality LLC AIB Shenandoah I, LLC                                             Lease for Store Number RL1_6284                      0.00
Red Lobster Hospitality LLC ALR Racanelli LLC                                                 Lease for Store Number RL1_0687                      0.00
Red Lobster Hospitality LLC Alva Investment Corp.                                             Lease for Store Number RL1_0332                      0.00
Red Lobster Hospitality LLC Anna Buecheler Investment Partnership                             Lease for Store Number RL1_6219                      0.00
Red Lobster Hospitality LLC Anne Mohr, Trustee of The Horst Mohr Trust and Norman Mohr        Lease for Store Number RL1_0710                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0063                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0091                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0181                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0193                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0240                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0241                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0252                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0265                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0398                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0566                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0748                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0749                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0762                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0789                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0792                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0865                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_0870                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6203                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6211                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6221                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6227                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6237                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6241                    201.60
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6250                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6252                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6255                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6260                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6261                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6275                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6283                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6290                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6301                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6318                      0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                          Lease for Store Number RL1_6319                      0.00




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RED LOBSTER
Assumed Unexpired Leases




          Debtor                                         Counterparty                                Description of Agreement   Final Cure Amount
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6321                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6355                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6358                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6368                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6376                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6379                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6361                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0201                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0274                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0313                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0324                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0334                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0366                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0374                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0511                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0549                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0799                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6201                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6204                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6214                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6230                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6236                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6259                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6262                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6263                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6265                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6269                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6282                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6285                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6288                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6289                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6291                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6295                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6300                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6311                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6315                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6316                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6320                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6327                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6328                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6329                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6337                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6351                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6352                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6354                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6362                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6369                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6370                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6372                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6383                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0236                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_0713                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6247                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6336                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio I, LLC                                  Lease for Store Number RL1_6367                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0046                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0049                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0133                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0173                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0195                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0271                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0728                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0112                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0733                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0132                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0154                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0223                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0487                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0674                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio III, LLC                                Lease for Store Number RL1_0835                       0.00



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RED LOBSTER
Assumed Unexpired Leases




          Debtor                                        Counterparty                                Description of Agreement   Final Cure Amount
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0142                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0256                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0263                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0293                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0318                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0344                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0347                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0387                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0476                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0486                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0498                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0686                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0719                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0721                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0782                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0862                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0894                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_6287                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_6294                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0124                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0152                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0155                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0158                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0168                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0309                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0411                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0424                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0434                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0447                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0470                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0523                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0538                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0544                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0611                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0621                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0639                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0684                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0690                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0698                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0730                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0738                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_0882                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_6207                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_6212                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_6323                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_6349                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_6356                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_6378                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IV, LLC                                Lease for Store Number RL1_6381                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio IX, LLC                                Lease for Store Number RL1_6232                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IX, LLC                                Lease for Store Number RL1_0243                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IX, LLC                                Lease for Store Number RL1_0282                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio IX, LLC                                Lease for Store Number RL1_0423                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio V, LLC                                 Lease for Store Number RL1_0070                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio V, LLC                                 Lease for Store Number RL1_0543                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio V, LLC                                 Lease for Store Number RL1_0736                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio V, LLC                                 Lease for Store Number RL1_0746                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio V, LLC                                 Lease for Store Number RL1_0159                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio V, LLC                                 Lease for Store Number RL1_0160                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio V, LLC                                 Lease for Store Number RL1_0192                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio V, LLC                                 Lease for Store Number RL1_0287                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio V, LLC                                 Lease for Store Number RL1_0340                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio V, LLC                                 Lease for Store Number RL1_0891                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio VI, LLC                                Lease for Store Number RL1_0883                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio VI, LLC                                Lease for Store Number RL1_6217                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VI, LLC                                Lease for Store Number RL1_0139                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VI, LLC                                Lease for Store Number RL1_0180                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VI, LLC                                Lease for Store Number RL1_0232                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VI, LLC                                Lease for Store Number RL1_0248                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VI, LLC                                Lease for Store Number RL1_0353                       0.00



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          Debtor                                            Counterparty                                       Description of Agreement   Final Cure Amount
Red Lobster Hospitality LLC ARCP RL Portfolio VI, LLC                                           Lease for Store Number RL1_0553                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VI, LLC                                           Lease for Store Number RL1_6234                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio VII, LLC                                          Lease for Store Number RL1_0729                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VII, LLC                                          Lease for Store Number RL1_0126                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VII, LLC                                          Lease for Store Number RL1_0389                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio VIII, LLC                                         Lease for Store Number RL1_0058                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio VIII, LLC                                         Lease for Store Number RL1_0433                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VIII, LLC                                         Lease for Store Number RL1_0121                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VIII, LLC                                         Lease for Store Number RL1_0227                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio VIII, LLC                                         Lease for Store Number RL1_0277                       0.00
Red Lobster Restaurants LLC ARCP RL Portfolio X, LLC                                            Lease for Store Number RL1_0375                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio X, LLC                                            Lease for Store Number RL1_0081                       0.00
Red Lobster Hospitality LLC ARCP RL Portfolio X, LLC                                            Lease for Store Number RL1_0410                       0.00
Red Lobster Restaurants LLC ARCP RL/OG Langhorne PA, LLC                                        Lease for Store Number RL1_0758                       0.00
Red Lobster Restaurants LLC ARCP RL/OG SALISBURY MD, LLC                                        Lease for Store Number RL1_0615                       0.00
Red Lobster Restaurants LLC ARCP RL/OG/BB/SB PITTSBURGH PA, LLC                                 Lease for Store Number RL1_6305                       0.00
Red Lobster Restaurants LLC ARMEL, LLC                                                          Lease for Store Number RL1_0620                       0.00
Red Lobster Restaurants LLC AUCALLUTIM LLC                                                      Lease for Store Number RL1_0136                       0.00
Red Lobster Restaurants LLC August America, LLC                                                 Lease for Store Number RL1_6347                       0.00
Red Lobster Hospitality LLC B&L Storage, a General Partnership                                  Lease for Store Number RL1_0667                       0.00
Red Lobster Hospitality LLC Bahieh Jina Farzinpour 2001 Living Trust                            Lease for Store Number RL1_0766                       0.00
Red Lobster Hospitality LLC Barlas Enterprises, Inc.                                            Lease for Store Number RL1_0356                       0.00
Red Lobster Hospitality LLC Bay Plaza West LLC                                                  Lease for Store Number RL1_0469                       0.00
Red Lobster Restaurants LLC Belos Exchange LLC                                                  Lease for Store Number RL1_0056                       0.00
Red Lobster Hospitality LLC Bertha Aiken LLC; Port McDonald Inc; JH Dreyfus LLC                 Lease for Store Number RL1_0108                   2,500.00
Red Lobster Restaurants LLC Bhagat MD, LLC                                                      Lease for Store Number RL1_6360                       0.00
Red Lobster Hospitality LLC Bigger Fish to Fry, LLC                                             Lease for Store Number RL1_0460                       0.00
Red Lobster Restaurants LLC BLJ Holdings LLC                                                    Lease for Store Number RL1_0572                       0.00
Red Lobster Hospitality LLC Blue Tree Properties OH, LLC                                        Lease for Store Number RL1_0580                       0.00
Red Lobster Restaurants LLC Bluestripes Investments LLC                                         Lease for Store Number RL1_0171                       0.00
Red Lobster Hospitality LLC Briarholm, Inc.                                                     Lease for Store Number RL1_0425                       0.00
Red Lobster Restaurants LLC Broadridge Apartments, LLC                                          Lease for Store Number RL1_0328                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0045                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0048                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0082                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0185                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0188                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0253                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0292                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0357                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0436                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0478                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0552                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0601                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_6280                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_6365                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_6371                       0.00
Red Lobster Restaurants LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_6375                       0.00
Red Lobster Hospitality LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0361                       0.00
Red Lobster Hospitality LLC Broadstone RL Portfolio, LLC                                        Lease for Store Number RL1_0578                       0.00
Red Lobster Hospitality LLC Broadway & Pearl Associates, LLC                                    Lease for Store Number RL1_6366                       0.00
Red Lobster Hospitality LLC Brock Associates, LLC                                               Lease for Store Number RL1_6270                       0.00
Red Lobster Restaurants LLC Brown-Belkin RL LLC                                                 Lease for Store Number RL1_6325                       0.00
Red Lobster Hospitality LLC Buildings for Babies, Inc.                                          Lease for Store Number RL1_0421                       0.00
Red Lobster Canada, Inc     Camwood Construction Ltd.                                           Lease for Store Number RLC_8105                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8101                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8103                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8111                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8114                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8118                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8124                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8126                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8157                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8158                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8166                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8167                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8168                       0.00
Red Lobster Canada, Inc     Canada Redlob LP                                                    Lease for Store Number RLC_8170                       0.00
Red Lobster Hospitality LLC Century Plaza Commercial LLC                                        Lease for Store Number RL1_0653                       0.00
Red Lobster Hospitality LLC CH Gresham LLC                                                      Lease for Store Number RL1_0573                   1,543.82



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          Debtor                                             Counterparty                                       Description of Agreement   Final Cure Amount
Red Lobster Hospitality LLC Charles & Co. Realty LLC                                             Lease for Store Number RL1_0868                       0.00
Red Lobster Hospitality LLC Chillicothe Mall Inc                                                 Lease for Store Number RL1_0705                       0.00
Red Lobster Hospitality LLC CLK Ann Arbor, LLC                                                   Lease for Store Number RL1_0260                       0.00
Red Lobster Restaurants LLC Cloud Enterprises Corporation Inc.                                   Lease for Store Number RL1_0688                       0.00
Red Lobster Hospitality LLC Cornhusker Project G12, LLC                                          Lease for Store Number RL1_0734                       0.00
Red Lobster Hospitality LLC Country Orchard Estates, Inc.                                        Lease for Store Number RL1_6374                       0.00
Red Lobster Hospitality LLC Country, LLC                                                         Lease for Store Number RL1_0834                       0.00
Red Lobster Restaurants LLC CPP River Falls LLC &CPP River Falls II LLC                          Lease for Store Number RL1_0619                       0.00
Red Lobster Hospitality LLC CRI Outparcels LLC                                                   Lease for Store Number RL1_0548                       0.00
Red Lobster Restaurants LLC Curry Investment Company                                             Lease for Store Number RL1_0060                       0.00
Red Lobster Hospitality LLC D. Smith and Diane Fannan, As Trustees of The Smith Family Trust     Lease for Store Number RL1_0220                       0.00
Red Lobster Restaurants LLC DACF-4 LLC                                                           Lease for Store Number RL1_0889                       0.00
Red Lobster Restaurants LLC Dan C., Inc.                                                         Lease for Store Number RL1_0796                       0.00
Red Lobster Restaurants LLC Davrich Realty Corp.                                                 Lease for Store Number RL1_6348                       0.00
Red Lobster Hospitality LLC Dee's Sugarhouse Center LLC                                          Lease for Store Number RL1_0589                       0.00
Red Lobster Canada, Inc     Developments West Corporation                                        Lease for Store Number RLC_8181                       0.00
Red Lobster Restaurants LLC DiaDon, LLC                                                          Lease for Store Number RL1_0449                       0.00
Red Lobster Hospitality LLC Diajeff, LLC                                                         Lease for Store Number RL1_0017                     924.50
Red Lobster Hospitality LLC Diajeff, LLC                                                         Lease for Store Number RL1_0019                       0.00
Red Lobster Hospitality LLC DJW Properties LLC                                                   Lease for Store Number RL1_0718                       0.00
Red Lobster Restaurants LLC Doug Hale, LLC                                                       Lease for Store Number RL1_0600                       0.00
Red Lobster Hospitality LLC Drury Development Corp                                               Lease for Store Number RL1_6286                       0.00
Red Lobster Restaurants LLC Eastridge LP                                                         Lease for Store Number RL1_0737                       0.00
Red Lobster Hospitality LLC Edward Selby/Linda Selby Trust                                       Lease for Store Number RL1_0577                       0.00
Red Lobster Hospitality LLC EGE5, LLC                                                            Lease for Store Number RL1_6310                       0.00
Red Lobster Hospitality LLC EIRREK RLF LLC                                                       Lease for Store Number RL1_0345                       0.00
Red Lobster Hospitality LLC Elhio LLC & Elhio II LLC                                             Lease for Store Number RL1_0632                   1,000.00
Red Lobster Hospitality LLC Empire Mall, LLC                                                     Lease for Store Number RL1_0305                       0.00
Red Lobster Hospitality LLC Esue LLC                                                             Lease for Store Number RL1_0027                       0.00
Red Lobster Hospitality LLC Far Horizons Trailer Village LLC                                     Lease for Store Number RL1_0323                       0.00
Red Lobster Hospitality LLC Far Horizons Trailer Village LLC                                     Lease for Store Number RL1_0335                       0.00
Red Lobster Restaurants LLC FCPT Holdings LLC                                                    Lease for Store Number RL1_0540                   5,519.79
Red Lobster Restaurants LLC FCPT Holdings LLC                                                    Lease for Store Number RL1_0798                       0.00
Red Lobster Hospitality LLC FCPT Holdings LLC                                                    Lease for Store Number RL1_0275                       0.00
Red Lobster Hospitality LLC FCPT Holdings LLC                                                    Lease for Store Number RL1_0380                       0.00
Red Lobster Restaurants LLC FCPT Holdings LLC (Non-Master Lease)                                 Lease for Store Number RL1_0547                       0.00
Red Lobster Restaurants LLC FCPT Holdings, LLC                                                   Lease for Store Number RL1_0569                       0.00
Red Lobster Restaurants LLC FCPT Holdings, LLC                                                   Lease for Store Number RL1_0685                       0.00
Red Lobster Restaurants LLC FCPT Holdings, LLC                                                   Lease for Store Number RL1_6258                       0.00
Red Lobster Restaurants LLC FCPT Holdings, LLC                                                   Lease for Store Number RL1_0585                       0.00
Red Lobster Restaurants LLC FCPT Holdings, LLC                                                   Lease for Store Number RL1_6229                       0.00
Red Lobster Restaurants LLC FCPT Holdings, LLC                                                   Lease for Store Number RL1_6322                       0.00
Red Lobster Hospitality LLC FCPT Holdings, LLC                                                   Lease for Store Number RL1_0616                       0.00
Red Lobster Hospitality LLC FCPT Holdings, LLC                                                   Lease for Store Number RL1_0038                       0.00
Red Lobster Hospitality LLC FCPT Holdings, LLC                                                   Lease for Store Number RL1_0110                       0.00
Red Lobster Hospitality LLC FCPT Holdings, LLC                                                   Lease for Store Number RL1_6243                       0.00
Red Lobster Canada, Inc     FIMA Development                                                     Lease for Store Number RLC_8183                       0.00
Red Lobster Restaurants LLC FK Properties LLC                                                    Lease for Store Number RL1_0438                       0.00
Red Lobster Restaurants LLC Four Hand Realty, LLC                                                Lease for Store Number RL1_6238                       0.00
Red Lobster Hospitality LLC Fox River Shopping Center LLC                                        Lease for Store Number RL1_0587                       0.00
Red Lobster Restaurants LLC FR White Marsh LLC                                                   Lease for Store Number RL1_0634                     733.06
Red Lobster Hospitality LLC Freeway Company LLC/AEG 17 LLC/Gracielou LLC                         Lease for Store Number RL1_6226                       0.00
Red Lobster Hospitality LLC Frisco 3056 Preston, LLC                                             Lease for Store Number RL1_6245                       0.00
Red Lobster Restaurants LLC Ft. Sheri Fort Wayne LLC                                             Lease for Store Number RL1_0076                       0.00
Red Lobster Restaurants LLC Girardeau P2, LLC                                                    Lease for Store Number RL1_0707                       0.00
Red Lobster Restaurants LLC GLR Property Management LLC                                          Lease for Store Number RL1_0563                       0.00
Red Lobster Hospitality LLC GP Texarkana LLC                                                     Lease for Store Number RL1_6304                       0.00
Red Lobster Hospitality LLC Grand Robster LLC; Lompoc Jack LLC; Handy Hardees LLC                Lease for Store Number RL1_0129                       0.00
Red Lobster Hospitality LLC GRUPO TFJ Properties, LLC                                            Lease for Store Number RL1_0464                       0.00
Red Lobster Hospitality LLC GSMS 2011-GC5 East Broadway Boulevard, LLC                           Lease for Store Number RL1_0869                       0.00
Red Lobster Hospitality LLC GSPANDE, LLC                                                         Lease for Store Number RL1_0281                       0.00
Red Lobster Hospitality LLC GTL Properties LLLP                                                  Lease for Store Number RL1_0693                       0.00
Red Lobster Restaurants LLC Guidotti Properties                                                  Lease for Store Number RL1_0291                   8,820.60
Red Lobster Hospitality LLC Guima Brazil USA, LLC                                                Lease for Store Number RL1_6205                       0.00
Red Lobster Hospitality LLC HAI YUE TX LLC                                                       Lease for Store Number RL1_0329                       0.00
Red Lobster Hospitality LLC Hanabi                                                               Lease for Store Number RL1_0579                       0.00
Red Lobster Hospitality LLC Harbor Plaza, LLC                                                    Lease for Store Number RL1_0518                       0.00
Red Lobster Restaurants LLC Harmon Meadow Owner, LLC                                             Lease for Store Number RL1_6314                       0.00
Red Lobster Restaurants LLC Harwell Capital, LLC                                                 Lease for Store Number RL1_0273                       0.00
Red Lobster Hospitality LLC HCL Goodyear Centerpointe LLC                                        Lease for Store Number RL1_6342                       0.00



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          Debtor                                             Counterparty                                         Description of Agreement   Final Cure Amount
Red Lobster Hospitality LLC HRP 0137 San Antoniuo LLC                                              Lease for Store Number RL1_0137                       0.00
Red Lobster Hospitality LLC Ironwood I LLC                                                         Lease for Store Number RL1_0339                       0.00
Red Lobster Hospitality LLC Ivision Holdings, LLC                                                  Lease for Store Number RL1_0370                       0.00
Red Lobster Restaurants LLC Jaks, LLC                                                              Lease for Store Number RL1_0231                       0.00
Red Lobster Hospitality LLC JAL Enterprises, Inc.                                                  Lease for Store Number RL1_0354                       0.00
Red Lobster Hospitality LLC JCC California Properties, LLC                                         Lease for Store Number RL1_0513                  15,983.32
Red Lobster Restaurants LLC JE Fuel, LLC                                                           Lease for Store Number RL1_0607                       0.00
Red Lobster Restaurants LLC Jeanne Jackson-Estate of Lee Jackson                                   Lease for Store Number RL1_0191                       0.00
Red Lobster Restaurants LLC JFCF Invest-3 LLC                                                      Lease for Store Number RL1_0850                       0.00
Red Lobster Restaurants LLC Joe Amato East End Centre, LP                                          Lease for Store Number RL1_0445                       0.00
Red Lobster Restaurants LLC JPS Realty Management, LLC                                             Lease for Store Number RL1_0571                       0.00
Red Lobster Hospitality LLC JSSA Ventures, Inc.                                                    Lease for Store Number RL1_0115                       0.00
Red Lobster Hospitality LLC JTN-RL LLC                                                             Lease for Store Number RL1_0640                       0.00
Red Lobster Restaurants LLC Juan Smyrna Owner LLC, Otto Smyrna Owner LLC and Jose Smyrna Owner LLC Lease for Store Number RL1_0392                       0.00
Red Lobster Hospitality LLC K.I.R. Copiague L.P.                                                   Lease for Store Number RL1_0614                  23,690.04
Red Lobster Restaurants LLC KB Riverdale, LLC                                                      Lease for Store Number RL1_0417                       0.00
Red Lobster Hospitality LLC Kefayat Navid & Bahram Navid, as Trustees                              Lease for Store Number RL1_0146                       0.00
Red Lobster Hospitality LLC Kelso RL Property, LLC                                                 Lease for Store Number RL1_0700                       0.00
Red Lobster Hospitality LLC Keystone Fiesta Plaza, LLC                                             Lease for Store Number RL1_0369                     358.05
Red Lobster Restaurants LLC King of Prussia, PA Retail LLC                                         Lease for Store Number RL1_0778                       0.00
Red Lobster Hospitality LLC Kisan Chavan/Kundan Chavan Trust                                       Lease for Store Number RL1_0608                       0.00
Red Lobster Hospitality LLC Knox & American I, LLC                                                 Lease for Store Number RL1_0249                       0.00
Red Lobster Hospitality LLC KPLP-II, LLC                                                           Lease for Store Number RL1_0284                       0.00
Red Lobster Hospitality LLC Krishnamoorti Family LP                                                Lease for Store Number RL1_0492                       0.00
Red Lobster Canada, Inc     KS AOB Toronto Inc. and Dundas Atrium Toronto Inc.                     Lease for Store Number RLC_8176                       0.00
Red Lobster Restaurants LLC La Jolla Group B LLC                                                   Lease for Store Number RL1_0459                       0.00
Red Lobster Restaurants LLC Langston Seawright Enterprises LLC                                     Lease for Store Number RL1_0179                       0.00
Red Lobster Restaurants LLC Lee Pollard 2007 Revocable Trust/Eric Pollard/Jordan Pollard           Lease for Store Number RL1_0702                       0.00
Red Lobster Restaurants LLC Levine Family Trust                                                    Lease for Store Number RL1_0895                       0.00
Red Lobster Hospitality LLC Levine Family Trust                                                    Lease for Store Number RL1_0545                       0.00
Red Lobster Hospitality LLC Levy Family Limited Partnership                                        Lease for Store Number RL1_6244                       0.00
Red Lobster Hospitality LLC Limestone Redlob, LLC                                                  Lease for Store Number RL1_0033                       0.00
Red Lobster Hospitality LLC Lincoln Center LLC                                                     Lease for Store Number RL1_0457                   5,473.64
Red Lobster Hospitality LLC Lincoln Holdings, LLC                                                  Lease for Store Number RL1_6271                  40,000.00
Red Lobster Canada, Inc     Lo Brothers Investments Co., Ltd.                                      Lease for Store Number RLC_8115                       0.00
Red Lobster Hospitality LLC Lobonza LLC                                                            Lease for Store Number RL1_6223                       0.00
Red Lobster Hospitality LLC Lobster Building LLC                                                   Lease for Store Number RL1_0673                       0.00
Red Lobster Restaurants LLC Loyal Plaza SC LLC                                                     Lease for Store Number RL1_0644                   5,966.74
Red Lobster Restaurants LLC LPK Holdings & BPW, Inc.                                               Lease for Store Number RL1_0229                       0.00
Red Lobster Hospitality LLC LPRE Holdings LLC                                                      Lease for Store Number RL1_0516                       0.00
Red Lobster Hospitality LLC Lyn-Jo Washington LLC                                                  Lease for Store Number RL1_0481                       0.00
Red Lobster Hospitality LLC Macerich Lakewood LP                                                   Lease for Store Number RL1_0528                       0.00
Red Lobster Hospitality LLC Macy's Retail Holdings, LLC - CA                                       Lease for Store Number RL1_0510                   3,072.16
Red Lobster Hospitality LLC Marine Iron & Ship Building Company                                    Lease for Store Number RL1_0630                       0.00
Red Lobster Hospitality LLC Marion Plaza Associates LP                                             Lease for Store Number RL1_0560                       0.00
Red Lobster Restaurants LLC Marland Family Partnership                                             Lease for Store Number RL1_0724                       0.00
Red Lobster Hospitality LLC Mascall Family Trust dated 10/14/2008                                  Lease for Store Number RL1_0381                       0.00
Red Lobster Hospitality LLC MBI Red Lob LLC                                                        Lease for Store Number RL1_0435                       0.00
Red Lobster Restaurants LLC MCD 6, LLC                                                             Lease for Store Number RL1_0218                  16,751.41
Red Lobster Restaurants LLC Mercantile National Bank of Indiana, as Trustee of Trust No. 3518      Lease for Store Number RL1_0184                       0.00
Red Lobster Restaurants LLC Metro North Crossing LLC                                               Lease for Store Number RL1_0605                       0.00
Red Lobster Restaurants LLC MGA McDonough LLC                                                      Lease for Store Number RL1_0612                       0.00
Red Lobster Restaurants LLC Mid-Atlantic Property (JT) L.L.C.                                      Lease for Store Number RL1_0643                       0.00
Red Lobster Hospitality LLC Middletown I Resources L.P.                                            Lease for Store Number RL1_0663                       0.00
Red Lobster Hospitality LLC Milpitas Town Center 2008 LP                                           Lease for Store Number RL1_0532                       0.00
Red Lobster Canada, Inc     MKN Property Inc.                                                      Lease for Store Number RLC_8116                       0.00
Red Lobster Hospitality LLC Ml Claw LLC                                                            Lease for Store Number RL1_0288                       0.00
Red Lobster Restaurants LLC Monica, Inc.                                                           Lease for Store Number RL1_0642                       0.00
Red Lobster Hospitality LLC MPNT Realty LLC                                                        Lease for Store Number RL1_0401                       0.00
Red Lobster Restaurants LLC n/a                                                                    Lease for Store Number RL1_0365                       0.00
Red Lobster Restaurants LLC n/a                                                                    Lease for Store Number RL1_0712                       0.00
Red Lobster Hospitality LLC n/a                                                                    Lease for Store Number RL1_0597                       0.00
Red Lobster Hospitality LLC n/a                                                                    Lease for Store Number RL1_0769                       0.00
Red Lobster Hospitality LLC n/a                                                                    Lease for Store Number RL1_0863                       0.00
Red Lobster Hospitality LLC n/a                                                                    Lease for Store Number RL1_6253                       0.00
Red Lobster Canada, Inc     n/a                                                                    Lease for Store Number RLC_8129                       0.00
Red Lobster Restaurants LLC NADG NNN RLOB (May-NJ) LP                                              Lease for Store Number RL1_0575                       0.00
Red Lobster Hospitality LLC Navesink Family Partners LLC                                           Lease for Store Number RL1_6254                       0.00
Red Lobster Hospitality LLC Navid Bypass Trust dated 7/26/20                                       Lease for Store Number RL1_0468                       0.00
Red Lobster Hospitality LLC Navid Trusts & Kefayat Navid                                           Lease for Store Number RL1_0377                       0.00



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Red Lobster Hospitality LLC New Plan Hampton Village LLC                                               Lease for Store Number RL1_0497                   6,778.75
Red Lobster Hospitality LLC Next Tech Development LLC                                                  Lease for Store Number RL1_0283                       0.00
Red Lobster Hospitality LLC North Valley Plaza, LLC                                                    Lease for Store Number RL1_0867                  43,356.35
Red Lobster Hospitality LLC NWCC Center Plaza LLC                                                      Lease for Store Number RL1_0448                   3,210.40
Red Lobster Hospitality LLC O'Beach, LLC                                                               Lease for Store Number RL1_0678                       0.00
Red Lobster Restaurants LLC Office Complex Enterprises, Inc.                                           Lease for Store Number RL1_0568                       0.00
Red Lobster Hospitality LLC Omaha Cave Partnership, L.P.                                               Lease for Store Number RL1_0414                       0.00
Red Lobster Hospitality LLC ORCE Investments LLC                                                       Lease for Store Number RL1_0877                       0.00
Red Lobster Restaurants LLC Outer Banks Limited Partnership                                            Lease for Store Number RL1_0550                       0.00
Red Lobster Restaurants LLC Oxford Development Company/Moraine                                         Lease for Store Number RL1_0655                   7,292.89
Red Lobster Restaurants LLC Pared Motel Associates, LLC                                                Lease for Store Number RL1_0302                       0.00
Red Lobster Hospitality LLC Park East L.L.C.                                                           Lease for Store Number RL1_0264                  54,845.83
Red Lobster Restaurants LLC Paul Family Trust dated 6/19/1997                                          Lease for Store Number RL1_0393                       0.00
Red Lobster Hospitality LLC Peconic LLC                                                                Lease for Store Number RL1_0079                       0.00
Red Lobster Restaurants LLC Persam Wethersfield, LLC                                                   Lease for Store Number RL1_0636                       0.00
Red Lobster Hospitality LLC Pine View Enterprises LLC                                                  Lease for Store Number RL1_6209                       0.00
Red Lobster Hospitality LLC Pinlen Lubbock LLC                                                         Lease for Store Number RL1_0169                       0.00
Red Lobster Hospitality LLC Piqred, LLC/Marci Shapiro, LLC                                             Lease for Store Number RL1_0706                   1,000.00
Red Lobster Restaurants LLC PRAN McCain, LLC                                                           Lease for Store Number RL1_0319                       0.00
Red Lobster Restaurants LLC PRSS LLC                                                                   Lease for Store Number RL1_0310                       0.00
Red Lobster Restaurants LLC PVSC Company                                                               Lease for Store Number RL1_0455                       0.00
Red Lobster Hospitality LLC R.Y.G. Realty, Inc.                                                        Lease for Store Number RL1_0691                       0.00
Red Lobster Hospitality LLC Rai Union Realty, LLC & Rai Sawak, LLC                                     Lease for Store Number RL1_0075                       0.00
Red Lobster Hospitality LLC Raymarc R.E. LLC                                                           Lease for Store Number RL1_0330                       0.00
Red Lobster Hospitality LLC Red Garden, LLC                                                            Lease for Store Number RL1_0582                   1,000.00
Red Lobster Hospitality LLC Red Lobster of Lakeland LLC                                                Lease for Store Number RL1_6208                       0.00
Red Lobster Hospitality LLC Red Lobster St. Cloud, MN, LLC                                             Lease for Store Number RL1_0493                       0.00
Red Lobster Canada, Inc     Redlob Sheppard Avenue Limited Partnership                                 Lease for Store Number RLC_8104                       0.00
Red Lobster Restaurants LLC Redwood NC LLC                                                             Lease for Store Number RL1_6382                       0.00
Red Lobster Hospitality LLC RFH1 LLC                                                                   Lease for Store Number RL1_0109                       0.00
Red Lobster Restaurants LLC RGLI, LLC                                                                  Lease for Store Number RL1_0485                       0.00
Red Lobster Hospitality LLC RH Tacoma Place Associates, LLC and H.I.R. 3                               Lease for Store Number RL1_0453                       0.00
Red Lobster Canada, Inc     Rhyl Realty Inc.                                                           Lease for Store Number RLC_8155                       0.00
Red Lobster Hospitality LLC RJP RL I Drive, LLC                                                        Lease for Store Number RL1_6303                       0.00
Red Lobster Restaurants LLC RL Elizabethtown LLC                                                       Lease for Store Number RL1_6297                       0.00
Red Lobster Restaurants LLC RL Enterprises LLC                                                         Lease for Store Number RL1_0747                       0.00
Red Lobster Restaurants LLC RL Kokomo LLC                                                              Lease for Store Number RL1_0297                       0.00
Red Lobster Hospitality LLC RL Madison LLC                                                             Lease for Store Number RL1_0131                       0.00
Red Lobster Restaurants LLC RLCA Properties, Inc.                                                      Lease for Store Number RL1_0285                       0.00
Red Lobster Restaurants LLC Robbies Inc.                                                               Lease for Store Number RL1_0255                       0.00
Red Lobster Hospitality LLC Rod De Llano Family Partnership & Herbert & Isabel Wolfe Trust             Lease for Store Number RL1_6213                       0.00
Red Lobster Hospitality LLC Roger J. Janow Bank Trust                                                  Lease for Store Number RL1_0122                       0.00
Red Lobster Hospitality LLC ROIC California, LLC                                                       Lease for Store Number RL1_0525                       0.00
Red Lobster Hospitality LLC Round Rock RL LLC                                                          Lease for Store Number RL1_6242                       0.00
Red Lobster Hospitality LLC Roy T. Young, Trustee of The Roy Timothy Young Revocable Trust UAD April 6 Lease for Store Number RL1_0887                       0.00
Red Lobster Restaurants LLC RPRL Union 22 LLC                                                          Lease for Store Number RL1_0442                       0.00
Red Lobster Hospitality LLC RXR 5TS Owner LLC                                                          Lease for Store Number RL1_6298                       0.00
Red Lobster Hospitality LLC Rynako LP                                                                  Lease for Store Number RL1_6332                       0.00
Red Lobster Hospitality LLC Salinas Shopping Center Associates LP & Harden Ranch Plaza Associates, LLC Lease for Store Number RL1_0617                       0.00
Red Lobster Canada, Inc     Sarah Kranc/Leibco Realty (Ruth Goodman)                                   Lease for Store Number RLC_8134                       0.00
Red Lobster Restaurants LLC Sayage Valdosta LLC                                                        Lease for Store Number RL1_0595                       0.00
Red Lobster Restaurants LLC SC Heights LLC                                                             Lease for Store Number RL1_0259                       0.00
Red Lobster Restaurants LLC SCF RC Funding IV LLC                                                      Lease for Store Number RL1_6317                       0.00
Red Lobster Hospitality LLC SCFR RC Funding IV LLC                                                     Lease for Store Number RL1_0564                       0.00
Red Lobster Restaurants LLC SCFRC-HW-V LLC                                                             Lease for Store Number RL1_0290                       0.00
Red Lobster Restaurants LLC Scullin Real Estate V, LLC                                                 Lease for Store Number RL1_6346                       0.00
Red Lobster Hospitality LLC Scullin Real Estate VII LLC                                                Lease for Store Number RL1_0125                       0.00
Red Lobster Restaurants LLC Silver Springs Series, a Series of Owl's Nest Properties, LLC              Lease for Store Number RL1_0496                       0.00
Red Lobster Restaurants LLC Smith Legacy LLC                                                           Lease for Store Number RL1_6233                       0.00
Red Lobster Hospitality LLC Smith Ranches; T&D Smith Family Trust dtd 7-2-1996                         Lease for Store Number RL1_0576                       0.00
Red Lobster Restaurants LLC SMS Ambassadors Corp                                                       Lease for Store Number RL1_0731                       0.00
Red Lobster Hospitality LLC Soon Chun Nanci Pak                                                        Lease for Store Number RL1_0416                       0.00
Red Lobster Restaurants LLC Spadea, Inc.                                                               Lease for Store Number RL1_0061                       0.00
Red Lobster Hospitality LLC Speedway95, LLC                                                            Lease for Store Number RL1_0071                   5,016.00
Red Lobster Restaurants LLC Spencer Real Estate LLC, Thomas S. Bass, et al                             Lease for Store Number RL1_6390                       0.00
Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                              Lease for Store Number RL1_0035                       0.00
Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                              Lease for Store Number RL1_0118                       0.00
Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                              Lease for Store Number RL1_0230                       0.00
Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                              Lease for Store Number RL1_0397                       0.00
Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                              Lease for Store Number RL1_0554                       0.00



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Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_0559                       0.00
Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_0739                       0.00
Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_0843                       0.00
Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_0034                   1,279.54
Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_0897                       0.00
Red Lobster Restaurants LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_6206                       0.00
Red Lobster Hospitality LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_0130                       0.00
Red Lobster Hospitality LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_0186                       0.00
Red Lobster Hospitality LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_0606                     268.78
Red Lobster Hospitality LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_0683                       0.00
Red Lobster Hospitality LLC Spirit Master Funding IX, LLC                                                Lease for Store Number RL1_0836                       0.00
Red Lobster Hospitality LLC SS Small Mouth Parkersburg LLC                                               Lease for Store Number RL1_0716                       0.00
Red Lobster Restaurants LLC Staunton EM 2 LLC                                                            Lease for Store Number RL1_0860                       0.00
Red Lobster Hospitality LLC Steve Hongdur Lin/Carol Yao Lin Revocable Trust                              Lease for Store Number RL1_0383                       0.00
Red Lobster Hospitality LLC Stone Land LLC                                                               Lease for Store Number RL1_6276                       0.00
Red Lobster Restaurants LLC Sunbeam Development Corporation                                              Lease for Store Number RL1_0371                   5,000.00
Red Lobster Restaurants LLC SWB-Lynn Holdings, LLC                                                       Lease for Store Number RL1_0296                       0.00
Red Lobster Hospitality LLC Tanger Outlets Deer Park, LLC                                                Lease for Store Number RL1_6392                   9,079.63
Red Lobster Restaurants LLC Ted & Maria's Plaza, LLC                                                     Lease for Store Number RL1_0697                       0.00
Red Lobster Hospitality LLC Tehan's Realty Company                                                       Lease for Store Number RL1_0489                       0.00
Red Lobster Restaurants LLC The Aprahamian Trust                                                         Lease for Store Number RL1_0853                       0.00
Red Lobster Restaurants LLC The Floyd Lewis Real Estate, LLC                                             Lease for Store Number RL1_0708                       0.00
Red Lobster Hospitality LLC The Gerrard Family Limited Partnership, LLLP                                 Lease for Store Number RL1_6256                       0.00
Red Lobster Hospitality LLC The Jean Ann Becker Revocable Trust                                          Lease for Store Number RL1_0224                       0.00
Red Lobster Hospitality LLC The Karen K. Schneeberger Living Trust; The Frank A. Mineo Recovable Living TLease for Store Number RL1_0508                       0.00
Red Lobster Hospitality LLC The P. Smith Realty, LLC                                                     Lease for Store Number RL1_0352                       0.00
Red Lobster Restaurants LLC The Raphael Family Wooster Street Company LLC                                Lease for Store Number RL1_0482                       0.00
Red Lobster Hospitality LLC Tom & Lee Holding Company, LLC and Tom Family Trust of 1984                  Lease for Store Number RL1_6313                       0.00
Red Lobster Restaurants LLC Tornig Realty LLC                                                            Lease for Store Number RL1_0174                       0.00
Red Lobster Restaurants LLC Travel Lobster LLC                                                           Lease for Store Number RL1_0878                       0.00
Red Lobster Hospitality LLC Tribella Properties LLC                                                      Lease for Store Number RL1_6326                       0.00
Red Lobster Restaurants LLC TripleBAR York Marketplace, LLC                                              Lease for Store Number RL1_0420                       0.00
Red Lobster Restaurants LLC Two D Holdings, LLC                                                          Lease for Store Number RL1_0372                       0.00
Red Lobster Restaurants LLC UE 675 Route 1, LLC                                                          Lease for Store Number RL1_0267                  20,325.00
Red Lobster Restaurants LLC UE 7000 Hadley Road LLC                                                      Lease for Store Number RL1_0379                       0.00
Red Lobster Restaurants LLC University Venture Corp                                                      Lease for Store Number RL1_0625                       0.00
Red Lobster Hospitality LLC UT Heights LLC                                                               Lease for Store Number RL1_0613                       0.00
Red Lobster Hospitality LLC Van Vliet Acquisitions IV, LLC                                               Lease for Store Number RL1_0456                       0.00
Red Lobster Hospitality LLC Vera Cruz Properties, LP                                                     Lease for Store Number RL1_0732                       0.00
Red Lobster Restaurants LLC Vera, LLC                                                                    Lease for Store Number RL1_0402                       0.00
Red Lobster Restaurants LLC VEREIT Real Estate L.P.                                                      Lease for Store Number RL1_0599                       0.00
Red Lobster Restaurants LLC VEREIT Real Estate LP                                                        Lease for Store Number RL1_0591                       0.00
Red Lobster Restaurants LLC VEREIT Real Estate, L.P.                                                     Lease for Store Number RL1_0647                  23,826.41
Red Lobster Restaurants LLC VEREIT Real Estate, L.P.                                                     Lease for Store Number RL1_6216                       0.00
Red Lobster Hospitality LLC VEREIT Real Estate, L.P.                                                     Lease for Store Number RL1_0479                       0.00
Red Lobster Hospitality LLC VEREIT Real Estate, L.P.                                                     Lease for Store Number RL1_0845                       0.00
Red Lobster Hospitality LLC VEREIT Real Estate, L.P.                                                     Lease for Store Number RL1_0864                       0.00
Red Lobster Hospitality LLC VEREIT Real Estate, L.P.                                                     Lease for Store Number RL1_6338                       0.00
Red Lobster Restaurants LLC Vestar Bowles Crossing LLC                                                   Lease for Store Number RL1_0446                       0.00
Red Lobster Hospitality LLC W North Las Vegas LLC                                                        Lease for Store Number RL1_6391                       0.00
Red Lobster Restaurants LLC Walster, LLC                                                                 Lease for Store Number RL1_0557                  11,161.26
Red Lobster Hospitality LLC Wayne A. Belleau                                                             Lease for Store Number RL1_0857                       0.00
Red Lobster Restaurants LLC Wayne Belleau                                                                Lease for Store Number RL1_0574                       0.00
Red Lobster Restaurants LLC Wayne Belleau                                                                Lease for Store Number RL1_6334                       0.00
Red Lobster Hospitality LLC Wayne Belleau                                                                Lease for Store Number RL1_0661                       0.00
Red Lobster Restaurants LLC Weatherby Enterprises                                                        Lease for Store Number RL1_0312                       0.00
Red Lobster Restaurants LLC Wild Realty 1, LLC                                                           Lease for Store Number RL1_0604                       0.00
Red Lobster Hospitality LLC Wild Realty 3, LLC                                                           Lease for Store Number RL1_0386                       0.00
Red Lobster Restaurants LLC Wilkinson Dekalb Land Company LLC                                            Lease for Store Number RL1_0443                  22,816.03
Red Lobster Hospitality LLC William and Janet Fisher                                                     Lease for Store Number RL1_0727                       0.00
Red Lobster Restaurants LLC Woodbridge Heights Associates, LLC                                           Lease for Store Number RL1_6231                       0.00
Red Lobster Hospitality LLC Woodside Parma LLC                                                           Lease for Store Number RL1_0116                       0.00
Red Lobster Hospitality LLC World Class Investments, LLC                                                 Lease for Store Number RL1_6373                   2,000.00
Red Lobster Hospitality LLC WPE Investment #10, L.L.C.; 5950 North Federal Investments LLC               Lease for Store Number RL1_0029                       0.00
Red Lobster Hospitality LLC Yasmon 19 Group LLC                                                          Lease for Store Number RL1_6308                       0.00
Red Lobster Hospitality LLC Yavapai-Prescott Indian Tribe                                                Lease for Store Number RL1_0623                   1,319.34
Red Lobster Hospitality LLC YYRL South Padre Island Drive Owner LLC; YYRL South Padre Island Drive OwLease for Store Number RL1_0163                           0.00
Red Lobster Canada, Inc     Zuricha Capital Ltd.                                                         Lease for Store Number RLC_8135                       0.00
                                                                                                         RESTAURANT #895 PARKING AGREEMENT
Red Lobster Restaurants LLC HAQ CORPORATION                                                              DATED 7/1/2003                                     350.00




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RED LOBSTER
Assumed Executory Contracts




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Red Lobster Hospitality, LLC            A&G REALTY PARTNERS LLC                            General Services Agreement                                                                                                        0.00
Red Lobster Hospitality, LLC            AARDVARK SERVICES CORP                             Facility Service Agreement (Landscape) For Restaurant #0481                                                                     382.10
Red Lobster Sourcing LLC                AB FOODS, LLC                                      General Terms And Conditions Dated 11/04/2020                                                                                     0.00
Red Lobster Restaurants LLC             AEP ENERGY, INC.                                   Product And Pricing Summary Dated 12/6/2023                                                                                       0.00
Red Lobster Restaurants LLC             ALLSTAR ELEVATOR & ESCALATOR INSPECTION AGENCY INC General Services Agreement                                                                                                    1,240.00
Red Lobster Hospitality, LLC            AMERICAN BACKFLOW PREVENTION INC                   General Services Agreement                                                                                                    1,301.72
                                                                                                               Agreement for American Express Card Acceptance, dated as of 2020, (the “American Express
[Red Lobster]                           American Express Travel Related Services Company, Inc.                                                                                                                              0.00
                                                                                                               Agreement”)
Red Lobster Hospitality, LLC            AMW CONTRACTING INC                                                    General Services Agreement                                                                              13,164.05
Red Lobster Hospitality, LLC            ANCHOR PACKAGING, INC                                                  Order No. 1 To General Terms And Conditions Dated 12/20/2023                                                 0.00
Red Lobster Sourcing LLC                ANCHOR PACKAGING, LLC                                                  General Terms And Conditions Dated 11/09/2023                                                                0.00
Red Lobster Restaurants LLC             ATHENS ORTHOPEDIC CLINIC                                               Restaurant #36 Temporary Parking Agreement Dated 3/26/2019                                                   0.00
Red Lobster Hospitality, LLC            AUGUST CORSO SONS INC                                                  Facility Service Agreement (Landscape) For Restaurant #0423
                                                                                                                                                                                                                        2,439.23
Red Lobster Hospitality, LLC            AUGUST CORSO SONS INC                                                  Facility Service Agreement (Snow) For Restaurant #0423
Red Lobster Hospitality, LLC            AWNINGS BY KINSER LLC                                                  General Services Agreement                                                                                 800.00
Red Lobster Sourcing LLC                BADIA SPICES INC.                                                      General Terms And Conditions                                                                                 0.00
Red Lobster Canada, Inc.                BANK OF AMERICA MERCHANT SERVICES CANADA CORP.                         Amendment No. 3
                                                                                                                                                                                                                            0.00
Red Lobster Canada, Inc.                BANK OF AMERICA MERCHANT SERVICES CANADA CORP.                         The Merchant Processing Agreement Dated 07/18/2017
Red Lobster Canada, Inc.                BANK OF AMERICA MERCHANT SERVICES CANADA CORP.                         Equipment Purchase And Rental Supplement Dated 11/07/2018
Red Lobster Canada, Inc.                BANK OF AMERICA MERCHANT SERVICES CANADA CORP.                         Amendment No. 2 Dated 12/10/2019                                                                             0.00
Red Lobster Canada, Inc.                BANK OF AMERICA MERCHANT SERVICES CANADA CORP.                         Merchant Processing Agreement Dated 03/02/2015
Red Lobster Canada, Inc.                BANK OF AMERICA, N.A.                                                  Merchant Processing Agreement Dated 03/02/2015
                                                                                                                                                                                                                            0.00
Red Lobster Canada, Inc.                BANK OF AMERICA, N.A.                                                  Amendment No. 4 To The Merchant Processing Agreement Dated 11/18/2021
Red Lobster Restaurants LLC             BARKLEY INC                                                            General Services Agreement                                                                                   0.00
Red Lobster Hospitality, LLC            BBI LOGISTICS LLC                                                      General Services Agreement                                                                               4,400.00
Red Lobster Canada, Inc.                BLACKHAWK CARD PARTICIPATION                                           Program Terms Agreement Dated 06/21/2018                                                                     0.00
Red Lobster Canada, Inc.                BLACKHAWK CN                                                           Gift Card Agreement Dated 06/30/2015                                                                         0.00
Red Lobster Restaurants LLC             BOERSMA ENTERPRISES INC                                                Facility Service Agreement (Landscape) For Restaurant #0747                                              1,819.00
Red Lobster Canada, Inc.                BRINK'S CANADA LIMITED                                                 Armoured Transportation Service Agreement Dated 07/01/2014                                                   0.00
Red Lobster Canada, Inc.                BRINK'S CANADA LIMITED / BRINKS CANADA LIMITEE                         Rider 2 Dated 09/12/2016                                                                                     0.00
Red Lobster Sourcing LLC                BRITZ FOOD GROUP                                                       General Terms And Conditions Dated 09/09/2021                                                                0.00
Red Lobster Restaurants LLC             C R S SERVICES INC                                                     General Services Agreement                                                                                 914.12
Red Lobster Sourcing LLC                C.H. ROBINSON COMPANY                                                  Master Services Agreement Dated 05/16/2016
Red Lobster Sourcing LLC                C.H. ROBINSON COMPANY                                                  Amendment 01 To The Master Services Agreement Dated 09/15/2022                                           7,556.61
Red Lobster Sourcing LLC                C.H. ROBINSON COMPANY                                                  Amendment No. 1 To Master Services Agreement Dated 03/01/2021
Red Lobster Restaurants LLC             CAMERON L JENKINS                                                      Facility Service Agreement (Snow) For Restaurant #0438                                                   3,053.22
Red Lobster Restaurants LLC             CAPTIVE-AIRE SYSTEMS INC                                               General Services Agreement                                                                               8,174.73
Red Lobster Hospitality, LLC            CBRE INC                                                               General Services Agreement                                                                                   0.00
Red Lobster Hospitality, LLC            CHAPMANS MECHANICAL SYSTEMS INC                                        Facility Service Agreement (Hvac) For Restaurant #0738                                                   2,779.12
Red Lobster Restaurants LLC             CHILL SERVICES LLC                                                     Facility Service Agreement (Snow) For Restaurant #6297                                                     371.00
Red Lobster Hospitality, LLC            CINTAS CORPORATION NO 3                                                Facility Service Agreement (Hvac) For Restaurant #0155
Red Lobster Hospitality, LLC            CINTAS CORPORATION NO 3                                                Facility Service Agreement (Hvac) For Restaurant #0284                                                       0.00
Red Lobster Restaurants LLC             CINTAS CORPORATION NO 3                                                Facility Service Agreement (Hvac) For Restaurant #0482
Red Lobster Hospitality, LLC            CINTAS MANAGED SOLUTIONS FIRE PROTECTION GROUP                         Facilities Service Agreement Dated 09/16/2016                                                                0.00
Red Lobster Hospitality, LLC            CITY OF CASPER, WYOMING MUNICIPAL CORPORATION                          Release And Indemnification Agreement For Restaurant #6374 Dated 08/18/2022                                  0.00
Red Lobster Hospitality, LLC            CMI-COLORADO MECHANICAL                                                Facilities Service Agreement For Restaurant #6383 Dated 08/24/2023                                           0.00
Red Lobster Canada, Inc.                COCA-COLA CANADA BOTTLING LIMITED                                      Beverage Supply Agreement Dated 04/14/2023                                                                   0.00
Red Lobster Canada, Inc.                COCA-COLA LTD.                                                         Beverage Supply Agreement Dated 04/14/2023                                                                   0.00
Red Lobster Hospitality, LLC            Comdere                                                                Franchise Agreement                                                                                          0.00
Red Lobster Sourcing LLC                CONSOLIDATED CATFISH PRODUCER LLC                                      General Terms And Conditions Dated 09/05/2023                                                                0.00
Red Lobster Hospitality, LLC            CONTINENTAL MILLS                                                      Master Intellectual Property License Agreement Dated 8/3/2021                                                0.00
Red Lobster Hospitality, LLC            CONTINENTAL MILLS, INC.                                                Amendment No. 3 Dated 06/18/2018                                                                             0.00
Red Lobster Hospitality, LLC            DALLIS REFRIGERATION OF TEXAS LLC                                      Facility Service Agreement (Hvac) For Restaurant #0844
Red Lobster Hospitality, LLC            DALLIS REFRIGERATION OF TEXAS LLC                                      Facility Service Agreement (Hvac) For Restaurant #0314
Red Lobster Hospitality, LLC            DALLIS REFRIGERATION OF TEXAS LLC                                      Facility Service Agreement (Hvac) For Restaurant #0314
                                                                                                                                                                                                                       15,800.79
Red Lobster Hospitality, LLC            DALLIS REFRIGERATION OF TEXAS LLC                                      Facility Service Agreement (Hvac) For Restaurant #6240
Red Lobster Hospitality, LLC            DALLIS REFRIGERATION OF TEXAS LLC                                      Facility Service Agreement (Hvac) For Restaurant #0095
Red Lobster Hospitality, LLC            DALLIS REFRIGERATION OF TEXAS LLC                                      Facility Service Agreement (Hvac) For Restaurant #0137
Red Lobster Hospitality, LLC            DAVACO INC                                                             General Services Agreement                                                                                   0.00
Red Lobster Hospitality, LLC            DAVACO LP                                                              General Services Agreement                                                                                   0.00
Red Lobster Hospitality, LLC            Delicias Orange                                                        Vendor Agreement                                                                                             0.00
Red Lobster Hospitality, LLC            DESTIN WATER ADVENTURES, LLC                                           Restaurant #458 Temporary Parking Agreement Dated 3/15/2022                                                  0.00
Red Lobster Hospitality, LLC            Diane R. Peebles                                                       Copyright License dated June 22, 2015                                                                        0.00
Red Lobster Restaurants LLC             DIRECT ENERGY BUSINESS MARKETING, LLC                                  Commodity Master Agreement Dated 11/04/2021                                                                  0.00
Red Lobster Restaurants LLC             DIRECT ENERGY BUSINESS, LLC                                            Electricity Transaction Confirmation Dated 12/6/2023
                                                                                                                                                                                                                            0.00
Red Lobster Restaurants LLC             DIRECT ENERGY BUSINESS, LLC                                            Electricity Transaction Agreement Dated 04/17/2023
Red Lobster Canada, Inc.                DIRECT ENERGY MARKETING LIMITED                                        Energy Purchase Agreement Dated 11/18/2021
                                                                                                                                                                                                                            0.00
Red Lobster Canada, Inc.                DIRECT ENERGY MARKETING LIMITED                                        Energy Purchase Agreement Dated 11/18/2021
Red Lobster Sourcing LLC                DR PEPPER/SEVEN UP, INC.                                               Fountain Agreement Dated 01/01/2013
Red Lobster Sourcing LLC                DR PEPPER/SEVEN UP, INC.                                               Amendment To Fountain Support Agreement Dated 01/01/2020                                                     0.00
Red Lobster Sourcing LLC                DR PEPPER/SEVEN UP, INC.                                               Fountain Support Agreement Dated 11/14/2023
Red Lobster Hospitality, LLC            DR POWER WASHERS INC                                                   General Services Agreement                                                                                 649.50
Red Lobster Sourcing LLC                DRESS THE DRINK, LLC                                                   General Terms And Conditions Dated 11/08/2023
Red Lobster Sourcing LLC                DURO-LAST, INC.                                                        National Account Incentive Agreement Dated 02/17/2021                                                        0.00
Red Lobster Restaurants LLC             DUTCH ENTERPRISES INC                                                  General Services Agreement
Red Lobster Restaurants LLC             DUTCH ENTERPRISES INC                                                  Facility Service Agreement (Hvac) For Restaurant #0707                                                   4,075.84
Red Lobster Restaurants LLC             DUTCH ENTERPRISES INC                                                  Facility Service Agreement (Hvac) For Restaurant #0707
Red Lobster Hospitality, LLC            DYNEGY ENERGY SERVICES, LLC                                            Electric Service Agreement Dated 3/28/2023                                                                   0.00
Red Lobster Hospitality, LLC            ECOLAB INC                                                             Facility Service Agreement (Hvac) For Restaurant #6391                                                 121,957.07
Red Lobster Sourcing LLC                ECOLAB INC.                                                            Amendment No. 2 To Product And Services Supply Agreement Dated 12/01/2022
Red Lobster Sourcing LLC                ECOLAB INC.                                                            Amendment To Product And Services Supply Agreement Dated 06/01/2020                                          0.00
Red Lobster Sourcing LLC                ECOLAB INC.                                                            Product And Services Supply Agreement Dated 03/31/2016
Red Lobster Sourcing LLC                EcoLab Pest                                                            Pest Elimination Services Agreement Dated 4/1/2024                                                           0.00
Red Lobster Restaurants LLC             EDF ENERGY SERVICES, LLC                                               Master Retail Electricity Sales Agreement Dated 9/29/2021                                                    0.00
Red Lobster Hospitality, LLC            EEC ACQUISITION LLC                                                    General Services Agreement
                                                                                                                                                                                                          TBD [1]
Red Lobster Restaurants LLC             EEC ACQUISITION LLC                                                    Facility Service Agreement (Hvac) For Restaurant #0398
Red Lobster Hospitality, LLC            ENERGY HARBOR LLC                                                      Pricing Agreement Dated 9/30/2021
Red Lobster Hospitality, LLC            ENERGY HARBOR LLC                                                      Pricing Agreement Dated 9/30/2021
                                                                                                                                                                                                                            0.00
Red Lobster Hospitality, LLC            ENERGY HARBOR LLC                                                      Customer Supply Agreement Dated 9/30/2021
Red Lobster Hospitality, LLC            ENERGY HARBOR LLC                                                      Pricing Agreement Dated 9/30/2021
Red Lobster Restaurants LLC             ENERGY MAINTENANCE AND MANAGEMENT INC                                  General Services Agreement                                                                                   0.00
Red Lobster Restaurants LLC             ERISA SERVICES OF GEORGIA                                              GA 10832-001 Service Agreement                                                                               0.00
Red Lobster Restaurants LLC             ERISA SERVICES OF GEORGIA                                              GA 10832-003 Service Agreement                                                                               0.00
Red Lobster Restaurants LLC             EyeMed Vision Care, LLC                                                Vision Plan Dated 11/30/2021                                                                                 0.00
Red Lobster Canada, Inc.                FIRST DATA CANADA LTD.                                                 Merchant Processing Agreement Dated 03/02/2015
                                                                                                                                                                                                                            0.00
Red Lobster Canada, Inc.                FIRST DATA CANADA LTD.                                                 Amendment No. 4 To The Merchant Processing Agreement Dated 11/18/2021
Red Lobster Hospitality, LLC            FITHAUS, INC D/B/A HTE OFFICE                                          Restaurant #29 Temporary Parking Agreement Dated 2/1/2023                                                    0.00
Red Lobster Hospitality, LLC            Fly by Wings                                                           Vendor Agreement
                                                                                                                                                                                                                            0.00
Red Lobster Hospitality, LLC            Fly by Wings                                                           Vendor Agreement
Red Lobster Restaurants LLC             GAS SOUTH, LLC                                                         Agreement For Natural Gas Sales Dated 1/1/2021                                                               0.00

[1]   As described in the Debtors’ September 3, 2024 Status Report Regarding Cure Objection [ECF No. 1105], the Parties need additional time to resolve the counterparty’s cure objection




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RED LOBSTER
Assumed Executory Contracts




               Debtor                                 Counterparty                                                            Description of Agreement          Final Cure Amount     A
                               GLOBAL CORE SOFTWARE, A TRADENAME OF GRANITE
Red Lobster Canada, Inc.                                                                  Authorized Use Agreement Dated 09/21/1998                                            0.00
                               COMPLETE SOLUTIONS, LLC
Red Lobster Canada, Inc.       GORDON FOOD SERVICE CANADA LTD                             Distribution Agreement Dated 05/22/2009
Red Lobster Canada, Inc.       GORDON FOOD SERVICE CANADA LTD                             Distribution Agreement Dated 09/01/2017
Red Lobster Canada, Inc.       GORDON FOOD SERVICE CANADA LTD                             Second Amendment To Distribution Agreement Dated 05/31/2016
Red Lobster Canada, Inc.       GORDON FOOD SERVICE CANADA LTD                             Amendment 3 To Distribution Agreement Dated 12/01/2021
Red Lobster Canada, Inc.       GORDON FOOD SERVICE CANADA LTD                             Distribution Agreement Dated 12/03/2017
                                                                                                                                                                               0.00
Red Lobster Canada, Inc.       GORDON FOOD SERVICE CANADA LTD                             Amendment Number 4 To Distribution Agreement Dated 05/28/2023
Red Lobster Supply LLC         GORDON FOOD SERVICE CANADA LTD                             Indemnification Agreement Dated 12/19/2023
Red Lobster Canada, Inc.       GORDON FOOD SERVICE CANADA LTD.                            Amendment Number 1 To Fresh Distribution Agreement Dated 05/28/2023
Red Lobster Canada, Inc.       GORDON FOOD SERVICE CANADA LTD.                            Amendment Number 4 To Distribution Agreement Dated 05/28/2023
Red Lobster Canada, Inc.       GORDON FOOD SERVICE CANADA LTD.                            Fresh Distribution Agreement Dated 11/01/2018
Red Lobster Canada, Inc.       GORDON FOOD SERVICE CANADA, INC.                           First Amendment To Distribution Agreement Dated 01/30/2014                           0.00
Red Lobster Hospitality, LLC   GRAND RAPIDS ENERGY                                        Gas Service Agreement Dated 5/1/2023                                                 0.00
Red Lobster Hospitality, LLC   GROW PRO LLC                                               Facility Service Agreement (Landscape) For Restaurant #0613
                                                                                                                                                                          14,843.23
Red Lobster Hospitality, LLC   GROW PRO LLC                                               Facility Service Agreement (Landscape) For Restaurant #0589
Red Lobster Restaurants LLC    HILLER LLC                                                 Facility Service Agreement (Hvac) For Restaurant #0635                           1,093.00
Red Lobster Canada, Inc.       HP CANADA CO.                                              Print Services Schedule Dated 01/08/2016
                                                                                                                                                                               0.00
Red Lobster Canada, Inc.       HP CANADA CO.                                              Print Services Schedule Dated 12/07/2015
Red Lobster Canada, Inc.       INCOMM CANADA                                              Product Provider Master Agreement Dated 09/23/2015                                   0.00
Red Lobster Canada, Inc.       INKAS® SECURITY SERVICES LTD                               Service Agreement Dated 09/28/2017                                                   0.00
Red Lobster Canada, Inc.       INKAS® SECURITY SERVICES LTD.                              Service Agreement Dated 07/04/2017
                                                                                                                                                                               0.00
Red Lobster Canada, Inc.       INKAS® SECURITY SERVICES LTD.                              Service Agreement Dated 09/28/2017
Red Lobster Hospitality, LLC   INTERCONN RESOURCES, LLC                                   Natural Gas Service Agreement Dated 03/13/2023                                       0.00
Red Lobster Hospitality, LLC   INTERFACE SECURITY SYSTEMS LLC                             General Services Agreement                                                           0.00
Red Lobster Hospitality, LLC   INTERSTATE GAS SUPPLY, INC                                 General Transportation Service Contract Dated 5/10/2022
Red Lobster Hospitality, LLC   INTERSTATE GAS SUPPLY, INC                                 Natural Gas Purchase Agreement Dated 8/1/2023                                        0.00
Red Lobster Restaurants LLC    INTERSTATE GAS SUPPLY, INC                                 Natural Gas Purchase Contract Dated 6/30/2022
Red Lobster Canada, Inc.       IRON MOUNTAIN INFORMATION MANAGEMENT, LLC                  Amendment No.3 To The Master Services Agreement Dated 12/01/2021                 8,383.32
Red Lobster Canada, Inc.       IRON MOUNTAIN SECURE SHREDDING CANADA, INC.                Amendment No.3 To The Master Services Agreement Dated 12/01/2021                     0.00
Red Lobster Hospitality, LLC   JBL SERVICES LLC                                           Facility Service Agreement (Snow) For Restaurant #0487                           2,673.10
Red Lobster Hospitality, LLC   JOHNATHAN PANTER                                           Facility Service Agreement (Landscape) For Restaurant #0508                      6,077.63
Red Lobster Hospitality, LLC   JOSSART INC                                                Facility Service Agreement (Landscape) For Restaurant #0487                      2,164.00
Red Lobster Hospitality, LLC   JRS PLUMBING AND DRAIN                                     General Services Agreement                                                       2,738.80
Red Lobster Canada, Inc.       JustEat                                                    Vendor Agreement                                                                     0.00
Red Lobster Restaurants LLC    K & D FACTORY SERVICE INC                                  General Services Agreement
Red Lobster Restaurants LLC    K & D FACTORY SERVICE INC                                  Facility Service Agreement (Hvac) For Restaurant #0240
                                                                                                                                                                          38,703.53
Red Lobster Restaurants LLC    K & D FACTORY SERVICE INC                                  Facility Service Agreement (Hvac) For Restaurant #0195
Red Lobster Restaurants LLC    K & D FACTORY SERVICE INC                                  Facility Service Agreement (Hvac) For Restaurant #0420
Red Lobster Restaurants LLC    KAUTZ CONSTRUCTION COMPANY                                 General Services Agreement                                                      22,048.19

                               KENNETH 0. LESTER COMPANY, INC. D/B/A PFG CUSTOMIZED
Red Lobster Sourcing LLC                                                                  Fourth Amendment To Distribution Agreement Dated 10/01/2022                          0.00
                               DISTRIBUTION

                               KENNETH O. LESTER COMPANY, INC, D/B/A PEG CUSTOMIZED
Red Lobster Sourcing LLC                                                            Distribution Agreement Dated 01/01/2023                                               36,030.91
                               DISTRIBUTION
Red Lobster Sourcing LLC       KENNETH O. LESTER COMPANY, INC.                            Distribution Agreement Dated 05/03/2016                                              0.00
                               KENNETH O. LESTER COMPANY, INC.
Red Lobster Sourcing LLC                                                                  Distribution Agreement Dated 05/03/2016                                              0.00
                               DBA PFG CUSTOMIZED DISTRIBUTION
                               KENNETH O. LESTER COMPANY, INC. D/B/A PEG CUSTOMIZED
Red Lobster Sourcing LLC                                                            Third Amendment To Distribution Agreement Dated 08/01/2022                                 0.00
                               DISTRIBUTION
                               KENNETH O. LESTER COMPANY, INC. D/B/A PFG CUSTOMIZED
Red Lobster Sourcing LLC                                                            First Amendment To Distribution Agreement Dated 06/30/2021
                               DISTRIBUTION
                               KENNETH O. LESTER COMPANY, INC. D/B/A PFG CUSTOMIZED                                                                                            0.00
Red Lobster Sourcing LLC                                                            Second Amendment To Distribution Agreement Dated 02/01/2022
                               DISTRIBUTION
                               KENNETH O. LESTER COMPANY, INC. D/B/A PFG CUSTOMIZED
Red Lobster Sourcing LLC                                                            Third Amendment To Distribution Agreement Dated 08/01/2022
                               DISTRIBUTION
Red Lobster Sourcing LLC       KOCH FOODS                                           Supply Agreement                                                                           0.00
Red Lobster Hospitality, LLC   KORE WIRELESS INC.                                   Order Form Dated 04/05/2023                                                                0.00
Red Lobster Sourcing LLC       LAMB WESTON SALES, INC                               Supply Agreement Dated 11/01/2023                                                          0.00
Red Lobster Sourcing LLC       LAMB WESTON SALES, INC.                              General Terms And Conditions Dated 09/16/2019
Red Lobster Sourcing LLC       LAMB WESTON SALES, INC.                              Supply Agreement Dated 01/11/2023                                                          0.00
Red Lobster Sourcing LLC       LAMB WESTON SALES, INC.                              General Terms And Conditions Dated 09/23/2019
Red Lobster Hospitality, LLC   LOS ANGELES PLUMBING & BACKFLOW TESTING INC          General Services Agreement                                                             5,200.35
Red Lobster Sourcing LLC       LX/JT INTERMEDIATE HOLDINGS, INC DBA BEVOLUTION GROUPGeneral Terms And Conditions                                                               0.00
Red Lobster Hospitality, LLC   MA LANDSCAPE                                         Facility Service Agreement (Landscape) For Restaurant #0667
Red Lobster Hospitality, LLC   MA LANDSCAPE                                         Facility Service Agreement (Landscape) For Restaurant #6320                            4,200.00
Red Lobster Hospitality, LLC   MA LANDSCAPE                                         Facility Service Agreement (Landscape) For Restaurant #6219
Red Lobster Hospitality, LLC   MACDADE CONSTRUCTION INC                             General Services Agreement                                                                 0.00
Red Lobster Restaurants LLC    MANSFIELD POWER & GAS                                Commercial Gas Sales Agreement Dated 06/30/2022                                       16,817.03
Red Lobster Restaurants LLC    MARSH MCLENNAN                                       MMAS Consulting Agreement                                                                  0.00
Red Lobster Restaurants LLC    MARSH MCLENNAN                                       MMAS 3(38) Services Agreement Hourly                                                       0.00
Red Lobster Restaurants LLC    MARSH MCLENNAN                                       MMAS 3(38) Services Agreement Salary                                                       0.00
Red Lobster Sourcing LLC       MASTERS GALLERY FOODS, INC.                          Supply Agreement                                                                           0.00
Red Lobster Sourcing LLC       MCCAIN FOODS USA, INC.                               General Terms And Conditions Dated 05/30/2023                                              0.00
Red Lobster Hospitality, LLC   MECHANICAD INC                                       General Services Agreement                                                               216.50
Red Lobster Canada, Inc.       MERCER (CANADA) LIMITED                              Attachment A-2 Dated 05/01/2015
Red Lobster Canada, Inc.       MERCER (CANADA) LIMITED                              Services Agreement Dated 10/24/2014
Red Lobster Canada, Inc.       MERCER (CANADA) LIMITED                              Attachment A-3
Red Lobster Canada, Inc.       MERCER (CANADA) LIMITED                              Attachment A-4
Red Lobster Canada, Inc.       MERCER (CANADA) LIMITED                              Attachment A-5                                                                             0.00
Red Lobster Canada, Inc.       MERCER (CANADA) LIMITED                              Attachment A-6
Red Lobster Canada, Inc.       MERCER (CANADA) LIMITED                              Attachment A-7
Red Lobster Canada, Inc.       MERCER (CANADA) LIMITED                              Attachment A-9 Dated 01/01/2023
Red Lobster Restaurants LLC    MERCER (CANADA) LIMITED                              Project Initiation Form Dated 01/13/2013
Red Lobster Restaurants LLC    MERCER (US) INC.                                     Terms And Conditions Governing Engagement Dated 08/21/2008                                 0.00
Red Lobster Restaurants LLC    MERCER INVESTMENT CONSULTING, INC.                   Project Initiation Form Dated 03/19/2009                                                   0.00
Red Lobster Restaurants LLC    MONTGOMERY CROSS RETAIL GROUP, LLC                   Restaurant #173 Parking Agreement Dated 11/1/2018                                          0.00
Red Lobster Hospitality, LLC   MP2 ENERGY NE LLC D/B/A SHELL ENERGY SOLUTIONS LLC   Master Energy Sales Agreement Dated 10/30/2020                                        53,911.24
Red Lobster Hospitality, LLC   MY TECH TEXAS LLC                                    General Services Agreement
                                                                                                                                                                           6,262.03
Red Lobster Hospitality, LLC   MY TECH TEXAS LLC                                    Facility Service Agreement (Hvac) For Restaurant #6256
Red Lobster Restaurants LLC    NOMAD GROUP LLC                                      General Services Agreement                                                             3,578.95
Red Lobster Restaurants LLC    NRG BUSINESS MARKETING LLC                           Commodity Master Agreement Dated 11/04/2021                                                0.00
Red Lobster Hospitality, LLC   OHIO NATURAL GAS                                     Gas Service Agreement Dated 04/18/2023                                                     0.00
Red Lobster Sourcing LLC       OS SALESCO, INC.                                     General Terms And Conditions Dated 10/26/2023                                              0.00
Red Lobster Hospitality, LLC   OTIS ELEVATOR COMPANY                                Service Agreement For Restaurant #6298 Dated 08/11/2023                                  442.43
Red Lobster Hospitality, LLC   PEGNATO ROOF INTELLIGENCE NETWORK                    General Services Agreement                                                            10,982.20
Red Lobster Sourcing LLC       PEPSI- COLA ADVERTISING AND MARKETING, INC.          Beverage Sales Agreement Dated 06/08/2020                                             53,722.52
Red Lobster Sourcing LLC       PEPSICO SALES, INC.                                  Beverage Sales Agreement Dated 06/08/2020
                                                                                                                                                                               0.00
Red Lobster Sourcing LLC       PEPSICO SALES, INC.                                  Amendment #1 Dated 10/27/2023




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RED LOBSTER
Assumed Executory Contracts




               Debtor                                 Counterparty                                                   Description of Agreement                            Final Cure Amount      A
Red Lobster Sourcing LLC       PEPSI-COLA ADVERTISING AND MARKETING, INC.      Amendment #1 Dated 10/27/2023                                                                             0.00
Red Lobster Restaurants LLC    PIPE PRO INC                                    General Services Agreement
Red Lobster Restaurants LLC    PIPE PRO INC                                    Facility Service Agreement (Hvac) For Restaurant #6258                                              32,274.64
Red Lobster Restaurants LLC    PIPE PRO INC                                    Facility Service Agreement (Hvac) For Restaurant #0870
Red Lobster Sourcing LLC       PLYMOUTH BEEF CO.                               General Terms And Conditions Dated 08/26/2020                                                             0.00
Red Lobster Hospitality, LLC   POWER INDUSTRIES INC                            Facility Service Agreement (Landscape) For Restaurant #6207                                           2,100.00
Red Lobster Sourcing LLC       PREMIER PRODUCE CENTRAL FLORIDA, LLC            Consent To Assignment And Assumption Agreement Dated 11/06/2018                                           0.00
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          General Services Agreement
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #6208
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #0352
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #0019
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #0027
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #0769
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #0696                                             194,584.87
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #0425
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #6246
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #0108
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #6340
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #0696
Red Lobster Hospitality, LLC   PRO AIR MECHANICAL INC                          Facility Service Agreement (Hvac) For Restaurant #0257
Red Lobster Sourcing LLC       PRODOTTI MEDITERRANEI INC.                      General Terms And Conditions Dated 01/26/2024                                                             0.00
Red Lobster Hospitality, LLC   PRO-TECH COOLING & HEATING                      General Services Agreement
                                                                                                                                                                                   34,946.57
Red Lobster Hospitality, LLC   PRO-TECH COOLING & HEATING                      Facility Service Agreement (Hvac) For Restaurant #6236
Red Lobster Restaurants LLC    QUICK SERVANT COMPANY INC                       General Services Agreement
Red Lobster Restaurants LLC    QUICK SERVANT COMPANY INC                       Facility Service Agreement (Hvac) For Restaurant #6211
Red Lobster Restaurants LLC    QUICK SERVANT COMPANY INC                       Facility Service Agreement (Hvac) For Restaurant #6227
Red Lobster Restaurants LLC    QUICK SERVANT COMPANY INC                       Facility Service Agreement (Hvac) For Restaurant #0235
Red Lobster Restaurants LLC    QUICK SERVANT COMPANY INC                       Facility Service Agreement (Hvac) For Restaurant #0265                                              13,688.06
Red Lobster Restaurants LLC    QUICK SERVANT COMPANY INC                       Facility Service Agreement (Hvac) For Restaurant #0647
Red Lobster Restaurants LLC    QUICK SERVANT COMPANY INC                       Facility Service Agreement (Hvac) For Restaurant #0625
Red Lobster Restaurants LLC    QUICK SERVANT COMPANY INC                       Facility Service Agreement (Hvac) For Restaurant #0557
Red Lobster Restaurants LLC    QUICK SERVANT COMPANY INC                       Facility Service Agreement (Hvac) For Restaurant #0142
Red Lobster Hospitality, LLC   RDK SERVICES LP DBA COMMERCIAL SERVICES OF SA   Facilities Service Agreement For Restaurant #0314 Dated 09/15/2016                                        0.00
Red Lobster Of Bel Air, Inc.   RED LOBSTER HOSPITALITY LLC                     SUPPLY AGREEMENT DATED 04/01/2024
Red Lobster Restaurants LLC    RED LOBSTER HOSPITALITY LLC                     Agency. Administrative And Accountingservices And Licensing Agreement Dated 07/28/2014
Red Lobster Restaurants LLC    RED LOBSTER HOSPITALITY LLC                     Agency Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
Red Lobster Restaurants LLC    RED LOBSTER HOSPITALITY LLC                     Agency. Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
Red Lobster Restaurants LLC    RED LOBSTER HOSPITALITY LLC                     Agency. Administrative And Accountingservices And Licensing Agreement Dated 07/28/2014                    0.00
Red Lobster Restaurants LLC    RED LOBSTER HOSPITALITY LLC                     Agency. Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
RL Maryland, Inc.              RED LOBSTER HOSPITALITY LLC                     Agency. Administrative And Accountingservices And Licensing Agreement Dated 07/28/2014
RL Of Frederick, Inc.          RED LOBSTER HOSPITALITY LLC                     Agency. Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
RL Salisbury, LLC              RED LOBSTER HOSPITALITY LLC                     Agency. Administrative And Accountingservices And Licensing Agreement Dated 07/28/2014
Red Lobster Sourcing LLC       RED GOLD LLC                                    Supply Agreement Dated 03/07/2024                                                                         0.00
Red Lobster Sourcing LLC       RED GOLD, LLC                                   General Terms And Conditions Dated 03/07/2024
                                                                                                                                                                                         0.00
Red Lobster Sourcing LLC       RED GOLD, LLC                                   Supply Agreement Dated 03/07/2024
Red Lobster Hospitality, LLC   RED LOBSTER BEL AIR, INC.                       Agency Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
                                                                                                                                                                                         0.00
Red Lobster Restaurants LLC    RED LOBSTER BEL AIR, INC.                       Agency Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER KANSAS LLC                          Gift Card Program Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER KANSAS LLC                          Administrative Support Services Agreement Dated 07/28/2014
Red Lobster Restaurants LLC    RED LOBSTER KANSAS LLC                          Gift Card Program Agreement Dated 07/28/2014                                                              0.00
Red Lobster Restaurants LLC    RED LOBSTER KANSAS LLC                          Administrative Support Services Agreement Dated 07/28/2014
RL Kansas LLC                  RED LOBSTER KANSAS LLC                          Gift Card Program Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER ASIA, SDN. BHD.                     Intellectual Property Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER ASIA, SDN. BHD.                     Agreement For New Intellectual Property Dated 07/28/2014
Red Lobster Restaurants LLC    RED LOBSTER BEL AIR, INC.                       Lease Agreement Dated 07/28/2014                                                                          0.00
Red Lobster Hospitality, LLC   RED LOBSTER CANADA, INC.                        Royalty And Licensing Agrement Dated 07/28/2014
                                                                                                                                                                                         0.00
Red Lobster Sourcing LLC       RED LOBSTER CANADA, INC.                        Assignment And Assumption Agreement Dated 05/18/2016
Red Lobster Hospitality, LLC   RED LOBSTER CARES, INC.,                        Not For Profit Licensing Agreement Dated 07/28/2014                                                       0.00
Red Lobster Canada, Inc.       RED LOBSTER HOSPITALITY LLC                     Royalty And Licensing Agrement Dated 07/28/2014
Red Lobster Restaurants LLC    RED LOBSTER HOSPITALITY LLC                     Royalty And Licensing Agreement Dated 07/28/2014
Red Lobster Restaurants LLC    RED LOBSTER HOSPITALITY LLC                     Gift Card Program Agreement Dated 07/28/2014
                                                                                                                                                                                         0.00
Red Lobster Restaurants LLC    RED LOBSTER HOSPITALITY LLC                     Administrative Support Services Agreement Dated 07/28/2014
RL Kansas LLC                  RED LOBSTER HOSPITALITY LLC                     Royalty And Licensing Agreement Dated 07/28/2014
RL Kansas LLC                  RED LOBSTER HOSPITALITY LLC                     Administrative Support Services Agreement Dated 07/28/2014
Red Lobster Canada, Inc.       RED LOBSTER MANAGEMENT LLC                      Administrative Support Services Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER MANAGEMENT LLC                      Administrative Support Services Agreement Dated 07/28/2014
                                                                                                                                                                                         0.00
Red Lobster Restaurants LLC    RED LOBSTER MANAGEMENT LLC                      Administrative Support Services Agreement Dated 07/28/2014
RL Kansas LLC                  RED LOBSTER MANAGEMENT LLC                      Administrative Support Services Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER RESTAURANTS LLC                     Agency. Administrative And Accountingservices And Licensing Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER RESTAURANTS LLC                     Agency Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER RESTAURANTS LLC                     Agency. Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER RESTAURANTS LLC                     Agency. Administrative And Accountingservices And Licensing Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER RESTAURANTS LLC                     Agency. Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER RESTAURANTS LLC                     Royalty And Licensing Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER RESTAURANTS LLC                     Gift Card Program Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RED LOBSTER RESTAURANTS LLC                     Administrative Support Services Agreement Dated 07/28/2014
Red Lobster Of Bel Air, Inc.   RED LOBSTER RESTAURANTS LLC                     Lease Agreement dated 7/28/2014
Red Lobster Of Bel Air, Inc.   RED LOBSTER RESTAURANTS LLC                     Agency Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014                    0.00
RL Kansas LLC                  RED LOBSTER RESTAURANTS LLC                     Royalty And Licensing Agreement Dated 07/28/2014
RL Kansas LLC                  RED LOBSTER RESTAURANTS LLC                     Gift Card Program Agreement Dated 07/28/2014
RL Kansas LLC                  RED LOBSTER RESTAURANTS LLC                     Administrative Support Services Agreement Dated 07/28/2014
RL Maryland, Inc.              RED LOBSTER RESTAURANTS LLC                     Agency. Administrative And Accountingservices And Licensing Agreement Dated 07/28/2014
RL Maryland, Inc.              RED LOBSTER RESTAURANTS LLC                     Lease Agreement Dated 07/28/2014
RL Of Frederick, Inc.          RED LOBSTER RESTAURANTS LLC                     Lease Agreement Dated 07/28/2014
RL Of Frederick, Inc.          RED LOBSTER RESTAURANTS LLC                     Agency. Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
RL Salisbury, LLC              RED LOBSTER RESTAURANTS LLC                     Lease Agreement Dated 07/28/2014
RL Salisbury, LLC              RED LOBSTER RESTAURANTS LLC                     Agency. Administrative And Accountingservices And Licensing Agreement Dated 07/28/2014
Red Lobster Canada, Inc.       RED LOBSTER SOURCING LLC                        Assignment And Assumption Agreement Dated 05/18/2016                                                      0.00
Red Lobster Restaurants LLC    REPUBLIC FOODS, INC.                            Restaurant #265 Site Access Agreement Dated 4/1/2013                                                      0.00
Red Lobster Sourcing LLC       RESER’S FINE FOODS, INC.                        General Terms And Conditions                                                                              0.00
Red Lobster Hospitality, LLC   RL Billings                                     Intercompany Agreement                                                                                    0.00
Red Lobster Hospitality, LLC   RL KANSAS LLC                                   Royalty And Licensing Agreement Dated 07/28/2014
                                                                                                                                                                                         0.00
Red Lobster Restaurants LLC    RL KANSAS LLC                                   Royalty And Licensing Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RL OF FREDERICK, INC.                           Agency. Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
Red Lobster Restaurants LLC    RL OF FREDERICK, INC.                           Lease Agreement Dated 07/28/2014                                                                          0.00
Red Lobster Restaurants LLC    RL OF FREDERICK, INC.                           Agency. Administrative And Accounting Services And Licensing Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RL OF JONESBORO, INC.                           Employee Management And Services Agreement
                                                                                                                                                                                         0.00
Red Lobster Hospitality, LLC   RL OF JONESBORO, INC.                           Lease Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RL SALISBURY LLC                                Agency. Administrative And Accountingservices And Licensing Agreement Dated 07/28/2014
Red Lobster Restaurants LLC    RL SALISBURY LLC                                Lease Agreement Dated 07/28/2014                                                                          0.00
Red Lobster Restaurants LLC    RL SALISBURY LLC                                Agency. Administrative And Accountingservices And Licensing Agreement Dated 07/28/2014
Red Lobster Hospitality, LLC   RLSV, INC.                                      Royalty And Licensing Agreement Dated 07/28/2014




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 Assumed Executory Contracts




                Debtor                                              Counterparty                                                                        Description of Agreement                                      Final Cure Amount     A
 Red Lobster Hospitality, LLC              RLSV, INC.                                                             Gift Card Program Agreement Dated 07/28/2014
                                                                                                                                                                                                                                     0.00
 Red Lobster Restaurants LLC               RLSV, INC.                                                             Gift Card Program Agreement Dated 07/28/2014
 RL Kansas LLC                             RLSV, INC.                                                             Gift Card Program Agreement Dated 07/28/2014
 Red Lobster Restaurants LLC               ROY N WESLEY SR                                                        Facility Service Agreement (Landscape) For Restaurant #6317                                                    2,550.00
 Red Lobster Canada, Inc.                  Royal Bank of Canada                                                   Financial Services Agreement                                                                                       0.00
 Red Lobster Hospitality, LLC              SAGOLA CONTRACTING INC                                                 General Services Agreement                                                                                       390.00
 Red Lobster Sourcing LLC                  SAP AMERICA, INC.                                                      Software License Agreement Dated 09/23/2014                                                                        0.00
 Red Lobster Canada, Inc.                  SAVE ON MECHANICAL SERVICES LTD                                        General Services Agreement                                                                                         0.00
 Red Lobster Sourcing LLC                  SEAONUS COLD STORAGE                                                   Contracted Rates And Services Dated 03/08/2021                                                                     0.00
 Red Lobster Sourcing LLC                  SEAONUS COLD STORAGE LLC                                               Confidential Contracted Rates And Services Dated 03/08/2021                                                        0.00
 Red Lobster Sourcing LLC                  SEAONUS COLD STORAGE-JACKSONVILLE LLC                                  First Am Ended And Restated Storage And Handling Agreement Dated 06/01/2023                                        0.00
 Red Lobster Restaurants LLC               Sedgwick Claims Management Services, Inc.                              Claims Management Services Agreement                                                                               0.00
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         General Services Agreement
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         Facility Service Agreement (Hvac) For Restaurant #0468
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         Facility Service Agreement (Hvac) For Restaurant #0877
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         Facility Service Agreement (Hvac) For Restaurant #6332
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         Facility Service Agreement (Hvac) For Restaurant #6349
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         Facility Service Agreement (Hvac) For Restaurant #6295                                                        43,852.48
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         Facility Service Agreement (Hvac) For Restaurant #0416
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         Facility Service Agreement (Hvac) For Restaurant #0691
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         Facility Service Agreement (Hvac) For Restaurant #6308
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         Facility Service Agreement (Hvac) For Restaurant #0545
 Red Lobster Hospitality, LLC              SERVICE SOLUTIONS OF TEXAS LLC                                         Facility Service Agreement (Hvac) For Restaurant #0334
 Red Lobster Hospitality, LLC              SHAWNEE MILLING COMPANY CORPORATION                                    Formulation Agreement Dated 01/31/2024                                                                             0.00
 Red Lobster Hospitality, LLC              SHEER ENTERPRISES INC                                                  General Services Agreement                                                                                    29,639.37
 Red Lobster Hospitality, LLC              SHEER ENTERPRISES, INC                                                 Facilities Service Agreement For Restaurant #0179 Dated 07/07/2021
 Red Lobster Hospitality, LLC              SHEER ENTERPRISES, INC                                                 Facility Service Agreement (Hvac) For Restaurant #0348                                                             0.00
 Red Lobster Restaurants LLC               SHEER ENTERPRISES, INC                                                 Facilities Service Agreement For Restaurant #0179 Dated 07/07/2021
 Red Lobster Hospitality, LLC              SILVER STATE REFRIGERATION & HVAC LLC                                  General Services Agreement
 Red Lobster Hospitality, LLC              SILVER STATE REFRIGERATION & HVAC LLC                                  Facility Service Agreement (Hvac) For Restaurant #6391
                                                                                                                                                                                                                                40,179.30
 Red Lobster Hospitality, LLC              SILVER STATE REFRIGERATION & HVAC LLC                                  Facility Service Agreement (Hvac) For Restaurant #0339
 Red Lobster Hospitality, LLC              SILVER STATE REFRIGERATION & HVAC LLC                                  Facility Service Agreement (Hvac) For Restaurant #6257
 Red Lobster Sourcing LLC                  SLADE GORTON & CO., INC.                                               Tenth Amendment Dated 07/01/2016                                                                                   0.00
 Red Lobster Canada, Inc.                  SLADE GORTON & COMPANY, INC.                                           Authorized Use Agreement Dated 09/21/1998                                                                          0.00
 Red Lobster Restaurants LLC               SMARTEST ENERGY                                                        Service Agreement                                                                                                  0.00
 Red Lobster Restaurants LLC               SMARTEST ENERGY US, LLC                                                Master Sales Agreement Dated 03/28/2023                                                                            0.00
 Red Lobster Hospitality, LLC              SOLANO MALL                                                            Restaurant #727 Mall Sign Contribution And Maitenance Agreement Dated 12/13/1995                                   0.00
 Red Lobster Hospitality, LLC              SOUTHEAST MECHANICAL INC                                               Facility Service Agreement (Hvac) For Restaurant #6369                                                         3,158.04
 Red Lobster Hospitality, LLC              STANLEY STEEMER INTERNATIONAL INC                                      General Services Agreement                                                                                     2,193.00
 Red Lobster Hospitality, LLC              STAR-WEST SOLANO LLC                                                   Restaurant #727 First Amendment To Advertisement Agreement Dated 7/15/2021                                         0.00
 Red Lobster Restaurants LLC               STEVE DOVE                                                             Facility Service Agreement (Snow) For Restaurant #0393                                                         1,305.00
 Red Lobster Sourcing LLC                  SUGAR FOODS CORPORATION                                                General Terms And Conditions                                                                                       0.00
 Red Lobster Canada, Inc.                  SUN LIFE ASSURANCE COMPANY OF CANADA                                   Group Annuity Policy Dated 04/01/2008
 Red Lobster Canada, Inc.                  SUN LIFE ASSURANCE COMPANY OF CANADA                                   Group Annuity Policy Dated 07/28/2014                                                                              0.00
 Red Lobster Canada, Inc.                  SUN LIFE ASSURANCE COMPANY OF CANADA                                   Service And Fee Agreement Dated 07/28/2014
 Red Lobster Hospitality, LLC              SUPERIOR ALARM, INC.                                                   Facilities Service Agreement For Restaurant #0685 Dated 01/19/2024                                                 0.00
 Red Lobster Hospitality, LLC              SYMMETRY ENERGY SOLUTIONS, LLC                                         Transaction Confirmation 815378 Related To Base Contract / Gas Sales Agreement Dated 07/22/2014
 Red Lobster Hospitality, LLC              SYMMETRY ENERGY SOLUTIONS, LLC                                         Transaction Confirmation Dated 12/21/2022 Related To Base Contract Dated 7/29/2014
 Red Lobster Hospitality, LLC              SYMMETRY ENERGY SOLUTIONS, LLC                                         Transaction Confirmation Dated 12/7/2023 Related To Base Contract Dated 7/22/2014
 Red Lobster Restaurants LLC               SYMMETRY ENERGY SOLUTIONS, LLC                                         Transaction Confirmation 859365 Related To Base Contract / Gas Sales Agreement Dated 07/29/2014                    0.00
 Red Lobster Restaurants LLC               SYMMETRY ENERGY SOLUTIONS, LLC                                         Transaction Confirmation 815396 Related To Base Contract / Gas Sales Agreement Dated 07/29/2014
 Red Lobster Restaurants LLC               SYMMETRY ENERGY SOLUTIONS, LLC                                         Transaction Confirmation 867056 Related To Base Contract / Gas Sales Agreement Dated 07/29/2014
 Red Lobster Restaurants LLC               SYMMETRY ENERGY SOLUTIONS, LLC                                         Transaction Confirmation 803522 Related To Base Contract / Gas Sales Agreement Dated 07/29/2014
 Red Lobster Sourcing LLC                  TAMPA MAID FOODS                                                       General Terms And Conditions Dated 06/26/2023                                                                      0.00
 Red Lobster Sourcing LLC                  THE PROCTER & GAMBLE DISTRIBUTING LLC                                  Supply Agreement Dated 11/16/2023
                                                                                                                                                                                                                                     0.00
 Red Lobster Sourcing LLC                  THE PROCTER & GAMBLE DISTRIBUTING LLC                                  General Terms End Conditions Dated 06/13/2023
 Red Lobster Hospitality, LLC              THE WALDINGER CORPORATION                                              Facility Service Agreement (Hvac) For Restaurant #6209
 Red Lobster Hospitality, LLC              THE WALDINGER CORPORATION                                              Facility Service Agreement (Hvac) For Restaurant #6278
 Red Lobster Restaurants LLC               THE WALDINGER CORPORATION                                              General Services Agreement
 Red Lobster Restaurants LLC               THE WALDINGER CORPORATION                                              Facility Service Agreement (Hvac) For Restaurant #0060
                                                                                                                                                                                                                                86,999.73
 Red Lobster Restaurants LLC               THE WALDINGER CORPORATION                                              Facility Service Agreement (Hvac) For Restaurant #0605
 Red Lobster Restaurants LLC               THE WALDINGER CORPORATION                                              Facility Service Agreement (Hvac) For Restaurant #6365
 Red Lobster Restaurants LLC               THE WALDINGER CORPORATION                                              Facility Service Agreement (Hvac) For Restaurant #0063
 Red Lobster Restaurants LLC               THE WALDINGER CORPORATION                                              Facility Service Agreement (Hvac) For Restaurant #6232
 Red Lobster Sourcing LLC                  THE WASSERSTROM COMPANY                                                SUPPLY AGREEMENT DATED 04/01/2024                                                                            890,953.30
 Red Lobster Sourcing LLC                  THE WASSERSTROM COMPANY                                                Supply Agreement Dated 02/01/2015                                                                            531,350.62
 Red Lobster Hospitality, LLC              TIGER, INC                                                             Transaction Confirmation Dated 6/10/2022 Related To Base Contract 7/16/2014
                                                                                                                                                                                                                                     0.00
 Red Lobster Restaurants LLC               TIGER, INC                                                             Transaction Confirmation Dated 4/17/2023 Related To Base Contract 7/16/2014
 Red Lobster Canada, Inc.                  TRANSALTA ENERGY MARKETING CORP                                        Retail Electricity Services Agreement Dated 12/6/2023                                                              0.00
 Red Lobster Sourcing LLC                  TRENTON COLD STORAGE INC                                               Addendum To Agreement Dated 07/01/2023                                                                             0.00
 Red Lobster Sourcing LLC                  TRULY GOOD FOODS                                                       General Terms And Conditions Dated 01/03/2024                                                                      0.00
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       General Services Agreement
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0479
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0435
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0075
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0730
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0079
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #6303
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #6220
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #6205
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0330
                                                                                                                                                                                                                                 5,768.85
 Red Lobster Hospitality, LLC              TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #6207
 Red Lobster Restaurants LLC               TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0365
 Red Lobster Restaurants LLC               TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0476
 Red Lobster Restaurants LLC               TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0285
 Red Lobster Restaurants LLC               TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #6348
 Red Lobster Restaurants LLC               TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0895
 Red Lobster Restaurants LLC               TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0620
 Red Lobster Restaurants LLC               TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0173
 Red Lobster Restaurants LLC               TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0883
 Red Lobster Restaurants LLC               TWC SERVICES INC                                                       Facility Service Agreement (Hvac) For Restaurant #0045
 Red Lobster Canada, Inc.                  TYCO INTEGRATED FIRE & SECURITY CANADA, INC                            Statement Of Work Dated 07/01/2021                                                                TBD [2]
 Red Lobster Canada, Inc.                  TYCO INTEGRATED FIRE & SECURITY CANADA, INC.                           Facilities Service Agreement For Restaurant #8184 Dated 04/19/2018                                                 0.00
                                           TYCO INTEGRATED FIRE & SECURITY CANADA, INC. D/B/A
 Red Lobster Canada, Inc.                                                                                         Master Agreement For Security And Fire Life Safety Systems Dated 07/01/2021                                        0.00
                                           JOHNSON CONTROLS
 Red Lobster Canada, Inc.                  TYCO INTEGRATED SECURITY CANADA,                                       Master Agreement For Protective Signaling Service Dated 09/12/2014                                                 0.00
 Red Lobster Canada, Inc.                  UBER PORTIER B.V.                                                      Master Framework Letter Agreement Dated 11/03/2020                                                                 0.00
 Red Lobster Canada, Inc.                  UBER PORTIER CANADA INC.                                               Amended And Restated Master Framework Letter Agreement Dated 07/01/2021                                            0.00
 Red Lobster Canada, Inc.                  UBER TECHNOLOGIES, INC.                                                Amended And Restated Master Framework Letter Agreement Dated 07/01/2021                                            0.00
 Red Lobster Restaurants LLC               UGI ENERGY SERVICES, LLC                                               Customer Confirmation Agreement Dated 10/5/2021
 Red Lobster Restaurants LLC               UGI ENERGY SERVICES, LLC                                               Customer Confirmation Agreement Dated 1/31/2023                                                                    0.00


[2]
      As described in the Debtors’ September 3, 2024 Status Report Regarding Cure Objection [ECF No. 1105], the Parties need additional time to resolve the counterparty’s cure objection.


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Assumed Executory Contracts




               Debtor                                Counterparty                                                        Description of Agreement      Final Cure Amount     A
Red Lobster Restaurants LLC    UGI ENERGY SERVICES, LLC                             Customer Confirmation Agreement Dated 8/1/2023
Red Lobster Sourcing LLC       UNILEVER FOOD SOLUTIONS                              General Terms And Conditions                                                      0.00
Red Lobster Hospitality, LLC   UNITED ENERGY TRADING, LLC                           Transaction Confirmation Dated 1/24/2023
                                                                                                                                                                      0.00
Red Lobster Restaurants LLC    UNITED ENERGY TRADING, LLC                           Natural Gas Base Contract Dated 10/6/2021
                               UNITED FOOD AND COMMERCIAL WORKERS CANADA LOCAL
Red Lobster Canada, Inc.                                                       Memorandum Of Agreement Dated 02/28/2024                                               0.00
                               401
                               UNITED FOOD AND COMMERCIAL WORKERS CANADA
Red Lobster Canada, Inc.                                                            Collective Agreement Dated 07/06/2022                                             0.00
                               LOCAL1006A
Red Lobster Restaurants LLC    UNITED MECHANICAL INC                                General Services Agreement
                                                                                                                                                                  1,147.93
Red Lobster Restaurants LLC    UNITED MECHANICAL INC                                Facility Service Agreement (Hvac) For Restaurant #6379
Red Lobster Hospitality, LLC   UNITED PARCEL SERVICE, INC.                          Restaurant #844 Temporary Parking Agreement Dated 10/25/2021                      0.00
Red Lobster Restaurants LLC    USA CONSTRUCTION & PROJECT MGMT EXCHANGE LLC         General Services Agreement                                                    8,519.76
Red Lobster Hospitality, LLC   VAN HOOK SERVICE CO INC                              General Services Agreement
Red Lobster Hospitality, LLC   VAN HOOK SERVICE CO INC                              Facility Service Agreement (Hvac) For Restaurant #0410
Red Lobster Hospitality, LLC   VAN HOOK SERVICE CO INC                              Facility Service Agreement (Hvac) For Restaurant #0663
                                                                                                                                                                 65,504.15
Red Lobster Hospitality, LLC   VAN HOOK SERVICE CO INC                              Facility Service Agreement (Hvac) For Restaurant #0616
Red Lobster Restaurants LLC    VAN HOOK SERVICE CO INC                              Facility Service Agreement (Hvac) For Restaurant #6252
Red Lobster Restaurants LLC    VAN HOOK SERVICE CO INC                              Facility Service Agreement (Hvac) For Restaurant #0445
Red Lobster Restaurants LLC    VANCO COMMERCIAL SERVICE LLC                         General Services Agreement
Red Lobster Restaurants LLC    VANCO COMMERCIAL SERVICE LLC                         Facility Service Agreement (Hvac) For Restaurant #0070
Red Lobster Restaurants LLC    VANCO COMMERCIAL SERVICE LLC                         Facility Service Agreement (Hvac) For Restaurant #6260                        2,327.77
Red Lobster Restaurants LLC    VANCO COMMERCIAL SERVICE LLC                         Facility Service Agreement (Hvac) For Restaurant #0076
Red Lobster Restaurants LLC    VANCO COMMERCIAL SERVICE LLC                         Facility Service Agreement (Hvac) For Restaurant #0585
Red Lobster Sourcing LLC       VENTURA FOODS, LLC                                   General Terms And Conditions Dated 01/17/2024                                     0.00
Red Lobster Hospitality, LLC   WARDEN PROTECTION SERVICES LLC.                      Security Service Agreement For Restaurant #0696 Dated 10/01/2021                  0.00
Red Lobster Hospitality, LLC   WARREN STROMME                                       Facility Service Agreement (Hvac) For Restaurant #0661                        2,938.00
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               General Services Agreement
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #0518
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #0513
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #6270
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #0651
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #0510
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #0525                       90,758.14
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #0519
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #0577
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #6327
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #0608
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #0511
Red Lobster Hospitality, LLC   WEATHERITE CORPORATION                               Facility Service Agreement (Hvac) For Restaurant #0516
Red Lobster Restaurants LLC    WGL ENERGY SERVICES, INC.                            Firm Gas Confirmation Dated 5/1/2023
                                                                                                                                                                      0.00
Red Lobster Restaurants LLC    WGL ENERGY SERVICES, INC.                            Purchase And Sales Agreement Dated 5/1/2023
Red Lobster Hospitality, LLC   WIND RIVER SERVICES INC                              General Services Agreement                                                   14,164.00
Red Lobster Hospitality, LLC   YOUR MAINTENANCE DEPT INC                            General Services Agreement                                                   18,086.37




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                              Document
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                                           Assigned Unexpired Leases2




  2 For the avoidance of doubt, the Unexpired Leases of non-residential real property listed herein shall include any

  amendments, supplements or modifications thereto and any related agreements.
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RED LOBSTER
Assigned Unexpired Leases




          Debtor                    Assignee                                Counterparty                         Description of Agreement   Final Cure Amount
Red Lobster Management LLCRL Investor Holdings, LLC   PIEDMONT CNL TOWERS ORLAND LLC               Lease for Corporate Office                           0.00




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                          Assigned Executory Contracts
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RED LOBSTER
Assigned Executory Contracts




              Debtor                        Assignee                              Counterparty                                                                Description of Agreement           Final Cure Amount     A
                                                          11 TH HOUR BUSINESS CENTERS LLC DBA
Red Lobster Management LLC     RL Investor Holdings LLC                                               Services Agreement                                                                                       $0.00
                                                          11 TH HOUR BUSINESS SOLUTIONS
Red Lobster Management LLC     RL Investor Holdings LLC   1-800-GOT-JUNK                              Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   22SQUARED INC                               Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   2537 S WABASH CHI LLC                       License Agreement                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   3CINTERACTIVE CORP                          Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   3CSTUDIOS INC                               Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   3F CONSULTING LLC                           Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   4 CORNER RESOURCES LLC                      Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   4 Corners Resources LLC                     Red Lobster Services Agreement dated as of October 17, 2014                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   5NINE SOFTWARE INC.                         Master Service Agreement                                                                                  0.00
                                                          A ARNOLD MOVING COMPANY D.B.A A ARNOLD
Red Lobster Management LLC     RL Investor Holdings LLC                                               Services Agreement                                                                                        0.00
                                                          WORLD CLASS RELOCATION
Red Lobster Management LLC     RL Investor Holdings LLC   A B CLOSING CORPORATION                     Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   A CLOSER LOOK LLC                           Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   A&E TELEVISION NETWORKS LLC                 Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   A&G REALTY PARTNERS LLC                     Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AA JOHNNY                                   Facilities Service Agreement Dated 08/22/2007                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AAJ COMPUTER SERVICES INC                   Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AARON GORDON                                Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ABBY USA SOFTWARE HOUSE INC.                Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ABC GROUP USA LLC                           Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ABISHEK SUNDARRAJ                           Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ABSOLUTE SOFTWARE CORPORATION               Service Agreement                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ACCERTIFY INC.                              Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ACCURATE BACKGROUND LLC                     Services Agreement                                                                                    8,386.60
Red Lobster Management LLC     RL Investor Holdings LLC   ACCURATE BACKGROUND, LLC                    End User Agreement Dated 9/30/2016                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ACE AMERICAN INSURANCE COMPANY              Insurance Policy (Property) Policy Number Cx D95041413 001                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ACE INSIGHTS LLC                            Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum 12 Dated 12/13/2019
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum No. 01 Dated 04/14/2015
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum 10 Dated 03/01/2018
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum 13 Dated 12/28/2022
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum No. 02 To Service Masters Agreement Dated 07/29/2015
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum No. 04 To Agreement No. D-349 Dated 06/30/2016
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum No. 6 To Application Services Master Agreement No. D-349 Dated 02/02/2017
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum No. 9 To Application Services Master Agreement No. D-349 Dated 05/01/2017
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum No. 01 To Application Services Master Agreement No.D-349 Dated 04/14/2015
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Amendment 01 To The Aci Application Services Master Agreement No. D-349 Dated 07/29/2015
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Amendment 1 To Master Agreement No. D-340 Dated 07/30/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Amendment 2 To Master Agreement No. D-349 Dated 05/05/2020
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Amendment 3 To Master Agreement No. D-349 Dated 12/03/2020
                                                                                                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Amendment 4 To Master Agreement No. D-349 Dated 03/31/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum 13 To Application Services Master Agreement No. D-299 Dated 05/21/2023
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Schedule 1 To Application Services Master Agreement No. D-34S Dated 03/31/2015
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Schedule 2 To Application Services Master Agreement No. D349 Dated 03/31/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Schedule 3 To Application Services Master Agreement No. D-349 Dated 03/31/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Amendment 02 To Schedule 1 To The Application Services Master Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Amendment 03 To Schedule 1 To The Application Services Master Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum 7 To Application Services Master Agreement No D-349 Dated 03/10/2017
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum 11 To The Application Services Master Agreement No. D-349 Dated 07/23/2019
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum 14 To The Application Services Master Agreement No. D-349 Dated 09/11/2023
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum 8 To The Application Service Master Agreement No. D-349
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Application Services Master Agreement No. D-349 Dated 03/31/2015
Red Lobster Management LLC     RL Investor Holdings LLC   ACI WORLDWIDE CORP                          Addendum No. 5 To Master Service Agreement Dated 10/11/2016
Red Lobster Management LLC     RL Investor Holdings LLC   ACTIVE IDENTITY MANAGEMENT INC              Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ADO PROFESSIONAL SOLUTIONS INC.             Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Adobe Sales Order Dated 11/24/2020
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 06/09/2022
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 09/02/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 08/26/2022
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 11/14/2022
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 06/19/2023
                                                                                                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 12/21/2022
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 03/01/2023
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 07/21/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 08/28/2020
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 12/16/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ADOBE INC.                                  Sales Order Dated 11/21/2023
Red Lobster Management LLC     RL Investor Holdings LLC   ADP , INC.                                  Fourth Amendment To Global Master Services Agreement Dated 03/22/2023
                                                                                                                                                                                                            5,611.79
Red Lobster Management LLC     RL Investor Holdings LLC   ADP , INC.                                  Third Amendment To Global Master Services Agreement Dated 10/13/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ADP LLC                                     Global Master Service Agreement Dated 03/24/2015                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ADP, LLC                                    Second Amendment                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ADP, LLC                                    First Amendment To Global Master Services Agreement Dated 07/01/2015
                                                                                                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ADP, LLC                                    Second Amendment To Global Master Services Agreement Dated 08/22/2019
                                                          ADVERTEX COMMMUNICATIONS, INC. DBA MACY'S
Red Lobster Management LLC     RL Investor Holdings LLC                                               Services Agreement                                                                                        0.00
                                                          MARKETING
Red Lobster Management LLC     RL Investor Holdings LLC   Aetna                                       Benefits Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AFAQ H SHAIK                                Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AFCO CREDIT CORPORATION                     Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AIG Insurance Company of Canada             Basis Ad&D Group Insurance Contract Dated 7/28/2014                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Master Service Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-20505 Dated 04/29/2022
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-18820 Dated 11/30/2021
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-19484 Dated 01/20/2022
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-23325 Dated 09/15/2022
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-18304 Dated 12/09/2021
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-28324 Dated 07/26/2023
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-15851 Dated 05/20/2021                                                          96,282.23
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-14498 Dated 05/26/2021
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-17878 Dated 10/01/2021
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-27659 Dated 06/12/2023
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-22343 Dated 09/19/2022
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-22345 Dated 09/14/2022
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Order Form Number: Q-25223 Dated 01/18/2023
Red Lobster Management LLC     RL Investor Holdings LLC   AIRSHIP GROUP, INC.                         Sales Order Dated 10/06/2020
Red Lobster Management LLC     RL Investor Holdings LLC   ALASKA SEAFOOD MARKETING INSTITUTE          Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ALIGHT SOLUTIONS LLC                        Master Services Agreement Dated 2/23/2021                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ALLIED WORLD INSURANCE COMPANY              Insurance Policy (First Excess Cyber) Policy Number 0311-5731                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ALSCO INC                                   Master Service Agreement                                                                             69,441.68
Red Lobster Management LLC     RL Investor Holdings LLC   ALTERITY GROUP LLC                          Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AMARANTA MARTINEZ                           Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AMAZON.COM                                  Services Agreement                                                                                   10,333.44
Red Lobster Management LLC     RL Investor Holdings LLC   AMERICAN GUARANTEE AND LIABILITY            Insurance Policy (First Excess Liability) Policy Number AEC-628199-02                                     0.00
                                                          AMERICAN INTERNATIONAL REINSURANCE
Red Lobster Management LLC     RL Investor Holdings LLC                                               Insurance Policy (First Excess Employment Practices) Policy Number 16153196                               0.00
                                                          COMPANY, LTD.
Red Lobster Management LLC     RL Investor Holdings LLC   American Registry for Internet Numbers      Vendor Agreement                                                                                          0.00
                                                          AMERICAN SOCIETY FOR TRAININD AND
Red Lobster Management LLC     RL Investor Holdings LLC                                               Services Agreement                                                                                        0.00
                                                          DEVELOPMENT INC
Red Lobster Management LLC     RL Investor Holdings LLC   AMERICAN WASTE CONTROL INC.                 Compactor Agreement For Restaurant #0191 Dated 09/30/2004                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AMERIPRISE TRUST COMPANY                    Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ANALYTICS ACCELERATORS LLC                  Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ANALYTICS QUOTIENT SERVICES INDIA PVT LTD   Master Service Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ANDREW JOHN MANIE                           Consulting Agreement                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ANT BRAINS CORPORATION                      It Contracts                                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ANTELOPE VALLEY SHOP LLC                    Services Agreement                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ANYBILL                                     Services Agreement Dated 08/22/2014                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Amendment 1 To The Service Agreement. Dated 08/07/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Amendment 2 To The Service Agreement Dated 09/05/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Exhibit A To The Agreement Dated 02/02/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Exhibit A To The Agreement Dated 08/29/2016
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Exhibit A To The Agreement Dated 02/16/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Services Agreement And Statement Of Work Dated 05/13/2016
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Attachment To It Services Agreement- Attachment A 11 Statement Of Work Dated 02/13/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Attachment To It Services Agreement Attachment A 16 Statement Of Work Dated 09/11/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Statement Of Work 15 Dated 09/05/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Attachment To It Services Agreement Attachment A 18 Statement Of Work Dated 09/11/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                            Attachment To It Services Agreement - Attachment A-3 Statement Of Work Dated 03/18/2019




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RED LOBSTER
Assigned Executory Contracts




              Debtor                         Assignee                        Counterparty                                                                          Description of Agreement                       Final Cure Amount     A
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS LLC                              Attachment To It Services Agreement- Attachment A-5 Statement Of Work Dated 07/19/2021
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             Attachment To It Services Agreement Attachment A-17 Statement Of Work. Dated 09/11/2023
                                                                                                                                                                                                                            73,260.00
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             Exhibit A To The Agreement Dated 06/07/2017
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 02/01/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 04/03/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 08/21/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 09/18/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 09/25/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 09/27/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 10/10/2022
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 10/17/2022
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 02/22/2022
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 07/25/2022
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 11/11/2020
Red Lobster Management LLC     RL Investor Holdings LLC   APEX SYSTEMS, LLC                             It Services Agreement Dated 08/28/2023
Red Lobster Management LLC     RL Investor Holdings LLC   APIAN STRATEGIES LLC                          Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   APIS BUSINESS INTELLIGENCE LLC                Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   APP SOC INC.                                  Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   APPLE STUDIOS LLC                             Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   APPLIED PREDICTIVE TECHNOLOGIES, INC.         It Contracts                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   APPS ASSOCIATES LLC                           Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ARCH INSURANCE COMPANY                        Insurance Policy (Arch Essential Excess Policy) Policy Number Abx1000391-00                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ARCHWAY MARKETING SERVICES INC                Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Arin                                          Vendor Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ARLENE HARD                                   Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ARAMARK / Vestis                              Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ASSET MANAGEMENT TECHNOLOGIES (AKA MRI)       Master Order Form Agreement Dated 12/30/2016                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ASSET MANAGEMENT TECHNOLOGIES INC             Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ASTUTE INC.                                   Customer Order Dated 07/12/2021                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ASTUTE, INC                                   Master Agreement Dated 07/07/2014
Red Lobster Management LLC     RL Investor Holdings LLC   ASTUTE, INC                                   Customer Order Dated 02/09/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ASTUTE, INC.                                  Customer Order Dated 08/03/2020                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ASTUTE, INC.                                  Customer Order Dated 05/03/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ASTUTE, INC.                                  Customer Order Dated 05/11/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ATHOS GROUP LLC                               Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ATLANTIC LOGISTICS INC.                       Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ATLAS VAN LINES INC                           Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ATOM TECH, INC.                               Master Services Agreement                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ATOM TECH, INC.                               Statement of Work                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AUDIO VISUAL INNOVATIONS INC                  Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AUGEO CLO INC.                                Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AUTH0, INC.                                   Sales Order Dated 10/13/2020
Red Lobster Management LLC     RL Investor Holdings LLC   AUTH0, INC.                                   Sales Order Dated 06/25/2019                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AUTH0, INC.                                   Identity Management Platform Subscription Agreement Dated 06/25/2019
Red Lobster Management LLC     RL Investor Holdings LLC   AUTOMATED DATA PROCESSING TECHNICIANS INC Master Service Agreement                                                                                                   292.55
Red Lobster Management LLC     RL Investor Holdings LLC   AUTOMOX INC.                                  Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AVANADE INC.                                  Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AVtech                                        Vendor Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AWX                                           Vendor Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AXA XL - PROFESSIONAL INSURANCE               Insurance Policy (Excess Directors And Officers Liability - Run Off Policy) Policy Number Elu 196981-24
                                                                                                                                                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AXA XL - PROFESSIONAL INSURANCE               Insurance Policy (Excess Directors And Officers Liability) Policy Number Elu 196981-24
Red Lobster Management LLC     RL Investor Holdings LLC   AXIS EXCESS INSURANCE                         Insurance Policy (Second Excess Cyber) Policy Number P-001-001294526-01                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AXIS INSURANCE COMPANY                        Insurance Policy (Second Excess Directors And Officers Liability) Policy Number P-001-000411104-03                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   AXONIOUS, INC.                                Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   B LINGO COMMUNICATIONS SDN BHD                Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BADIA SPICES INC.                             License Agreement                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BADIA SPICES, INC.                            Licensee Agreement Dated 7/28/2014                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BALANCED PANTRY, LLC                          Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        The Master Services Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        The Premium Gift Card Processing Agreement Dated 10/15/2018
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Amendment No. 12 Emv Addendum - User Acceptance And Regression Testing Dated 05/17/2019
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Amendment No. 4 Emv Addendum - User Acceptance And Regression Testing Dated 02/27/2017
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Amendment No. 5 Of The Master Services Agreement Dated 03/09/2017
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Amendment No. 7 Of The Master Services Agreement Dated 11/29/2017
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Amendment No. 1 Of The Master Services Agreement Dated 04/07/2015
                                                                                                                                                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Amendment No. 3 Emv Addendum - User Acceptance And Regression Testing Dated 05/25/2016
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Amendment No. 6 To The Master Services Agreement Dated 07/06/2017
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Amendment No. 8 Of The Master Services Agreement Dated 04/25/2018
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Amendment No. 10 Of The Master Services Agreement Dated 11/05/2018
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Statement Of Work No. 1 User Acceptance And Regression Testing Dated 02/17/2022
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Master Services Agreement Dated 08/22/2014
Red Lobster Management LLC     RL Investor Holdings LLC   BANC OF AMERICA MERCHANT SERVICES, LLC        Premium Gift Card Processing Agreement Dated 07/28/2014
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA                               Amendment No. 2 Data File Manager Addendum To Master Services Agreement Dated 06/30/2015
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA                               Amendment No. 4 Emv Addendum - User Acceptance And Regression Testing Dated 02/27/2017
                                                                                                                                                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA                               Amendment No. 5 Of The Master Services Agreement Dated 03/09/2017
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA                               Amendment No. 7 Of The Master Services Agreement Dated 11/29/2017
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA MERCHANT SERVICES, LLC.       Amendment No. 2 Data File Manager Addendum To Master Services Agreement Dated 06/30/2015                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA, N.A.                         Amendment No. 12 Emv Addendum - User Acceptance And Regression Testing Dated 05/17/2019                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA, N.A.                         Amendment No. 3 Emv Addendum - User Acceptance And Regression Testing Dated 05/25/2016                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA, N.A.                         Master Services Agreement Dated 08/22/2014                                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA, N.A.,                        Amendment No. 11 Of The Master Services Agreement Dated 10/05/2023                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA, NA                           Amendment No. 6 To The Master Services Agreement Dated 07/06/2017                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA, NA                           Amendment No. 8 Of The Master Services Agreement Dated 04/25/2018                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA, NA                           Amendment No. 10 Of The Master Services Agreement Dated 11/05/2018                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BANK OF AMERICA, NA                           Statement Of Work No. 1 User Acceptance And Regression Testing Dated 02/17/2022                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BARCLAYS BANK PLC                             Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BARKLEY, INC.                                 Advertising Agency Services Agreement Dated 07/01/2022                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BCD M&I LLC                                   Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BCD TRAVEL USA LLC                            Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BEACON HILL STAFFING GROUP, LLC               Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BEAUTIFUL DAY PRODUCTIONS LLC                 Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BELL CANADA                                   Master Service Agreement                                                                                               190.23
Red Lobster Management LLC     RL Investor Holdings LLC   BENEFITED, LLC                                Professional Service Agreement - Program Summary Dated 09/08/2022                                                      278.87
Red Lobster Management LLC     RL Investor Holdings LLC   BENJAMIN M JOHNSON LLC                        Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BENTON STOUT                                  Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BERA                                          Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BEYONDTRUST SOFTWARE INC                      It Services Agreement Dated 06/29/2016                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BFT ENTERTAINMENT, LLC                        Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BILLIE NARDOZZI                               Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BLACK BOX INTELLIGENCE                        Order Form Dated 06/01/2023                                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BLACK HILLS INFORMATION SECURITY LLC          It Services Agreement Dated 02/19/2020                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BLACKBOARD INC. (AKA BBONE)                   Master Service Agreement                                                                                                 0.00
RLSV, Inc.                     RLSV II LLC                BLACKHAWK ENGAGEMENT SOLUTIONS                Merchant Agreement Dated 01/22/2018                                                                                    325.63
Red Lobster Management LLC     RL Investor Holdings LLC   BLACKHAWK NETWORK INC                         Services Agreement                                                                                                  35,764.03
Red Lobster Management LLC     RL Investor Holdings LLC   BLACKHAWK US                                  Us Card Pariticipation Agreement Dated 10/10/2017                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BLINDSTER INC                                 Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BLOOMBERG INDUSTRY GROUP INC.                 Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BLUE CROSS AND BLUE SHIELD OF FLORIDA INC     Administrative Services Agreement Dated 01/01/2018                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Blue Shock                                    Executive Search Agreement                                                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BLUE WAVE RESOURCE PARTNERS LLC               Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Bluespan                                      Vendor Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BOILER & PROPERTY CONSULTING LLC              Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BOLD ORANGE COMPANY LLC                       Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BOYS & GIRLS CLUB OF FARMINGTON               Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRAND SYSTEMS INC.                            It Contracts                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRANDI MILLOY INC.                            Master Service Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRASK ENTERPRISES, INC.                       Compactor Agreement For Restaurant #0452 Dated 05/01/2009                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRAVE SOFT TECH INC                           It Services Agreement Dated 01/25/2021
                                                                                                                                                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRAVE SOFT TECH INC                           Attachment A-1: Statement Of Work Dated 01/25/2021
Red Lobster Management LLC     RL Investor Holdings LLC   BRIGHT ROAD PRODUCTIONS, INC                  Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRIGHTHOUSE NETWORKS LLC                      Services Agreement                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRINK’S, INCORPORATED                         Amendment To Services Agreement Dated 08/01/2012                                                                       767.76
Red Lobster Management LLC     RL Investor Holdings LLC   BRINKS CANADA LIMITED                         Acquisition Agreement Dated 08/08/2014                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRINK'S CANADA LIMITED / BRINKS CANADA LIMITEERider 2 Dated 09/12/2016                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRINK'S U.S.                                  Services Agreement Dated 11/13/2014
                                                                                                                                                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRINK'S U.S.                                  Service Agreement Dated 08/01/2009
Red Lobster Management LLC     RL Investor Holdings LLC   BRINK'S US A DIVISION OF BRINKS INCORPORATED Services Agreement Dated 11/13/2014 Plus Amendments                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   BRONIEC ASSOCIATES, INC.                      Master Service Agreement                                                                                                 0.00




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                                                         Filed 10/11/24
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RED LOBSTER
Assigned Executory Contracts




              Debtor                                Assignee                             Counterparty                                                                             Description of Agreement   Final Cure Amount     A
Red Lobster Management LLC            RL Investor Holdings LLC         BUDGET TRUCK RENTAL LLC                           Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         BULLETIN INTELIGENCE LLC                          Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         BUSINESS EXPRESS COURIER SERVICES INC             Services Agreement                                                                               512.91
Red Lobster Management LLC            RL Investor Holdings LLC         BUSINESS FOR SOCIAL RESPONSIBLITY                 Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         BUYATAB ONLINE INC.                               Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         BUYER ADVERTISING INC                             Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         BUYER ADVERTISING, INC.                           It Services Agreement October 9, 2017                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         C&S PRESS, INC                                    Services Agreement Dated 02/27/2017                                                                0.00
Red Lobster Management LLC            RL Investor Holdings LLC         C3                                                Vendor Agreement                                                                                   0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CAMERON HENDERSON                                 Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CARD CONNECT                                      Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CARDFREE, INC.                                    Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CARDLYTICS INC.                                   Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CAREER ARC GROUP LLC                              Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CARIBBEAN SUSTAINABLE FISHIRIES USA INC.          Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CASHSTAR INC.                                     Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CASTLES TECHNOLOGY                                Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CATAPULT SYSTEMS                                  Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CBRE INC                                          Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CBS TELEVISION STUDIOS                            Supply Agreement                                                                                   0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CCH A WOLTERS KLUWER BUSINESS                     Services Agreement Dated 07/16/2021                                                                0.00
Red Lobster International Holdings, LLCRL International Holdings LLC   Celux Holdings Limited                            Vendor Agreement                                                                                   0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CENTRAL FLORIDA COPY CTR                   Services Agreement                                                                                      512.50
Red Lobster Management LLC            RL Investor Holdings LLC         CENTRAL FLORIDA PRESS                      Services Agreement                                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CENTRIC                                    Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CENTRIC ACTUARIAL SOLUTIONS, LLC           Services Agreement Dated 01/21/2015                                                                       0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CENTURYLINK DBA LUMEN TECHNOLOGIES         Master Service Agreement                                                                             55,589.52
Red Lobster Management LLC            RL Investor Holdings LLC         CERNA SOLUTIONS                            Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CHAD BYERLY PHOTOGRAPHY                    License Agreement                                                                                         0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CHAIN BRANDS INC                           Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CHANCEY'S TOWING                           Services Agreement                                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CHARGEPOINT INC                            Services Agreement                                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         Charter                                    Services Agreement                                                                                      283.07
Red Lobster Management LLC            RL Investor Holdings LLC         CHASE PAYMENTECH                           Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CHECK THE GATE PRODUCTIONS                 Services Agreement                                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CHEESECAKE FACTORY INC                     Services Agreement                                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CHEQUED.COM                                Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CHEQUED.COM (NKA AND SEE OUTMATCH)         Services Agreement                                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CIC PLUS, INC.                             Services Agreement Dated 01/09/2018                                                                       0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CINGULAR AT&T                              Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CINTAS CORPORATION NO 2                    Master Service Agreement                                                                            346,119.93
Red Lobster Management LLC            RL Investor Holdings LLC         CISION (FKA PR NEWSWIRE)                   Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CITRUS SPRINGS GROUP LLP                   Services Agreement                                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CLARITY CONSULTING INC                     Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CLASS ACTION CAPITAL RECOVERY LLC          Services Agreement                                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CLIFTONLARSON ALLEN                        Services Agreement Dated 04/04/2019                                                                       0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CLIFTONLARSONALLEN LLP                     Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CM SYSTEMS LLC                             Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CMS PAYMENTS INTELLIGENCE INC              Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CNL PLAZA LTD                              Services Agreement                                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COBBS ALLEN CAPITAL LLC                    Services Agreement                                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COGENSIA, LLC                              Master Service Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COLLABERA, INC.                            Master Service Agreement                                                                                  0.00
                                                                       COLLEGE OF ENGINEERING AND COMPUTER SCIENCE
Red Lobster Management LLC            RL Investor Holdings LLC                                                    Master Service Agreement                                                                                  0.00
                                                                       INTERDISCIPLINARY DESIGN PROGRAM
Red Lobster Management LLC            RL Investor Holdings LLC         COLUMBIA CASUALTY COMPANY                  Insurance Policy (Property) Policy Number Rmp 7035039490
                                                                                                                                                                                                                            0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COLUMBIA CASUALTY COMPANY                  Insurance Policy (Cyber) Policy Number 596488025
                                                                       COMBINED RESOURCE SOLUTIONS, INC./CREATIVE
Red Lobster Management LLC            RL Investor Holdings LLC                                                    Exit Interview Services Agreements                                                                        0.00
                                                                       RESTAURANT SOLUTIONS, INC. (CRS
                                                                       COMCAST CABLE COMMUNICATIONS MANAGEMENT,
Red Lobster Management LLC            RL Investor Holdings LLC                                                    First Amendment Dated 09/15/2021
                                                                       LLC
                                                                       COMCAST CABLE COMMUNICATIONS MANAGEMENT,
Red Lobster Management LLC            RL Investor Holdings LLC                                                  Amendment No. 2 Dated 02/25/2021
                                                                       LLC
                                                                       COMCAST CABLE COMMUNICATIONS MANAGEMENT,
Red Lobster Management LLC            RL Investor Holdings LLC                                                  Amendment No. 1 Dated 01/29/2021
                                                                       LLC
                                                                       COMCAST CABLE COMMUNICATIONS MANAGEMENT,
Red Lobster Management LLC            RL Investor Holdings LLC                                                  Amendment No. 3 Dated 06/30/2021
                                                                       LLC
                                                                       COMCAST CABLE COMMUNICATIONS MANAGEMENT,
Red Lobster Management LLC            RL Investor Holdings LLC                                                  Amendment No. 4 Dated 12/13/2021
                                                                       LLC                                                                                                                                             89,542.31
                                                                       COMCAST CABLE COMMUNICATIONS MANAGEMENT,
Red Lobster Management LLC            RL Investor Holdings LLC                                                  Amendment No. 6 Dated 05/17/2022
                                                                       LLC
                                                                       COMCAST CABLE COMMUNICATIONS MANAGEMENT,
Red Lobster Management LLC            RL Investor Holdings LLC                                                  Amendment No. 5 Dated 02/22/2022
                                                                       LLC
                                                                       COMCAST CABLE COMMUNICATIONS MANAGEMENT,
Red Lobster Management LLC            RL Investor Holdings LLC                                                  Amendment No. 7 Dated 06/14/2022
                                                                       LLC
                                                                       COMCAST CABLE COMMUNICATIONS MANAGEMENT,
Red Lobster Management LLC            RL Investor Holdings LLC                                                  Managed Services Dated 04/11/2019
                                                                       LLC
                                                                       COMCAST CABLE COMMUNICATIONS MANAGEMENT,
Red Lobster Management LLC            RL Investor Holdings LLC                                                  Managed Services Dated 10/12/2020
                                                                       LLC
Red Lobster Management LLC            RL Investor Holdings LLC         COMCAST ENTERPRISE MANAGED SERVICES               Master Services Agreement Dated 03/29/2019                                                         0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COMCAST ENTERPRISE SERVICES                       Sales Order Form Dated 06/15/2022
Red Lobster Management LLC            RL Investor Holdings LLC         COMCAST ENTERPRISE SERVICES                       Sales Order Form Dated 08/10/2023                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COMCAST ENTERPRISE SERVICES                       Sales Order Form Dated 04/18/2022
Red Lobster Management LLC            RL Investor Holdings LLC         COMM WORKS INVESTMENT HOLDING COMPANY             Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COMMER BEVERAGE CONSULTING                        Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COMPETITRACK, INC.                                Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COMPSYCH CORPORATION                              Administrative Services Agreement Dated 01/01/2015
                                                                                                                                                                                                                            0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COMPSYCH CORPORATION                              Business Associate Agreement Dated 03/05/2015
Red Lobster Management LLC            RL Investor Holdings LLC         COMPUCOM SYSTEMS, INC                             Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COMPUSENSE INC                                    Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COMPUTER AID, INC (CAI)                           Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COMPUWARE HOLDING CORP                            Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COMVOX SYSTEMS LLC                                Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONCEPTA TECHNOLOGIES LLC                         Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONNECTRIA CORPORATION                            Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONNOR CODDINGTON                                 Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONQUEST TECHNOLOGY SERVICES                      Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONSOLIDATED CATFISH PRODUCER LLC                 Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONSTANT CONTACT                                  Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONSTELLATION (ENERGY)                            Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONTINENTAL AMERICAN INSURANCE COMPANY            Master Application For Group Accidental Injury Dated 01/01/2019
Red Lobster Management LLC            RL Investor Holdings LLC         CONTINENTAL AMERICAN INSURANCE COMPANY            Master Application For Group Critical Illness Insurance Dated 01/01/2019                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONTINENTAL AMERICAN INSURANCE COMPANY            Group Master Application Dated 07/28/2014
Red Lobster Management LLC            RL Investor Holdings LLC         CONTINENTAL INSURANCE                             Insurance Policy (Lead Umbrella) Policy Number 7036157702                                          0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONTINENTAL MILLS INC                             License Agreement                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONTINENTAL MILLS, INC.                           License Agreement Dated 09/13/2012
Red Lobster Management LLC            RL Investor Holdings LLC         CONTINENTAL MILLS, INC.                           Second Amendment To The License Agreement Dated 12/16/2013
Red Lobster Management LLC            RL Investor Holdings LLC         CONTINENTAL MILLS, INC.                           First Amendment To The License Agreement Dated 02/27/2013                                          0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONTINENTAL MILLS, INC.                           License Agreement Dated 09/13/2012
Red Lobster Management LLC            RL Investor Holdings LLC         CONTINENTAL MILLS, INC.                           Master Intellectual Property License Agreement Dated 08/05/2021
Red Lobster Management LLC            RL Investor Holdings LLC         CONTRAST SECURITY, INC.                           End User Terms Of Service Dated 05/14/2019                                                         0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CONVERSANT LLC                                    Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COOPERATIVE PURCHASING GROUP LLC                  Master Service Agreement                                                                       2,500.00
Red Lobster Management LLC            RL Investor Holdings LLC         CORNERSTONE ONDEMAND, INC.                        Order Form Dated 08/08/2023
Red Lobster Management LLC            RL Investor Holdings LLC         CORNERSTONE ONDEMAND, INC.                        Master Agreement Dated 05/23/2023
Red Lobster Management LLC            RL Investor Holdings LLC         CORNERSTONE ONDEMAND, INC.                        Order Form Dated 09/26/2023                                                                        0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CORNERSTONE ONDEMAND, INC.                        Statement Of Work No. 3 Dated 09/22/2023
Red Lobster Management LLC            RL Investor Holdings LLC         CORNERSTONE ONDEMAND, INC.                        Statement Of Work Dated 08/11/2023
Red Lobster Management LLC            RL Investor Holdings LLC         CORPORATE CREATIONS INTERNATIONAL INC.            Registered Agent Services Agreement Dated 09/15/2014                                             128.00
Red Lobster Management LLC            RL Investor Holdings LLC         COVINGLOR & BUFLING LLP                           Services Agreement                                                                                 0.00
Red Lobster Management LLC            RL Investor Holdings LLC         COX COMMUNICATIONS LAS VEGAS, INC.                Telecommunications Agreement                                                                       0.00
Red Lobster Management LLC            RL Investor Holdings LLC         Cradlepoint, Inc.                                 Services Agreement
                                                                                                                                                                                                                            0.00
Red Lobster Management LLC            RL Investor Holdings LLC         Cradlepoint, Inc.                                 Services Agreement
Red Lobster Management LLC            RL Investor Holdings LLC         CREATIVE CIRCLE, LLC                              Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CREATIVE FINANCIAL STAFFING LLC                   Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CREATIVE RESTAURANT SOLUTIONS INC                 Services Agreement                                                                               727.00
Red Lobster Management LLC            RL Investor Holdings LLC         CROWDLY, INC.                                     It Contracts                                                                                       0.00
Red Lobster Management LLC            RL Investor Holdings LLC         CROWDTAP, INC.                                    Master Service Agreement                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         Crown Castle Fiber                                Vendor Agreement                                                                                   0.00




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RED LOBSTER
Assigned Executory Contracts




              Debtor                         Assignee                        Counterparty                                                                     Description of Agreement                          Final Cure Amount     A
Red Lobster Management LLC     RL Investor Holdings LLC   CRYSTAL KENDALL DBA KENDALL               Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   CT CORPORATION SYSTEM                     License Agreement                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   CU SOLUTIONS GROUP INC                    Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   CULINAIRE STAFFING LLC.                   Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   CULINARY CONCEPTS GROUP, LLC              Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   CUMULUS BROADCASTING, LLC                 Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   CURION LLC                                Master Service Agreement                                                                                                   0.00
                                                          CURLEY & PYNN PUBLIC RELATIONS MANAGEMENT
Red Lobster Management LLC     RL Investor Holdings LLC                                             Master Service Agreement                                                                                                   0.00
                                                          INC.
Red Lobster Management LLC     RL Investor Holdings LLC   CVENT, INC.                               Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   CYLANCE INC.                              License Agreement                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DARDEN CORPORATION                        Services Agreement
                                                                                                                                                                                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DARDEN CORPORATION                        License Agreement
RLSV, Inc.                     RLSV II LLC                Darden, SV                                Gift Card Agreement                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DARIO PIGNATELLI PHOTOGRAPHY              Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DATABANK IMX, LLC                         Services Agreement Dated 01/16/2015                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DATACETTE COMPANY                         Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DATASSENTIAL INC                          Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DATASSENTIAL, INC.                        Subscription Agreement Dated 10/17/2021 Plus Amendments                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DATATRANS LTD                             Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DAVACO INC                                Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DAVID DOBBS ENTERPRISES INC               Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DAVID HIGGINS                             Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DAYM GOOD ENTERTAINMENT INC.              Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DB ADVISOR LLC                            Services Agreement Dated 12/07/2015                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DB PERFORMANCE INC                        Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DC COLLECTIVE LLC                         Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DCM STAFFING LLC                          Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DDN PICTURES, INC.                        Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DEBORAH HARBIN                            Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DEEPWATCH, INC.                           Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Delicias Orange                           Vendor Agreement                                                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DELOITTE & TOUCHE LLP                     Services Agreement
                                                                                                                                                                                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DELOITTE & TOUCHE LLP                     Engagement Letter Dated 04/10/2023
Red Lobster Management LLC     RL Investor Holdings LLC   Delta Dental                              Benefits Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DEMISTO INC.                              Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DEPENDABLE AUTO SHIPPERS, INC.            Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DESTINATION NASHVILLE                     Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DETERMINISTICS INC.                       Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DEX IMAGING, INC.                         It Services Agreement Dated 01/29/2021
                                                                                                                                                                                                                           3,262.35
Red Lobster Management LLC     RL Investor Holdings LLC   DEX IMAGING, INC.                         Statement Of Work A-L Dated 01/29/2021
Red Lobster Management LLC     RL Investor Holdings LLC   DIANA MARIE SHINN                         Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DIETRICH LLC                              Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DIRECT SOURCE SEAFOOD                     Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DIRECTIONS RESEARCH INC                   Master Service Agreement                                                                                              24,860.00
Red Lobster Management LLC     RL Investor Holdings LLC   DIRECTIONS RESEARCH INC.                  Professional Services Agreement Dated 07/09/2014                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DIRECTV, LLC                              Commercial Viewing Agreement Dated 06/30/2013
                                                                                                                                                                                                                          76,749.48
Red Lobster Management LLC     RL Investor Holdings LLC   DIRECTV, LLC                              Commercial Viewing Agreement Dated 04/02/2012
Red Lobster Management LLC     RL Investor Holdings LLC   DISCOVER PRODUCTS INC.                    Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DISCOVERY COMMUNICATIONS, LLC             Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DIVERSEY, INC.                            Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DIVERSIFIED COMMUNICATIONS                Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DMX LLC                                   Master Service Agreement                                                                                             112,905.82
Red Lobster Management LLC     RL Investor Holdings LLC   DOCUSIGN, INC.                            Order Form Dated 12/17/2020                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DOCUSIGN, INC.                            Order Form Dated 11/15/2011
Red Lobster Management LLC     RL Investor Holdings LLC   DOCUSIGN, INC.                            Order Form Dated 12/17/2014
Red Lobster Management LLC     RL Investor Holdings LLC   DOCUSIGN, INC.                            Order Form Dated 12/02/2021                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DOCUSIGN, INC.                            Order Form Dated 12/27/2022
Red Lobster Management LLC     RL Investor Holdings LLC   DOCUSIGN, INC.                            Order Form Dated 12/27/2023
Red Lobster Management LLC     RL Investor Holdings LLC   DOIT INTERNATIONAL LTD.                   Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DONNELLY COMMUNICATIONS                   Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DOOR DASH INC.                            Amendment No. 6 To Doordash Agreement Dated 10/20/2023
Red Lobster Management LLC     RL Investor Holdings LLC   DOOR DASH INC.                            Amendment No. 8 To The Delivery & Promotion Agreement Dated 03/26/2024
Red Lobster Management LLC     RL Investor Holdings LLC   DOORDASH, INC.                            Amendment No. 7- Alcohol Addendum Dated 11/07/2023
Red Lobster Management LLC     RL Investor Holdings LLC   DOORDASH, INC.                            Delivery And Promotion Agreement
                                                                                                                                                                                                                       1,057,204.51
Red Lobster Management LLC     RL Investor Holdings LLC   DOORDASH, INC.                            Amendment No. 2 To Delivery And Promotion Agreement Dated 12/17/2020
Red Lobster Management LLC     RL Investor Holdings LLC   DOORDASH, INC.                            Electronic Record Of Contracts Dated 10/21/2021
Red Lobster Management LLC     RL Investor Holdings LLC   DOORDASH, INC.                            Amendment No. 5 To Delivery And Promotion Agreement Dated 09/28/2023
Red Lobster Management LLC     RL Investor Holdings LLC   DOORDASH, INC.                            Amendment No. 4 To Delivery And Promotion Agreement Dated 09/01/2023
Red Lobster Management LLC     RL Investor Holdings LLC   DOORDASH,INC                              Delivery & Promotion Agreement Dated 01/11/2018                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DOUBLE TEASE LLC                          Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DOWNTOWN DISCOUNT PRODUCE INC.            Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DR PEPPER/SEVEN UP, INC.                  Fountain Agreement Dated 06/30/2014                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DR. PEPPER SEVEN UP INC                   Amendment To Fountain Support Agreement Dated 01/23/2024                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DRESS THE DRINK, LLC                      Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DRIVEN ACQUISITION INC                    Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DRMG MEDIA LTD                            Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DUFF & PHELPS HOLDINGS CORPORATION        Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DUNBAR ARMORED INC                        Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DYNATA LLC                                It Services Agreement Dated 10/30/2020                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   DYNATA, LLC                               Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Dynatrace LLC                             Master License and Services Agreement                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EAN SERVICES LLC                          Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EAN SERVICES, LLC                         Global Corporate Services Dated 01/01/2015                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EBIQUITY INC.                             Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Eclipse                                   Vendor Agreement                                                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ECOVA INC.                                Total Energy & Sustainability Service Agreement                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ECOVA, INC.                               Total Energy & Sustainability Service Agreement Dated 07/28/2019
Red Lobster Management LLC     RL Investor Holdings LLC   ECOVA, INC.                               Total Energy & Sustainability Service Agreement Dated 07/28/2014                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ECOVA, INC.                               Amendment No. 1 To Total Energy & Sustainability Service Agreement Dated 07/01/2019
Red Lobster Management LLC     RL Investor Holdings LLC   EDGEWATER TECHNOLOGY-ZERO2TEN INC         Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EDGEWOOD PARTNERS INSURANCE CENTER        Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EGODITOR GMBH                             Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EGS ENGGIST & GRANDJEAN SOFTWARE SA       Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ELASTICSEARCH INC.                        Master Customer Agreement Dated 08/30/2019                                                                            30,979.64
Red Lobster Management LLC     RL Investor Holdings LLC   ELASTICSEARCH, INC                        Order Form Dated 05/27/2021
Red Lobster Management LLC     RL Investor Holdings LLC   ELASTICSEARCH, INC                        Order Form Dated 09/26/2023                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ELASTICSEARCH, INC                        Order Form Dated 01/17/2023
Red Lobster Management LLC     RL Investor Holdings LLC   ELATICSEARCH INC.                         Subscription Addendum Dated 08/30/2019                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ELEARNINGFORCE CORP. LLC                  Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ELECTRO WATCHMAN, INC.                    Monitoring Agreement Dated 09/19/2022                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EMAD MARWAN                               Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EMBARCADERO TECHNOLOGIES, INC.            Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EMKAY INC.                                Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EMPLIFI INC.                              Sales Order Dated 07/26/2023
                                                                                                                                                                                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EMPLIFI INC.                              Fixed Priced Engagement Dated 07/27/2023
Red Lobster Management LLC     RL Investor Holdings LLC   EMPLOYMENTGROUP INC                       Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EMPLOYMENTGROUP INC.                      Master Services Agreement Dated October 18, 2021                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EMPOW CYBER SECURITY INC.                 Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ENDURANCE ASSURANCE CORPORATION           Insurance Policy (Directors And Officers Difference In Conditions Liability) Policy Number Adl30052880900                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ENGIE                                     Services Agreement Dated 07/28/2014                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ENLIVEN, LLC                              Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ENTERPRISE FLEET MANAGEMENT, INC          Master Equity Lease Agreement Dated 08/18/2015                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ENTERPRISE FLEET MANAGEMENT, INC.         Statement Of Policy And Procedures Dated 07/16/2015                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ENTERPRISE FM TRUST                       Master Equity Lease Agreement Dated 08/18/2015                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ENTERPRISE FM TRUST,                      Master Equity Lease Agreement Dated 08/14/2015                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ENVIRONMENTAL HEALTH TESTING LLC          Services Agreement                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EPAX SYSTEMS, INC.                        Compactor Agreement For Restaurant #0186 Dated 02/23/2006                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EPB Fiber                                 Vendor Agreement                                                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EPLUS TECHNOLOGY                          It Services Agreement Dated 05/24/2023                                                                                   496.00
Red Lobster Management LLC     RL Investor Holdings LLC   EPLUS TECHNOLOGY, INC.                    Letter Agreement Dated 05/24/2023
                                                                                                                                                                                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EPLUS TECHNOLOGY, INC.                    Letter Agreement Dated 12/22/2023
Red Lobster Management LLC     RL Investor Holdings LLC   EPSILON DATA MANAGEMENT, LLC              Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EPSON AMERICA, INC.                       Master Service Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EQUIFAX WORKFORCE SOLUTIONS LLC           Universal Service Agreement Dated April 1, 2024 And All Amendments
Red Lobster Management LLC     RL Investor Holdings LLC   EQUIFAX WORKFORCE SOLUTIONS LLC           Universal Service Agreement Dated July 1, 2014 And All Amendments                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EQUIFAX WORKFORCE SOLUTIONS LLC           Service Agreement Dated 04/01/2024
Red Lobster Management LLC     RL Investor Holdings LLC   EQUINIX LLC                               Sales Order Dated 12/10/2014




                                                                                                                        Page 4 of 12
           Case 2:21-cv-04786-JAK-MAR
                Case 6:24-bk-02486-GER Document
                                       Doc 1140 56-1
                                                  Filed 09/06/24
                                                        Filed 10/11/24
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                                        Page ID #:555

RED LOBSTER
Assigned Executory Contracts




              Debtor                         Assignee                             Counterparty                                                                                    Description of Agreement   Final Cure Amount     A
Red Lobster Management LLC     RL Investor Holdings LLC   EQUINIX LLC                                                  Sales Order Dated 01/01/2019
Red Lobster Management LLC     RL Investor Holdings LLC   EQUINIX LLC                                                  Global Terms And Conditions Dated 12/10/2014                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EQUINIX LLC                                                  Sales Order Dated 10/14/2016
Red Lobster Management LLC     RL Investor Holdings LLC   EQUINIX LLC                                                  Sales Order Dated 11/28/2018
Red Lobster Management LLC     RL Investor Holdings LLC   ERNST & YOUNG                                                Services Agreement Dated 11/06/2014                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ERNST & YOUNG LLP                                            Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ETQ MANAGEMENT CONSULTANTS INC                               It Contracts                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EVANIOS LLC                                                  Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EVENTURES UNLIMITED INC                                      Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EVEREST INDEMNITY INSURANCE COMPANY                          Insurance Policy (Property) Policy Number Rp5p000227-231                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EVEREST NATIONAL INSURANCE COMPANY                           Insurance Policy (Directors And Officers Liability) Policy Number Pc5ex00582-221                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EXCENTUS CORPORATION                                         Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EXPRESS SCRIPTS, INC.                                        Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EZCATER, INC.                                                Amendment No. 1 To Attachment A-1 Statement Of Work Dated 02/14/2020
                                                                                                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   EZCATER, INC.                                                Services Agreement Dated 07/24/2019
Red Lobster Management LLC     RL Investor Holdings LLC   FACEBOOK, INC.                                               Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FACTIVA                                                      Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FASOLD GLOBAL CONSULTING LLC                                 Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FASTLY, INC.                                                 Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FEDERAL EXPRESS CORPORATION                                  Master Service Agreement                                                                        91,957.48
Red Lobster Management LLC     RL Investor Holdings LLC   FEDERAL INSURANCE COMPANY                                    Insurance Policy (Employed Lawyers Liability & Crime) Policy Number 8255-3603                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FERRARA JERUM INTERNATIONAL                                  Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FIELDPRINT - FINGERPRINTING                                  Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FIFTH THIRD BANK                                             Master Service Agreement                                                                        86,813.76
Red Lobster Management LLC     RL Investor Holdings LLC   FINANCIAL ENGINES ADVISORS                                   Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FINKEL, MARTWICK & COLSON                                    Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FIRECRACKER FILMS LIMITED                                    Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FIREMAN'S FUND INSURANCE COMPANY                             Insurance Policy (Layered Excess Liability) Policy Number Usl026022232                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FIRST ADVANTAGE - LEXIS NEXIS                                Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FIRST DATA MERCHANT SERVICES LLC                             Statement Of Work No. 1 User Acceptance And Regression Testing Dated 02/17/2022
                                                                                                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FIRST DATA MERCHANT SERVICES LLC                             Amendment No. 11 Of The Master Services Agreement Dated 10/05/2023
RLSV, Inc.                     RLSV II LLC                FIRST DATA RESOURCES, LLC                                    Amendment No. 3 To The Customer Agreement Dated 07/16/2021
RLSV, Inc.                     RLSV II LLC                FIRST DATA RESOURCES, LLC                                    Amendment No. 4 To The Customer Agreement Dated 07/28/2021                                           0.00
RLSV, Inc.                     RLSV II LLC                FIRST DATA RESOURCES, LLC                                    Amendment No. 5 To The Customer Agreement Dated 07/28/2021
RLSV, Inc.                     RLSV II LLC                First Data Resources, LLC (f/k/a Transaction Wireless, Inc.) Customer Agreement dated July 28, 2014                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FIRST INSURANCE FUNDING OF CANADA INC                        Services Agreement                                                                                   0.00
RLSV, Inc.                     RLSV II LLC                FISERV (GIFT CARDS US & CANADA)                              Customer Agreement Dated 07/28/2014                                                                  0.00
RLSV, Inc.                     RLSV II LLC                FISERV CN (CREDIT CARDS)                                     Customer Agreement Dated 10/13/2014                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FISERV US (CREDIT CARDS)                                     Master Services Agreement Dated 08/22/2014                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FISHBOWL INC                                                 Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FITFORCOMMERCE                                               Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FITNESS INTERACTIVE                                          Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FLEETMODE                                                    Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FLORIDA BLUE                                                 Health Policy Dated 01/01/2018
                                                                                                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FLORIDA BLUE                                                 Insurance Policy (Stop Loss Insurance) Policy Number Bcfl1073
Red Lobster Management LLC     RL Investor Holdings LLC   FOOD DONATION CONNECTION                                     Service Agreement Dated 08/04/2023                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FOOD DONATION CONNECTION LLC                                 Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FOODIE TRIBE                                                 Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FOODLOGIQ                                                    Master Service Agreement
                                                                                                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FOODLOGIQ                                                    Order Form Dated 02/11/2023
Red Lobster Management LLC     RL Investor Holdings LLC   FOODORA                                                      Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FOODSTYLING.COM INC                                          Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FORTRA LLC                                                   Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FOUNDRY.AI                                                   Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FOURTH ENTERPRISES LLC                                       Master Service Agreement                                                                           198.87
Red Lobster Management LLC     RL Investor Holdings LLC   FOURTH ENTERPRISES, LLC                                      Services Order Form                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FREEDOMPAY                                                   Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FREEMAN EXPOSITIONS                                          Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FREMANTLEMEDIA (DEADLIEST CATCH)                             Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FRONT RANGE PATROL                                           Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FRWD                                                         Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FSV PAYMENT SYSTEMS INC.                                     Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FTI CONSULTING                                               Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FULFILLMENT PARTNERS INC                                     Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FUNDSTREAM INC                                               Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   FUTURES COMPANY WORLDWIDE LLC                                Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GALE PARTNERS                                                Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GALLEY SOLUTIONS, INC.                                       Master Subscription Agreement Dated 09/13/2021                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GARDA CANADA SECURITY CORP                                   Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Garden Road Capital Advisors                                 Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GAVRISH COLLECTIBLES LLC                                     Master Service Agreement                                                                             0.00
                                                          GBT US LLC D/B/A AMERICAN EXPRESS GLOBAL
Red Lobster Management LLC     RL Investor Holdings LLC                                                                Services Agreement Dated 11/20/2017                                                                  0.00
                                                          BUSINESS TRAVEL
Red Lobster Management LLC     RL Investor Holdings LLC   GEORGE AKRAM                                                 Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GEORGE RANDALL WARD                                          Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GEOTAG INC.                                                  Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GERALD L LEDUC                                               Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GLADDING S. MARKUNAS LLC                                     Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GLOBAL CASH CARD, INC.                                       Services Agreement                                                                                   0.00
                                                          GLOBAL CORE SOFTWARE, A TRADENAME OF
Red Lobster Management LLC     RL Investor Holdings LLC                                                                Authorized Use Agreement Dated 09/21/1998                                                            0.00
                                                          GRANITE COMPLETE SOLUTIONS, LLC
Red Lobster Management LLC     RL Investor Holdings LLC   GLOBAL GHOST GEAR INITIATIVE                                 Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GLOBAL SUSTAINABLE SEAFOOD INITIATIVE                        Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GLOBAL TRUSTED ADVISORS (SEAFOOD INSPECTOR) Services Agreement                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GLOBIX SOLUTIONS LLC                                         Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GLOBOFORCE LIMITED DBA WORKHUMAN                             Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GNC CONSULTING, INC.                                         Form Of Attachment To It Services Agreement Dated 04/05/2023
                                                                                                                                                                                                                           77.50
Red Lobster Management LLC     RL Investor Holdings LLC   GNC CONSULTING, INC.                                         It Services Agreement Dated 10/07/2022
Red Lobster Management LLC     RL Investor Holdings LLC   GOCHE CONSULTING LLC                                         Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GoDaddy                                                      Vendor Agreement                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GOLDEN BARREL PRODUCTS (M SIMON ZOOK CO)                     Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GOLDNER ASSOCIATES INC                                       Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GOODWIN & ASSOCIATES HOSPITALITY SERVICES                    Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GOODWIN HOSPITALITY                                          Fee Agreement Dated 12/16/2014 And All Amendments
                                                                                                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GOODWIN HOSPITALITY                                          Fee Agreementstandards Dated 10/28/2021
Red Lobster Management LLC     RL Investor Holdings LLC   GOOGLE                                                       Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GoToAssist                                                   Vendor Agreement                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GOVDOCS INC                                                  Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GOVDOCS INC.                                                 Program Subscription License From 12/1/2023 - 11/30/2024                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GRAEBEL VAN LINES, INC.                                      Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GRAND OLE OPRY LLC                                           Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GREATAMERICA FINANCIAL SERVICES CORPORATIONCompactor Agreement For Restaurant #0265 Dated 10/29/2018
Red Lobster Management LLC     RL Investor Holdings LLC   GREATAMERICA FINANCIAL SERVICES CORPORATIONCompactor Agreement For Restaurant #0265 Dated 10/29/2018
Red Lobster Management LLC     RL Investor Holdings LLC   GREATAMERICA FINANCIAL SERVICES CORPORATIONCompactor Agreement For Restaurant #0329 Dated 10/29/2018
Red Lobster Management LLC     RL Investor Holdings LLC   GREATAMERICA FINANCIAL SERVICES CORPORATIONCompactor Agreement For Restaurant #0329 Dated 10/29/2018
Red Lobster Management LLC     RL Investor Holdings LLC   GREATAMERICA FINANCIAL SERVICES CORPORATIONCompactor Agreement For Restaurant #0424 Dated 10/29/2018                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GREATAMERICA FINANCIAL SERVICES CORPORATIONCompactor Agreement For Restaurant #0424 Dated 10/29/2018
Red Lobster Management LLC     RL Investor Holdings LLC   GREATAMERICA FINANCIAL SERVICES CORPORATIONCompactor Agreement For Restaurant #0557 Dated 10/29/2018
Red Lobster Management LLC     RL Investor Holdings LLC   GREATAMERICA FINANCIAL SERVICES CORPORATIONCompactor Agreement For Restaurant #0605 Dated 10/29/2018
Red Lobster Management LLC     RL Investor Holdings LLC   GREATAMERICA FINANCIAL SERVICES CORPORATIONCompactor Agreement For Restaurant #6217
Red Lobster Management LLC     RL Investor Holdings LLC   GREEN CABBAGE MARKETING, LLC                                 Subscription Agreement Dated 04/24/2023                                                          8,146.07
Red Lobster Management LLC     RL Investor Holdings LLC   GRUBFATHER INC                                               Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GRUBHUB HOLDINGS INC                                         It Services Agreement Dated 09/25/2017                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GRUBHUB HOLDINGS INC.                                        Amendment No. 1 To Attachment A-L Statement Of Work Dated 09/11/2018
Red Lobster Management LLC     RL Investor Holdings LLC   GRUBHUB HOLDINGS INC.                                        Amendment No. 2 To Attachment A-1 Dated 09/20/2021                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   GRUBHUB HOLDINGS INC.                                        It Services Agreement Dated 09/25/2017
Red Lobster Management LLC     RL Investor Holdings LLC   GUIDEPOINT SECURITY LLC                                      Attachment To It Services Agreement Dated 07/14/2016
Red Lobster Management LLC     RL Investor Holdings LLC   GUIDEPOINT SECURITY LLC                                      Red Lobster Services Agreement Dated 11/17/2014
Red Lobster Management LLC     RL Investor Holdings LLC   GUIDEPOINT SECURITY LLC                                      Services Agreement Dated 11/17/2014
Red Lobster Management LLC     RL Investor Holdings LLC   GUIDEPOINT SECURITY LLC                                      Attachment A-5: To It Services Agreement Dated 09/30/2020                                        9,920.25
Red Lobster Management LLC     RL Investor Holdings LLC   GUIDEPOINT SECURITY LLC                                      Threat & Attack Simulation Services Professional Services Dated 11/11/2020
Red Lobster Management LLC     RL Investor Holdings LLC   GUIDEPOINT SECURITY LLC                                      Attachment To It Services Agreement Dated 07/14/2015
Red Lobster Management LLC     RL Investor Holdings LLC   GUIDEPOINT SECURITY LLC                                      Sales Proposal Dated 12/13/2022
Red Lobster Management LLC     RL Investor Holdings LLC   HACKERONE INC                                                Master Service Agreement                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HALLMARK BUSINESS CONNECTIONS INC                            Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HANNA23 LLC                                                  Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HARRIS INSIGHTS & ANALYTICS LLC                              Services Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HARTFORD FIRE INSURANCE COMPANY                              Insurance Policy (Business Travel Accident) Policy Number 10-Gta-101873                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HARTFORD LIFE & ACCIDENT INSURANCE COMPANY Services Agreement                                                                                                     0.00




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RED LOBSTER
Assigned Executory Contracts




              Debtor                         Assignee                         Counterparty                                                                   Description of Agreement                                                             Final Cure Amount     A
Red Lobster Management LLC     RL Investor Holdings LLC   HARTO INC                                    Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HAVI GLOBAL SOLUTIONS LLC                    Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HEALTHTRUST PURCHASING GROUP LP              Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HEATHER HODGMAN                              Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HEI ST. LOUIS LLC (DBA THE WESTIN ST. LOUIS) Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HelloWorld                                   Vendor Agreement                                                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HERC RENTALS INC                             Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HERO CONTENT                                 Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HEWITT ASSOCIATES LLC                        Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HEWLETT-PACKARD COMPANY                      Print Services And Support Schedule Dated 04/30/2015
Red Lobster Management LLC     RL Investor Holdings LLC   HEWLETT-PACKARD COMPANY                      Amendment No. 3 To Print Services And Support Schedule Dated 09/17/2020
Red Lobster Management LLC     RL Investor Holdings LLC   HEWLETT-PACKARD COMPANY                      Amendment No. 4 To Print Services And Support Schedule Dated 03/02/2021                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HEWLETT-PACKARD COMPANY                      Amendment No. 2 Dated 06/08/2020
Red Lobster Management LLC     RL Investor Holdings LLC   HEWLETT-PACKARD COMPANY                      Amendment No. 1 To Print Services And Support Schedule Dated 04/03/2020
Red Lobster Management LLC     RL Investor Holdings LLC   HIPAAX LLC                                   Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HIZZONER, LLC                                Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HJW EXECUTIVE SEARCH LLC                     Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HODGES-MACE LLC                              Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HOTEL APPRAISALS LLC                         Master Service Agreement                                                                                                                                  0.00
                                                          HOWROYD WRIGHT EMPLOYMENT AGENCY INC (DBA
Red Lobster Management LLC     RL Investor Holdings LLC                                                Master Service Agreement                                                                                                                                  0.00
                                                          APPLE ONE)
Red Lobster Management LLC     RL Investor Holdings LLC   HRMALL INC (AFFILIATE OF IQ BACKOFFICE)      Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HSA BANK                                     Employer Enrollment Agreement Dated 01/17/2018
                                                                                                       Health Plan                                                                                                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HSA BANK
                                                                                                       Business Associate Addendum Dated 12/20/20
Red Lobster Management LLC     RL Investor Holdings LLC   HSA BANK®                                    Employer Enrollment Agreement Dated 12/20/2017                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HSP EPI ACQUISITION                          Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HUGHES NETWORK SYSTEMS LLC                   Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HUMDINNER INC                                Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HYATT LEGAL PLANS, INC.                      Agreement Dated 01/01/2015                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HYATT REGENCY TAMAYA RESORT & SPA            Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   HYDE PARK GROUP LLC                          Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IANYWHERE SOLUTIONS INC                      License Agreement                                                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IBM CREDIT LLC                               Transaction Finance Agreement Dated 02/13/2019                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ICIMS, INC                                   New Business Order Form Dated 05/30/2023
                                                                                                                                                                                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ICIMS, INC                                   Statement Of Work Dated 05/30/2023
Red Lobster Management LLC     RL Investor Holdings LLC   ICIMS, INC.                                  Subscription Agreement Dated 05/30/2023                                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ICON INTERNATIONAL INC                       Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ICONTROL                                     Services Agreement Dated 08/01/2017                                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ICONTROL SYSTEMS USA LLC                     Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ID WatchDog Inc.                             Group Plan Agreement Dated 1/1/2017                                                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IDOCUMENTS LLC DBA ICERTAINTY LLC            Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IMPACTWEATHER, INC.                          Master Services Agreement Dated 07/17/2014                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IMPRACTICAL PRODUCTIONS LLC                  Master Service Agreement                                                                                                                                  0.00
RLSV, Inc.                     RLSV II LLC                INCOMM                                       Product Provider Master Agreement Dated 07/28/2014                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INCOMM CARD PARTICIPATION                    Card Participation Agreement Dated 07/09/2019                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INCONTACT INC                                Services Agreement                                                                                                                                   24,520.14
Red Lobster Management LLC     RL Investor Holdings LLC   INDEED, INC.                                 Subscription Service Agreement Dated 3/31/2024                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INFINITE TALENT, INC                         Master Subscription Agreement Dated 06/01/2022                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INFLIGHT CORPORATION                         Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INFORMATICA CORPORATION                      License To Use Informatica Software Dated 10/31/2014                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INFOSYS                                      Services Agreement Dated 05/12/2015                                                                                                                  13,483.85
Red Lobster Management LLC     RL Investor Holdings LLC   INFOSYS BPM LIMITED                          Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INGENICO INC                                 Axium Hardware And Software Schedule Dated 09/20/2023
Red Lobster Management LLC     RL Investor Holdings LLC   INGENICO INC                                 Acknowledgement Of Bill And Hold Transaction Dated 05/23/2023
Red Lobster Management LLC     RL Investor Holdings LLC   INGENICO INC                                 Service Schedule Dated 09/20/2023
Red Lobster Management LLC     RL Investor Holdings LLC   INGENICO INC                                 Master Agreement Dated 09/20/2023
Red Lobster Management LLC     RL Investor Holdings LLC   INGENICO INC                                 Pos Terminal Purchase Agreement Dated 03/18/2016                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INGENICO INC                                 Service Agreement Dated 03/18/2016
Red Lobster Management LLC     RL Investor Holdings LLC   INGENICO INC                                 Resolution Of Outstanding Issues Dated 03/26/2018
Red Lobster Management LLC     RL Investor Holdings LLC   INGENICO INC                                 Hardware And Software Schedule Dated 09/20/2023
Red Lobster Management LLC     RL Investor Holdings LLC   INGENICO INC                                 Master Agreement Dated 09/20/2023
Red Lobster Management LLC     RL Investor Holdings LLC   INHARVEST INC.                               Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INS BROKERS INC                              Master Service Agreement                                                                                                                                166.20
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT DIRECT USA INC                       Services Agreement                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT GLOBAL LLC                           Services Agreement Dated 07/01/2015
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT GLOBAL LLC                           It Services Agreement Dated 07/01/2015
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT GLOBAL LLC                           Attachment To It Services Agreement Dated 08/26/2015
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT GLOBAL LLC                           Attachment To It Services Agreement Dated 10/20/2015
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT GLOBAL LLC                           It Services Agreement Dated 12/18/2015
                                                                                                                                                                                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT GLOBAL LLC                           Attachment A-5: Statement Of Work Dated 09/12/2019
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT GLOBAL LLC                           Attachment To It Services Agreement Dated 07/01/2015
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT GLOBAL LLC                           Services Agreement Dated 03/01/2023
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT GLOBAL LLC                           Attachment A-7: Statement Of Work Dated 08/14/2023
Red Lobster Management LLC     RL Investor Holdings LLC   INSIGHT GLOBAL LLC                           Attachment A-8: Statement Of Work Dated 08/14/2023
Red Lobster Management LLC     RL Investor Holdings LLC   INSOURCE INC                                 Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INTEGRIGY CORPORATION                        Master Service Agreement                                                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INTELEPEER CLOUD COMMUNICATIONS LLC          Master Service Agreement                                                                                                                                  0.00
                                                          INTERACTIVE COMMUNICATIONS INTERNATIONAL
Red Lobster Management LLC     RL Investor Holdings LLC                                                            Master Service Agreement                                                                                                                 19,947.21
                                                          INC
Red Lobster Management LLC     RL Investor Holdings LLC   Interactive Communications International, Inc. Incomm Card Participation Agreement dated July 30, 2019, (the “Incomm Card Participation Agreement”)                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INTERFACE SECURITY SYSTEMS                     Service Agreement 2014 Dated 07/28/2014                                                                                                             2,430.96
Red Lobster Management LLC     RL Investor Holdings LLC   INTERNATIONAL BUSINESS MACHINES                Statement Of Work 14-3Ibi4c3 Dated 07/21/2014
                                                                                                                                                                                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   INTERNATIONAL BUSINESS MACHINES                Client Relationship Agreement Dated 09/14/2017
Red Lobster Management LLC     RL Investor Holdings LLC   INTRALINKS INC                                 Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IPFS CORPORATION OF CALIFORNIA                 Services Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IPSWITCH INC                                   Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC Amendment To The Master Services Agreement Dated 09/13/2019                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC Amendment To Master Services Agreement Dated 07/28/2014                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC Renewal Schedule A: Program Pricing Schedule Dated 07/28/2014                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC Master Services Agreement Dated 07/28/2014                                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC Renewal Schedule A: Program Pricing Schedule Dated 07/28/2014                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC Renewal Schedule A: Program Pricing Schedule Dated 07/28/2014                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC Amendment No.3 To The Master Services Agreement Dated 12/01/2021                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC Statement Of Work No. 1 Dated 12/01/2021                                                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN INFORMATION MANAGEMENT, LLC Amendment To The Master Services Agreement Dated 09/20/2018                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN CANADA OPERATIONS                Amendment To Master Services Agreement Dated 07/28/2014                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IRON MOUNTAIN SECURE SHREDDING CANADA, INC. Amendment No.3 To The Master Services Agreement Dated 12/01/2021                                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ISPOS MMA, INC.                                Services Agreement Dated 08/06/2014 Plus Amendments                                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ISPOT TV INC                                   Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ITW FOOD EQUIPMENT GROUP                       Agreement Dated 07/28/2014                                                                                                                         14,796.10
Red Lobster Management LLC     RL Investor Holdings LLC   ITW FOOD EQUIPMENT GROUP LLC                   Amendment to Installment Sales and Security Agreement made as of January 15, 2019, together with exhibits and orders issued thereunder                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   IUS JURIS LLC                                  Services Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   J.R. SIMPLOT COMPANY                           Services Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JAMES G SCELFO MD PA                           Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JAMES GIBSON (DBA GIBSON CREATIVE SERVICES) Master Service Agreement                                                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JAMF SOFTWARE, LLC                             End User License And Services Agreement Dated 04/27/2018                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JFS AND ASSOCIATES INC                         Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JIMMY DEFLIPPO PHOTOGRAPHY                     Services Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JODI L SEES                                    Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JOEL AACH                                      Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JOEL AACH, DBA JOEL AACH CONSULTING            Services Agreement Dated 12/02/2020                                                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JOHN DUCEY                                     Services Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JOLT AUTOMATION LLC                            Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   JONES LANG LASALLE BROKERAGE INC               Master Service Agreement                                                                                                                           49,500.00
Red Lobster Management LLC     RL Investor Holdings LLC   JP MORGAN CHASE BANK NA                        Services Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Kaiser                                         Benefits Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KANGAROO REWARDS                               Services Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KANSET SERVICES INC                            Services Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KBACE TECHNOLOGIES INC                         Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KEA CLOUD INC                                  Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KENNY SMITH ENTERTAINMENT GROUP LLC            Services Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KEPLER GROUP LLC                               Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KERRY INC                                      Services Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KEYSIGHT TECHNOLOGIES INC                      Master Service Agreement                                                                                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KFORCE INC.                                    Attachment A-2 Dated 05/22/2019
Red Lobster Management LLC     RL Investor Holdings LLC   KFORCE INC.                                    Services Agreement Dated 05/16/2018
Red Lobster Management LLC     RL Investor Holdings LLC   KFORCE INC.                                    Attachment A-3: Statement Of Work Dated 05/24/2021




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RED LOBSTER
Assigned Executory Contracts




              Debtor                         Assignee                           Counterparty                                                                            Description of Agreement                    Final Cure Amount      A
Red Lobster Management LLC     RL Investor Holdings LLC   KFORCE INC.                                          Attachment A-4: Statement Of Work Dated 04/01/2022                                                               4,960.00
Red Lobster Management LLC     RL Investor Holdings LLC   KFORCE INC.                                          Attachment A-5 Statement Of Work Dated 05/19/2022
Red Lobster Management LLC     RL Investor Holdings LLC   KFORCE INC.                                          Attachment A-7 Statement Of Work Dated 07/25/2022
Red Lobster Management LLC     RL Investor Holdings LLC   KFORCE INC.                                          Attachment A-6 Statement Of Work Dated 06/01/2022
Red Lobster Management LLC     RL Investor Holdings LLC   KIMLEY-HORN AND ASSOCIATES INC                       Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KNOWLEDGELAKE INC                                    Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KOLTER SOLUTIONS                                     Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KONICA MINOLTA BUSINESS SOLUTIONS USA INC            Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KORE WIRELESS INC                                    Master Terms And Conditions Agreement Dated 04/05/2023
Red Lobster Management LLC     RL Investor Holdings LLC   KORE WIRELESS INC                                    Order Form Dated 04/21/2023                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KORE WIRELESS INC.                                   Master Terms And Conditions Agreement Dated 04/20/2023
Red Lobster Management LLC     RL Investor Holdings LLC   KPMG LLP                                             Master Service Agreement
                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   KPMG LLP                                             Master Professional Services Agreement Dated 07/30/2014
Red Lobster Management LLC     RL Investor Holdings LLC   LANGUAGE LOGIC                                       Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LARSEN & TOUBRO INFOTECH LIMITED                     Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LEASE QUERY LLC                                      Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LEONE MARKETING LLC                                  Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LEVEL 3 COMMUNICATIONS LLC                           Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LEXMARK INTERNATIONAL INC                            Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LIERA PAGAN                                          Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LIFEWORKS (US) LTD                                   It Services Agreement Dated 08/01/2022
                                                                                                                                                                                                                                4,007.55
Red Lobster Management LLC     RL Investor Holdings LLC   LIFEWORKS (US) LTD                                   Statement Of Work (Sow) #2 Dated 06/13/2022
Red Lobster Management LLC     RL Investor Holdings LLC   LIFEWORKS (US) LTD.                                  Statement Of Work (Sow) #1 Dated 06/13/2022                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LINEAGE LOGISTICS LLC                                Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LITMUS SOFTWARE INC                                  Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LITTLETON CONCIERGE MEDICINE, PLLC                   Amendment No. 1 To Statement Of Work A-1 Dated 02/01/2023
                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LITTLETON CONCIERGE MEDICINE, PLLC                   Services Agreement Dated 01/27/2017
Red Lobster Management LLC     RL Investor Holdings LLC   LL&D INC                                             Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LL&D INC DBA RESPOND NEW MEXICO                      Services Agreement Dated 03/01/2020                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LLOYD'S OF LONDON                                    Insurance Policy (Terrorism And Sabotage Insurance) Policy Number B0509bowtn2350802                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LLOYD'S UNDERWRITER SYNDICATE 1 - KLN 510            Insurance Policy (Property) Policy Number B0509bowpn2352678                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LOCKTON COMPANIES                                    Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Lockton Investment Advisers, LLC                     Advisory Services Agreement Dated 9/20/2014                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LOEWS SAPPHIRE FALLS RESORT                          Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LOGMEIN, INC                                         Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LOOMIS ARMORED U.S., LLC                             General Terms And Conditions For Services Dated 07/28/2014
Red Lobster Management LLC     RL Investor Holdings LLC   LOOMIS ARMORED U.S., LLC                             Amendment No 1 Dated 05/01/2016
                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LOOMIS ARMORED U.S., LLC                             Amendment No. 1 Dated 06/23/2021
Red Lobster Management LLC     RL Investor Holdings LLC   LOOMIS ARMORED U.S., LLC                             Agreement Dated 12/05/2019
Red Lobster Management LLC     RL Investor Holdings LLC   LOOMIS ARMORED US, LLC                               Services Agreement Dated 12/05/2019                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LOVE IT PRODUCTIONS                                  Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LOXIA TECHNOLOGIES                                   Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LOYALTY & CO                                         Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   LUKES SEAFOOD                                        Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   M SQUARED ONSTAGE INC                                Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MACDADE CONSTRUCTION INC                             Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MACHADO MANAGEMENT CONSULTING                        Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MAD MOBILE                                           Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MAINSAIL HOUSING PARTNERS LLC                        Master Service Agreement                                                                                         2,887.65
Red Lobster Management LLC     RL Investor Holdings LLC   MANAGED CARE ADVISORY GROUP                          Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MANHATTAN TELECOMMUNICATIONS                         Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MANY HATS                                            Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MARIO ROQUE                                          Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MARITZ MOTIVATION                                    Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MARK KENNETH ESCANO ALANO                            Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MARKEL BERMUDA LIMITED                               Insurance Policy (Primary Employment Practices Liability Insurance) Policy Number Mklb25gpl0005043                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MARKETLAB INC                                        Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MARNIE BROPHY                                        Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MARSH USA INC                                        First Amendment To Agreement Dated 10/01/2022
                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MARSH USA INC                                        Agreement Dated 10/01/2022
Red Lobster Management LLC     RL Investor Holdings LLC   MARSH USA INC.                                       Second Amendment To Agreement Dated 10/01/2022                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MARSH USA LLC                                        Amendment To Agreement - 001 Dated 08/01/2023
                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MARSH USA LLC                                        Statement Of Work Dated 04/21/2023
Red Lobster Management LLC     RL Investor Holdings LLC   MARTHA BARSS                                         Master Service Agreement                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MASTERCARD                                           Services Agreement                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MCCI LLC                                             Master Service Agreement                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MDVIP, INC                                           Services Agreement Dated 01/25/2017                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MEARS TRANSPORTATION GROUP                           Services Agreement                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MEDCOR INC                                           Services Agreement                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MELTON FRANCHISE SYSTEMS INC                         Master Service Agreement                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MENTIMETER AB (PUBL)                                 Service Agreement Dated August 21, 2023                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MERCER (CANADA) LIMITED                              Project Initiation Form Dated 01/18/2014                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MERCER INVESTMENT CONSULTING, INC.                   Engagement Letter Agreement Dated 04/29/2014                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MERCHANT LINK LLC                                    Services Agreement                                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MERCHANTLINK (ACQUIRED BY SHIFT 4)                   Master Service Agreement                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MERCURY TECHNOLOGIES INC                             Master Service Agreement                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MERKLE INC                                           It Services Agreement Dated 07/31/2018                                                                        391,365.00
Red Lobster Management LLC     RL Investor Holdings LLC   METLIFE LEGAL PLANS                                  Renewal Agreement Dated 07/14/2023                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   METLIFE LEGAL PLANS, INC.                            Renewal Agreement Dated 07/25/2023                                                                                  0.00
                                                          METROPOLITAN PROPERTY AND CASUALTY
Red Lobster Management LLC     RL Investor Holdings LLC                                                        Group Insurance Program Agreement Dated 1/1/2015
                                                          INSURANCE COMPANY
                                                                                                                                                                                                                                    0.00
                                                          METROPOLITAN PROPERTY AND CASUALTY
Red Lobster Management LLC     RL Investor Holdings LLC                                                        Services Agreement
                                                          INSURANCE COMPANY
Red Lobster Management LLC     RL Investor Holdings LLC   MICHAEL TRIMBOLI                                     Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Services Work Order Dated 11/10/2014
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Amendment To Contract Documents Dated 11/01/2017
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Product Giveaway Agreement Dated 07/12/2023
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Enterprise Enrolment Dated 11/01/2017
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Consulting Services Work Order Dated 06/18/2015
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Consulting Services Work Order Amendment# 1 Dated 06/02/2015
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Consulting Services Work Order Dated 04/20/2015                                                                54,295.01
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Server And Cloud Enrollment Dated 11/13/2017
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Consulting Services Work Order Dated 11/03/2014
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Consulting Services Work Order Dated 06/09/2015
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Consulting Services Work Order Dated 10/03/2014
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Server And Cloud Enrollment Amendment Dated 11/24/2014
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSOFT CORPORATION                                Product Giveaway Agreement Dated 05/24/2023
Red Lobster Management LLC     RL Investor Holdings LLC   Microsoft Corporation                                Enterprise Enrollment (Direct) dated October 18, 2013, as renewed on October 20, 2023                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSTRATEGY SERVICES CORPORATION                   Master Software License Agreement Dated 01/15/2013
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSTRATEGY SERVICES CORPORATION                   Price Quotation And Purchase Agreement Dated 12/03/2014
                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSTRATEGY SERVICES CORPORATION                   Master Software License And Services Agreement Dated 12/05/2014
Red Lobster Management LLC     RL Investor Holdings LLC   MICROSTRATEGY SERVICES CORPORATION                   Master Software License And Services Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   MIDTOWN CONSULTING GROUP INC                         Consulting Agreement                                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MILWAUKEE WORLD FESTIVAL, INC.                       Sponsorship Agreement Dated 2/1/2018
                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MILWAUKEE WORLD FESTIVAL, INC.                       Settlement Agreement Dated 2/20/2018
Red Lobster Management LLC     RL Investor Holdings LLC   MIMECAST NORTH AMERICA                               General Terms And Conditions Dated 03/30/2018                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MIMECAST NORTH AMERICA, INC.                         Statement Of Work No. 1 Dated 03/30/2018
                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MIMECAST NORTH AMERICA, INC.                         Service Order Dated 03/30/2018
Red Lobster Management LLC     RL Investor Holdings LLC   MJ CORPORATE SALES INC.                              Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MOBI WIRELESS MANAGEMENT LLC                         Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MOBILE DEMAND LC                                     Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MOBIVITY                                             Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MOMENTFEED INC                                       Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MOMENTFEED UB, INC.                                  Master Services Agreement Dated 06/01/2022                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MONTEREY BAY AQUARIUM FOUNDATION                     Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MOREDIRECT INC.                                      Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MOSS ADAMS LLP                                       Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MOVES LIKE JAGGERS LC                                Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MULESOFT INC.                                        Professional And Training Services Dated 11/29/2016
Red Lobster Management LLC     RL Investor Holdings LLC   MULESOFT INC.                                        Master Subscription Agreement Dated 11/29/2016                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MULESOFT INC.                                        Master Subscription Agreement Dated 12/19/2016
Red Lobster Management LLC     RL Investor Holdings LLC   MULESOFT, INC.                                       Master Subscription Agreement Dated 11/16/2016                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Multicultural Foodservice and Hospitality Alliance   Vendor Agreement                                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MVD COMMUNICATIONS LLC                               Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MVP SYSTEMS SOFTWARE INC                             Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                                        Agency Services Agreement Dated 07/17/2014
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                                        Amendment No. 12 To Services Agreement Dated 06/01/2022
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                                        Amendment No. 7 To Services Agreement Dated 01/01/2021
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                                        Amendment No. 9 To Services Agreement Dated 04/01/2021




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RED LOBSTER
Assigned Executory Contracts




              Debtor                         Assignee                       Counterparty                                                                      Description of Agreement                                                               Final Cure Amount     A
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                               Amendment No. 10 To Services Agreement Dated 07/08/2021
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                               Amendment No. 11 To Services Agreement Dated 10/01/2021
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                               Amendment No. 13 To Services Agreement Dated 06/01/2023
                                                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                               Amendment No. 14 To Services Agreement Dated 09/26/2023
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                               Amendment No. 4 To Services Agreement Dated 06/01/2018
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                               Amendment No. 5 To Services Agreement Dated 06/01/2019
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                               Amendment No 6 To Services Agreement Dated 04/01/2020
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                               Services Agreement Dated 06/01/2021
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                               Amendment No.1 To Services Agreement Dated 06/01/2015
Red Lobster Management LLC     RL Investor Holdings LLC   MWW GROUP LLC                               Amendment No.2 To Services Agreement Dated 06/01/2016
Red Lobster Management LLC     RL Investor Holdings LLC   NAS RECRUITMENT SERVICES LLC                Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NAS RECRUITMENT SERVICES, LLC               Master Services Agreement Dated 4/18/2019 Plus Sows                                                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NATIONAL GIFT CARD CORP                     Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NATIONAL RESTAURANT ASSOCIATION             Services Agreement                                                                                                                                       13,146.20
Red Lobster Management LLC     RL Investor Holdings LLC   NATIONAL RESTAURANT ASSOCIATION SOLUTIONS   Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NATIONAL SERVICE SOURCE INC                 Master Service Agreement
                                                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NATIONAL SERVICE SOURCE INC                 Master Service Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   NATIXIS SECURITIES AMERICAS LLC             Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NATURALLY SLIM                              Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NAVIGATOR EXECUTIVE ADVISORS INC            Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NAVISITE LLC                                Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NCR CORPORATION                             Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NEBBIA TECHNOLOGY LLC                       Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NERD MOUNTAIN LLC                           Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NERDERY                                     Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NETSKOPE, INC.                              End User License Agreement Dated 10/17/2018                                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NEUSTAR INFORMATION SERVICE INC.            Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NEW BENEFITS LTD                            Employer Agreement For List Billing Dated 1/1/2024                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NEW DAY RECRUITING LLC                      Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NEWS AMERICA MARKETING FSI LLC              Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NEXTBITE BRANDS LLC                         Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NFL PRODUCTIONS LLC                         Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NHR NEWCO HOLDINGS LLC                      Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NIELSEN CONSUMER LLC                        Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NITIN VIKRAMRAO WAGH                        General Terms And Conditions For Inspection Services Dated 06/01/2023                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NORTHSTAR LEGAL INC                         Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NUCO2 LLC                                   Bill Of Sale Dated 05/26/2017
Red Lobster Management LLC     RL Investor Holdings LLC   NUCO2 LLC                                   Amendment No.1 To The Master Purchase Agreement Dated 05/02/2017                                                                                        264,617.95
Red Lobster Management LLC     RL Investor Holdings LLC   NUCO2 LLC                                   Service Agreement For Restaurant #0172 Dated 08/30/2017
Red Lobster Management LLC     RL Investor Holdings LLC   NUCO2 LLC.                                  Master Purchase Agreement Dated 10/01/2014                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NUTRICLINICAL SOLUTIONS LLC                 Services Agreement Dated 08/28/2020                                                                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NUWAVE COMMUNICATIONS                       Service Agreement Dated 06/11/2020                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   NUWAVE COMMUNICATIONS, INC.                 Services Agreement Dated 06/10/2020                                                                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   OCH SERVICES LLC                            Master Service Agreement
                                                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   OCH SERVICES LLC                            Services Agreement Dated 08/03/2022 Plus Amendments
Red Lobster Management LLC     RL Investor Holdings LLC   ODP BUSINESS SOLUTIONS LLC                  Supply Agreement                                                                                                                                         15,107.44
Red Lobster Management LLC     RL Investor Holdings LLC   OFDC COMMUNICATIONS                         Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   OLIVE AND GOOSE LLC                         Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   OMNI HOTELS & RESORTS                       Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ONDEMAND RESOURCES                          Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ONDEMAND RESOURCES LLC                      Attachment A-2 To Services Agreement Dated 09/01/2015                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ONEDINE LLC                                 Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ONETRUST LLC                                Assignment And Assumption Agreement Dated 01/25/2024
Red Lobster Management LLC     RL Investor Holdings LLC   ONETRUST LLC                                Renewal Order Form Dated 03/01/2021                                                                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ONETRUST LLC                                Renewal Order Form Dated 12/06/2022
Red Lobster Management LLC     RL Investor Holdings LLC   ONETRUST, LLC                               Terms And Conditions - Cloud Deployment Dated 06/26/2019                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ONSITERIS LLC                               Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   OPTUMRX, INC.                               Amendment 1 To Commitment Agreement Dated 01/01/2022
Red Lobster Management LLC     RL Investor Holdings LLC   OPTUMRX, INC.                               Transparency Reporting Services Addendum Healthtrust/Coretrust Coalition Clients Dated 09/01/2024                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   OPTUMRX, INC.                               Amendment 2 To Commitment Agreement Dated 01/01/2024
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Master Agreement Dated 08/30/2013 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        License And Services Agreement Dated 05/31/2012 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Master Agreement Amendment Two Dated 05/12/2020 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Ordering Document Dated 02/14/2015 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Master Agreement Dated 02/17/2015 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Master Agreement Dated 02/14/2015 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Master Agreement Dated 05/01/2015 and (i) any modifications or amendments thereto and (ii) any related active agreements                                322,829.51
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Ordering Document Dated 04/01/2020 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Confidential Settlement Agreement And Release Dated 03/15/2016 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Ordering Document Dated 07/13/2018 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Ordering Document Dated 12/02/2019 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Ordering Document Dated 06/01/2015 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE AMERICA, INC.                        Ordering Document Dated 05/20/2015 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE CREDIT CORPORATION                   Payment Schedule Dated 05/21/2020 and (i) any modifications or amendments thereto and (ii) any related active agreements
                                                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ORACLE CREDIT CORPORATION                   Payment Plan Agreement Dated 04/01/2020 and (i) any modifications or amendments thereto and (ii) any related active agreements
Red Lobster Management LLC     RL Investor Holdings LLC   ORANGE COUNTY PARKS & RECREATION            Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ORION TECHNOLOGY SERVICES LLC               Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ORION TRADING WORLDWIDE, LLC                Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   OT TECHNOLOGY INC.                          Assignment And Assumption Agreement Dated 01/25/2024
                                                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   OT TECHNOLOGY INC.                          Renewal Order Form Dated 07/07/2023
Red Lobster Management LLC     RL Investor Holdings LLC   OUTWARD INTELLIGENCE LLC                    Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   OXXFORD RELOCATION CENTER INC               Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PAK-RITE RENTALS, INC.                      Compactor Agreement For Restaurant #0241 Dated 11/05/2014
                                                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PAK-RITE RENTALS, INC.                      Compactor Agreement For Restaurant #0566 Dated 11/03/2015
Red Lobster Management LLC     RL Investor Holdings LLC   PALMS INSURANCE COMPANY, LIMITED            Insurance Policy (Property) Policy Number 23-Pqp-0009                                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PANAYA INC                                  Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PANDERA SYSTEMS PLLC                        Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PARABLESOFT                                 Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PARADIGM TAX GROUP HOLDING COMPANY          Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PARQUET PUBLIC AFFAIRS                      Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PARR RECOVERY INC                           Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PARSIFAL CORP                               Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PARTECH, INC.                               Software License Agreement Dated 07/25/2014
                                                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PARTECH, INC.                               Amendment No. 1 To Software License Agreement Dated 08/18/2014
Red Lobster Management LLC     RL Investor Holdings LLC   PARTNERS FILM INC.                          Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PARTNERS IN LEADERSHIP LLC                  Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PATHSOLUTIONS INC                           Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PATRICE & ASSOCIATES FRANCHISING INC.       Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PATRICK HARRIGAN                            Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PATRICK HENRY CREATIVE PROMOTIONS INC       Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PATRICK S SCHRADER                          Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PATRICK VERCNOCKE                           Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PAYFACTORS GROUP LLC                        Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PAYLOGIX LLC                                Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PAYNUITY INE LLC                            Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PAYPAL                                      Merchant Agreement Dated 10/24/2016                                                                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PAYPAL INC                                  Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PEDRO LIMA                                  Master Service Agreement                                                                                                                                  5,250.00
Red Lobster Management LLC     RL Investor Holdings LLC   PENNSYLVANIA TOURISM SIGNING TRUST          Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PETER PAPPAS                                Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PGI                                         License Agreement                                                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PHAIDON INTERNATIONAL (U.S.) INC            Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PHANTOM CYBER CORPORATION                   Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PILE AND COMPANY INC                        Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PLAY WITH A PURPOSE                         Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PLURALSIGHT                                 Sales Order Dated 08/07/2023
                                                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PLURALSIGHT                                 Sales Order Dated 09/14/2023
Red Lobster Management LLC     RL Investor Holdings LLC   POLARIS OWNERS ASSOCIATION INC              Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PORTIER, LLC                                Amendment No. 1 To Master Framework Agreement Dated 02/01/2022
                                                                                                                                                                                                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PORTIER, LLC                                Master Framework Letter Agreement Dated 10/03/2018
Red Lobster Management LLC     RL Investor Holdings LLC   Postman                                     Vendor Agreement                                                                                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   POSTMATES INC                               Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PR NEWSWIRE ASSOCIATION LLC                 Services Agreement Dated 04/04/2017 Plus Amendments                                                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PREFERRED FREEZER SERVICES OF NORFOLK LLC   Services Agreement                                                                                                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PRESTON MACK INC                            Master Service Agreement                                                                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   PREVALENT, INC.                             Sales Proposal 36627-3 Dated 06/25/2021
Red Lobster Management LLC     RL Investor Holdings LLC   PREVALENT, INC.                             Software Service Subscription Agreement Dated 06/24/2021                                                                                                      0.00




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Assigned Executory Contracts




                Debtor                               Assignee                                   Counterparty                                                                                    Description of Agreement                   Final Cure Amount     A
Red Lobster Management LLC             RL Investor Holdings LLC        PREVALENT, INC.                                               Statement Of Work No. 1 Dated 06/24/2021
Red Lobster Management LLC             RL Investor Holdings LLC        PRINCETON PUBLIC SPEAKING                                     Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        PRINCIPAL LIFE INSURANCE COMPANY                              Adoption Agreement Dated 1/1/2024 With Amendments                                                                    0.00
Red Lobster Management LLC             RL Investor Holdings LLC        PRIZELOGIC LLC                                                Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        PRODUCT EVALUATIONS INC                                       Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        PROFITALITY LLC                                               Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        PROTIVITI INC                                                 Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        PROTOBRAND SCIENCES INC                                       Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        PUBLICIS CANADA INC                                           Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        PUBLICIS KAPLAN THALER NY (PKT)                               Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        PURE STORAGE, INC.                                            End User Agreement Dated 10/12/2023                                                                                  0.00
Red Lobster Management LLC             RL Investor Holdings LLC        PYTHIAN SERVICES USA INC.                                     Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        QBE                                                           Insurance Policy (Excess Directors And Officers Liability – Run Off Policy) Policy Number 130007168
                                                                                                                                                                                                                                                          0.00
Red Lobster Management LLC             RL Investor Holdings LLC        QBE                                                           Insurance Policy (Excess Directors And Officers Liability) Policy Number 130007168
Red Lobster Management LLC             RL Investor Holdings LLC        QSR AUTOMATIONS, INC.                                         Amended And Restated Pdrchase/License Agreement For Software And Services Dated 07/01/2009
Red Lobster Management LLC             RL Investor Holdings LLC        QSR AUTOMATIONS, INC.                                         Purchase Order Reservation Quote Dated 08/24/2023
Red Lobster Management LLC             RL Investor Holdings LLC        QSR AUTOMATIONS, INC.                                         Automations Purchase Agreement Dated 07/22/2015
Red Lobster Management LLC             RL Investor Holdings LLC        QSR AUTOMATIONS, INC.                                         Amended And Restated Purchase/License Agreement For Software And Services Dated 07/01/2009
Red Lobster Management LLC             RL Investor Holdings LLC        QSR AUTOMATIONS, INC.                                         Assignment And Assumption Agreement                                                                             11,080.96
Red Lobster Management LLC             RL Investor Holdings LLC        QSR AUTOMATIONS, INC.                                         Assignment And Assumption Agreement Dated 09/24/2015
Red Lobster Management LLC             RL Investor Holdings LLC        QSR AUTOMATIONS, INC.                                         Amendment No. 1 To Automations Purchase Agreement Dated 11/01/2016
Red Lobster Management LLC             RL Investor Holdings LLC        QSR AUTOMATIONS, INC.                                         Understanding And Agreement Dated 04/03/2020
Red Lobster Management LLC             RL Investor Holdings LLC        QSR AUTOMATIONS, INC.                                         Automations Purchase Agreement Dated 07/15/2015
Red Lobster Management LLC             RL Investor Holdings LLC        QUANTIFIND INC                                                Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        Quest Software (Toad)                                         Vendor Agreement                                                                                                     0.00
Red Lobster Management LLC             RL Investor Holdings LLC        QUISITIVE LLC                                                 Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        R. R. DONNELLEY & SONS COMPANY                                Master Purchase Agreement Dated 08/05/2014                                                                          39.87
Red Lobster Management LLC             RL Investor Holdings LLC        RACKSPACE US INC                                              Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RAINMAKER THINKING INC                                        Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RANDALL R RICHMOND LLC                                        Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RANDSTAD TECHNOLOGIES LP                                      Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        Rare Hospitality International                                Vendor Agreement                                                                                                     0.00
Red Lobster Management LLC             RL Investor Holdings LLC        READY NETWORKS                                                Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        REAF MARKETING INC.                                           Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED CANARY INC                                                Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED DAWN SEI BUYER INC                                        Services Agreement                                                                                               5,762.85
Red Lobster Management LLC             RL Investor Holdings LLC        RED LOBSTER KANSAS LLC                                        Administrative Support Services Agreement Dated 07/28/2014                                                           0.00
RLSV, Inc.                             RLSV II LLC                     RED LOBSTER KANSAS LLC                                        Gift Card Program Agreement Dated 07/28/2014                                                                         0.00
Red Lobster International Holdings, LLCRL International Holdings LLC   RED LOBSTER ASIA SDN BHD                                      System Development Services Agreement Dated 12/31/2018                                                               0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED LOBSTER ASIA SDN BHD                                      System Development Services Agreement Dated 12/31/2018                                                               0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED LOBSTER ASIA, SDN. BHD.                                   System Development Services Agreement Dated 07/28/2014                                                               0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED LOBSTER ASIA, SDN. BHD.                                   Financial Services Agreement Dated 07/28/2014                                                                        0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED LOBSTER CANADA, INC.                                      Administrative Support Services Agreement Dated 07/28/2014                                                           0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED LOBSTER HOSPITALITY LLC                                   Administrative Support Services Agreement Dated 07/28/2014                                                           0.00
RLSV, Inc.                             RLSV II LLC                     RED LOBSTER HOSPITALITY LLC                                   Royalty And Licensing Agreement Dated 07/28/2014                                                                     0.00
RLSV, Inc.                             RLSV II LLC                     RED LOBSTER HOSPITALITY LLC                                   Gift Card Program Agreement Dated 07/28/2014                                                                         0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED LOBSTER INTERNATIONAL HOLDINGS LLC                        Financial Services Agreement Dated 12/31/2018                                                                        0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED LOBSTER INTERNATIONAL HOLDINGS LLC                        System Development Services Agreement Dated 12/31/2018                                                               0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED LOBSTER INTERNATIONAL HOLDINGS LLC                        Administrative Support Services Agreement Dated 12/31/2018                                                           0.00
Red Lobster International Holdings, LLCRL International Holdings LLC   RED LOBSTER MANAGEMENT LLC                                    System Development Services Agreement Dated 12/31/2018                                                               0.00
Red Lobster International Holdings, LLCRL International Holdings LLC   RED LOBSTER MANAGEMENT LLC                                    Financial Services Agreement Dated 12/31/2018                                                                        0.00
Red Lobster International Holdings, LLCRL International Holdings LLC   RED LOBSTER MANAGEMENT LLC                                    Administrative Support Services Agreement Dated 12/31/2018                                                           0.00
RLSV, Inc.                             RLSV II LLC                     RED LOBSTER MANAGEMENT LLC                                    Administrative Support Agreement Dated 07/28/2014                                                                    0.00
RLSV, Inc.                             RLSV II LLC                     RED LOBSTER MANAGEMENT LLC                                    Employee Management And Services Agreement Dated 07/28/2014                                                          0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RED LOBSTER RESTAURANTS LLC                                   Administrative Support Services Agreement Dated 07/28/2014                                                           0.00
RLSV, Inc.                             RLSV II LLC                     RED LOBSTER RESTAURANTS LLC                                   Gift Card Program Agreement Dated 07/28/2014                                                                         0.00
Red Lobster International Holdings, LLCRL International Holdings LLC   Red Lobster Retail Asia Co., Ltd                              Franchise Agreement
Red Lobster International Holdings, LLCRL International Holdings LLC   Red Lobster Retail Asia Co., Ltd                              Franchise Agreement                                                                                                  0.00
Red Lobster International Holdings, LLCRL International Holdings LLC   Red Lobster Retail Asia Co., Ltd                              Franchise Agreement
Red Lobster Management LLC             RL Investor Holdings LLC        REDDY RENTALS INC.                                            Compactor Agreement For Restaurant #0443 Dated 10/18/2023                                                            0.00
Red Lobster Management LLC             RL Investor Holdings LLC        REED PAINTING LLC                                             Master Service Agreement                                                                                             0.00
Red Lobster Management LLC             RL Investor Holdings LLC        REFINITIV US LLC                                              Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        REGUS                                                         Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RELATIVE INSIGHT INC                                          Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        REPUTATION INSTITUTE INC                                      Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RESEARCH NOW GROUP INC                                        Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RESEARCH NOW GROUP LLC                                        It Services Agreement Dated 10/30/2020                                                                               0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RESIDENCE INN BY MARRIOTT                                     Services Agreement                                                                                                   0.00
Red Lobster Management LLC             RL Investor Holdings LLC        Restaurantes Unidos Restaunsa                                 Franchise Agreement                                                                                                  0.00
Red Lobster Management LLC             RL Investor Holdings LLC        RESTAURANTS OPERATORS INC                                     Services Agreement                                                                                                   0.00
                                                                       Retail & Hospitality Information Sharing and Analysis Center (RH-
Red Lobster Management LLC            RL Investor Holdings LLC                                                                       Vendor Agreement                                                                                                     0.00
                                                                       ISAC)
Red Lobster Management LLC            RL Investor Holdings LLC         RETAIL CONSULTING SERVICES INC                               Consulting Agreement                                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RETAIL DEVELOPMENT CONSULTING                                Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RETAIL FINANCE INTERNATIONAL (AKA                            Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RETAIL TECHNOLOGY GROUP INCORPORATED                         Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RETARUS INC                                                  Master Service Agreement                                                                                          2,229.56
Red Lobster Management LLC            RL Investor Holdings LLC         RINGCENTRAL INC.                                             Initial Order Form Dated 07/28/2017                                                                              48,840.48
Red Lobster Management LLC            RL Investor Holdings LLC         RINGCENTRAL, INC.                                            Change Order Form- Mvp Services Dated 12/21/2021
Red Lobster Management LLC            RL Investor Holdings LLC         RINGCENTRAL, INC.                                            Office Plan Purchase Agreement Dated 07/31/2018
Red Lobster Management LLC            RL Investor Holdings LLC         RINGCENTRAL, INC.                                            Change Order Form- Mvp Services
Red Lobster Management LLC            RL Investor Holdings LLC         RINGCENTRAL, INC.                                            Change Order Form- Mvp Services Dated 12/21/2021                                                                      0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RINGCENTRAL, INC.                                            Statement Of Work No. 3 For Implementation Services Dated 11/17/2017
Red Lobster Management LLC            RL Investor Holdings LLC         RINGCENTRAL, INC.                                            Statement Of Work No. 2 For Implementation Services Dated 10/30/2017
Red Lobster Management LLC            RL Investor Holdings LLC         RINGCENTRAL, INC.                                            Office Plan Purchase Order Form Dated 07/28/2017
Red Lobster Management LLC            RL Investor Holdings LLC         RISHA GRANT                                                  Services Agreement                                                                                                    0.00
Red Lobster Management LLC            RL Investor Holdings LLC         Risk Strategies                                              Vendor Agreement                                                                                                      0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RIVERSIDE RISK ADVISORS                                      Consulting Agreement                                                                                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RLSV, INC.                                                   Administrative Support Agreement Dated 07/28/2014
                                                                                                                                                                                                                                                          0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RLSV, INC.                                                   Employee Management And Services Agreement Dated 07/28/2014
Red Lobster Management LLC            RL Investor Holdings LLC         ROBERT HALF                                                  Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         ROBERT T CARRELL                                             Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         ROCHESTER ARMORED CAR COMPANY, INC.                          Services Agreement Dated 07/28/2014                                                                                   0.00
Red Lobster Management LLC            RL Investor Holdings LLC         ROCKET SOCIAL IMPACT                                         Services Agreement                                                                                                    0.00
Red Lobster Management LLC            RL Investor Holdings LLC         ROGERS COMMUNICATIONS                                        Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RONALD MICHEL                                                Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RR DONNELLEY                                                 Supply Agreement                                                                                                      0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RTECH SOLUTIONS                                              Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RTOOR INC                                                    Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RUBICON GLOBAL LLC                                           Master Service Agreement                                                                                         13,420.00
Red Lobster Management LLC            RL Investor Holdings LLC         RUNZHEIMER                                                   Services Agreement                                                                                                    0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RUSSELL EVANS                                                Services Agreement Dated 04/01/2022                                                                                   0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RUSSELL L EVANS                                              Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         RYNE TECHNOLOGIES LLC                                        Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SADA SYSTEMS INC                                             Services Agreement                                                                                                    0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SADA SYSTEMS, INC.                                           Business License Agreement Dated 09/23/2024                                                                           0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SAFE AND SOUND ARMED COURIER SERVICE INC.                    Services Agreement Dated 07/29/2019                                                                                 380.91
Red Lobster Management LLC            RL Investor Holdings LLC         SAFE AND SOUND ARMED COURIER SERVICES INC                    Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SAK THEATRE CO                                               Services Agreement                                                                                                    0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SALESFORCE, INC.                                             Order Form Dated 07/31/2023
Red Lobster Management LLC            RL Investor Holdings LLC         SALESFORCE, INC.                                             Professional Services Addendum To The Master Subscription Agreement Dated 09/14/2023                                  0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SALESFORCE, INC.                                             Expert Service Statement Of Work Dated 09/14/2023
Red Lobster Management LLC            RL Investor Holdings LLC         SALESFORCE.COM, INC.                                         Master Subscription Agreement Dated 09/22/2021
                                                                                                                                                                                                                                                          0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SALESFORCE.COM, INC.                                         Order Form Dated 09/28/2021
Red Lobster Management LLC            RL Investor Holdings LLC         SANDERS CONSULTING GROUP INC.                                Services Agreement Dated 08/01/2014                                                                                   0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SANDY ALEXANDER INC                                          Master Service Agreement                                                                                          3,283.25
Red Lobster Management LLC            RL Investor Holdings LLC         SANIS ULTRACLEAN                                             Facilities Service Agreement For Restaurant #6228 Dated 09/30/2005                                                    0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SAS INSTITUTE INC                                            Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SATISFI LABS                                                 Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SAVE ON MECHANICAL SERVICES LTD                              Services Agreement                                                                                                    0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SAWTOOTH SOFTWARE                                            Services Agreement                                                                                                    0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SCENTAIR                                                     Master Service Agreement                                                                                              0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SCHOLARSHIP AM TUITION REIM                                  Services Agreement                                                                                                    0.00
Red Lobster Management LLC            RL Investor Holdings LLC         SCHOOX, INC.                                                 First Amendment To Amended And Restated Services Agreement Dated 10/01/2019
Red Lobster Management LLC            RL Investor Holdings LLC         SCHOOX, INC.                                                 Second Amended And Restated Services Agreement Dated 10/01/2020
Red Lobster Management LLC            RL Investor Holdings LLC         SCHOOX, INC.                                                 First Amendment To Services Agreement Dated 10/02/2017
                                                                                                                                                                                                                                                        967.74
Red Lobster Management LLC            RL Investor Holdings LLC         SCHOOX, INC.                                                 Second Amendment To Services Agreement Dated 03/19/2018
Red Lobster Management LLC            RL Investor Holdings LLC         SCHOOX, INC.                                                 Services Agreement Dated 11/02/2016




                                                                                                                                              Page 9 of 12
           Case 2:21-cv-04786-JAK-MAR
                Case 6:24-bk-02486-GER Document
                                       Doc 1140 56-1
                                                  Filed 09/06/24
                                                        Filed 10/11/24
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RED LOBSTER
Assigned Executory Contracts




              Debtor                         Assignee                        Counterparty                                                                       Description of Agreement      Final Cure Amount     A
Red Lobster Management LLC     RL Investor Holdings LLC   SCHOOX, INC.                                 Amended And Restated Services Agreement Dated 10/01/2018
Red Lobster Management LLC     RL Investor Holdings LLC   SCHOOX, LLC                                  Order Form Dated 11/28/2023
                                                                                                                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SCHOOX, LLC                                  Order Form Dated 10/23/2023
Red Lobster Management LLC     RL Investor Holdings LLC   SCLOGIC                                      License Agreement                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SCOTT BARNETT & ASSOCIATES                   Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SCOUT EXCHANGE LLC                           Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SCRIPPS NETWORKS                             Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SEAHORSE AQUASCAPE                           Facilities Service Agreement For Restaurant #0116 Dated 03/01/2005                                4,658.13
Red Lobster Management LLC     RL Investor Holdings LLC   SEAN GANNON                                  Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SEAONUS COLD STORAGE                         Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SEATTLE SHRIMP AND SEAFOOD COMPANY INC       Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYMETRICS, INC.                        Services Agreement Dated 10/06/2015
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYMETRICS, INC.                        Attachment To It Services Agreement Dated 03/21/2018
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYMETRICS, INC.                        Attachment To It Services Agreement Dated 04/03/2019
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYMETRICS, INC.                        Attachment A-4 Statement Of Work Dated 08/11/2020
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYMETRICS, INC.                        Attachment A-5 Statement Of Work Dated 09/21/2020
                                                                                                                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYMETRICS, INC.                        Pci Dss Onsite Assessment Statement Of Work A-10 Dated 05/18/2023
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYMETRICS, INC.                        Attachment A-6 Statement Of Work Dated 06/08/2021
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYMETRICS, INC.                        Attachment A-7 Statement Of Work Dated 06/08/2021
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYMETRICS, INC.                        Attachment A-9 Statement Of Work Dated 05/18/2023
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYMETRICS, INC.                        Attachment A-5 Statement Of Work Dated 07/13/2022
Red Lobster Management LLC     RL Investor Holdings LLC   SECURITYSCORECARD                            Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SENSE 360 INC                                Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SENSORY SPECTRUM INC                         Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SENSORY SPECTRUM, INC                        Services Agreement Dated 01/06/2023                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SENTRY HOUSEHOLD SHIPPING INC                Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SENYON STAFFING SERVICES INC                 Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Service Express                              Vendor Agreement                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SERVICE MANAGEMENT GROUP INC                 Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SERVICENOW, INC.                             Master Ordering Agreement Dated 06/29/2015
                                                                                                                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SERVICENOW, INC.                             Order Form Dated 02/14/2017
Red Lobster Management LLC     RL Investor Holdings LLC   SGS NORTH AMERICA INC.                       Supply Agreement                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SGS SOCIETE GENERALE DE SURVEILLANCE S.A.    Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SHERRIE TAN, SOLE PROPRIETOR                 Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SHI INTERNATIONAL CORP.                      Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SIEENA DBA DEFINITY FIRST                    Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SIEGFRIED GROUP LLP                          Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SIERRA CEDAR LLC                             Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SIFT SCIENCE INC                             Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SIGN UP4 LLC                                 Master Service Agreement                                                                              0.00
                                                          SIGNATURE COMMERCIAL SOLUTIONS, LLC D/B/A
Red Lobster Management LLC     RL Investor Holdings LLC                                                Master Service Agreement                                                                              0.00
                                                          SIGNATURE CONSULTANTS
Red Lobster Management LLC     RL Investor Holdings LLC   SILLIKER INC                                 Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SIMPLELEGAL, INC.                            Order Form Amendment Dated 07/21/2023
Red Lobster Management LLC     RL Investor Holdings LLC   SIMPLELEGAL, INC.                            Master Services Agreement Dated 02/25/2022                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SIMPLELEGAL, INC.                            Order Form Dated 02/27/2022
Red Lobster Management LLC     RL Investor Holdings LLC   SINGLEPLATFORM LLC                           Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SINGULAR LABS INC                            Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SKILLSOFT                                    License Agreement                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   S-L SNACKS NATIONAL, LLC                     Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SLADE GORTON & CO., INC                      Amended And Restated Service Agreement Dated 07/01/2019
                                                                                                                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SLADE GORTON & CO., INC                      Amended And Restated Service Agreemen T Dated 07/01/2019
Red Lobster Management LLC     RL Investor Holdings LLC   SLADE GORTON & CO., INC.                     Second Amended And Restated Service Agreement Dated 10/01/2022                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SLADE GORTON & CO., INC                      Service Agreement Dated 12/31/1998
                                                                                                                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SLADE GORTON & CO., INC                      Third Amended And Restated Service Agreement Dated 07/01/2023
Red Lobster Management LLC     RL Investor Holdings LLC   SLADE GORTON & CO., INC.                     Third Amended And Restated Service Agreement Dated 07/01/2023                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SLADE GORTON & COMPANY, INC.                 Authorized Use Agreement Dated 09/21/1998                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SLM WASTE & RECYCLING SERVICES INC           Master Service Agreement                                                                          4,860.70
Red Lobster Management LLC     RL Investor Holdings LLC   SmartBear                                    Vendor Agreement                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SNAGAJOB.COM INC                             Master Service Agreement                                                                         33,064.08
Red Lobster Management LLC     RL Investor Holdings LLC   SNAGAJOB.COM,INC.                            Services Agreement Dated 6/16/2020                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SNOWFLAKE INC.                               Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOC PRIME INC.                               Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOCIALYTE LLC                                Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOCRATIC TECHNOLOGIES INC                    Master Service Agreement                                                                         15,500.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOCRATIC TECHNOLOGIES, INC.                  Services Agreement Dated 01/12/2022                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOFTCHOICE CORPORATION                       Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOFTGEN TECHNOLOGIES LLC                     Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOFTWAREONE, INC.                            Amendment To Contract Documents Dated 11/01/2017                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOMOROFF STUDIOS, INC.                       Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOUNDHOUND, INC.                             Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOUTHWEST AIRLINES CO.                       Master Service Agreement
                                                                                                                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SOUTHWEST AIRLINES CO.                       Services Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   SOUTHWEST AIRLINES CO.,                      Subscriber's Agreement Dated 02/01/2024                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SPARK FOUNDRY                                Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Spectrum                                     Vendor Agreement                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SPLASH BUSINESS INTELLIGENCE INC.            Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINKLR INC.                                License Order Form (Lof) No. 3 Dated 04/30/2019
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINKLR INC.                                License Order Form No. 4 Dated 06/01/2020
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINKLR, INC.                               Statement Of Work (Sow) No. 4 Dated 04/30/2019
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINKLR, INC.                               Master Services Agreement Dated 03/24/2017
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINKLR, INC.                               Master Service Agreement Dated 03/24/2017
                                                                                                                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINKLR, INC.                               Order Form Dated 06/01/2022
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINKLR, INC.                               Statement Of Work (Sow) No. 3 Dated 04/19/2019
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINKLR, INC.                               Master Services Agreement Dated 03/17/2017
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINKLR. INC.                               License Order Form (Lof) Dated 05/24/2018
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINKLR. INC.                               Statement Of Work (Sow) Dated 05/24/2018
Red Lobster Management LLC     RL Investor Holdings LLC   SPRINT SOLUTIONS, INC.                       Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SRINIVAS AMUDA                               Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STACY KORMYLO                                Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Starlink                                     Vendor Agreement                                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STARSTONE SPECIALTY INSURANCE COMPANY        Insurance Policy (Property) Policy Number U87784230csp                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STATISTA INC                                 Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STEFAN JOHNSON                               Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STELLAR DIGITAL MARKETING, LLC               Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STEPHANIE KRYSTAL NICOLA                     Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STEPHEN E BANDOR                             Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STERLING VENTURES                            Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STETON TECHNOLOGY GROUP INC                  Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STORMGEO, INC                                Fourth Amendment Dated 07/23/2021
Red Lobster Management LLC     RL Investor Holdings LLC   STORMGEO, INC                                Third Amendment Dated 07/23/2019
Red Lobster Management LLC     RL Investor Holdings LLC   STORMGEO, INC,                               Second Amendment Dated 06/07/2017
                                                                                                                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STORMGEO, INC.                               Fifth Amendment Dated 06/07/2023
Red Lobster Management LLC     RL Investor Holdings LLC   STORMGEO, INC.                               Second Amendment Dated 06/07/2017
Red Lobster Management LLC     RL Investor Holdings LLC   STORMGEO, INC.                               Fourth Amendment To Master Services Agreement Number 20140624-24534 Dated 07/23/2021
Red Lobster Management LLC     RL Investor Holdings LLC   STORMGEO, INC. (FORMERLY IMPACTWEATHER, INC) First Amendment Dated 06/17/2015                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STORMGEO, INC. [FORMERLY IMPACTWEATHER, INC.]First Amendment Dated 06/17/2015                                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STRATEGIC SOLUTIONS, INC.                    Attachment A-3: Statement Of Work Dated 01/31/2018                                               23,498.81
Red Lobster Management LLC     RL Investor Holdings LLC   STRATEGIC SOLUTIONS, INC                     Master Services Agreement Dated 08/15/2023                                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STRATEGIC SOLUTIONS, INC.                    Managed I.T. Services Statement Of Work No. 1 Dated 08/21/2023
Red Lobster Management LLC     RL Investor Holdings LLC   STRATEGIC SOLUTIONS, INC.                    It Services Agreement Dated 04/12/2016                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STRATEGIC SOLUTIONS, INC.                    Attachment A-2: Statement Of Work Dated 01/18/2018
Red Lobster Management LLC     RL Investor Holdings LLC   STRIDE HEALTH INC.                           Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   STUDIO PECK LLC                              Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SUMMERDALE PRODUCTIONS, LLC                  Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SUNFIRE COMMUNICATIONS INC.                  Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SUSTAINABILITY INC.                          Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SUZANNE CONSIGLIO                            Master Service Agreement                                                                              0.00
                                                          SWISS RE CORPORATE SOLUTIONS ELITE INSURANCE
Red Lobster Management LLC     RL Investor Holdings LLC                                                Insurance Policy (Property) Policy Number Nap 2005752-00                                              0.00
                                                          CORPORATION
Red Lobster Management LLC     RL Investor Holdings LLC   SWOON GROUP, LLC                             Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SYMPHONY CORPORATE HOUSE SDN BHD             Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SYNERGY INTERACTIVE                          Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   SYSTEM ONE HOLDINGS LLC                      Master Service Agreement                                                                              0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TABLETOP MEDIA, LLC                          Services Agreement                                                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TALENTREEF, INC.                             Statement Of Work #001 Dated 03/14/2018
                                                                                                                                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TALENTREEF, INC.                             Master Subscription Services Agreement Dated 12/21/2017
Red Lobster Management LLC     RL Investor Holdings LLC   TALK CORPORATION                             Amendment To The Universal Service Agreement Dated 05/11/2019                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TALON-BUNTIN AMERICA                         Master Services Agreement Dated 03/26/1997 Plus Amendments                                            0.00




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RED LOBSTER
Assigned Executory Contracts




              Debtor                         Assignee                        Counterparty                                                                     Description of Agreement                     Final Cure Amount     A
Red Lobster Management LLC     RL Investor Holdings LLC   TALX CORPORATION                           Schedule A - Compliance Center Service Dated 06/01/2014
Red Lobster Management LLC     RL Investor Holdings LLC   TALX CORPORATION                           Universal Service Agreement Dated 07/01/2014                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TALX CORPORATION                           Schedule A - Compliance Center Service Dated 01/01/2016
Red Lobster Management LLC     RL Investor Holdings LLC   TAMARI CONSULTING GROUP, LLC               Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TANIUM INC.                                Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TAYLOR CORPORATION                         Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TCI ACQUISITION CORPORATION                Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, INC. DBA BLACK BOX INTELLIGENCE     Attachment A-4: Statement Of Work Dated 11/01/2020
                                                                                                                                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, INC. DBA BLACK BOX INTELLIGENCE     Attachment A-3: Statement Of Work Dated 05/31/2020
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC                                 People Report Membership Service Agreement Dated 07/25/2014
                                                                                                                                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC                                 Membership Service Agreement Dated 09/19/2014
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-5: Statement Of Work Dated 04/30/2021
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-15: Statement Of Work Dated 06/01/2023
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-16: Statement Of Work Dated 08/01/2023
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-17: Statement Of Work Dated 01/01/2024
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-9: Statement Of Work Dated 10/26/2021
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-12: Statement Of Work Dated 05/01/2022
                                                                                                                                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-11: Statement Of Work Dated 05/01/2022
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      First Amendment To Services Agreement Dated 05/25/2021
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-10: Statement Of Work Dated 02/01/2022
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-13: Statement Of Work Dated 01/01/2023
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-7: Statement Of Work Dated 09/22/2021
Red Lobster Management LLC     RL Investor Holdings LLC   TDN2K, LLC DBA BLACK BOX INTELLIGENCE      Attachment A-8: Statement Of Work Dated 09/30/2021
Red Lobster Management LLC     RL Investor Holdings LLC   TEAMCENTRIC TECHNOLOGIES LLC               Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TECHNOMIC INC                              Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS INC                             Attachment A-10 Staff Augmentation: Statement Of Work Dated 10/20/2015
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC                            Attachment A-5 Staff Augmentation: Statement Of Work Dated 05/15/2015
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC                            Statement Of Work Dated 02/02/2018
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC                            Attachment A-15: Statement Of Work Dated 10/20/2021
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC                            Attachment A-16: Statement Of Work Dated 10/20/2021
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC                            Attachment A-Ll Staff Augmentation: Statement Of Work Dated 11/23/2015
                                                                                                                                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC                            Attachment A-13 : Statement Of Work Dated 03/22/2017
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC                            Attachment A-12 : Statement Of Work Dated 09/18/2016
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC.                           Attachment A-17: Statement Of Work Dated 10/28/2021
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC.                           Attachment A-9 Staff Augmentation: Statement Of Work Dated 09/02/2015
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC.                           Attachment A-8 Staff Augmentation: Statement Of Work Dated 08/20/2015
Red Lobster Management LLC     RL Investor Holdings LLC   TEKSYSTEMS, INC.                           Attachment A-7 Staff Augmentation: Statement Of Work Dated 09/02/2015
Red Lobster Management LLC     RL Investor Holdings LLC   TENFOLD LLC                                Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TERVIS TUMBLER COMPANY                     Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TESTPLANT INC                              Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TETRAD COMPUTER APPLICATIONS INC.          Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TEWS COMPANY                               Services Agreement Dated 03/26/2015                                                                              3,640.00
Red Lobster Management LLC     RL Investor Holdings LLC   TEWS CONSULTING, INC., DBA TEWS COMPANY    Statement Of Work A-4 – Contract For Sharepoint Developer Dated 06/06/2023
Red Lobster Management LLC     RL Investor Holdings LLC   TEWS CONSULTING, INC., DBA TEWS COMPANY    Statement Of Work A-5 – Sr. Software Engineer Bi Dated 09/06/2023                                                    0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TEWS CONSULTING, INC., DBA TEWS COMPANY    Statement Of Work A-3 – Contract To Hire Sr. Systems Engineer, Etl Data Management Dated 12/02/2022
Red Lobster Management LLC     RL Investor Holdings LLC   THE COLEMAX GROUP LLC                      Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE COMEDIAN COMPANY                       Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE COMTEK GROUP LLC                       Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE CULINARY EDGE INC                      Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE DIGITAL ACCESSIBILITY CENTRE LTD       Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE ECOLOGY GROUP/INC.                     Service And Management Agreement                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE HERRING IMPACT GROUP LLC               Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE JAY GROUP INC.                         Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE LINCOLN NATIONAL LIFE INSURANCE COMPANYMaster Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE NPD GROUP LP                           Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE NPD GROUP, INC.                        Services Agreement Dated 07/16/2014 Plus Amendments                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE OHIO CASUALTY INSURANCE COMPANY        Insurance Policy (Second Excess Liability) Policy Number Eco(23) 59038503                                            0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THE TRAVELERS INDEMNITY COMPANY            Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THELAB, LLC                                Attachment A-2: Statement Of Work Dated 06/22/2018
Red Lobster Management LLC     RL Investor Holdings LLC   THELAB, LLC                                Amendment No. 1 To Attachment A-3 Dated 04/01/2020
Red Lobster Management LLC     RL Investor Holdings LLC   THELAB, LLC                                Services Agreement Dated 09/01/2017
Red Lobster Management LLC     RL Investor Holdings LLC   THELAB, LLC                                Attachment A-4: Statement Of Work Dated 11/01/2020
Red Lobster Management LLC     RL Investor Holdings LLC   THELAB, LLC                                Attachment A-5: Statement Of Work Dated 12/01/2021
                                                                                                                                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   THELAB, LLC                                Attachment A-6 Statement Of Work Dated 07/15/2022
Red Lobster Management LLC     RL Investor Holdings LLC   THELAB, LLC                                Attachment A-7: Statement Of Work Dated 08/01/2022
Red Lobster Management LLC     RL Investor Holdings LLC   THELAB, LLC                                Attachment A-8: Statement Of Work Dated 08/01/2022
Red Lobster Management LLC     RL Investor Holdings LLC   THELAB, LLC                                Attachment A-10: Statement Of Work Dated 08/01/2023
Red Lobster Management LLC     RL Investor Holdings LLC   THELAB, LLC                                Attachment A-9: Statement Of Work Dated 08/01/2023
Red Lobster Management LLC     RL Investor Holdings LLC   THREE TREES STUDIOS LLC                    Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TIDAL SOFTWARE, LLC                        Order Form To Master Software Subscription And Services Agreement Dated 12/15/2023                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TIK TOK INC.                               Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TINES SECURITY SERVICES LIMITED            Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   T-MOBILE                                   Telecommunications Agreement                                                                                         0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TOKENEX, INC.                              Standard Terms Of Service Agreement Dated 09/23/2019                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TOLUNA USA INC.                            Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TOTAL ARMORED CAR                          Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TOTAL ARMORED CAR SERVICES, INC.           Services Agreement Dated 07/28/2014                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TOTAL PRINT USA                            Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TOTUS GIFT CARD MANAGEMENT LLC             Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TOUCHPOINT INC                             Services Agreement Dated 05/05/2016                                                                              2,233.01
Red Lobster Management LLC     RL Investor Holdings LLC   TOUCHSTONE MERCHANDISE GROUP               Master Service Agreement                                                                                           249.15
RLSV, Inc.                     RLSV II LLC                TRANSACTION WIRELESS, INC.                 Amendment I To Customer Agreement Dated 10/20/2014                                                                   0.00
RLSV, Inc.                     RLSV II LLC                TRANSACTION WIRELESS                       Customer Agreement Dated 08/26/2014                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TRANSACTION WIRELESS, INC.                 Services Agreement Dated 02/14/2012
                                                                                                                                                                                                                          0.00
RLSV, Inc.                     RLSV II LLC                TRANSACTION WIRELESS, INC.                 Amendment No. 2 To The Customer Agreement Dated 11/06/2015
Red Lobster Management LLC     RL Investor Holdings LLC   TRANSLATIONS.COM INC.                      Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TRASH FREE SEAS ALLIANCE                   Services Agreement                                                                                                   0.00
RLSV, Inc.                     RLSV II LLC                TRAVEL TAGS (TAYLOR CORP)                  Master Agreement Dated 04/11/2022                                                                                    0.00
                                                          TRAVELERS PROPERTY CASUALTY COMPANY OF
Red Lobster Management LLC     RL Investor Holdings LLC                                              Insurance Policy (Third Excess Liability) Policy Number Ex-1W48163a-22-Nf                                            0.00
                                                          AMERICA
Red Lobster Management LLC     RL Investor Holdings LLC   TRENTON COLD STORAGE INC                   Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TRIAL PAY INC.                             Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TRIDENT SEAFOODS CORP                      Supply Agreement                                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TRINTECH INC                               Master Service Agreement
                                                                                                                                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TRINTECH INC                               License Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   TRIP ADVISOR                               Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TROVA, LLC                                 Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TURNER TRADE GROUP INC.                    Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TYCO INTEGRATED SECURITY LLC               Amendment To Master Agreement Dated 10/01/2017
Red Lobster Management LLC     RL Investor Holdings LLC   TYCO INTEGRATED SECURITY LLC               Master Agreement For Protective Signaling Service Dated 09/12/2014                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   TYCO INTEGRATED SECURITY LLC               Master Service Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   UBER TECHNOLOGIES, INC.                    Api Additional Licensing Agreement Dated 03/13/2019
Red Lobster Management LLC     RL Investor Holdings LLC   Uberall                                    Vendor Agreement                                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UI PATH SOFTWARE                           Purchase Agreement Dated 02/04/2020                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UIPATH INC                                 Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UNISOURCE WORLDWIDE INC.                   Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UNITED PARCEL SERVICE INC                  Master Service Agreement                                                                                       172,195.23
Red Lobster Management LLC     RL Investor Holdings LLC   UNITED PARCEL SERVICE, INC                 Amendment No. 2 Dated 07/13/2017                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UNITED PARCEL SERVICE, INC.                Amendment No. 6 Program Agreement Dated 08/27/2020
Red Lobster Management LLC     RL Investor Holdings LLC   UNITED PARCEL SERVICE, INC.                Amendment No. 7 Program Agreement Dated 09/22/2020
Red Lobster Management LLC     RL Investor Holdings LLC   UNITED PARCEL SERVICE, INC.                Amendment No. 1 Dated 07/02/2016                                                                                     0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UNITED PARCEL SERVICE, INC.                Amendment No. 8 Dated 10/10/2021
Red Lobster Management LLC     RL Investor Holdings LLC   UNITED PARCEL SERVICE, INC.                Amendment No. 5 Dated 09/20/2019
Red Lobster Management LLC     RL Investor Holdings LLC   UNITED STATES TREASURY                     Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UNITED VAN LINES LLC                       Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UNITEDLEX CORPORATION                      Master Service Agreement                                                                                             0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UNIVERSAL TELEVISION LLC                   Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UNIVERSAL TELEVISION LLC DATED 03/05/2020  Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UNIVERSAL’S CABANA BAY BEACH RESORT        Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UNIVERSITY OF MAINE                        Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UPSIDE SERVICES, INC. D.B.A. UPSIDE        Services Agreement                                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   URBAN AIRSHIP INC. D/B/A AIRSHIP           Amendment No. 2 To Order Form No. Q-08129 Dated 04/01/2020                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   URBAN AIRSHIP INC., DBA AIRSHIP            Amendment No. 1 To The Order Form Dated 01/08/2020                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   URBAN AIRSHIP, INC. DBA AIRSHIP            Sales Order Dated 10/31/2019
                                                                                                                                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   URBAN AIRSHIP, INC. DBA AIRSHIP            Master Subscription Agreement Dated 10/31/2019
Red Lobster Management LLC     RL Investor Holdings LLC   US BANK/FIRSTAR                            Master Service Agreement                                                                                        32,916.03
Red Lobster Management LLC     RL Investor Holdings LLC   US CLOUD LC                                It Services Agreement Dated 09/29/2023
                                                                                                                                                                                                                          0.00
Red Lobster Management LLC     RL Investor Holdings LLC   US CLOUD LC                                Statement Of Work No. 1 Dated 09/29/2023




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RED LOBSTER
Assigned Executory Contracts




              Debtor                         Assignee                       Counterparty                                                                      Description of Agreement   Final Cure Amount     A
Red Lobster Management LLC     RL Investor Holdings LLC   USER FRIENDLY CONSULTING, INC.             Consulting Agreement                                                                               0.00
Red Lobster Management LLC     RL Investor Holdings LLC   UTILISAVE                                  Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VALASSIS                                   Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VAL-PAK DIRECT MARKETING SYSTEMS INC       Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VELOCITY TECHNOLOGY SOLUTIONS INC          Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   Venafi                                     Vendor Agreement                                                                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VEREDUS CORPORATION                        Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VERIFONE INC                               Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VERITAS DIGITAL                            Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VERITIV (PREVIOUSLY UNISOURCE WORLDWIDE)   Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VERIZON (LATER DBA CELLCO)                 Telecommunications Agreement                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VERTEX, INC.                               It Services Agreement Dated 08/10/2016
Red Lobster Management LLC     RL Investor Holdings LLC   VERTEX, INC.                               Software License Agreement Dated 08/12/2016                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VERTEX, INC.                               Statement Of Work Number 2 Dated 07/29/2020
Red Lobster Management LLC     RL Investor Holdings LLC   VIACODE CONSULTING LLC                     Support Escalation Agreement Dated 10/10/2023                                                      0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VIKING CLOUD                               Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VISA USA                                   Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   VISIBLE                                    Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WAD PRODUCTIONS                            Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WAGEWORKS, INC.                            Business Associate Agreement Dated 01/01/2018
Red Lobster Management LLC     RL Investor Holdings LLC   WAGEWORKS, INC.                            Order Form Dated 01/01/2018                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WAGEWORKS, INC.                            Order Form Dated 01/01/2019
Red Lobster Management LLC     RL Investor Holdings LLC   WALTERS MEDIA AND DESIGN                   Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WAVE CONSULTING CORPORATION                It Contracts                                                                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WEE BEASTIE                                Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WELLS FARGO & COMPANY                      Agreement To Amend Certain Qualified Financial Contracts Dated 11/22/2019                     80,010.90
Red Lobster Management LLC     RL Investor Holdings LLC   WELLS FARGO BANK, N.A.                     Relocation Mortgage Program Agreement Dated 05/15/2015
Red Lobster Management LLC     RL Investor Holdings LLC   WELLS FARGO BANK, N.A.                     Institutional Client Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   WELLS FARGO BANK, N.A.                     Administrative Services Agreement Dated 07/28/2024                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WELLS FARGO BANK, N.A.                     Agreement To Amend Certain Qualified Financial Contracts Dated 11/22/2019
Red Lobster Management LLC     RL Investor Holdings LLC   WELLS FARGO BANK, N.A.                     Institutional Client Agreement Dated 08/28/2019
Red Lobster Management LLC     RL Investor Holdings LLC   WELLS FARGO BANK, NATIONAL ASSOCIATION     Amendment To Commercial Card Agreement Dated 12/17/2020
                                                                                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WELLS FARGO BANK, NATIONAL ASSOCIATION     Commercial Card Agreement Dated 08/14/2017
Red Lobster Management LLC     RL Investor Holdings LLC   WELLS FARGO SECURITIES, LLC                Agreement To Amend Certain Qualified Financial Contracts Dated 11/22/2019
                                                                                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WELLS FARGO SECURITIES, LLC                Institutional Client Agreement Dated 08/28/2019
Red Lobster Management LLC     RL Investor Holdings LLC   WEST PUBLISHING CORPORATION                License Agreement                                                                                540.38
Red Lobster Management LLC     RL Investor Holdings LLC   WESTCHESTER FIRE INSURANCE COMPANY         Insurance Policy (Management Liability) Policy Number G71828128 003                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WESTERN SURETY COMPANY                     Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WESTROCK COMPANY                           Total Energy & Sustainability Service Agreement Dated 07/28/2014                                   0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WESTROCK RKT COMPANY                       Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WHITE BOX SOCIAL INTELLIGENCE, INC         Services Agreement Dated 03/27/2017                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WHITE BOX SOCIAL INTELLIGENCE, INC.        Attachment A-6: Statement Of Work Dated 04/30/2021
                                                                                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WHITE BOX SOCIAL INTELLIGENCE, INC.        Attachment A-2: Statement Of Work Dated 05/31/2018
Red Lobster Management LLC     RL Investor Holdings LLC   WHITE IRON MARKETING                       Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WILLSON INTERNATIONAL LIMITED              Services Agreement                                                                               279.82
Red Lobster Management LLC     RL Investor Holdings LLC   WINDLEY ELY                                Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WOMENS FOODSERVICE FORUM                   Services Agreement                                                                             8,105.00
Red Lobster Management LLC     RL Investor Holdings LLC   WORLD OF WONDER PRODUCTIONS INC            Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WORLD WILDLIFE FUND INC                    Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   WYNN LAS VEGAS LLC                         Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   XCELERATE MEDIA INC                        Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   xMatters, Inc.                             Hosted Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   XO COMMUNICATIONS SERVICES LLC             Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   YASABELL RUIZ                              Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   YESMAIL INC                                Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   YOUGOV AMERICA INC                         Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   YP ADVERTISING & PUBLISHING LLC            Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ZACKS ENTERPRISES INC                      Master Service Agreement                                                                           0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ZENRIN USA INC.                            License Agreement                                                                                  0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ZOOM VIDEO COMMUNICATIONS INC              Services Agreement                                                                                 0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ZOOM VIDEO COMMUNICATIONS INC.             Services Agreement Dated 03/28/2023                                                                0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH AMERICAN INSURANCE COMPANY          Insurance Policy (Worker's Compensation) Policy Number Wc 0176233
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH AMERICAN INSURANCE COMPANY          Insurance Policy (Foreign Casualty) Policy Number Ze 3320827-09
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH AMERICAN INSURANCE COMPANY          Insurance Policy (Umbrella Liability) Policy Number Auc 281999-03**
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH AMERICAN INSURANCE COMPANY          Insurance Policy (General Liability) Policy Number Glo 0176236 08
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH AMERICAN INSURANCE COMPANY          Insurance Policy (Commercial Auto) Policy Number Bap 0176235                                       0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH AMERICAN INSURANCE COMPANY          Insurance Policy (Worker's Compensation (Retro)) Policy Number Wc 0176234
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH AMERICAN INSURANCE COMPANY          Insurance Policy (Commercial General Liability) Policy Number Glo 0378588-03
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH AMERICAN INSURANCE COMPANY          Services Agreement
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH AMERICAN INSURANCE COMPANY          Insurance Policy (Commercial Auto) Policy Number BAP 0176235 08
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH CANADA                              Insurance Policy (Commercial Auto) Policy Number Ac 9801814
                                                                                                                                                                                                        0.00
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH CANADA                              Insurance Policy (Property) Policy Number 8843326
Red Lobster Management LLC     RL Investor Holdings LLC   ZURICH NORTH AMERICA                       Insurance Policy (Property) Policy Number Ppr 0176332-09                                           0.00




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                                   EXHIBIT B

              [Schedule of Post-Confirmation Date Negotiated Leases]




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           Debtor                                       Counterparty                                      Store Number                        Description of Agreement        Extension Date
Red Lobster Restaurants LLC   FCPT Holdings LLC (Non-Master Lease)                                     Four Corners          Extension for Master Lease Four Corners           9/12/2024
Red Lobster Restaurants LLC   FCPT Holdings, LLC                                                       RL1_6258              Extension for Store Number RL1_6258               9/12/2024
Red Lobster Restaurants LLC   FCPT Holdings, LLC                                                       RL1_0685              Extension for Store Number RL1_0685               9/12/2024
Red Lobster Hospitality LLC   FCPT Holdings, LLC                                                       RL1_0616              Extension for Store Number RL1_0616               9/12/2024
Red Lobster Restaurants LLC   FCPT Holdings, LLC                                                       RL1_0569              Extension for Store Number RL1_0569               9/12/2024
Red Lobster Restaurants LLC   FCPT Holdings LLC (Non-Master Lease)                                     RL1_0547              Extension for Store Number RL1_0547               9/12/2024
Red Lobster Restaurants LLC   ARCP RL Portfolio III, LLC                                               ARCP III Portfolio    Extension for Master Lease ARCP III Portfolio     9/15/2024
Red Lobster Hospitality LLC   ARCP RL Portfolio IV, LLC                                                ARCP IV Portfolio     Extension for Master Lease ARCP IV Portfolio      9/15/2024
Red Lobster Hospitality LLC   ARCP RL Portfolio IX, LLC                                                ARCP IX Portfolio     Extension for Master Lease ARCP IX Portfolio      9/15/2024
Red Lobster Restaurants LLC   ARCP RL Portfolio V, LLC                                                 ARCP V Portfolio      Extension for Master Lease ARCP V Portfolio       9/15/2024
Red Lobster Hospitality LLC   ARCP RL Portfolio VI, LLC                                                ARCP VI Portfolio     Extension for Master Lease ARCP VI Portfolio      9/15/2024
Red Lobster Hospitality LLC   ARCP RL Portfolio VII, LLC                                               ARCP VII Portfolio    Extension for Master Lease ARCP VII Portfolio     9/15/2024
Red Lobster Restaurants LLC   ARCP RL Portfolio VIII, LLC                                              ARCP VIII Portfolio   Extension for Master Lease ARCP VIII Portfolio    9/15/2024
Red Lobster Hospitality LLC   ARCP RL Portfolio X, LLC                                                 ARCP X Portfolio      Extension for Master Lease ARCP X Portfolio       9/15/2024
Red Lobster Restaurants LLC   Spirit Master Funding IX, LLC                                            Spirit                Extension for Master Lease Spirit                 9/15/2024
Red Lobster Hospitality LLC   CLK Ann Arbor, LLC                                                       RL1_0260              Extension for Store Number RL1_0260               10/20/2024
Red Lobster Hospitality LLC   EIRREK RLF LLC                                                           RL1_0345              Extension for Store Number RL1_0345               10/20/2024
Red Lobster Hospitality LLC   Barlas Enterprises, Inc.                                                 RL1_0356              Extension for Store Number RL1_0356               10/20/2024
Red Lobster Hospitality LLC   Keystone Fiesta Plaza, LLC                                               RL1_0369              Extension for Store Number RL1_0369               10/20/2024
Red Lobster Hospitality LLC   Mascall Family Trust dated 10/14/2008                                    RL1_0381              Extension for Store Number RL1_0381               10/20/2024
Red Lobster Restaurants LLC   Joe Amato East End Centre, LP                                            RL1_0445              Extension for Store Number RL1_0445               10/20/2024
Red Lobster Hospitality LLC   Krishnamoorti Family LP                                                  RL1_0492              Extension for Store Number RL1_0492               10/20/2024
Red Lobster Hospitality LLC   Hanabi                                                                   RL1_0579              Extension for Store Number RL1_0579               10/20/2024
Red Lobster Hospitality LLC   Marine Iron & Ship Building Company                                      RL1_0630              Extension for Store Number RL1_0630               10/20/2024
Red Lobster Hospitality LLC   Century Plaza Commercial LLC                                             RL1_0653              Extension for Store Number RL1_0653               10/20/2024
Red Lobster Hospitality LLC   Anne Mohr, Trustee of The Horst Mohr Trust and Norman Mohr               RL1_0710              Extension for Store Number RL1_0710               10/20/2024
Red Lobster Hospitality LLC   Ironwood I LLC                                                           RL1_0339              Extension for Store Number RL1_0339               10/20/2024
Red Lobster Hospitality LLC   GSMS 2011-GC5 East Broadway Boulevard, LLC                               RL1_0869              Extension for Store Number RL1_0869               10/20/2024
Red Lobster Hospitality LLC   Steve Hongdur Lin/Carol Yao Lin Revocable Trust                          RL1_0383              Extension for Store Number RL1_0383               10/20/2024
Red Lobster Hospitality LLC   Far Horizons Trailer Village LLC                                         RL1_0335              Extension for Store Number RL1_0335               10/20/2024
Red Lobster Hospitality LLC   RH Tacoma Place Associates, LLC and H.I.R. 3                             RL1_0453              Extension for Store Number RL1_0453               10/20/2024
Red Lobster Restaurants LLC   Office Complex Enterprises, Inc.                                         RL1_0568              Extension for Store Number RL1_0568               10/20/2024
Red Lobster Hospitality LLC   Aasthi, LLC                                                              RL1_6257              Extension for Store Number RL1_6257               10/20/2024
Red Lobster Restaurants LLC   JPS Realty Management, LLC                                               RL1_0571              Extension for Store Number RL1_0571               10/20/2024
Red Lobster Restaurants LLC   NADG NNN RLOB (May-NJ) LP                                                RL1_0575              Extension for Store Number RL1_0575               10/20/2024
Red Lobster Restaurants LLC   GLR Property Management LLC                                              RL1_0563              Extension for Store Number RL1_0563               10/20/2024
Red Lobster Hospitality LLC   O'Beach, LLC                                                             RL1_0678              Extension for Store Number RL1_0678               10/20/2024
Red Lobster Hospitality LLC   2328 Commercial Way Properties LLC                                       RL1_0696              Extension for Store Number RL1_0696               10/20/2024
Red Lobster Restaurants LLC   Redwood NC LLC                                                           RL1_6382              Extension for Store Number RL1_6382               10/20/2024
Red Lobster Hospitality LLC   K.I.R. Copiague L.P.                                                     RL1_0614              Extension for Store Number RL1_0614               10/20/2024
Red Lobster Hospitality LLC   YYRL South Padre Island Drive Owner LLC; YYRL South Padre Island Drive Owner
                                                                                                       RL1_0163
                                                                                                           2 LLC             Extension for Store Number RL1_0163               10/20/2024
Red Lobster Hospitality LLC   Ml Claw LLC                                                              RL1_0288              Extension for Store Number RL1_0288               10/20/2024
Red Lobster Restaurants LLC   JFCF Invest-3 LLC                                                        RL1_0850              Extension for Store Number RL1_0850               10/20/2024
Red Lobster Hospitality LLC   Guima Brazil USA, LLC                                                    RL1_6205              Extension for Store Number RL1_6205               10/20/2024
Red Lobster Restaurants LLC   1359 SN Owners LLC                                                       RL1_0874              Extension for Store Number RL1_0874               10/20/2024
Red Lobster Hospitality LLC   3815 South Lamar, LP                                                     RL1_0314              Extension for Store Number RL1_0314               10/20/2024
Red Lobster Hospitality LLC   Rod De Llano Family Partnership & Herbert & Isabel Wolfe Trust           RL1_6213              Extension for Store Number RL1_6213               10/20/2024
Red Lobster Restaurants LLC   Paul Family Trust dated 6/19/1997                                        RL1_0393              Extension for Store Number RL1_0393               10/20/2024
Red Lobster Hospitality LLC   Smith Ranches; T&D Smith Family Trust dtd 7-2-1996                       RL1_0576              Extension for Store Number RL1_0576               10/20/2024
Red Lobster Hospitality LLC   Yavapai-Prescott Indian Tribe                                            RL1_0623              Extension for Store Number RL1_0623               10/20/2024
Red Lobster Restaurants LLC   Eastridge LP                                                             RL1_0737              Extension for Store Number RL1_0737               10/20/2024
Red Lobster Hospitality LLC   Advanced Housing Developers Inc.                                         RL1_6246              Extension for Store Number RL1_6246               10/20/2024
Red Lobster Hospitality LLC   Broadway & Pearl Associates, LLC                                         RL1_6366              Extension for Store Number RL1_6366               10/20/2024
Red Lobster Hospitality LLC   Drury Development Corp                                                   RL1_6286              Extension for Store Number RL1_6286               10/20/2024
Red Lobster Hospitality LLC   Briarholm, Inc.                                                          RL1_0425              Extension for Store Number RL1_0425               10/20/2024
Red Lobster Hospitality LLC   Lincoln Holdings, LLC                                                    RL1_6271              Extension for Store Number RL1_6271               10/20/2024
Red Lobster Hospitality LLC   170 Wolf Road LLC                                                        RL1_6228              Extension for Store Number RL1_6228               10/20/2024
Red Lobster Hospitality LLC   Rynako LP                                                                RL1_6332              Extension for Store Number RL1_6332               10/20/2024
Red Lobster Canada, Inc       714 Yonge Street Inc.                                                    RLC_8119              Extension for Store Number RLC_8119               10/20/2024
Red Lobster Canada, Inc       KS AOB Toronto Inc. and Dundas Atrium Toronto Inc.                       RLC_8176              Extension for Store Number RLC_8176               10/20/2024
Red Lobster Hospitality LLC   Edward Selby/Linda Selby Trust                                           RL1_0577              Extension for Store Number RL1_0577               10/20/2024
Red Lobster Restaurants LLC   ARMEL, LLC                                                               RL1_0620              Extension for Store Number RL1_0620               10/20/2024
Red Lobster Restaurants LLC   JE Fuel, LLC                                                             RL1_0607              Extension for Store Number RL1_0607               12/4/2024




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                                 EXHIBIT C

                             [Zurich Agreement]




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                                  EXHIBIT D

                     [Notice of Entry of Confirmation Order]




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                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                     ORLANDO DIVISION
                                     www.flmb.uscourts.gov

IN RE:                                                                Chapter 11 Cases

RED LOBSTER MANAGEMENT LLC, 8                                         Case No. 6:24-bk-02486-GER
                                                                      Lead Case

                                                                      Jointly Administered with
RED LOBSTER RESTAURANTS LLC,                                          Case No. 6:24-bk-02487-GER
RLSV, INC.,                                                           Case No. 6:24-bk-02488-GER
RED LOBSTER CANADA, INC.,                                             Case No. 6:24-bk-02489-GER
RED LOBSTER HOSPITALITY LLC,                                          Case No. 6:24-bk-02490-GER
RL KANSAS LLC,                                                        Case No. 6:24-bk-02491-GER
RED LOBSTER SOURCING LLC,                                             Case No. 6:24-bk-02492-GER
RED LOBSTER SUPPLY LLC,                                               Case No. 6:24-bk-02493-GER
RL COLUMBIA LLC,                                                      Case No. 6:24-bk-02494-GER
RL OF FREDERICK, INC.,                                                Case No. 6:24-bk-02495-GER
RED LOBSTER OF TEXAS, INC.,                                           Case No. 6:24-bk-02496-GER
RL MARYLAND, INC.,                                                    Case No. 6:24-bk-02497-GER
RED LOBSTER OF BEL AIR, INC.,                                         Case No. 6:24-bk-02498-GER
RL SALISBURY, LLC,                                                    Case No. 6:24-bk-02499-GER
RED LOBSTER INTERNATIONAL HOLDINGS LLC,                               Case No. 6:24-bk-02500-GER

      Debtors.
_______________________________________/

                             NOTICE OF CONFIRMATION OF PLAN,
                     PERMANENT INJUNCTION, AND VARIOUS DEADLINES

          PLEASE TAKE NOTICE that on September ___, 2024, the United States Bankruptcy
    Court for the Middle District of Florida entered Findings of Fact, Conclusions of Law, and Order
    (I) Approving the Adequacy of the Disclosure Statement on a Final Basis and (II) Confirming
    the Joint Chapter 11 Plan for Red Lobster Management LLC and its Debtor Affiliates (the
    “Confirmation Order”) confirming the Second Amended Joint Chapter 11 Plan for Red Lobster
    Management LLC and Its Debtor Affiliates as of September 4, 2024 (the “Plan”) filed by Red

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          The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number are Red Lobster Management LLC (6889); Red Lobster Sourcing LLC (3075); Red Lobster
Supply LLC (9187); RL Kansas LLC (2396); Red Lobster Hospitality LLC (5297); Red Lobster Restaurants
LLC (4308); RL Columbia LLC (7825); RL of Frederick, Inc. (9184); RL Salisbury, LLC (7836); RL Maryland,
Inc. (7185); Red Lobster of Texas, Inc. (1424); Red Lobster of Bel Air, Inc. (2240); RLSV, Inc. (6180); Red Lobster
Canada, Inc. (4569); and Red Lobster International Holdings LLC (4661). The Debtors’ principal offices are located
at 450 S. Orange Avenue, Suite 800, Orlando, FL 32801.


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    Lobster Management LLC and its debtor affiliates, as debtors and debtors-in-possession in the
    above captioned chapter 11 cases (collectively, the “Debtors”);

      PLEASE TAKE FURTHER NOTICE that copies of the Confirmation Order and the
Plan may be obtained at https://dm.epiq11.com/RedLobster;

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Plan, the automatic stay of
Section 362 of the United States Bankruptcy Code and in existence on the date of the confirmation
of the Plan shall continue in full force and effect until the Plan Effective Date and the Debtors and
the Estates shall be entitled to all of the protections afforded thereby, all in accordance with the
Plan;

      PLEASE TAKE FURTHER NOTICE that the Confirmation Order contains the following
permanent injunction:

Article VIII(A)(5): Injunction

       Except as otherwise expressly provided in the Plan or the Confirmation Order with
respect to the Plan, all Persons9 who have held, hold, or may hold any Claims or Causes of
Action against, or Interests in, any of the Debtors that have been released, discharged, or are
subject to release or exculpation hereunder are permanently enjoined, from and after the
Plan Effective Date, from taking any of the following actions against any of the Debtors, the
Reorganized Debtors, the Wind-Down Debtor(s), the GUC Trustee, as applicable, or any of
the other Exculpated Parties or any of the Released Parties: (1) commencing or continuing
in any manner any action or other proceeding of any kind on account of or in connection
with any such Claim, Cause of Action or Interest; (2) enforcing, attaching, collecting, or
recovering by any manner or means any judgment, award, decree, or order against any of
the Exculpated Parties or Released Parties on account of or in connection with any such
Claim, Cause of Action or Interest; (3) creating, perfecting, or enforcing any Lien or
encumbrance of any kind against any of the Exculpated Parties, Released Parties or their
property on account of or in connection with or with respect to any such Claim, Cause of
Action or Interest; and (4) asserting any right of setoff or subrogation against any obligation
due from any of the Exculpated Parties, Released Parties or against their property on
account of or in connection with any such Claim, Cause of Action or Interest unless, with
respect to setoff, such holder has Filed a motion requesting the right to perform such setoff
on or before the Plan Effective Date or Filed a Proof of Claim that asserts or preserves any
such right, and until such motion has been granted or the Filed Proof of Claim is Allowed.

       Upon entry of the Confirmation Order with respect to the Plan, all holders of Claims
and Causes of Action against, and Interests in, any of the Debtors and their respective
Related Parties shall be enjoined from taking any actions to interfere with the
implementation of the Plan or the Sale Transaction.

NOTICE IS FURTHER GIVEN THAT the Confirmation Order provides, among other things,
the following deadlines:

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    Capitalized terms not defined herein shall have the meanings ascribed to them in the Plan.

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a. Administrative Expense Claims Bar Date (General). Other than holders of (a) DIP Claims,
(b) Professional Fee Claims, (c) Administrative Expense Claims Allowed by an order of the
Bankruptcy Court on or before the Plan Effective Date, or (d) Administrative Expense Claims that
arose in the ordinary course of business under assumed Unexpired Leases or Executory Contracts,
holders of any Administrative Expense Claim must File and serve upon Debtors’ counsel, Plan
Administrator’s counsel, and the GUC Trustee’s counsel, as applicable, a request for allowance
and payment of such Administrative Expense Claim by no later than the Administrative Expense
Claims Bar Date. Holders of Administrative Expense Claims that are required to File and serve a
request for payment of such Claims that fail to do so shall be forever barred, estopped, and enjoined
from asserting such Administrative Expense Claims against the Debtors, the Reorganized Debtors,
Wind-Down Debtors, or the GUC Trustee, as applicable, or their respective property, and such
Administrative Expense Claims shall be deemed discharged as of the Plan Effective Date without
the need for any objection or any notice to any Person or an order of the Bankruptcy Court. The
Plan defines the “Administrative Expense Claims Bar Date” as the deadline for Filing requests for
payment of Administrative Expense Claims (other than DIP Claims and the Professional Fee
Claims, which shall be paid in accordance with the DIP Orders and the Plan, as applicable), which
shall be thirty (30) days after the Plan Effective Date, except as specifically set forth to the contrary
in the Plan or a Final Order. The Debtors anticipate the Plan Effective Date to be on the first
Business Day after the Confirmation Date on which (i) no stay of the Confirmation Order is in
effect and (ii) all conditions precedent to the occurrence of the Plan Effective Date set forth in
Article IX.A of the Plan have been satisfied or waived in accordance with Article IX.B of the Plan.
Accordingly, the Administrative Expense Claims Bar Date will be on or about October 15, 2024.
Soon after the Plan Effective Date, the Debtors shall File a notice of the Plan Effective Date on
the main case docket of these Chapter 11 Cases, which can be accessed through an account
obtained from PACER Service Center at 1-800-676-6856 or http://pacer.psc.uscourts.gov/. Notice
of the Plan Effective Date will also be posted at https://dm.epiq11.com/RedLobster. At that time,
please refer to the Notice of the Plan Effective Date to determine the Administrative Expense
Claims Bar Date.

      Any such person who fails to timely File and serve a request for payment of an
Administrative Expense Claim will be FOREVER BARRED from seeking payment of such
Administrative Expense Claim by the Debtors, Reorganized Debtors, Wind-Down Debtors or the
GUC Trustee.

b. Rejection Damage Claims Bar Date: All Proofs of Claim with respect to Claims arising
from the rejection of Executory Contracts or Unexpired Leases pursuant to the Plan, if any, must
be Filed with the Bankruptcy Court within thirty (30) days after the later of (1) the date of entry of
an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection, (2)
the effective date of such rejection, or (3) the Plan Effective Date. The Debtors shall provide notice
of such rejection and specify the appropriate deadline for the filing of such Proof of Claim. The
deadline for filing a Proof of Claim with respect to Claims arising from the rejection of Executory
Contracts or Unexpired Leases pursuant to a prior order of the Bankruptcy Court shall be as set
forth in such order. Each Claim arising from the rejection of any Executory Contract or Unexpired
Lease shall be treated as a General Unsecured Claim subject to any applicable limitation or defense
under the Bankruptcy Code and applicable law. Any entity that is required to File a Proof of Claim


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arising from the rejection of an Executory Contract or an Unexpired Lease that fails to do so shall
be forever barred, estopped, and enjoined from asserting such Claim, and such Claim shall not be
enforceable, against the Debtors, their Estates, the Reorganized Debtors, the Purchaser, the Wind-
Down Debtors, the Plan Administrator, the GUC Trust or the GUC Trustee, or any of their
respective property, successors or assigns, and such Claims shall be forever discharged from any
and all indebtedness and liability with respect to such Claim unless otherwise ordered by the
Bankruptcy Court or as otherwise provided in the Plan. All such Claims will, as of the Plan
Effective Date, be subject to the permanent injunction set forth in Article VIII of the Plan. If such
Claim is untimely Filed, it shall not be Allowed for distribution purposes pursuant to the Plan,
unless the Claims Objection Bar Date passes without an objection or other proceeding to disallow,
or otherwise eliminate or reduce, such Claim having been initiated.

 Dated:    September [●], 2024                          Respectfully submitted,

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 Houston, TX 77002                                      1001-2(g)(3) regarding signatures, Paul Steven
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                           Counsel for Debtors and Debtors-in-Possession




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